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                     EXHIBIT 93
                                                                                                                                                                  Case: 1:17-md-02804-DAP Doc #: 2251-93 Filed: 08/13/19 2 of 78. PageID #: 352317

Grant Id    Requested Amount      Payment Amount   Payment Date                  Program Description                           Activity Start Date    Activity End Date   Activity Type             Delivery Format                 Disease State         Therapeutic Area                   Speciality                         Venue    State    Date Approved                  Organization Name                     Contact First Name    Contact Last Name        Contact Address Line 1   Contact Address Line 3     Contact City    Contact State Code    Contact Primary Phone Number
   12 220            202420.000            202 420 6/25/2012      ESP Webs te initiatives to include: Clinical D a ogues in                                               nduring Material   Mobile Devices: e.g. Podcasts     Op oid Misuse and Abuse   Pa n                Medical Oncology                                                    6/11/2012        Med Com Worldw de Inc                               Joan                  Meyer                101 Wash ngton                                         Morrisv lle      PA                    (800) 408-4242
                                                                  Pain Roundtab e Series ESP Referral Network ESP Tool
                                                                  K t Volume 3
   12 220            202420.000            202 420 6/25/2012      ESP Webs te initiatives to nclude: Clinical D a ogues in                                                nduring Material   Mobile Devices: e.g. Podcasts     Op oid Misuse and Abuse   Pa n                Pain Medicine                                                       6/11/2012        Med Com Worldw de Inc                               Joan                  Meyer                101 Wash ngton                                         Morrisv lle      PA                    (800) 408-4242
                                                                  Pain Roundtab e Series ESP Referral Network ESP Tool
                                                                  K t Volume 3
   12 220            202420.000            202 420 6/25/2012      ESP Webs te initiatives to nclude: Clinical D a ogues in                                                nduring Material   Mobile Devices: e.g. Podcasts     Op oid Misuse and Abuse   Pa n                Pr mary Care                                                        6/11/2012        Med Com Worldw de Inc                               Joan                  Meyer                101 Wash ngton                                         Morrisv lle      PA                    (800) 408-4242
                                                                  Pain Roundtab e Series ESP Referral Network ESP Tool
                                                                  K t Volume 3
   12 220            202420.000            202 420 6/25/2012      ESP Webs te initiatives to nclude: Clinical D a ogues in    8/31/2012              11/30/2013           Web                Web Activ ty                      Op oid Misuse and Abuse   Pa n                Med cal Oncology                                                    6/11/2012        Med Com Worldw de Inc                               Joan                  Meyer                101 Wash ng on                                         Morrisv lle      PA                    (800) 408-4242
                                                                  Pain Roundtab e Series ESP Referral Network ESP Tool
                                                                  K t Volume 3
   12 220            202420.000            202 420 6/25/2012      ESP Webs te initiatives to nclude: Clinical D a ogues in    8/31/2012              11/30/2013           Web                Web Activ ty                      Op oid Misuse and Abuse   Pa n                Pain Medicine                                                       6/11/2012        Med Com Worldw de Inc                               Joan                  Meyer                101 Wash ng on                                         Morrisv lle      PA                    (800) 408-4242
                                                                  Pain Roundtab e Series ESP Referral Network ESP Tool
                                                                  K t Volume 3
   12 220            202420.000            202 420 6/25/2012      ESP Websi e initiatives to nclude: Clinical D a ogues in    8/31/2012              11/30/2013           Web                Web Activ ty                      Op oid M suse and Abuse   Pa n                Pr mary Care                                                        6/11/2012        Med Com Worldw de Inc                               Joan                  Meyer                101 Wash ng on                                         Morrisv lle      PA                    (800) 408-4242
                                                                  Pain Roundtab e Series ESP Referral Network ESP Tool
                                                                  K t Volume 3
   12 220            202420.000            202 420 6/25/2012      ESP Websi e initiatives to nclude: Clinical D a ogues in    8/31/2012              11/30/2013           Web                Web Posting/Archive               Op oid M suse and Abuse   Pa n                Med cal Oncology                                                    6/11/2012        Med Com Worldw de Inc                               Joan                  Meyer                101 Wash ngton                                         Morrisv lle      PA                    (800) 408-4242
                                                                  Pain Roundtab e Series ESP Referral Network ESP Tool
                                                                  K t Volume 3
   12 220            202420 000            202 420 6/25/2012      ESP Websi e initiatives to nclude: Clinical D a ogues in    8/31/2012              11/30/2013           Web                Web Posting/Archive               Op oid M suse and Abuse   Pa n                Pain Medicine                                                       6/11/2012        Med Com Worldw de Inc                               Joan                  Meyer                101 Wash ngton                                         Morrisv lle      PA                    (800) 408-4242
                                                                  Pain Roundtab e Series ESP Referral Network ESP Tool
                                                                  K t Volume 3
   12 220            202420 000            202 420 6/25/2012      ESP Website initiatives to nclude: Clinical D a ogues in    8/31/2012              11/30/2013           Web                Web Posting/Archive               Op oid M suse and Abuse   Pa n                Pr mary Care                                                        6/11/2012        Med Com Worldw de Inc                               Joan                  Meyer                101 Wash ngton                                         Morrisv lle      PA                    (800) 408-4242
                                                                  Pain Roundtab e Series ESP Referral Network ESP Tool
                                                                  K t Volume 3
   12 224            165000 000             90 000 6/12/2012      Live CME ecture series offers nurses un que opportunity     7/1/2012               11/6/2013            ive                Professional Education Programs   Breakthrough Pa n         Pa n                Onco ogy                     ONS Reg onal Chapter Meeting   AK      6/11/2012        Med cal Communications Media Inc.                   Dav d                 Wi lard              54 Friends Lane                                        Newtown          PA                    (267) 364-0556
                                                                  to engage and learn from a v s ting key opinion leader at
                                                                  the convenience of their local chapter meeting. Web-
                                                                  based archive extends reach and serves as a convenient
                                                                  resource after live meet ng.

   12 224            165000.000             90 000 6/12/2012      Live CME ecture series offers nurses un que opportun ty 7/1/2012                   11/6/2013            ive                Professional Education Programs   Breakthrough Pa n         Pa n                Onco ogy                     ONS Reg onal Chapter Meeting   CA      6/11/2012        Med cal Communications Media Inc.                   Dav d                 Wi lard              54 Friends Lane                                        Newtown          PA                    (267) 364-0556
                                                                  to engage and learn from a v s ting key opinion leader at
                                                                  the convenience of their local chapter meeting. Web-
                                                                  based archive extends reach and serves as a convenient
                                                                  resource after live meet ng.

   12 224            165000.000             90 000 6/12/2012      Live CME ecture series offers nurses un que opportun ty 7/1/2012                   11/6/2013            ive                Professional Education Programs   Breakthrough Pa n         Pa n                Onco ogy                     ONS Reg onal Chapter Meeting   GA      6/11/2012        Med cal Communications Media Inc.                   Dav d                 Wi lard              54 Friends Lane                                        Newtown          PA                    (267) 364-0556
                                                                  to engage and learn from a v s ting key opinion leader at
                                                                  the convenience of their local chapter meeting. Web-
                                                                  based archive extends reach and serves as a convenient
                                                                  resource after live meet ng.

   12 224            165000.000             90 000 6/12/2012      Live CME lecture series offers nurses un que opportun ty    7/1/2012               11/6/2013            ive                Professional Education Programs   Breakthrough Pa n         Pa n                Onco ogy                     ONS Reg onal Chapter Meeting   IL      6/11/2012        Med cal Communications Media Inc.                   Dav d                 W llard              54 Friends Lane                                        Newtown          PA                    (267) 364-0556
                                                                  to engage and learn from a v s ting key opinion leader at
                                                                  the convenience of their local chapter meeting. Web-
                                                                  based archive extends reach and serves as a convenient
                                                                  resource after live meet ng.
   12 224            165000.000             90 000 6/12/2012      Live CME lecture series offers nurses un que opportun ty    7/1/2012               11/6/2013            ive                Professional Education Programs   Breakthrough Pa n         Pa n                Onco ogy                     ONS Reg onal Chapter Meeting   MD      6/11/2012        Med cal Communications Media Inc.                   Dav d                 W llard              54 Friends Lane                                        Newtown          PA                    (267) 364-0556
                                                                  to engage and learn from a v s ting key opinion leader at
                                                                  the convenience of their local chapter meeting. Web-
                                                                  based archive extends reach and serves as a convenient
                                                                  resource after live meet ng.
   12 224            165000.000             90 000 6/12/2012      Live CME lecture series offers nurses un que opportun ty    7/1/2012               11/6/2013            ive                Professional Education Programs   Breakthrough Pa n         Pa n                Onco ogy                     ONS Reg onal Chapter Meeting   MI      6/11/2012        Med cal Communications Media Inc.                   Dav d                 W llard              54 Friends Lane                                        Newtown          PA                    (267) 364-0556
                                                                  to engage and learn from a v s ting key opinion leader at
                                                                  the convenience of their local chapter meeting. Web-
                                                                  based archive extends reach and serves as a convenient
                                                                  resource after live meet ng.
   12 224            165000.000             90 000 6/12/2012      Live CME lecture series offers nurses un que opportun ty    7/1/2012               11/6/2013            ive                Professional Education Programs   Breakthrough Pa n         Pa n                Onco ogy                     ONS Reg onal Chapter Meeting   NM      6/11/2012        Med cal Communications Media Inc.                   Dav d                 W llard              54 Friends Lane                                        Newtown          PA                    (267) 364-0556
                                                                  to engage and learn from a v s ting key opinion leader at
                                                                  the convenience of their local chapter meeting. Web-
                                                                  based archive extends reach and serves as a convenient
                                                                  reso rce after li e meet ng
   12 224            165000.000             90 000 6/12/2012      Live CME lecture series offers nurses un que opportun ty    7/1/2012               11/6/2013            ive                Professional Education Programs   Breakthrough Pa n         Pa n                Onco ogy                     ONS Reg onal Chapter Meeting   OH      6/11/2012        Med cal Communications Media Inc.                   Dav d                 W llard              54 Friends Lane                                        Newtown          PA                    (267) 364-0556
                                                                  to engage and learn from a v s ting key opinion leader at
                                                                  the convenience of their local chapter meeting. Web-
                                                                  based archive extends reach and serves as a convenient
                                                                  reso rce after li e meet ng
   12 224            165000.000             90 000 6/12/2012      Live CME lecture series offers nurses un que opportun ty    7/1/2012               11/6/2013            ive                Professional Education Programs   Breakthrough Pa n         Pa n                Onco ogy                     ONS Reg onal Chapter Meeting   OR      6/11/2012        Med cal Communications Media Inc.                   Dav d                 W llard              54 Friends Lane                                        Newtown          PA                    (267) 364-0556
                                                                  to engage and learn from a v s ting key opinion leader at
                                                                  the convenience of their local chapter meeting. Web-
                                                                  based archive extends reach and serves as a convenient
                                                                  reso rce after li e meet ng
   12 224            165000.000             90 000 6/12/2012      Live CME lecture series offers nurses un que opportun ty    7/1/2012               11/6/2013            ive                Professional Education Programs   Breakthrough Pa n         Pa n                Onco ogy                     ONS Reg onal Chapter Meeting   PA      6/11/2012        Med cal Communications Media Inc.                   Dav d                 W llard              54 Friends Lane                                        Newtown          PA                    (267) 364-0556
                                                                  to engage and learn from a v s ting key opinion leader at
                                                                  the convenience of their local chapter meeting. Web-
                                                                  based archive extends reach and serves as a convenient
                                                                  resource after live meet ng.
   12 224            165000.000             90 000 6/12/2012      Live CME lecture series offers nurses un que opportun ty    7/1/2012               11/6/2013            Web                Web Posting/Archive               Breakthrough Pa n         Pa n                                                                                    6/11/2012        Med cal Communications Media Inc.                   Dav d                 Wi lard              54 Friends Lane                                        Newtown          PA                    (267) 364-0556
                                                                  to engage and learn from a v s ting key opinion leader at
                                                                  the convenience of their local chapter meeting. Web-
                                                                  based archive extends reach and serves as a convenient
                                                                  resource after live meet ng.
   12 224            165000.000             90 000 6/12/2012      Live CME lecture series offers nurses un que opportun ty    7/1/2012               11/6/2013            Web                Web Posting/Archive               Breakthrough Pa n         Pa n                Onco ogy                                                            6/11/2012        Med cal Communications Media Inc.                   Dav d                 Wi lard              54 Friends Lane                                        Newtown          PA                    (267) 364-0556
                                                                  to engage and learn from a v s ting key opinion leader at
                                                                  the convenience of their local chapter meeting. Web-
                                                                  based archive extends reach and serves as a convenient
                                                                  resource after live meet ng.
   12 320              5000.000              5 000 5/23/2012      The 26th Annual Jose I. R card MD Family Med c ne &          1/9/2012              11/11/2012           ive                Professional Education Programs   Op oid Misuse and Abuse   Pa n                                             Pullman Plaza Hotel            WV      5/23/2012        Fam ly Medicine Foundation of West V rginia Inc.    William               Ferrell              650 Main Street                                        Barboursvil e    WV                    (304) 733-6485
                                                                  Sports Medicine Conference s a 26-speaker live- ecture
                                                                  conference with question & answer opportunit es to be
                                                                  held on Nov. 9-11 2012 at the Pullman Plaza Hotel in
                                                                  Huntington WV.
   12 320              5000.000              5 000 5/23/2012      The 26th Annual Jose I. R card MD Family Med c ne &          1/9/2012              11/11/2012           ive                Professional Education Programs   Op oid Misuse and Abuse   Pa n                Fam ly Med c ne              Pullman Plaza Hotel            WV      5/23/2012        Fam ly Med cine Foundation of West V rginia Inc.    William               Ferrell              650 Main Street                                        Barboursvil e    WV                    (304) 733-6485
                                                                  Sports Medicine Conference s a 26-speaker live- ecture
                                                                  conference with question & answer opportunit es to be
                                                                  held on Nov. 9-11 2012 at the Pullman Plaza Hotel in
                                                                  Huntington WV
   12 320              5000.000              5 000 5/23/2012      The 26th Annual Jose I. R card MD Family Med c ne &          1/9/2012              11/11/2012           ive                Professional Education Programs   Op oid Misuse and Abuse   Pa n                General                      Pullman Plaza Hotel            WV      5/23/2012        Fam ly Med cine Foundation of West V rginia Inc.    William               Ferrell              650 Main Street                                        Barboursvil e    WV                    (304) 733-6485
                                                                  Sports Medicine Conference s a 26-speaker live- ecture
                                                                  conference with question & answer opportunit es to be
                                                                  held on Nov. 9-11 2012 at the Pullman Plaza Hotel in
                                                                  H ntington WV
   12 320              5000.000              5 000 5/23/2012      The 26th Annual Jose I. R card MD Family Med c ne &          1/9/2012              11/11/2012           ive                Professional Education Programs   Op oid Misuse and Abuse   Pa n                Internal Med c ne            Pullman Plaza Hotel            WV      5/23/2012        Fam ly Med cine Foundation of West V rginia Inc.    William               Ferrell              650 Main Street                                        Barboursvil e    WV                    (304) 733-6485
                                                                  Sports Medicine Conference s a 26-speaker live- ecture
                                                                  conference with question & answer opportunit es to be
                                                                  held on Nov. 9-11 2012 at the Pullman Plaza Hotel in
                                                                  H ntington WV
   12 382             10000.000             10 000 6/4/2012       This two-day CME-approved conference is being held to       9/7/2012               9/8/2012             ive                Symposium                         Chron c Pa n (General)    Pa n                Anesthes ology               MD Anderson                    TX      6/4/2012         The Univers ty of Texas MD Anderson Cancer Center   Kel ey                Porras               1155 Press er Unit 1381                                Houston          TX                    (713) 563-0603
                                                                  address educational def c encies in supportive care
                                                                  hospice and pall ative medicine.
   12 382             10000.000             10 000 6/4/2012       This two-day CME-approved conference is being held to       9/7/2012               9/8/2012             ive                Symposium                         Chron c Pa n (General)    Pa n                Clin cal Psychologist        MD Anderson                    TX      6/4/2012         The Univers ty of Texas MD Anderson Cancer Center   Kel ey                Porras               1155 Press er Unit 1381                                Houston          TX                    (713) 563-0603
                                                                  address educational def c encies in supportive care
                                                                  hos ice and all ati e medicine
   12 382             10000.000             10 000 6/4/2012       This two-day CME-approved conference is being held to       9/7/2012               9/8/2012             ive                Symposium                         Chron c Pa n (General)    Pa n                Fam ly Med c ne              MD Anderson                    TX      6/4/2012         The Univers ty of Texas MD Anderson Cancer Center   Kel ey                Porras               1155 Press er Unit 1381                                Houston          TX                    (713) 563-0603
                                                                  address educational def c encies in supportive care
                                                                  hospice and pall ative medicine.
   12 382             10000.000             10 000 6/4/2012       This two-day CME-approved conference is being held to       9/7/2012               9/8/2012             ive                Symposium                         Chron c Pa n (General)    Pa n                General                      MD Anderson                    TX      6/4/2012         The Univers ty of Texas MD Anderson Cancer Center   Kel ey                Porras               1155 Press er Unit 1381                                Houston          TX                    (713) 563-0603
                                                                  address educational def c encies in supportive care
                                                                  hos ice and all ati e medicine
   12 382             10000.000             10 000 6/4/2012       This two-day CME-approved conference is being held to       9/7/2012               9/8/2012             ive                Symposium                         Chron c Pa n (General)    Pa n                Medical Oncology             MD Anderson                    TX      6/4/2012         The Univers ty of Texas MD Anderson Cancer Center   Kel ey                Porras               1155 Press er Unit 1381                                Houston          TX                    (713) 563-0603
                                                                  address educational def c encies in supportive care
                                                                  hospice and pall ative medicine.
   12 382             10000.000             10 000 6/4/2012       This two-day CME-approved conference is being held to       9/7/2012               9/8/2012             ive                Symposium                         Chron c Pa n (General)    Pa n                Pain Medicine                MD Anderson                    TX      6/4/2012         The Univers ty of Texas MD Anderson Cancer Center   Kel ey                Porras               1155 Press er Unit 1381                                Houston          TX                    (713) 563-0603
                                                                  address educational def c encies in supportive care
                                                                  hos ice and all ati e medicine




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12 382    10000.000    10 000 6/4/2012    This two-day CME-approved conference is being held to      9/7/2012     9/8/2012       ive                Symposium                         Chron c Pa n (General)    Pa n   Pall ative Med c ne     MD Anderson                    TX   6/4/2012    The Univers ty of Texas MD Anderson Cancer Center      Kel ey    Porras         1155 Press er Unit 1381    Houston       TX   (713) 563-0603
                                          address educational def c encies in supportive care
                                          hospice and pall ative medicine.
12 382    10000.000    10 000 6/4/2012    This two-day CME-approved conference is being held to      9/7/2012     9/8/2012       ive                Symposium                         Chron c Pa n (General)    Pa n   Psychiatry              MD Anderson                    TX   6/4/2012    The Univers ty of Texas MD Anderson Cancer Center      Kel ey    Porras         1155 Press er Unit 1381    Houston       TX   (713) 563-0603
                                          address educational def c encies in supportive care
                                          hos ice and all ati e medicine
12 430    35000.000    10 000 6/25/2012   Two-day live conference. Didactic lectures delivered v a    0/26/2012   10/27/2012     ive                Live                              Chron c Pa n (General)    Pa n                           The intercontinental hotel     IL   6/4/2012    Global Academy for Med cal Educat on LLC               Sylvia    Re tman        5635 F shers Lane          Rockvi le     MD   (973) 290-8214
                                          sl de ecture fo lowed by panel d scussion and question-
                                          and-answer period. Audience part cipat on by the use of
                                          an ARS system. The meeting syl abus w ll conta n a copy
                                          of the slides.
12 430    35000.000    10 000 6/25/2012   Two-day live conference. Didactic lectures delivered v a    0/26/2012   10/27/2012     ive                Professional Education Programs   Chron c Pa n (General)    Pa n   Hematology Oncology     Hotel In erContinental         IL   6/4/2012    Global Academy for Med cal Educat on LLC               Sylvia    Re tman        5635 F shers Lane          Rockvi le     MD   (973) 290-8214
                                          sl de ecture fo lowed by panel d scussion and question-
                                          and-answer period. Audience part cipat on by the use of
                                          an ARS system. The meeting syl abus w ll conta n a copy
                                          of the slides.
12 430    35000.000    10 000 6/25/2012   Two-day live conference. Didactic lectures delivered v a    0/26/2012   10/27/2012     ive                Professional Education Programs   Chron c Pa n (General)    Pa n   Onco ogy                Hotel In erContinental         IL   6/4/2012    Global Academy for Med cal Educat on LLC               Sylvia    Re tman        5635 F shers Lane          Rockvi le     MD   (973) 290-8214
                                          sl de ecture fo lowed by panel d scussion and question-
                                          and-answer period. Audience part cipat on by the use of
                                          an ARS system. The meeting syl abus w ll conta n a copy
                                          of the slides.
12 664   240588.750   240 589 6/28/2012   Series of 4- freestand ng web-based CME modules            9/5/2012     3/1/2014      Web                 Web Activ ty                      Breakthrough Pa n         Pa n   Medical Oncology                                            6/11/2012   Continuing Educat on All ance LLC                      Patrick   Ruddy          1 Dock Street              Stamford      CT   (203) 316-2114
                                          targeted to pain specialists and oncology cl nicians.
                                          Please see attached Program Descri tion
12 664   240588.750   240 589 6/28/2012   Series of 4- freestand ng web-based CME modules            9/5/2012     3/1/2014      Web                 Web Activ ty                      Breakthrough Pa n         Pa n   Onco ogy                                                    6/11/2012   Continuing Educat on All ance LLC                      Patrick   Ruddy          1 Dock Street              Stamford      CT   (203) 316-2114
                                          targeted to pain specialists and oncology cl nicians.
                                          Please see attached Program Description
12 664   240588.750   240 589 6/28/2012   Series of 4- freestand ng web-based CME modules            9/5/2012     3/1/2014      Web                 Web Activ ty                      Breakthrough Pa n         Pa n   Pain Medicine                                               6/11/2012   Continuing Educat on All ance LLC                      Patrick   Ruddy          1 Dock Street              Stamford      CT   (203) 316-2114
                                          targeted to pain specialists and oncology cl nicians.
                                          Please see attached Program Descri tion
12 664   240588.750   240 589 6/28/2012   Series of 4- freestand ng web-based CME modules            9/5/2012     3/1/2014      Web                 Webcast/Online Program            Breakthrough Pa n         Pa n   Medical Oncology                                            6/11/2012   Continuing Educat on All ance LLC                      Patrick   Ruddy          1 Dock Street              Stamford      CT   (203) 316-2114
                                          targeted to pain specialists and oncology cl nicians.
                                          Please see attached Program Description
12 664   240588.750   240 589 6/28/2012   Series of 4- freestand ng web-based CME modules            9/5/2012     3/1/2014      Web                 Webcast/Online Program            Breakthrough Pa n         Pa n   Onco ogy                                                    6/11/2012   Continuing Educat on All ance LLC                      Patrick   Ruddy          1 Dock Street              Stamford      CT   (203) 316-2114
                                          targeted to pain specialists and oncology cl nicians.
                                          Please see attached Program Descri tion
12 664   240588.750   240 589 6/28/2012   Series of 4- freestand ng web-based CME modules            9/5/2012     3/1/2014      Web                 Webcast/Online Program            Breakthrough Pa n         Pa n   Pain Medicine                                               6/11/2012   Continuing Educat on All ance LLC                      Patrick   Ruddy          1 Dock Street              Stamford      CT   (203) 316-2114
                                          targeted to pain specialists and oncology cl nicians.
                                          Please see attached Program Description
12 754     5130.000     5 130 8/27/2012   The program s an ntensive two-day 17.25 CME event           0/25/2012   10/27/2012     ive                Symposium                         Op oid Misuse and Abuse   Pa n                           Shera on Alb. Airport Hotel    NM   8/22/2012   New Mexico Chapter American Col ege of Physicians      Sylvia    Burns          1432 Sara Way SE           Rio Rancho    NM   (505) 962-0358
                                          us ng skil s demonstrations workshops lectures and
                                           nteractive case-based discussions. These diverse
                                          formats w ll afford attendees an intensive overv ew of
                                          ex st ng medical knowledge.
12 754     5130.000     5 130 8/27/2012   The program s an ntensive two-day 17.25 CME event           0/25/2012   10/27/2012     ive                Symposium                         Op oid Misuse and Abuse   Pa n   General                 Shera on Alb. Airport Hotel    NM   8/22/2012   New Mexico Chapter American Col ege of Physicians      Sylvia    Burns          1432 Sara Way SE           Rio Rancho    NM   (505) 962-0358
                                          us ng skil s demonstrations workshops lectures and
                                           nteractive case-based discussions. These diverse
                                          formats w ll afford attendees an intensive overv ew of
                                          e st ng medical no ledge
12 754     5130.000     5 130 8/27/2012   The program s an ntensive two-day 17.25 CME event           0/25/2012   10/27/2012     ive                Symposium                         Op oid Misuse and Abuse   Pa n   Internal Med c ne       Shera on Alb. Airport Hotel    NM   8/22/2012   New Mexico Chapter American Col ege of Physicians      Sylvia    Burns          1432 Sara Way SE           Rio Rancho    NM   (505) 962-0358
                                          us ng skil s demonstrations workshops lectures and
                                           nteractive case-based discussions. These diverse
                                          formats w ll afford attendees an intensive overv ew of
                                          e st ng medical no ledge
12 810    25000.000    15 000 9/5/2012    Grant request s for one live session on treatement                                     nduring Material   Journal Supp ement                Chron c Pain (General)    Pa n   General                                                     8/28/2012   Nat onal Association of Managed Care Physicians Inc.   Katie     Eads           4435 Waterfront Drive      Glen A len    VA   (804) 527-1905
                                          strategies of chronic pain at the Fall Managed Care
                                          Forum. The aud o from the session will be turned nto
                                          an enduring webcast. It wi l also be transcribed and an
                                          end ring jo rnal art c e i l e created
12 810    25000.000    15 000 9/5/2012    Grant request s for one live session on treatement                                     nduring Material   Journal Supp ement                Chron c Pain (General)    Pa n   Pain Medicine                                               8/28/2012   Nat onal Association of Managed Care Physicians Inc.   Katie     Eads           4435 Waterfront Drive      Glen A len    VA   (804) 527-1905
                                          strategies of chronic pain at the Fall Managed Care
                                          Forum. The aud o from the session will be turned nto
                                          an enduring webcast. It wi l also be transcribed and an
                                          enduring journal art c e wi l be created.
12 810    25000.000    15 000 9/5/2012    Grant request s for one live session on treatement                                     nduring Material   Journal Supp ement                Chron c Pain (General)    Pa n   Pharmacy D rector                                           8/28/2012   Nat onal Association of Managed Care Physicians Inc.   Katie     Eads           4435 Waterfront Drive      Glen A len    VA   (804) 527-1905
                                          strategies of chronic pain at the Fall Managed Care
                                          Forum. The aud o from the session will be turned nto
                                          an enduring webcast. It wi l also be transcribed and an
                                          enduring journal art c e wi l be created.
12 810    25000.000    15 000 9/5/2012    Grant request s for one live session on treatement          1/8/2012    4/1/2014       ive                Symposium                         Chron c Pa n (General)    Pa n   General                 Bellagio Hotel                 NV   8/28/2012   Nat onal Association of Managed Care Physicians Inc.   Katie     Eads           4435 Waterfront Drive      Glen A len    VA   (804) 527-1905
                                          strategies of chronic pain at the Fall Managed Care
                                          Forum. The aud o from the session will be turned nto
                                          an enduring webcast. It wi l also be transcribed and an
                                          enduring journal art c e wi l be created.
12 810    25000.000    15 000 9/5/2012    Grant request s for one live session on treatement          1/8/2012    4/1/2014       ive                Symposium                         Chron c Pa n (General)    Pa n   Pain Medicine           Bellagio Hotel                 NV   8/28/2012   Nat onal Association of Managed Care Physicians Inc.   Katie     Eads           4435 Waterfront Drive      Glen A len    VA   (804) 527-1905
                                          strategies of chronic pain at the Fall Managed Care
                                          Forum. The aud o from the session will be turned nto
                                          an enduring webcast. It wi l also be transcribed and an
                                          enduring journal art c e wi l be created.
12 810    25000.000    15 000 9/5/2012    Grant request s for one live session on treatement          1/8/2012    4/1/2014       ive                Symposium                         Chron c Pa n (General)    Pa n   Pharmacy D rector       Bellagio Hotel                 NV   8/28/2012   Nat onal Association of Managed Care Physicians Inc.   Katie     Eads           4435 Waterfront Drive      Glen A len    VA   (804) 527-1905
                                          strategies of chronic pain at the Fall Managed Care
                                          Forum. The aud o from the session will be turned nto
                                          an enduring webcast. It wi l also be transcribed and an
                                          end ring jo rnal art c e i l e created
12 810    25000.000    15 000 9/5/2012    Grant request s for one live session on treatement          1/8/2012    4/1/2014      Web                 Web Posting/Archive               Chron c Pa n (General)    Pa n   General                                                     8/28/2012   Nat onal Association of Managed Care Physicians Inc.   Katie     Eads           4435 Waterfront Drive      Glen A len    VA   (804) 527-1905
                                          strategies of chronic pain at the Fall Managed Care
                                          Forum. The aud o from the session will be turned nto
                                          an enduring webcast. It wi l also be transcribed and an
                                          end ring jo rnal art c e i l e created
12 810    25000.000    15 000 9/5/2012    Grant request s for one live session on treatement          1/8/2012    4/1/2014      Web                 Web Posting/Archive               Chron c Pa n (General)    Pa n   Pain Medicine                                               8/28/2012   Nat onal Association of Managed Care Physicians Inc.   Katie     Eads           4435 Waterfront Drive      Glen A len    VA   (804) 527-1905
                                          strategies of chronic pain at the Fall Managed Care
                                          Forum. The aud o from the session will be turned nto
                                          an enduring webcast. It wi l also be transcribed and an
                                          end ring jo rnal art c e i l e created
12 810    25000.000    15 000 9/5/2012    Grant request s for one live session on treatement          1/8/2012    4/1/2014      Web                 Web Posting/Archive               Chron c Pa n (General)    Pa n   Pharmacy D rector                                           8/28/2012   Nat onal Association of Managed Care Physicians Inc.   Katie     Eads           4435 Waterfront Drive      Glen A len    VA   (804) 527-1905
                                          strategies of chronic pain at the Fall Managed Care
                                          Forum. The aud o from the session will be turned nto
                                          an enduring webcast. It wi l also be transcribed and an
                                          enduring journal art c e wi l be created.
13 018   100000.000   100 000 8/29/2012   Web nar series (6) w/live Q&A; archived on ESP website                                Web                 Webcast/Online Program            Op oid Misuse and Abuse   Pa n   Pain Medicine                                               8/28/2012   Med Com Worldw de Inc                                  Joan      Meyer          101 Wash ngton             Morrisv lle   PA   (800) 408-4242
                                          as enduring program.
13 018   100000.000   100 000 8/29/2012   Web nar series (6) w/live Q&A; archived on ESP website                                Web                 Webcast/Online Program            Op oid Misuse and Abuse   Pa n   Pr mary Care                                                8/28/2012   Med Com Worldw de Inc                                  Joan      Meyer          101 Wash ngton             Morrisv lle   PA   (800) 408-4242
                                          as enduring program.
13 018   100000.000   100 000 8/29/2012   Web nar series (6) w/live Q&A; archived on ESP website      1/1/2012    12/15/2013    Web                 Web Posting/Archive               Op oid Misuse and Abuse   Pa n   Pain Medicine                                               8/28/2012   Med Com Worldw de Inc                                  Joan      Meyer          101 Wash ngton             Morrisv lle   PA   (800) 408-4242
                                          as enduring program.
13 018   100000.000   100 000 8/29/2012   Web nar series (6) w/live Q&A; archived on ESP website      1/1/2012    12/15/2013    Web                 Web Posting/Archive               Op oid Misuse and Abuse   Pa n   Pr mary Care                                                8/28/2012   Med Com Worldw de Inc                                  Joan      Meyer          101 Wash ngton             Morrisv lle   PA   (800) 408-4242
                                          as enduring program.
13 046    20401.220    20 401 8/28/2012   It s a 6-hour program ntended to provide attendees         9/20/2012    9/20/2012      ive                Professional Education Programs   Op oid Misuse and Abuse   Pa n   Clin cal Psychologist   JW Marr ott Desert Ridge       AZ   8/28/2012   American Academy of Pain Management                    Debra     Ne son-Hogan   975-A Morn ng Star Drive   Sonora        CA   (212) 532-4794
                                          with a range of opt ons to help manage moderate to
                                          severe pain while focusing on particular issues that are
                                          associated with the use of op oids.
13 046    20401.220    20 401 8/28/2012   It s a 6-hour program ntended to provide attendees         9/20/2012    9/20/2012      ive                Professional Education Programs   Op oid Misuse and Abuse   Pa n   Pain Medicine           JW Marr ott Desert Ridge       AZ   8/28/2012   American Academy of Pain Management                    Debra     Ne son-Hogan   975-A Morn ng Star Drive   Sonora        CA   (212) 532-4794
                                          with a range of opt ons to help manage moderate to
                                          severe pain while focusing on particular issues that are
                                          associated ith the se of o oids
14 164    10000.000    10 000 1/28/2013   The summ t s educat onal content w ll compr sed of         2/21/2013    2/23/2013      ive                Professional Education Programs   Chron c Pa n (General)    Pa n   Clin cal Psychologist   Key Largo Bay Marr ott Hotel   FL   11/8/2012   Cleveland Clinic Educational Foundat on                Lori      Taylor         9500 Euclid Avenue KK31    Cleveland     OH   (216) 448-0792
                                          didact c ectures panel discuss ons case-based lessons
                                          & workshops. The proposed activity appl es an
                                          educat onal strategy that incorporates adu t learn ng
                                            r nci les into the rogram
14 164    10000.000    10 000 1/28/2013   The summ t s educat onal content w ll compr sed of         2/21/2013    2/23/2013      ive                Professional Education Programs   Chron c Pa n (General)    Pa n   Hematology Oncology     Key Largo Bay Marr ott Hotel   FL   11/8/2012   Cleveland Clinic Educational Foundat on                Lori      Taylor         9500 Euclid Avenue KK31    Cleveland     OH   (216) 448-0792
                                          didact c ectures panel discuss ons case-based lessons
                                          & workshops. The proposed activity appl es an
                                          educat onal strategy that incorporates adu t learn ng
                                          pr nciples into the program.
14 164    10000.000    10 000 1/28/2013   The summ t s educat onal content w ll compr sed of         2/21/2013    2/23/2013      ive                Professional Education Programs   Chron c Pa n (General)    Pa n   Medical Oncology        Key Largo Bay Marr ott Hotel   FL   11/8/2012   Cleveland Clinic Educational Foundat on                Lori      Taylor         9500 Euclid Avenue KK31    Cleveland     OH   (216) 448-0792
                                          didact c ectures panel discuss ons case-based lessons
                                          & workshops. The proposed activity appl es an
                                          educat onal strategy that incorporates adu t learn ng
                                          pr nciples into the program.




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                                                                                                                            Case: 1:17-md-02804-DAP Doc #: 2251-93 Filed: 08/13/19 4 of 78. PageID #: 352319

14 164    10000.000    10 000 1/28/2013   The summ t s educat onal content w ll compr sed of     2/21/2013      2/23/2013     ive                Professional Education Programs   Chron c Pa n (General)   Pa n   Onco ogy                               Key Largo Bay Marr ott Hotel     FL   11/8/2012   Cleveland Clinic Educational Foundat on             Lori       Taylor    9500 Euclid Avenue KK31   Cleveland     OH   (216) 448-0792
                                          didact c ectures panel discuss ons case-based lessons
                                          & workshops. The proposed activity appl es an
                                          educat onal strategy that incorporates adu t learn ng
                                           r nci les into the rogram
14 164    10000.000    10 000 1/28/2013   The summ t s educat onal content w ll compr sed of     2/21/2013      2/23/2013     ive                Professional Education Programs   Chron c Pa n (General)   Pa n   Radiation Onco ogy                     Key Largo Bay Marr ott Hotel     FL   11/8/2012   Cleveland Clinic Educational Foundat on             Lori       Taylor    9500 Euclid Avenue KK31   Cleveland     OH   (216) 448-0792
                                          didact c ectures panel discuss ons case-based lessons
                                          & workshops. The proposed activity appl es an
                                          educat onal strategy that incorporates adu t learn ng
                                          pr nciples into the program.
14 222    64000.000    25 000 1/30/2013   Pain Treatment Top cs is website-based providing free                               ellowship          Other                             Chron c Pa n (General)   Pa n   Fam ly Med c ne                                                              1/30/2013   Stewart B. Leav tt PhD LTD Ill no s Corporat on     Stewart    Leavitt   202 Shermer Road          Glenview      IL   (847) 724-3091
                                          access to ev dence-based educational print resources
                                          and weekly research UPDATES articles on best clin cal
                                          practices for effective safe management of acute
                                          chronic & breakthrough pain.
14 222    64000.000    25 000 1/30/2013   Pain Treatment Top cs is website-based providing free                               ellowship          Other                             Chron c Pa n (General)   Pa n   General                                                                      1/30/2013   Stewart B. Leav tt PhD LTD Ill no s Corporat on     Stewart    Leavitt   202 Shermer Road          Glenview      IL   (847) 724-3091
                                          access to ev dence-based educational print resources
                                          and weekly research UPDATES articles on best clin cal
                                          practices for effective safe management of acute
                                          chronic & breakthrough pain.
14 222    64000.000    25 000 1/30/2013   Pain Treatment Top cs is website-based providing free                               ellowship          Other                             Chron c Pa n (General)   Pa n   Pain Medicine                                                                1/30/2013   Stewart B. Leav tt PhD LTD Ill no s Corporat on     Stewart    Leavitt   202 Shermer Road          Glenview      IL   (847) 724-3091
                                          access to ev dence-based educational print resources
                                          and weekly research UPDATES articles on best clin cal
                                          practices for effective safe management of acute
                                          chronic & breakthrough pain.
14 394    30000.000    25 920 2/22/2013   2 live 2-day seminars approved by FL Board of                                       nduring Material   Monograph                         Breakthrough Pa n        Pa n   Fam ly Med c ne                                                              2/22/2013   PRIME                                               Kath een   Moreo     8201 W McNab Road         Tamarac       FL   (954) 718-6055
                                          Medicine FL Osteopathic Board w ll occur n Tampa and
                                          FT Lauderdale FL fo low ng a successful seminar in Oct
                                          2012 in M ami. A ol ow-on mobi e CME monograph will
                                           e accessi e to a l FL ain h sicians
14 394    30000.000    25 920 2/22/2013   2 live 2-day seminars approved by FL Board of                                       nduring Material   Monograph                         Breakthrough Pa n        Pa n   Pain Medicine                                                                2/22/2013   PRIME                                               Kath een   Moreo     8201 W McNab Road         Tamarac       FL   (954) 718-6055
                                          Medicine FL Osteopathic Board w ll occur n Tampa and
                                          FT Lauderdale FL fo low ng a successful seminar in Oct
                                          2012 in M ami. A ol ow-on mobi e CME monograph will
                                           e accessi e to a l FL ain h sicians
14 394    30000.000    25 920 2/22/2013   2 live 2-day seminars approved by FL Board of                                       nduring Material   Monograph                         Breakthrough Pa n        Pa n   Physical Med c ne and Rehabil tation                                         2/22/2013   PRIME                                               Kath een   Moreo     8201 W McNab Road         Tamarac       FL   (954) 718-6055
                                          Medicine FL Osteopathic Board w ll occur n Tampa and
                                          FT Lauderdale FL fo low ng a successful seminar in Oct
                                          2012 in M ami. A ol ow-on mobi e CME monograph will
                                           e accessi e to a l FL ain h sicians
14 394    30000.000    25 920 2/22/2013   2 live 2-day seminars approved by FL Board of           /23/2013      4/23/2013     ive                Professional Education Programs   Breakthrough Pa n        Pa n   Pain Medicine                          Tampa Marr ott Waterside Hotel   FL   2/22/2013   PRIME                                               Kath een   Moreo     8201 W McNab Road         Tamarac       FL   (954) 718-6055
                                          Medicine FL Osteopathic Board w ll occur n Tampa and
                                          FT Lauderdale FL fo low ng a successful seminar in Oct
                                          2012 in M ami. A ol ow-on mobi e CME monograph will
                                          be accessib e to a l FL pain physicians.
14 394    30000.000    25 920 2/22/2013   2 live 2-day seminars approved by FL Board of           0/5/2013      10/6/2013     ive                Professional Education Programs   Breakthrough Pa n        Pa n   Pain Medicine                          Rena ssance FTL-Plantat on Hot   FL   2/22/2013   PRIME                                               Kath een   Moreo     8201 W McNab Road         Tamarac       FL   (954) 718-6055
                                          Medicine FL Osteopathic Board w ll occur n Tampa and
                                          FT Lauderdale FL fo low ng a successful seminar in Oct
                                          2012 in M ami. A ol ow-on mobi e CME monograph will
                                          be accessib e to a l FL pain physicians.
14 448   191370.000   191 370 1/15/2013   Symposium at 2013 ONS featur ng cl nical expert                                     nduring Material   Mobile Devices: e.g. Podcasts     Breakthrough Pa n        Pa n   Onco ogy                                                                     12/6/2012   Med Com Worldw de Inc                               Joan       Meyer     101 Wash ngton            Morrisv lle   PA   (800) 408-4242
                                          presentations focusing on therapeut c approaches for
                                           mprov ng breakthrough pain-related outcomes; onl ne
                                          enduring activity (slide-audio); streaming audio;
                                          podcast; pr ntable text versions.
14 448   191370.000   191 370 1/15/2013   Symposium at 2013 ONS featur ng cl nical expert                                     nduring Material   Mobile Devices: e.g. Podcasts     Breakthrough Pa n        Pa n   Pain Medicine                                                                12/6/2012   Med Com Worldw de Inc                               Joan       Meyer     101 Wash ngton            Morrisv lle   PA   (800) 408-4242
                                          presentations focusing on therapeut c approaches for
                                           mprov ng breakthrough pain-related outcomes; onl ne
                                          enduring activity (slide-audio); streaming audio;
                                          podcast; pr ntable text versions.
14 448   191370.000   191 370 1/15/2013   Symposium at 2013 ONS featur ng cl nical expert                                     ellowship          Other                             Breakthrough Pa n        Pa n   Onco ogy                                                                     12/6/2012   Med Com Worldw de Inc                               Joan       Meyer     101 Wash ngton            Morrisv lle   PA   (800) 408-4242
                                          presentations focusing on therapeut c approaches for
                                           mprov ng breakthrough pain-related outcomes; onl ne
                                          enduring activity (slide-audio); streaming audio;
                                           odcast; r nta le te t ersions
14 448   191370.000   191 370 1/15/2013   Symposium at 2013 ONS featur ng cl nical expert                                     ellowship          Other                             Breakthrough Pa n        Pa n   Pain Medicine                                                                12/6/2012   Med Com Worldw de Inc                               Joan       Meyer     101 Wash ngton            Morrisv lle   PA   (800) 408-4242
                                          presentations focusing on therapeut c approaches for
                                           mprov ng breakthrough pain-related outcomes; onl ne
                                          enduring activity (slide-audio); streaming audio;
                                           odcast; r nta le te t ersions
14 448   191370.000   191 370 1/15/2013   Symposium at 2013 ONS featur ng cl nical expert         /15/2013      5/31/2014     ive                Symposium                         Breakthrough Pa n        Pa n   Onco ogy                               Walter E. Washington ConvCen     DC   12/6/2012   Med Com Worldw de Inc                               Joan       Meyer     101 Wash ngton            Morrisv lle   PA   (800) 408-4242
                                          presentations focusing on therapeut c approaches for
                                           mprov ng breakthrough pain-related outcomes; onl ne
                                          enduring activity (slide-audio); streaming audio;
                                           odcast; r nta le te t ersions
14 448   191370.000   191 370 1/15/2013   Symposium at 2013 ONS featur ng cl nical expert         /15/2013      5/31/2014    Web                 Web Posting/Archive               Breakthrough Pa n        Pa n   Onco ogy                                                                     12/6/2012   Med Com Worldw de Inc                               Joan       Meyer     101 Wash ngton            Morrisv lle   PA   (800) 408-4242
                                          presentations focusing on therapeut c approaches for
                                           mprov ng breakthrough pain-related outcomes; onl ne
                                          enduring activity (slide-audio); streaming audio;
                                          podcast; pr ntable text versions.
14 448   191370.000   191 370 1/15/2013   Symposium at 2013 ONS featur ng cl nical expert         /15/2013      5/31/2014    Web                 Web Posting/Archive               Breakthrough Pa n        Pa n   Pain Medicine                                                                12/6/2012   Med Com Worldw de Inc                               Joan       Meyer     101 Wash ngton            Morrisv lle   PA   (800) 408-4242
                                          presentations focusing on therapeut c approaches for
                                           mprov ng breakthrough pain-related outcomes; onl ne
                                          enduring activity (slide-audio); streaming audio;
                                          podcast; pr ntable text versions.
14 592     6500.000     6 500 2/14/2013   Medicine & pharmacy n Iowa are collaborating on a live /30/2013       4/30/2013     ive                Professional Education Programs   Chron c Pa n (General)   Pa n   General                                Prairie Meadows Event Center     IA   2/12/2013   The Collaborative Education Institute               Jenn fer   Mou ton   8515 Douglas Avenue       Des Mo nes    IA   (515) 270-0713
                                          conference to st mu ate d scussion about pa n
                                          management & acil tate team-based care to
                                          successfully manage patients w th pain. We are hopeful
                                          to offer this mult disciplinary education annually.

14 592     6500.000     6 500 2/14/2013   Medicine & pharmacy n Iowa are collaborating on a live   /30/2013     4/30/2013     ive                Professional Education Programs   Chron c Pa n (General)   Pa n   Pain Medicine                          Prairie Meadows Event Center     IA   2/12/2013   The Collaborative Education Institute               Jenn fer   Mou ton   8515 Douglas Avenue       Des Mo nes    IA   (515) 270-0713
                                          conference to st mu ate discussion about pa n
                                          management & acil tate team-based care to
                                          successfully manage patients w th pain. We are hopeful
                                          to offer this mult disciplinary education annually.

14 592     6500.000     6 500 2/14/2013   Medicine & pharmacy n Iowa are collaborating on a live   /30/2013     4/30/2013     ive                Professional Education Programs   Chron c Pa n (General)   Pa n   Pr mary Care                           Prairie Meadows Event Center     IA   2/12/2013   The Collaborative Education Institute               Jenn fer   Mou ton   8515 Douglas Avenue       Des Mo nes    IA   (515) 270-0713
                                          conference to st mu ate discussion about pa n
                                          management & acil tate team-based care to
                                          successfully manage patients w th pain. We are hopeful
                                          to offer this mult disciplinary education annually.

14 610    10000.000    10 000 2/14/2013   Program s designed to enhance the knowledge & ski ls       /29/2013   4/30/2013     ive                Symposium                         Chron c Pa n (General)   Pa n   Medical Oncology                       MD Anderson                      TX   2/14/2013   The Univers ty of Texas MD Anderson Cancer Center   Kel ey     Porras    1155 Press er Unit 1381   Houston       TX   (713) 563-7504
                                          of clin c ans who manage medical issues in cancer
                                          patients and survivors and clinical researchers interested
                                          n supportive care research in these patients.

14 610    10000.000    10 000 2/14/2013   Program s designed to enhance the knowledge & ski ls       /29/2013   4/30/2013     ive                Symposium                         Chron c Pa n (General)   Pa n   Onco ogy                               MD Anderson                      TX   2/14/2013   The Univers ty of Texas MD Anderson Cancer Center   Kel ey     Porras    1155 Press er Unit 1381   Houston       TX   (713) 563-7504
                                          of clin c ans who manage medical issues in cancer
                                          patients and survivors and clinical researchers interested
                                          n supportive care research in these patients.

14 610    10000.000    10 000 2/14/2013   Program s designed to enhance the knowledge & ski ls       /29/2013   4/30/2013     ive                Symposium                         Chron c Pa n (General)   Pa n   Researchers                            MD Anderson                      TX   2/14/2013   The Univers ty of Texas MD Anderson Cancer Center   Kel ey     Porras    1155 Press er Unit 1381   Houston       TX   (713) 563-7504
                                          of clin c ans who manage medical issues in cancer
                                          patients and survivors and clinical researchers interested
                                          n supportive care research in these patients.

14 784   155244.000   155 244 7/8/2013    The program ncludes a 1.5-day live ons te CME            1/8/2013     11/9/2013     ive                Symposium                         Breakthrough Pa n        Pa n   Pain Medicine                          Marriott Ch cago O'Hare Hot      IL   6/28/2013   PRIME                                               Kath een   Moreo     8201 W McNab Road         Tamarac       FL   (954) 718-6055
                                          seminar and 6 endur ng mobile/online-accessible video
                                          modules ndiv dually accredited and accessed through
                                          PRIME s dedica ed academ c fel owship/res dency
                                          website as well as its webs te for practicing physi
14 784   155244.000   155 244 7/8/2013    The program ncludes a 1.5-day live ons te CME            1/8/2013     11/9/2013     ive                Symposium                         Chron c Pa n (General)   Pa n   Pain Medicine                          Marriott Ch cago O'Hare Hot      IL   6/28/2013   PRIME                                               Kath een   Moreo     8201 W McNab Road         Tamarac       FL   (954) 718-6055
                                          seminar and 6 endur ng mobile/online-accessible video
                                          modules ndiv dually accredited and accessed through
                                          PRIME s dedica ed academ c fel owship/res dency
                                            e site as ell as its e s te for racticing h si




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14 784   155244.000   155 244 7/8/2013    The program ncludes a 1.5-day live ons te CME             1/8/2013   11/9/2013      ive   Symposium                         Op oid Misuse and Abuse   Pa n   Pain Medicine                          Marriott Ch cago O'Hare Hot                        IL   6/28/2013   PRIME                               Kath een   Moreo   8201 W McNab Road                 Tamarac     FL   (954) 718-6055
                                          seminar and 6 endur ng mobile/online-accessible video
                                          modules ndiv dually accredited and accessed through
                                          PRIME s dedica ed academ c fel owship/res dency
                                            e site as ell as its e s te for racticing h si
14 784   155244.000   155 244 7/8/2013    The program ncludes a 1.5-day live ons te CME             /1/2014    12/15/2014    Web    Web Posting/Archive               Breakthrough Pa n         Pa n   General                                                                                        6/28/2013   PRIME                               Kath een   Moreo   8201 W McNab Road                 Tamarac     FL   (954) 718-6055
                                          seminar and 6 endur ng mobile/online-accessible video
                                          modules ndiv dually accredited and accessed through
                                          PRIME s dedica ed academ c fel owship/res dency
                                          website as well as its webs te for practicing physi
14 784   155244.000   155 244 7/8/2013    The program ncludes a 1.5-day live ons te CME             /1/2014    12/15/2014    Web    Web Posting/Archive               Breakthrough Pa n         Pa n   Internal Med c ne                                                                              6/28/2013   PRIME                               Kath een   Moreo   8201 W McNab Road                 Tamarac     FL   (954) 718-6055
                                          seminar and 6 endur ng mobile/online-accessible video
                                          modules ndiv dually accredited and accessed through
                                          PRIME s dedica ed academ c fel owship/res dency
                                          website as well as its webs te for practicing physi
14 784   155244.000   155 244 7/8/2013    The program ncludes a 1.5-day live ons te CME             /1/2014    12/15/2014    Web    Web Posting/Archive               Breakthrough Pa n         Pa n   Pain Medicine                                                                                  6/28/2013   PRIME                               Kath een   Moreo   8201 W McNab Road                 Tamarac     FL   (954) 718-6055
                                          seminar and 6 endur ng mobile/online-accessible video
                                          modules ndiv dually accredited and accessed through
                                          PRIME s dedica ed academ c fel owship/res dency
                                          website as well as its webs te for practicing physi
14 784   155244.000   155 244 7/8/2013    The program ncludes a 1.5-day live ons te CME             /1/2014    12/15/2014    Web    Web Posting/Archive               Breakthrough Pa n         Pa n   Pain Medicine                                                                                  6/28/2013   PRIME                               Kath een   Moreo   8201 W McNab Road                 Tamarac     FL   (954) 718-6055
                                          seminar and 6 endur ng mobile/online-accessible video
                                          modules ndiv dually accredited and accessed through
                                          PRIME s dedica ed academ c fel owship/res dency
                                          website as well as its webs te for practicing physi
14 784   155244.000   155 244 7/8/2013    The program ncludes a 1.5-day live ons te CME             /1/2014    12/15/2014    Web    Web Posting/Archive               Breakthrough Pa n         Pa n   Physical Med c ne and Rehabil tation                                                           6/28/2013   PRIME                               Kath een   Moreo   8201 W McNab Road                 Tamarac     FL   (954) 718-6055
                                          seminar and 6 endur ng mobile/online-accessible video
                                          modules ndiv dually accredited and accessed through
                                          PRIME s dedica ed academ c fel owship/res dency
                                            e site as ell as its e s te for racticing h si
14 784   155244.000   155 244 7/8/2013    The program ncludes a 1.5-day live ons te CME             /1/2014    12/15/2014    Web    Web Posting/Archive               Chron c Pa n (General)    Pa n   General                                                                                        6/28/2013   PRIME                               Kath een   Moreo   8201 W McNab Road                 Tamarac     FL   (954) 718-6055
                                          seminar and 6 endur ng mobile/online-accessible video
                                          modules ndiv dually accredited and accessed through
                                          PRIME s dedica ed academ c fel owship/res dency
                                            e site as ell as its e s te for racticing h si
14 784   155244.000   155 244 7/8/2013    The program ncludes a 1.5-day live ons te CME             /1/2014    12/15/2014    Web    Web Posting/Archive               Chron c Pa n (General)    Pa n   Internal Med c ne                                                                              6/28/2013   PRIME                               Kath een   Moreo   8201 W McNab Road                 Tamarac     FL   (954) 718-6055
                                          seminar and 6 endur ng mobile/online-accessible video
                                          modules ndiv dually accredited and accessed through
                                          PRIME s dedica ed academ c fel owship/res dency
                                            e site as ell as its e s te for racticing h si
14 784   155244.000   155 244 7/8/2013    The program ncludes a 1.5-day live ons te CME             /1/2014    12/15/2014    Web    Web Posting/Archive               Chron c Pa n (General)    Pa n   Pain Medicine                                                                                  6/28/2013   PRIME                               Kath een   Moreo   8201 W McNab Road                 Tamarac     FL   (954) 718-6055
                                          seminar and 6 endur ng mobile/online-accessible video
                                          modules ndiv dually accredited and accessed through
                                          PRIME s dedica ed academ c fel owship/res dency
                                          website as well as its webs te for practicing physi
14 784   155244.000   155 244 7/8/2013    The program ncludes a 1.5-day live ons te CME             /1/2014    12/15/2014    Web    Web Posting/Archive               Chron c Pa n (General)    Pa n   Pain Medicine                                                                                  6/28/2013   PRIME                               Kath een   Moreo   8201 W McNab Road                 Tamarac     FL   (954) 718-6055
                                          seminar and 6 endur ng mobile/online-accessible video
                                          modules ndiv dually accredited and accessed through
                                          PRIME s dedica ed academ c fel owship/res dency
                                          website as well as its webs te for practicing physi
14 784   155244.000   155 244 7/8/2013    The program ncludes a 1.5-day live ons te CME             /1/2014    12/15/2014    Web    Web Posting/Archive               Chron c Pa n (General)    Pa n   Physical Med c ne and Rehabil tation                                                           6/28/2013   PRIME                               Kath een   Moreo   8201 W McNab Road                 Tamarac     FL   (954) 718-6055
                                          seminar and 6 endur ng mobile/online-accessible video
                                          modules ndiv dually accredited and accessed through
                                          PRIME s dedica ed academ c fel owship/res dency
                                          website as well as its webs te for practicing physi
14 784   155244.000   155 244 7/8/2013    The program ncludes a 1.5-day live ons te CME             /1/2014    12/15/2014    Web    Web Posting/Archive               Op oid Misuse and Abuse   Pa n   General                                                                                        6/28/2013   PRIME                               Kath een   Moreo   8201 W McNab Road                 Tamarac     FL   (954) 718-6055
                                          seminar and 6 endur ng mobile/online-accessible video
                                          modules ndiv dually accredited and accessed through
                                          PRIME s dedicated academ c fel owship/res dency
                                          website as well as its webs te for practicing physi
14 784   155244.000   155 244 7/8/2013    The program ncludes a 1.5-day live ons te CME             /1/2014    12/15/2014    Web    Web Posting/Archive               Op oid Misuse and Abuse   Pa n   Internal Med c ne                                                                              6/28/2013   PRIME                               Kath een   Moreo   8201 W McNab Road                 Tamarac     FL   (954) 718-6055
                                          seminar and 6 endur ng mobile/online-accessible video
                                          modules ndiv dually accredited and accessed through
                                          PRIME s dedica ed academ c fel owship/res dency
                                            e site as ell as its e s te for racticing h si
14 784   155244.000   155 244 7/8/2013    The program ncludes a 1.5-day live ons te CME             /1/2014    12/15/2014    Web    Web Posting/Archive               Op oid Misuse and Abuse   Pa n   Pain Medicine                                                                                  6/28/2013   PRIME                               Kath een   Moreo   8201 W McNab Road                 Tamarac     FL   (954) 718-6055
                                          seminar and 6 endur ng mobile/online-accessible video
                                          modules ndiv dually accredited and accessed through
                                          PRIME s dedica ed academ c fel owship/res dency
                                            e site as ell as its e s te for racticing h si
14 784   155244.000   155 244 7/8/2013    The program ncludes a 1.5-day live ons te CME             /1/2014    12/15/2014    Web    Web Posting/Archive               Op oid Misuse and Abuse   Pa n   Pain Medicine                                                                                  6/28/2013   PRIME                               Kath een   Moreo   8201 W McNab Road                 Tamarac     FL   (954) 718-6055
                                          seminar and 6 endur ng mobile/online-accessible video
                                          modules ndiv dually accredited and accessed through
                                          PRIME s dedica ed academ c fel owship/res dency
                                            e site as ell as its e s te for racticing h si
14 784   155244.000   155 244 7/8/2013    The program ncludes a 1.5-day live ons te CME             /1/2014    12/15/2014    Web    Web Posting/Archive               Op oid Misuse and Abuse   Pa n   Physical Med c ne and Rehabil tation                                                           6/28/2013   PRIME                               Kath een   Moreo   8201 W McNab Road                 Tamarac     FL   (954) 718-6055
                                          seminar and 6 endur ng mobile/online-accessible video
                                          modules ndiv dually accredited and accessed through
                                          PRIME s dedica ed academ c fel owship/res dency
                                          website as well as its webs te for practicing physi
14 892    72600.000    72 600 3/12/2013   An interactive web based activity for oncology and        /25/2013   8/25/2014     Web    Web Activ ty                      Breakthrough Pa n         Pa n   General                                                                                        3/12/2013   Univers ty of Tennessee             G en       Farr    Col ege of Pharmacy CE Programs   Knoxvi le   TN   (865) 974-6605
                                          community pharmacists on the dentif cation and
                                          managment of breakthrough cancer pa n.
14 892    72600.000    72 600 3/12/2013   An interactive web based activity for oncology and        /25/2013   8/25/2014     Web    Web Activ ty                      Breakthrough Pa n         Pa n   Onco ogy                                                                                       3/12/2013   Univers ty of Tennessee             G en       Farr    Col ege of Pharmacy CE Programs   Knoxvi le   TN   (865) 974-6605
                                          community pharmacists on the dentif cation and
                                          managment of breakthrough cancer pa n.
15 078    25000.000    25 000 3/27/2013    Essential Tools for Treating the Pat ent in Pa n™ s      /10/2013   4/11/2013      ive   Professional Education Programs   Breakthrough Pa n         Pa n   Pain Medicine                          Greater Fort Lauderda e/Broward Convetion Center   FL   3/27/2013   American Academy of Pain Medicine   Alyssa     Engle   4700 West Lake Avenue             Glenview    IL   (847)375-4829
                                          designed for clinicians interested in obtaining an
                                          overview of some of the fundamenta s of Pain Medicine
                                           n addit on to practical approaches to the treatment of
                                          common pain disorders. The course offers clin cally
                                          focused ectures and case presentations on the
                                          assessment diagnos s and treatment of patients w th
                                          various acute cancer end-of-life and chronic pain
                                          s ndromes
15 078    25000.000    25 000 3/27/2013    Essential Tools for Treating the Pat ent in Pa n™ s      /10/2013   4/11/2013      ive   Professional Education Programs   Breakthrough Pa n         Pa n   Pr mary Care                           Greater Fort Lauderda e/Broward Convetion Center   FL   3/27/2013   American Academy of Pain Medicine   Alyssa     Engle   4700 West Lake Avenue             Glenview    IL   (847)375-4829
                                          designed for clinicians interested in obtaining an
                                          overview of some of the fundamenta s of Pain Medicine
                                           n addit on to practical approaches to the treatment of
                                          common pain disorders. The course offers clin cally
                                          focused ectures and case presentations on the
                                          assessment diagnos s and treatment of patients w th
                                          various acute cancer end-of-life and chronic pain
                                          s ndromes
15 078    25000.000    25 000 3/27/2013    Essential Tools for Treating the Pat ent in Pa n™ s      /10/2013   4/11/2013      ive   Professional Education Programs   Chron c Pa n (General)    Pa n   Pain Medicine                          Greater Fort Lauderdale/Broward Convetion Center   FL   3/27/2013   American Academy of Pain Medicine   Alyssa     Engle   4700 West Lake Avenue             Glenview    IL   (847)375-4829
                                          designed for clinicians interested in obtaining an
                                          overview of some of the fundamenta s of Pain Medicine
                                           n addit on to practical approaches to the treatment of
                                          common pain disorders. The course offers clin cally
                                          focused ectures and case presentations on the
                                          assessment diagnos s and treatment of patients w th
                                          various acute cancer end-of-life and chronic pain
                                          s ndromes
15 078    25000.000    25 000 3/27/2013    Essential Tools for Treating the Pat ent in Pa n™ s      /10/2013   4/11/2013      ive   Professional Education Programs   Chron c Pa n (General)    Pa n   Pr mary Care                           Greater Fort Lauderda e/Broward Convetion Center   FL   3/27/2013   American Academy of Pain Medicine   Alyssa     Engle   4700 West Lake Avenue             Glenview    IL   (847)375-4829
                                          designed for clinicians interested in obtaining an
                                          overview of some of the fundamenta s of Pain Medicine
                                           n addit on to practical approaches to the treatment of
                                          common pain disorders. The course offers clin cally
                                          focused ectures and case presentations on the
                                          assessment diagnos s and treatment of patients w th
                                          various acute cancer end-of-life and chronic pain
                                          s ndromes
15 078    25000.000    25 000 3/27/2013    Essential Tools for Treating the Pat ent in Pa n™ s      /10/2013   4/11/2013      ive   Professional Education Programs   Op oid Misuse and Abuse   Pa n   Pain Medicine                          Greater Fort Lauderdale/Broward Convetion Center   FL   3/27/2013   American Academy of Pain Medicine   Alyssa     Engle   4700 West Lake Avenue             Glenview    IL   (847)375-4829
                                          designed for clinicians interested in obtaining an
                                          overview of some of the fundamenta s of Pain Medicine
                                           n addit on to practical approaches to the treatment of
                                          common pain disorders. The course offers clin cally
                                          focused ectures and case presentations on the
                                          assessment diagnos s and treatment of patients w th
                                          various acute cancer end-of-life and chronic pain
                                          s ndromes




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15 078   25000.000   25 000 3/27/2013    Essential Tools for Treating the Pat ent in Pa n™ s       /10/2013   4/11/2013     ive   Professional Education Programs   Op oid Misuse and Abuse   Pa n   Pr mary Care        Greater Fort Lauderdale/Broward Convetion Center   FL   3/27/2013   American Academy of Pain Medicine   Alyssa   Engle   4700 West Lake Avenue              Glenview      IL   (847)375-4829
                                        designed for clinicians interested in obtaining an
                                        overview of some of the fundamenta s of Pain Medicine
                                         n addit on to practical approaches to the treatment of
                                        common pain disorders. The course offers clin cally
                                        focused ectures and case presentations on the
                                        assessment diagnos s and treatment of patients w th
                                        various acute cancer end-of-life and chronic pain
                                        s ndromes
15 106   30000.000   30 000 3/12/2013   ESP Live At APS 32nd Annual Sc entific Meeting is an       /22/2013   5/22/2014    Web    Mobile Devices: e.g. Podcasts     Chron c Pa n (General)    Pa n   Pain Medicine                                                               3/12/2013   Med Com Worldw de Inc               Joan     Meyer   101 Wash ngton                     Morrisv lle   PA   (800) 408-4242
                                        accredited mult media meet ng highl ghts activity online
                                        at the Emerg ng Solutions in Pa n (ESP) webs te. ESP
                                        Live At APS w ll specifica ly address educational needs of
                                        practicing clin c ans who treat patients w th chronic pain
                                        and chal enges they may face in obtain ng up-to-date
                                         nformat on n conc se and easily accessib e forma s.
                                        This educat onal activity includes meet ng highlights
                                        from APS 2013 May 8-11 2013 featur ng video
                                         nterviews with key thought eaders summarizing new
                                        data research and information concerning safe and
                                        effective use of op oids n patients with chron c pain;
                                        program wi l be 6 streaming v deo interviews totaling
                                        1.0 hour (each module approx 10 m nutes in ength)
                                        available on the ESP webs te 1 PDF printab e text of
                                        program on ESP website and 1 podcast of program on

15 106   30000.000   30 000 3/12/2013   ESP Live At APS 32nd Annual Sc entific Meeting is an       /22/2013   5/22/2014    Web    Mobile Devices: e.g. Podcasts     Op oid Misuse and Abuse   Pa n   Pain Medicine                                                               3/12/2013   Med Com Worldw de Inc               Joan     Meyer   101 Wash ngton                     Morrisv lle   PA   (800) 408-4242
                                        accredited mult media meet ng highl ghts activity online
                                        at the Emerg ng Solutions in Pa n (ESP) webs te. ESP
                                        Live At APS w ll specifica ly address educational needs of
                                        practicing clin c ans who treat patients w th chronic pain
                                        and chal enges they may face in obtain ng up-to-date
                                        informat on n conc se and easily accessib e forma s.
                                        This educat onal activity includes meet ng highlights
                                        from APS 2013 May 8-11 2013 featur ng video
                                        interviews with key thought eaders summarizing new
                                        data research and information concerning safe and
                                        effective use of op oids n patients with chron c pain;
                                        program wi l be 6 streaming v deo interviews totaling
                                        1.0 hour (each module approx 10 m nutes in ength)
                                        available on the ESP webs te 1 PDF printab e text of
                                        program on ESP website and 1 podcast of program on
                                        ESP Rad o
15 106   30000.000   30 000 3/12/2013   ESP Live At APS 32nd Annual Sc entific Meeting is an       /22/2013   5/22/2014    Web    Web Posting/Archive               Chron c Pa n (General)    Pa n   Internal Med c ne                                                           3/12/2013   Med Com Worldw de Inc               Joan     Meyer   101 Wash ngton                     Morrisv lle   PA   (800) 408-4242
                                        accredited mult media meet ng highl ghts activity online
                                        at the Emerg ng Solutions in Pa n (ESP) webs te. ESP
                                        Live At APS w ll specifica ly address educational needs of
                                        practicing clin c ans who treat patients w th chronic pain
                                        and chal enges they may face in obtain ng up-to-date
                                        informat on n conc se and easily accessib e forma s.
                                        This educat onal activity includes meet ng highlights
                                        from APS 2013 May 8-11 2013 featur ng video
                                        interviews with key thought eaders summarizing new
                                        data research and information concerning safe and
                                        effective use of op oids n patients with chron c pain;
                                        program wi l be 6 streaming v deo interviews totaling
                                        1.0 hour (each module approx 10 m nutes in ength)
                                        available on the ESP webs te 1 PDF printab e text of
                                        program on ESP website and 1 podcast of program on

15 106   30000.000   30 000 3/12/2013   ESP Live At APS 32nd Annual Sc entific Meeting is an       /22/2013   5/22/2014    Web    Web Posting/Archive               Chron c Pa n (General)    Pa n   Pain Medicine                                                               3/12/2013   Med Com Worldw de Inc               Joan     Meyer   101 Wash ngton                     Morrisv lle   PA   (800) 408-4242
                                        accredited mult media meet ng highl ghts activity online
                                        at the Emerg ng Solutions in Pa n (ESP) webs te. ESP
                                        Live At APS w ll specifica ly address educational needs of
                                        practicing clin c ans who treat patients w th chronic pain
                                        and chal enges they may face in obtain ng up-to-date
                                         nformat on n conc se and easily accessib e forma s.
                                        This educat onal activity includes meet ng highlights
                                        from APS 2013 May 8-11 2013 featur ng video
                                         nterviews with key thought eaders summarizing new
                                        data research and information concerning safe and
                                        effective use of op oids n patients with chron c pain;
                                        program wi l be 6 streaming v deo interviews totaling
                                        1.0 hour (each module approx 10 m nutes in ength)
                                        available on the ESP webs te 1 PDF printab e text of
                                        program on ESP website and 1 podcast of program on
                                        ESP Rad o
15 106   30000.000   30 000 3/12/2013   ESP Live At APS 32nd Annual Sc entific Meeting is an       /22/2013   5/22/2014    Web    Web Posting/Archive               Op oid Misuse and Abuse   Pa n   Internal Med c ne                                                           3/12/2013   Med Com Worldw de Inc               Joan     Meyer   101 Wash ngton                     Morrisv lle   PA   (800) 408-4242
                                        accredited mult media meet ng highl ghts activity online
                                        at the Emerg ng Solutions in Pa n (ESP) webs te. ESP
                                        Live At APS w ll specifica ly address educational needs of
                                        practicing clin c ans who treat patients w th chronic pain
                                        and chal enges they may face in obtain ng up-to-date
                                         nformat on n conc se and easily accessib e forma s.
                                        This educat onal activity includes meet ng highlights
                                        from APS 2013 May 8-11 2013 featur ng video
                                         nterviews with key thought eaders summarizing new
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                                        effective use of op oids n patients with chron c pain;
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15 106   30000.000   30 000 3/12/2013   ESP Live At APS 32nd Annual Sc entific Meeting is an       /22/2013   5/22/2014    Web    Web Posting/Archive               Op oid Misuse and Abuse   Pa n   Pain Medicine                                                               3/12/2013   Med Com Worldw de Inc               Joan     Meyer   101 Wash ngton                     Morrisv lle   PA   (800) 408-4242
                                        accredited mult media meet ng highl ghts activity online
                                        at the Emerg ng Solutions in Pa n (ESP) webs te. ESP
                                        Live At APS w ll specifica ly address educational needs of
                                        practicing clin c ans who treat patients w th chronic pain
                                        and chal enges they may face in obtain ng up-to-date
                                        informat on n conc se and easily accessib e forma s.
                                        This educat onal activity includes meet ng highlights
                                        from APS 2013 May 8-11 2013 featur ng video
                                        interviews with key thought eaders summarizing new
                                        data research and information concerning safe and
                                        effective use of op oids n patients with chron c pain;
                                        program wi l be 6 streaming v deo interviews totaling
                                        1.0 hour (each module approx 10 m nutes in ength)
                                        available on the ESP webs te 1 PDF printab e text of
                                        program on ESP website and 1 podcast of program on
                                        ESP Rad o
15 120    7500.000    7 500 3/25/2013   This course s appropr ately designed to provide pr mary /20/2013      4/20/2013     ive   Live                              Breakthrough Pa n         Pa n   Fam ly Med c ne     Univers ty of Rochester SMD                        NY   3/22/2013   Univers ty of Roches er             N sha    Johar   Center for Experient al Learning   Rochester     NY   (585) 275-4392
                                        care providers pain specialists physician assistants
                                        nurse pract tioners nurses and pharmacists with a
                                        thorough practical and read ly appl ed treatment
                                        update on various types of pa n from acute to chron c.
                                        Top cs cover a broad range of cond tions ncluding
                                        headache/facial pain chron c ow back pain peripheral
                                        neuropathy fibromya gia cancer pa n and other current
                                        issues n pain management such as r sk management
                                        related to opio ds. The experts deve oping and
                                        delivering the educational content of this program
                                        include authors of treatment guidelines such as the IASP
                                        guidel nes for the treatment of neuropath c pa n and
                                         eading clinical researchers. Th s diverse group of
                                        educators is drawn from the fields of anesthesiology
                                        neurology psychiatry onco ogy community med c ne
                                        and psycho ogy.




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15 120   7500.000   7 500 3/25/2013   This course s appropr ately designed to provide pr mary /20/2013   4/20/2013     ive   Live   Breakthrough Pa n        Pa n   General                        Univers ty of Rochester SMD   NY   3/22/2013   Univers ty of Rochester   N sha   Johar   Center for Experient al Learning   Rochester   NY   (585) 275-4392
                                      care providers pain specialists physician assistants
                                      nurse pract tioners nurses and pharmacists with a
                                      thorough practical and read ly appl ed treatment
                                      update on various types of pa n from acute to chron c.
                                      Top cs cover a broad range of cond tions ncluding
                                      headache/facial pain chron c ow back pain peripheral
                                      neuropathy fibromya gia cancer pa n and other current
                                       ssues n pain management such as r sk management
                                      related to opio ds. The experts deve oping and
                                      delivering the educational content of this program
                                       nclude authors of treatment guidelines such as the IASP
                                      guidel nes for the treatment of neuropath c pa n and
                                       eading clinical researchers. Th s diverse group of
                                      educators is drawn from the fields of anesthesiology
                                      neurology psychiatry onco ogy community med c ne
                                      and psycho ogy.

15 120   7500.000   7 500 3/25/2013   This course s appropr ately designed to provide pr mary /20/2013   4/20/2013     ive   Live   Breakthrough Pa n        Pa n   Medical Oncology               Univers ty of Rochester SMD   NY   3/22/2013   Univers ty of Roches er   N sha   Johar   Center for Experient al Learning   Rochester   NY   (585) 275-4392
                                      care providers pain specialists physician assistants
                                      nurse pract tioners nurses and pharmacists with a
                                      thorough practical and read ly appl ed treatment
                                      update on various types of pa n from acute to chron c.
                                      Top cs cover a broad range of cond tions ncluding
                                      headache/facial pain chron c ow back pain peripheral
                                      neuropathy fibromya gia cancer pa n and other current
                                       ssues n pain management such as r sk management
                                      related to opio ds. The experts deve oping and
                                      delivering the educational content of this program
                                       nclude authors of treatment guidelines such as the IASP
                                      guidel nes for the treatment of neuropath c pa n and
                                       eading clinical researchers. Th s diverse group of
                                      educators is drawn from the fields of anesthesiology
                                      neurology psychiatry onco ogy community med c ne
                                      and psycho ogy.
15 120   7500.000   7 500 3/25/2013   This course s appropr ately designed to provide pr mary /20/2013   4/20/2013     ive   Live   Breakthrough Pa n        Pa n   Multiple Sclerosis Neurology   Univers ty of Rochester SMD   NY   3/22/2013   Univers ty of Rochester   N sha   Johar   Center for Experient al Learning   Rochester   NY   (585) 275-4392
                                      care providers pain specialists physician assistants
                                      nurse pract tioners nurses and pharmacists with a
                                      thorough practical and read ly appl ed treatment
                                      update on various types of pa n from acute to chron c.
                                      Top cs cover a broad range of cond tions ncluding
                                      headache/facial pain chron c ow back pain peripheral
                                      neuropathy fibromya gia cancer pa n and other current
                                       ssues n pain management such as r sk management
                                      related to opio ds. The experts deve oping and
                                      delivering the educational content of this program
                                       nclude authors of treatment guidelines such as the IASP
                                      guidel nes for the treatment of neuropath c pa n and
                                       eading clinical researchers. Th s diverse group of
                                      educators is drawn from the fields of anesthesiology
                                      neurology psychiatry onco ogy community med c ne
                                      and psycho ogy.
15 120   7500.000   7 500 3/25/2013   This course s appropr ately designed to provide pr mary /20/2013   4/20/2013     ive   Live   Breakthrough Pa n        Pa n   Pain Medicine                  Univers ty of Rochester SMD   NY   3/22/2013   Univers ty of Roches er   N sha   Johar   Center for Experient al Learning   Rochester   NY   (585) 275-4392
                                      care providers pain specialists physician assistants
                                      nurse pract tioners nurses and pharmacists with a
                                      thorough practical and read ly appl ed treatment
                                      update on various types of pa n from acute to chron c.
                                      Top cs cover a broad range of cond tions ncluding
                                      headache/facial pain chron c ow back pain peripheral
                                      neuropathy fibromya gia cancer pa n and other current
                                       ssues n pain management such as r sk management
                                      related to opio ds. The experts deve oping and
                                      delivering the educational content of this program
                                       nclude authors of treatment guidelines such as the IASP
                                      guidel nes for the treatment of neuropath c pa n and
                                       eading clinical researchers. Th s diverse group of
                                      educators is drawn from the fields of anesthesiology
                                      neurology psychiatry onco ogy community med c ne
                                      and psycho ogy.
15 120   7500.000   7 500 3/25/2013   This course s appropr ately designed to provide pr mary /20/2013   4/20/2013     ive   Live   Chron c Pa n (General)   Pa n   Fam ly Med c ne                Univers ty of Rochester SMD   NY   3/22/2013   Univers ty of Roches er   N sha   Johar   Center for Experient al Learning   Rochester   NY   (585) 275-4392
                                      care providers pain specialists physician assistants
                                      nurse pract tioners nurses and pharmacists with a
                                      thorough practical and read ly appl ed treatment
                                      update on various types of pa n from acute to chron c.
                                      Top cs cover a broad range of cond tions ncluding
                                      headache/facial pain chron c ow back pain peripheral
                                      neuropathy fibromya gia cancer pa n and other current
                                       ssues n pain management such as r sk management
                                      related to opio ds. The experts deve oping and
                                      delivering the educational content of this program
                                       nclude authors of treatment guidelines such as the IASP
                                      guidel nes for the treatment of neuropath c pa n and
                                       eading clinical researchers. Th s diverse group of
                                      educators is drawn from the fields of anesthesiology
                                      neurology psychiatry onco ogy community med c ne
                                      and psycho ogy.
15 120   7500.000   7 500 3/25/2013   This course s appropr ately designed to provide pr mary /20/2013   4/20/2013     ive   Live   Chron c Pa n (General)   Pa n   General                        Univers ty of Rochester SMD   NY   3/22/2013   Univers ty of Rochester   N sha   Johar   Center for Experient al Learning   Rochester   NY   (585) 275-4392
                                      care providers pain specialists physician assistants
                                      nurse pract tioners nurses and pharmacists with a
                                      thorough practical and read ly appl ed treatment
                                      update on various types of pa n from acute to chron c.
                                      Top cs cover a broad range of cond tions ncluding
                                      headache/facial pain chron c ow back pain peripheral
                                      neuropathy fibromya gia cancer pa n and other current
                                       ssues n pain management such as r sk management
                                      related to opio ds. The experts deve oping and
                                      delivering the educational content of this program
                                       nclude authors of treatment guidelines such as the IASP
                                      guidel nes for the treatment of neuropath c pa n and
                                       eading clinical researchers. Th s diverse group of
                                      educators is drawn from the fields of anesthesiology
                                      neurology psychiatry onco ogy community med c ne
                                      and psycho ogy.
15 120   7500.000   7 500 3/25/2013   This course s appropr ately designed to provide pr mary /20/2013   4/20/2013     ive   Live   Chron c Pa n (General)   Pa n   Medical Oncology               Univers ty of Rochester SMD   NY   3/22/2013   Univers ty of Roches er   N sha   Johar   Center for Experient al Learning   Rochester   NY   (585) 275-4392
                                      care providers pain specialists physician assistants
                                      nurse pract tioners nurses and pharmacists with a
                                      thorough practical and read ly appl ed treatment
                                      update on various types of pa n from acute to chron c.
                                      Top cs cover a broad range of cond tions ncluding
                                      headache/facial pain chron c ow back pain peripheral
                                      neuropathy fibromya gia cancer pa n and other current
                                       ssues n pain management such as r sk management
                                      related to opio ds. The experts deve oping and
                                      delivering the educational content of this program
                                       nclude authors of treatment guidelines such as the IASP
                                      guidel nes for the treatment of neuropath c pa n and
                                       eading clinical researchers. Th s diverse group of
                                      educators is drawn from the fields of anesthesiology
                                      neurology psychiatry onco ogy community med c ne
                                      and psycho ogy.




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15 120   7500.000   7 500 3/25/2013   This course s appropr ately designed to provide pr mary /20/2013   4/20/2013     ive   Live   Chron c Pa n (General)    Pa n   Multiple Sclerosis Neurology   Univers ty of Rochester SMD   NY   3/22/2013   Univers ty of Rochester   N sha   Johar   Center for Experient al Learning   Rochester   NY   (585) 275-4392
                                      care providers pain specialists physician assistants
                                      nurse pract tioners nurses and pharmacists with a
                                      thorough practical and read ly appl ed treatment
                                      update on various types of pa n from acute to chron c.
                                      Top cs cover a broad range of cond tions ncluding
                                      headache/facial pain chron c ow back pain peripheral
                                      neuropathy fibromya gia cancer pa n and other current
                                       ssues n pain management such as r sk management
                                      related to opio ds. The experts deve oping and
                                      delivering the educational content of this program
                                       nclude authors of treatment guidelines such as the IASP
                                      guidel nes for the treatment of neuropath c pa n and
                                       eading clinical researchers. Th s diverse group of
                                      educators is drawn from the fields of anesthesiology
                                      neurology psychiatry onco ogy community med c ne
                                      and psycho ogy.

15 120   7500.000   7 500 3/25/2013   This course s appropr ately designed to provide pr mary /20/2013   4/20/2013     ive   Live   Chron c Pa n (General)    Pa n   Pain Medicine                  Univers ty of Rochester SMD   NY   3/22/2013   Univers ty of Roches er   N sha   Johar   Center for Experient al Learning   Rochester   NY   (585) 275-4392
                                      care providers pain specialists physician assistants
                                      nurse pract tioners nurses and pharmacists with a
                                      thorough practical and read ly appl ed treatment
                                      update on various types of pa n from acute to chron c.
                                      Top cs cover a broad range of cond tions ncluding
                                      headache/facial pain chron c ow back pain peripheral
                                      neuropathy fibromya gia cancer pa n and other current
                                       ssues n pain management such as r sk management
                                      related to opio ds. The experts deve oping and
                                      delivering the educational content of this program
                                       nclude authors of treatment guidelines such as the IASP
                                      guidel nes for the treatment of neuropath c pa n and
                                       eading clinical researchers. Th s diverse group of
                                      educators is drawn from the fields of anesthesiology
                                      neurology psychiatry onco ogy community med c ne
                                      and psycho ogy.
15 120   7500.000   7 500 3/25/2013   This course s appropr ately designed to provide pr mary /20/2013   4/20/2013     ive   Live   Op oid Misuse and Abuse   Pa n   Fam ly Med c ne                Univers ty of Rochester SMD   NY   3/22/2013   Univers ty of Roches er   N sha   Johar   Center for Experient al Learning   Rochester   NY   (585) 275-4392
                                      care providers pain specialists physician assistants
                                      nurse pract tioners nurses and pharmacists with a
                                      thorough practical and read ly appl ed treatment
                                      update on various types of pa n from acute to chron c.
                                      Top cs cover a broad range of cond tions ncluding
                                      headache/facial pain chron c ow back pain peripheral
                                      neuropathy fibromya gia cancer pa n and other current
                                       ssues n pain management such as r sk management
                                      related to opio ds. The experts deve oping and
                                      delivering the educational content of this program
                                       nclude authors of treatment guidelines such as the IASP
                                      guidel nes for the treatment of neuropath c pa n and
                                       eading clinical researchers. Th s diverse group of
                                      educators is drawn from the fields of anesthesiology
                                      neurology psychiatry onco ogy community med c ne
                                      and psycho ogy.
15 120   7500.000   7 500 3/25/2013   This course s appropr ately designed to provide pr mary /20/2013   4/20/2013     ive   Live   Op oid Misuse and Abuse   Pa n   General                        Univers ty of Rochester SMD   NY   3/22/2013   Univers ty of Roches er   N sha   Johar   Center for Experient al Learning   Rochester   NY   (585) 275-4392
                                      care providers pain specialists physician assistants
                                      nurse pract tioners nurses and pharmacists with a
                                      thorough practical and read ly appl ed treatment
                                      update on various types of pa n from acute to chron c.
                                      Top cs cover a broad range of cond tions ncluding
                                      headache/facial pain chron c ow back pain peripheral
                                      neuropathy fibromya gia cancer pa n and other current
                                       ssues n pain management such as r sk management
                                      related to opio ds. The experts deve oping and
                                      delivering the educational content of this program
                                       nclude authors of treatment guidelines such as the IASP
                                      guidel nes for the treatment of neuropath c pa n and
                                       eading clinical researchers. Th s diverse group of
                                      educators is drawn from the fields of anesthesiology
                                      neurology psychiatry onco ogy community med c ne
                                      and psycho ogy.
15 120   7500.000   7 500 3/25/2013   This course s appropr ately designed to provide pr mary /20/2013   4/20/2013     ive   Live   Op oid Misuse and Abuse   Pa n   Medical Oncology               Univers ty of Rochester SMD   NY   3/22/2013   Univers ty of Rochester   N sha   Johar   Center for Experient al Learning   Rochester   NY   (585) 275-4392
                                      care providers pain specialists physician assistants
                                      nurse pract tioners nurses and pharmacists with a
                                      thorough practical and read ly appl ed treatment
                                      update on various types of pa n from acute to chron c.
                                      Top cs cover a broad range of cond tions ncluding
                                      headache/facial pain chron c ow back pain peripheral
                                      neuropathy fibromya gia cancer pa n and other current
                                       ssues n pain management such as r sk management
                                      related to opio ds. The experts deve oping and
                                      delivering the educational content of this program
                                       nclude authors of treatment guidelines such as the IASP
                                      guidel nes for the treatment of neuropath c pa n and
                                       eading clinical researchers. Th s diverse group of
                                      educators is drawn from the fields of anesthesiology
                                      neurology psychiatry onco ogy community med c ne
                                      and psycho ogy.
15 120   7500.000   7 500 3/25/2013   This course s appropr ately designed to provide pr mary /20/2013   4/20/2013     ive   Live   Op oid Misuse and Abuse   Pa n   Multiple Sclerosis Neurology   Univers ty of Rochester SMD   NY   3/22/2013   Univers ty of Rochester   N sha   Johar   Center for Experient al Learning   Rochester   NY   (585) 275-4392
                                      care providers pain specialists physician assistants
                                      nurse pract tioners nurses and pharmacists with a
                                      thorough practical and read ly appl ed treatment
                                      update on various types of pa n from acute to chron c.
                                      Top cs cover a broad range of cond tions ncluding
                                      headache/facial pain chron c ow back pain peripheral
                                      neuropathy fibromya gia cancer pa n and other current
                                       ssues n pain management such as r sk management
                                      related to opio ds. The experts deve oping and
                                      delivering the educational content of this program
                                       nclude authors of treatment guidelines such as the IASP
                                      guidel nes for the treatment of neuropath c pa n and
                                       eading clinical researchers. Th s diverse group of
                                      educators is drawn from the fields of anesthesiology
                                      neurology psychiatry onco ogy community med c ne
                                      and psycho ogy.
15 120   7500.000   7 500 3/25/2013   This course s appropr ately designed to provide pr mary /20/2013   4/20/2013     ive   Live   Op oid Misuse and Abuse   Pa n   Pain Medicine                  Univers ty of Rochester SMD   NY   3/22/2013   Univers ty of Roches er   N sha   Johar   Center for Experient al Learning   Rochester   NY   (585) 275-4392
                                      care providers pain specialists physician assistants
                                      nurse pract tioners nurses and pharmacists with a
                                      thorough practical and read ly appl ed treatment
                                      update on various types of pa n from acute to chron c.
                                      Top cs cover a broad range of cond tions ncluding
                                      headache/facial pain chron c ow back pain peripheral
                                      neuropathy fibromya gia cancer pa n and other current
                                       ssues n pain management such as r sk management
                                      related to opio ds. The experts deve oping and
                                      delivering the educational content of this program
                                       nclude authors of treatment guidelines such as the IASP
                                      guidel nes for the treatment of neuropath c pa n and
                                       eading clinical researchers. Th s diverse group of
                                      educators is drawn from the fields of anesthesiology
                                      neurology psychiatry onco ogy community med c ne
                                      and psycho ogy.




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15 218   25000.000   25 000 3/27/2013   The American Academy of Pain Med c ne (AAPM)                /11/2013   4/14/2013     ive   Live   Breakthrough Pa n         Pa n   Pain Medicine     Greater Fort Lauderda e/Broward County Conv.Center   FL   3/27/2013   American Academy of Pain Medicine                      Alyssa   Engle    4700 West Lake Avenue   Glenview   IL   (847)375-4829
                                        founded in 1983 has grown to nclude more than 2 400
                                        members. AAPM represents a variety of d sciplines
                                         ncluding anesthes ology internal med c ne neuro ogy
                                        neurosurgery orthopedic surgery physical med cine
                                        and rehabilitation and psychiatry. AAPM invites you to
                                        become a 2013 supporter for the 29th Annual Meet ng
                                         n Fort Lauderdale FL on Apr l 11-14 2013. We
                                        anticipate draw ng more than 900 phys c ans nterested
                                         n the study and treatment of pain. AAPM s also
                                        expanding its educat onal reach to primary care
                                        physicians by prov ding an overview of the underly ng
                                        neurobiology of pain. Please note that a though the
                                        grant applicat on only allows for the requestor to select
                                        up to 20 credits AAPM Meet ng attendees will have the
                                        opportun ty to earn up to 33 AMA PRA Category 1

15 218   25000.000   25 000 3/27/2013   The American Academy of Pain Med c ne (AAPM)                /11/2013   4/14/2013     ive   Live   Chron c Pa n (General)    Pa n   Pain Medicine     Greater Fort Lauderdale/Broward County Conv.Center   FL   3/27/2013   American Academy of Pain Medicine                      Alyssa   Engle    4700 West Lake Avenue   Glenview   IL   (847)375-4829
                                        founded in 1983 has grown to nclude more than 2 400
                                        members. AAPM represents a variety of d sciplines
                                         ncluding anesthes ology internal med c ne neuro ogy
                                        neurosurgery orthopedic surgery physical med cine
                                        and rehabilitation and psychiatry. AAPM invites you to
                                        become a 2013 supporter for the 29th Annual Meet ng
                                         n Fort Lauderdale FL on Apr l 11-14 2013. We
                                        anticipate draw ng more than 900 phys c ans nterested
                                         n the study and treatment of pain. AAPM s also
                                        expanding its educat onal reach to primary care
                                        physicians by prov ding an overview of the underly ng
                                        neurobiology of pain. Please note that a though the
                                        grant applicat on only allows for the requestor to select
                                        up to 20 credits AAPM Meet ng attendees will have the
                                        opportun ty to earn up to 33 AMA PRA Category 1

15 218   25000.000   25 000 3/27/2013   The American Academy of Pain Med c ne (AAPM)                /11/2013   4/14/2013     ive   Live   Op oid Misuse and Abuse   Pa n   Pain Medicine     Greater Fort Lauderdale/Broward County Conv.Center   FL   3/27/2013   American Academy of Pain Medicine                      Alyssa   Engle    4700 West Lake Avenue   Glenview   IL   (847)375-4829
                                        founded in 1983 has grown to nclude more than 2 400
                                        members. AAPM represents a variety of d sciplines
                                         ncluding anesthes ology internal med c ne neuro ogy
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                                         n Fort Lauderdale FL on Apr l 11-14 2013. We
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                                         n the study and treatment of pain. AAPM s also
                                        expanding its educat onal reach to primary care
                                        physicians by prov ding an overview of the underly ng
                                        neurobiology of pain. Please note that a though the
                                        grant applicat on only allows for the requestor to select
                                        up to 20 credits AAPM Meet ng attendees will have the
                                        opportun ty to earn up to 33 AMA PRA Category 1

15 374    3000.000    3 000 4/4/2013    This intensive five day course includes a review and        /14/2013   5/18/2013     ive   Live   Breakthrough Pa n         Pa n                     Meridian Convent on Ctr                              OK   4/2/2013    State of Ok ahoma Board of Regents of the University   Margie   Mil er   800 NE 15th             OKC        OK   (405) 271-2350
                                        update on major subject areas in fam ly medicine. This                                                                                                                                                                     of Oklahoma Hea th Sc ences Center
                                         s a very fast-paced course w th most speakers util zing
                                        an aud ence response system both before and after
                                        each presentation wh ch provide participants with
                                         mmed ate feedback of their knowledge and the
                                        opportun ty to re nforce comprehension and retent on of
                                        key learn ng objectives. Each session wi l nclude time
                                        for questions and answers. The course combines best
                                        practice strategies and educat on through case studies
                                        and ect res
15 374    3000.000    3 000 4/4/2013    This intensive five day course includes a review and        /14/2013   5/18/2013     ive   Live   Breakthrough Pa n         Pa n   Fam ly Med c ne   Meridian Conference Center                           OK   4/2/2013    State of Ok ahoma Board of Regents of the University   Margie   Mil er   800 NE 15th             OKC        OK   (405) 271-2350
                                        update on major subject areas in fam ly medicine. This                                                                                                                                                                     of Oklahoma Hea th Sc ences Center
                                         s a very fast-paced course w th most speakers util zing
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                                        opportun ty to re nforce comprehension and retent on of
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                                        for questions and answers. The course combines best
                                        practice strategies and educat on through case studies

15 374    3000.000    3 000 4/4/2013    This intensive five day course includes a review and        /14/2013   5/18/2013     ive   Live   Breakthrough Pa n         Pa n   General           Meridian Conference Center                           OK   4/2/2013    State of Ok ahoma Board of Regents of the University   Margie   Mil er   800 NE 15th             OKC        OK   (405) 271-2350
                                        update on major subject areas in fam ly medicine. This                                                                                                                                                                     of Oklahoma Hea th Sc ences Center
                                         s a very fast-paced course w th most speakers util zing
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                                        for questions and answers. The course combines best
                                        practice strategies and educat on through case studies
                                        and ect res
15 374    3000.000    3 000 4/4/2013    This intensive five day course includes a review and        /14/2013   5/18/2013     ive   Live   Chron c Pa n (General)    Pa n                     Meridian Convent on Ctr                              OK   4/2/2013    State of Ok ahoma Board of Regents of the University   Margie   Mil er   800 NE 15th             OKC        OK   (405) 271-2350
                                        update on major subject areas in fam ly medicine. This                                                                                                                                                                     of Oklahoma Hea th Sc ences Center
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                                        an aud ence response system both before and after
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                                        opportun ty to re nforce comprehension and retent on of
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                                        for questions and answers. The course combines best
                                        practice strategies and educat on through case studies
                                        and ect res
15 374    3000.000    3 000 4/4/2013    This intensive five day course includes a review and        /14/2013   5/18/2013     ive   Live   Chron c Pa n (General)    Pa n   Fam ly Med c ne   Meridian Conference Center                           OK   4/2/2013    State of Ok ahoma Board of Regents of the University   Margie   Mil er   800 NE 15th             OKC        OK   (405) 271-2350
                                        update on major subject areas in fam ly medicine. This                                                                                                                                                                     of Oklahoma Hea th Sc ences Center
                                         s a very fast-paced course w th most speakers util zing
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                                        each presentation wh ch provide participants with
                                         mmed ate feedback of their knowledge and the
                                        opportun ty to re nforce comprehension and retent on of
                                        key learn ng objectives. Each session wi l nclude time
                                        for questions and answers. The course combines best
                                        practice strategies and educat on through case studies
                                        and ect res
15 374    3000.000    3 000 4/4/2013    This intensive five day course includes a review and        /14/2013   5/18/2013     ive   Live   Chron c Pa n (General)    Pa n   General           Meridian Conference Center                           OK   4/2/2013    State of Ok ahoma Board of Regents of the University   Margie   Mil er   800 NE 15th             OKC        OK   (405) 271-2350
                                        update on major subject areas in fam ly medicine. This                                                                                                                                                                     of Oklahoma Hea th Sc ences Center
                                         s a very fast-paced course w th most speakers utilizing
                                        an aud ence response system both before and after
                                        each presentation wh ch provide participants with
                                         mmed ate feedback of their knowledge and the
                                        opportun ty to re nforce comprehension and retent on of
                                        key learn ng objectives. Each session wi l nclude time
                                        for questions and answers. The course combines best
                                        practice strategies and educat on through case studies
                                        and ect res
15 374    3000.000    3 000 4/4/2013    This intensive five day course includes a review and        /14/2013   5/18/2013     ive   Live   Op oid Misuse and Abuse   Pa n                     Meridian Convent on Ctr                              OK   4/2/2013    State of Ok ahoma Board of Regents of the University   Margie   Mil er   800 NE 15th             OKC        OK   (405) 271-2350
                                        update on major subject areas in fam ly medicine. This                                                                                                                                                                     of Oklahoma Hea th Sc ences Center
                                         s a very fast-paced course w th most speakers utilizing
                                        an aud ence response system both before and after
                                        each presentation wh ch provide participants with
                                         mmed ate feedback of their knowledge and the
                                        opportun ty to re nforce comprehension and retent on of
                                        key learn ng objectives. Each session wi l nclude time
                                        for questions and answers. The course combines best
                                        practice strategies and educat on through case studies
                                        and ect res




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15 374    3000.000    3 000 4/4/2013   This intensive five day course includes a review and     /14/2013         5/18/2013     ive   Live                              Op oid Misuse and Abuse   Pa n   Fam ly Med c ne   Meridian Conference Center   OK   4/2/2013   State of Ok ahoma Board of Regents of the University   Margie   Mil er     800 NE 15th      OKC           OK   (405) 271-2350
                                       update on major subject areas in fam ly medicine. This                                                                                                                                                                          of Oklahoma Hea th Sc ences Center
                                        s a very fast-paced course w th most speakers util zing
                                       an aud ence response system both before and after
                                       each presentation wh ch provide participants with
                                        mmed ate feedback of their knowledge and the
                                       opportun ty to re nforce comprehension and retent on of
                                       key learn ng objectives. Each session wi l nclude time
                                       for questions and answers. The course combines best
                                       practice strategies and educat on through case studies
                                       and ect res
15 374    3000.000    3 000 4/4/2013   This intensive five day course includes a review and     /14/2013         5/18/2013     ive   Live                              Op oid Misuse and Abuse   Pa n   General           Meridian Conference Center   OK   4/2/2013   State of Ok ahoma Board of Regents of the University   Margie   Mil er     800 NE 15th      OKC           OK   (405) 271-2350
                                       update on major subject areas in fam ly medicine. This                                                                                                                                                                          of Oklahoma Hea th Sc ences Center
                                        s a very fast-paced course w th most speakers util zing
                                       an aud ence response system both before and after
                                       each presentation wh ch provide participants with
                                        mmed ate feedback of their knowledge and the
                                       opportun ty to re nforce comprehension and retent on of
                                       key learn ng objectives. Each session wi l nclude time
                                       for questions and answers. The course combines best
                                       practice strategies and educat on through case studies
                                       and ect res
15 380   43000.000   43 000 5/6/2013   An endur ng material wh ch w ll be an nteractive case    /31/2013         5/31/2014     Web   Web Posting/Archive               Breakthrough Pa n         Pa n   General                                             4/9/2013   Med Com Worldw de Inc                                  Joan     Meyer      101 Wash ngton   Morrisv lle   PA   (800) 408-4242
                                       based slide-audio adaptation based on an accredited
                                       satell te symposium Target ng Breakthrough Pain: A
                                       Patient Case Report presented at the 38th ONS Annual
                                       Conference Apr l 25 - 28 2013 in Wash ngton DC
                                       featur ng clin cal expert presentations focusing on
                                       therapeutic approaches for mproving breakthrough pain
                                       related outcomes. The se f-study activity w ll be
                                       accredited for one year across the MediCom onl ne
                                       communit es includ ng emerg ngsolutionsinpa n.com
                                       manag ngmyeloma.com practica oncologist.com and
                                       medicaled.com; the activity will also be avai ab e as
                                       stream ng audio activ ty down oadable podcast

15 380   43000.000   43 000 5/6/2013   An endur ng material wh ch w ll be an nteractive case /31/2013            5/31/2014     Web   Web Posting/Archive               Breakthrough Pa n         Pa n   Onco ogy                                            4/9/2013   Med Com Worldw de Inc                                  Joan     Meyer      101 Wash ngton   Morrisv lle   PA   (800) 408-4242
                                       based slide-audio adaptation based on an accredited
                                       satell te symposium Target ng Breakthrough Pain: A
                                       Patient Case Report presented at the 38th ONS Annual
                                       Conference Apr l 25 - 28 2013 in Wash ngton DC
                                       featur ng clin cal expert presentations focusing on
                                       therapeutic approaches for mproving breakthrough pain
                                       related outcomes. The se f-study activity w ll be
                                       accredited for one year across the MediCom onl ne
                                       communit es includ ng emerg ngsolutionsinpa n.com
                                       manag ngmyeloma.com practica oncologist.com and
                                       medicaled.com; the activity will also be avai ab e as
                                       stream ng audio activ ty down oadable podcast

15 380   43000.000   43 000 5/6/2013   An endur ng material wh ch w ll be an nteractive case /31/2013            5/31/2014     Web   Web Posting/Archive               Chron c Pa n (General)    Pa n   General                                             4/9/2013   Med Com Worldw de Inc                                  Joan     Meyer      101 Wash ngton   Morrisv lle   PA   (800) 408-4242
                                       based slide-audio adaptation based on an accredited
                                       satell te symposium Target ng Breakthrough Pain: A
                                       Patient Case Report presented at the 38th ONS Annual
                                       Conference Apr l 25 - 28 2013 in Wash ngton DC
                                       featur ng clin cal expert presentations focusing on
                                       therapeutic approaches for mproving breakthrough pain
                                       related outcomes. The se f-study activity w ll be
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                                       communit es includ ng emerg ngsolutionsinpa n.com
                                       manag ngmyeloma.com practica oncologist.com and
                                       medicaled.com; the activity will also be avai ab e as
                                       stream ng audio activ ty down oadable podcast

15 380   43000.000   43 000 5/6/2013   An endur ng material wh ch w ll be an nteractive case          /31/2013   5/31/2014     Web   Web Posting/Archive               Chron c Pa n (General)    Pa n   Onco ogy                                            4/9/2013   Med Com Worldw de Inc                                  Joan     Meyer      101 Wash ngton   Morrisv lle   PA   (800) 408-4242
                                       based slide-audio adaptation based on an accredited
                                       satell te symposium Target ng Breakthrough Pain: A
                                       Patient Case Report presented at the 38th ONS Annual
                                       Conference Apr l 25 - 28 2013 in Wash ngton DC
                                       featur ng clin cal expert presentations focusing on
                                       therapeutic approaches for mproving breakthrough pain
                                       related outcomes. The se f-study activity w ll be
                                       accredited for one year across the MediCom onl ne
                                       communit es includ ng emerg ngsolutionsinpa n.com
                                       manag ngmyeloma.com practica oncologist.com and
                                       medicaled.com; the activity will also be avai ab e as
                                       stream ng audio activ ty down oadable podcast
                                         r nta le te t ersion
15 380   43000.000   43 000 5/6/2013   An endur ng material wh ch w ll be an nteractive case          /31/2013   5/31/2014     Web   Web Posting/Archive               Op oid Misuse and Abuse   Pa n   General                                             4/9/2013   Med Com Worldw de Inc                                  Joan     Meyer      101 Wash ngton   Morrisv lle   PA   (800) 408-4242
                                       based slide-audio adaptation based on an accredited
                                       satell te symposium Target ng Breakthrough Pain: A
                                       Patient Case Report presented at the 38th ONS Annual
                                       Conference Apr l 25 - 28 2013 in Wash ngton DC
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                                       accredited for one year across the MediCom onl ne
                                       communit es includ ng emerg ngsolutionsinpa n.com
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                                       medicaled.com; the activity will also be avai ab e as
                                       stream ng audio activ ty down oadable podcast
                                         r nta le te t ersion
15 380   43000.000   43 000 5/6/2013   An endur ng material wh ch w ll be an nteractive case          /31/2013   5/31/2014     Web   Web Posting/Archive               Op oid Misuse and Abuse   Pa n   Onco ogy                                            4/9/2013   Med Com Worldw de Inc                                  Joan     Meyer      101 Wash ngton   Morrisv lle   PA   (800) 408-4242
                                       based slide-audio adaptation based on an accredited
                                       satell te symposium Target ng Breakthrough Pain: A
                                       Patient Case Report presented at the 38th ONS Annual
                                       Conference Apr l 25 - 28 2013 in Wash ngton DC
                                       featur ng clin cal expert presentations focusing on
                                       therapeutic approaches for mproving breakthrough pain
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                                       accredited for one year across the MediCom onl ne
                                       communit es includ ng emerg ngsolutionsinpa n.com
                                       manag ngmyeloma.com practica oncologist.com and
                                       medicaled.com; the activity will also be avai ab e as
                                       stream ng audio activ ty down oadable podcast
                                         r nta le te t ersion
15 502    7500.000    7 500 8/7/2013   The 22nd annual PRN course w ll be an educational             9/10/2013   9/12/2013     ive   Professional Education Programs   Breakthrough Pa n         Pa n   General           Glendale Hilton CA           CA   8/6/2013   City of Hope Nat onal Medical Center                   Ji l     Olausson   City of Hope     Duarte        CA   (626) 256-4673
                                       conference with multidiscipl nary speakers. Course
                                       objectives wi l be met through d dact c and interactive
                                        ectures and breakout sessions over three days.
                                       Participants wi l receive a l course in ormation in printed
                                       form n an accompanied b nder as we l as var ous text
                                       books including Pain Assessment and Pharmacolog c
                                       Management wr tten by Chirs Pasero the featured
                                       s ea er for da s one and t o
15 502    7500.000    7 500 8/7/2013   The 22nd annual PRN course w ll be an educational             9/10/2013   9/12/2013     ive   Professional Education Programs   Chron c Pa n (General)    Pa n   General           Glendale Hilton CA           CA   8/6/2013   City of Hope Nat onal Medical Center                   Ji l     Olausson   City of Hope     Duarte        CA   (626) 256-4673
                                       conference with multidiscipl nary speakers. Course
                                       objectives wi l be met through d dact c and interactive
                                        ectures and breakout sessions over three days.
                                       Participants wi l receive a l course in ormation in printed
                                       form n an accompanied b nder as we l as var ous text
                                       books including Pain Assessment and Pharmacolog c
                                       Management wr tten by Chirs Pasero the featured
                                       s ea er for da s one and t o




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15 502     7500.000     7 500 8/7/2013   The 22nd annual PRN course w ll be an educational              9/10/2013    9/12/2013      ive                Professional Education Programs   Op oid Misuse and Abuse   Pa n   General            Glendale Hilton CA          CA   8/6/2013    City of Hope Nat onal Medical Center                Ji l      Olausson   City of Hope                      Duarte         CA   (626) 256-4673
                                         conference with multidiscipl nary speakers. Course
                                         objectives wi l be met through d dact c and interactive
                                          ectures and breakout sessions over three days.
                                         Participants wi l receive a l course in ormation in printed
                                         form n an accompanied b nder as we l as var ous text
                                         books including Pain Assessment and Pharmacolog c
                                         Management wr tten by Chirs Pasero the featured
                                         s ea er for da s one and t o
15 512   445400.000   445 400 4/9/2013   Persistent and Breakthrough Pa n: Balanc ng the                9/4/2013     9/7/2013       ive                Satell te Symposium               Breakthrough Pa n         Pa n                      Cosmopol tan of Las Vegas   NV   4/9/2013    Ult mate Medical Academy LLC dba Global Education   All son   Kickel     5575 S. Sycamore St               L ttleton      CO   (303) 395-1782
                                         Benefits and R sks of Opio d-Based Therapy w ll be an                                                                                                                                                                                            Group
                                         Interactive Exchange™ program he d at PAINWeek
                                         2013 as we l as an enduring spinoff The ocus of this
                                         program wi l be opioid-based management of patients
                                         with pers stent and breakthrough pain (BTP).
15 512   445400.000   445 400 4/9/2013   Persistent and Breakthrough Pa n: Balanc ng the                9/4/2013     9/7/2013       ive                Satell te Symposium               Breakthrough Pa n         Pa n   Pain Medicine      Cosmopol tan of Las Vegas   NV   4/9/2013    Ult mate Medical Academy LLC dba Global Education   All son   Kickel     5575 S. Sycamore St               L ttleton      CO   (303) 395-1782
                                         Benefits and R sks of Opio d-Based Therapy w ll be an                                                                                                                                                                                            Group
                                         Interactive Exchange™ program he d at PAINWeek
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15 512   445400.000   445 400 4/9/2013   Persistent and Breakthrough Pa n: Balanc ng the                9/4/2013     9/7/2013       ive                Satell te Symposium               Chron c Pa n (General)    Pa n                      Cosmopol tan of Las Vegas   NV   4/9/2013    Ult mate Medical Academy LLC dba Global Education   All son   Kickel     5575 S. Sycamore St               L ttleton      CO   (303) 395-1782
                                         Benefits and R sks of Opio d-Based Therapy w ll be an                                                                                                                                                                                            Group
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                                         Benefits and R sks of Opio d-Based Therapy w ll be an                                                                                                                                                                                            Group
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15 512   445400.000   445 400 4/9/2013   Persistent and Breakthrough Pa n: Balanc ng the                9/4/2013     9/7/2013       ive                Satell te Symposium               Op oid Misuse and Abuse   Pa n                      Cosmopol tan of Las Vegas   NV   4/9/2013    Ult mate Medical Academy LLC dba Global Education   All son   Kickel     5575 S. Sycamore St               L ttleton      CO   (303) 395-1782
                                         Benefits and R sks of Opio d-Based Therapy w ll be an                                                                                                                                                                                            Group
                                         Interactive Exchange™ program he d at PAINWeek
                                         2013 as we l as an enduring spinoff The ocus of this
                                         program wi l be opioid-based management of patients
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15 512   445400.000   445 400 4/9/2013   Persistent and Breakthrough Pa n: Balanc ng the                9/4/2013     9/7/2013       ive                Satell te Symposium               Op oid Misuse and Abuse   Pa n   Pain Medicine      Cosmopol tan of Las Vegas   NV   4/9/2013    Ult mate Medical Academy LLC dba Global Education   All son   Kickel     5575 S. Sycamore St               L ttleton      CO   (303) 395-1782
                                         Benefits and R sks of Opio d-Based Therapy w ll be an                                                                                                                                                                                            Group
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15 512   445400.000   445 400 4/9/2013   Persistent and Breakthrough Pa n: Balanc ng the                 0/31/2013   10/31/2014     Web                Web Activ ty                      Breakthrough Pa n         Pa n   Medical Oncology                                    4/9/2013    Ult mate Medical Academy LLC dba Global Education   All son   Kickel     5575 S. Sycamore St               L ttleton      CO   (303) 395-1782
                                         Benefits and R sks of Opio d-Based Therapy w ll be an                                                                                                                                                                                            Group
                                         Interactive Exchange™ program he d at PAINWeek
                                         2013 as we l as an enduring spinoff The ocus of this
                                         program wi l be opioid-based management of patients
                                           ith ers stent and rea thro gh ain (BTP)
15 512   445400.000   445 400 4/9/2013   Persistent and Breakthrough Pa n: Balanc ng the                 0/31/2013   10/31/2014     Web                Web Activ ty                      Breakthrough Pa n         Pa n   Pain Medicine                                       4/9/2013    Ult mate Medical Academy LLC dba Global Education   All son   Kickel     5575 S. Sycamore St               L ttleton      CO   (303) 395-1782
                                         Benefits and R sks of Opio d-Based Therapy w ll be an                                                                                                                                                                                            Group
                                         Interactive Exchange™ program he d at PAINWeek
                                         2013 as we l as an enduring spinoff The ocus of this
                                         program wi l be opioid-based management of patients
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15 512   445400.000   445 400 4/9/2013   Persistent and Breakthrough Pa n: Balanc ng the                 0/31/2013   10/31/2014     Web                Web Activ ty                      Chron c Pa n (General)    Pa n   Medical Oncology                                    4/9/2013    Ult mate Medical Academy LLC dba Global Education   All son   Kickel     5575 S. Sycamore St               L ttleton      CO   (303) 395-1782
                                         Benefits and R sks of Opio d-Based Therapy w ll be an                                                                                                                                                                                            Group
                                         Interactive Exchange™ program he d at PAINWeek
                                         2013 as we l as an enduring spinoff The ocus of this
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15 512   445400.000   445 400 4/9/2013   Persistent and Breakthrough Pa n: Balanc ng the                 0/31/2013   10/31/2014     Web                Web Activ ty                      Chron c Pa n (General)    Pa n   Pain Medicine                                       4/9/2013    Ult mate Medical Academy LLC dba Global Education   All son   Kickel     5575 S. Sycamore St               L ttleton      CO   (303) 395-1782
                                         Benefits and R sks of Opio d-Based Therapy w ll be an                                                                                                                                                                                            Group
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15 512   445400.000   445 400 4/9/2013   Persistent and Breakthrough Pa n: Balanc ng the                 0/31/2013   10/31/2014     Web                Web Activ ty                      Op oid Misuse and Abuse   Pa n   Medical Oncology                                    4/9/2013    Ult mate Medical Academy LLC dba Global Education   All son   Kickel     5575 S. Sycamore St               L ttleton      CO   (303) 395-1782
                                         Benefits and R sks of Opio d-Based Therapy w ll be an                                                                                                                                                                                            Group
                                         Interactive Exchange™ program he d at PAINWeek
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                                         program wi l be opioid-based management of patients
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15 512   445400.000   445 400 4/9/2013   Persistent and Breakthrough Pa n: Balanc ng the                 0/31/2013   10/31/2014     Web                Web Activ ty                      Op oid Misuse and Abuse   Pa n   Pain Medicine                                       4/9/2013    Ult mate Medical Academy LLC dba Global Education   All son   Kickel     5575 S. Sycamore St               L ttleton      CO   (303) 395-1782
                                         Benefits and R sks of Opio d-Based Therapy w ll be an                                                                                                                                                                                            Group
                                         Interactive Exchange™ program he d at PAINWeek
                                         2013 as we l as an enduring spinoff The ocus of this
                                         program wi l be opioid-based management of patients
                                         with pers stent and breakthrough pain (BTP).
15 512   445400.000   445 400 4/9/2013   Persistent and Breakthrough Pa n: Balanc ng the                 0/31/2013   10/31/2014     Web                Webcast/Online Program            Breakthrough Pa n         Pa n   Pain Medicine                                       4/9/2013    Ult mate Medical Academy LLC dba Global Education   All son   Kickel     5575 S. Sycamore St               L ttleton      CO   (303) 395-1782
                                         Benefits and R sks of Opio d-Based Therapy w ll be an                                                                                                                                                                                            Group
                                         Interactive Exchange™ program he d at PAINWeek
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15 512   445400.000   445 400 4/9/2013   Persistent and Breakthrough Pa n: Balanc ng the                 0/31/2013   10/31/2014     Web                Webcast/Online Program            Chron c Pa n (General)    Pa n   Pain Medicine                                       4/9/2013    Ult mate Medical Academy LLC dba Global Education   All son   Kickel     5575 S. Sycamore St               L ttleton      CO   (303) 395-1782
                                         Benefits and R sks of Opio d-Based Therapy w ll be an                                                                                                                                                                                            Group
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                                         Benefits and R sks of Opio d-Based Therapy w ll be an                                                                                                                                                                                            Group
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                                         2013 as we l as an enduring spinoff The ocus of this
                                         program wi l be opioid-based management of patients
                                           ith ers stent and rea thro gh ain (BTP)
15 578   131525.000   131 525 5/6/2013   Our proposed activity is a Meeting Reporter a                                              nduring Material   Enduring Mater al                 Breakthrough Pa n         Pa n   Onco ogy                                            4/24/2013   E sev er Office of Continu ng Medical Education     Sandy     Breslow    1600 John F Kennedy Blvd. #1800   Philadelphia   PA   (215) 499-3993
                                         pr nt/online CE co-journal supplement to Seminars in
                                         Oncology Nurs ng and Pain Management Nursing which
                                         wi l summarize key abstracts and posters on BTP
                                         presented at the 38th Congress of the Oncology Nursing
                                         Society (ONS). It wi l be d stributed through the SON
                                         and PMN journa s and Elsevier nurs ng ma l l sts as well
                                         as cross d stributed through other subscribed to E sevier
                                         Oncology and Pa n journals and Onco ogyS at. An
                                         abstract will be published n and ndexed on PubMed
                                         with a URL directed back to the activ ty. This activity wi l
                                         pr marily seek to reduce the knowledge gap on BTP
                                         among onco ogy nurses a key audience that plays the
                                         most important role in managing pain among cancer
                                         patients. By present ng research done by nurses and
                                         presented at ONS we will convey the importance of BTP
                                          n cancer and strategies for its management to the
                                         aud ence and will underscore the mportance of
                                         research activ ties in BTP conducted by nurses.




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15 578   131525.000   131 525 5/6/2013    Our proposed activity is a Meeting Reporter a                                             nduring Material   Enduring Mater al   Op oid Misuse and Abuse   Pa n   Onco ogy                                            4/24/2013   E sev er Office of Continu ng Medical Education     Sandy    Breslow   1600 John F Kennedy Blvd. #1800   Philadelphia   PA   (215) 499-3993
                                          pr nt/online CE co-journal supplement to Seminars in
                                          Oncology Nurs ng and Pain Management Nursing which
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                                          and PMN journa s and Elsevier nurs ng ma l l sts as well
                                          as cross d stributed through other subscribed to E sevier
                                          Oncology and Pa n journals and Onco ogyS at. An
                                          abstract will be published n and ndexed on PubMed
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                                           n cancer and strategies for its management to the
                                          aud ence and will underscore the mportance of
                                          research activ ties in BTP conducted by nurses.
15 578   131525.000   131 525 5/6/2013    Our proposed activity s a Meeting Reporter a                 /27/2013      5/26/2014      Web                Web Activ ty        Breakthrough Pa n         Pa n   Onco ogy                                            4/24/2013   E sev er Office of Continu ng Medical Education     Sandy    Breslow   1600 John F Kennedy Blvd. #1800   Philadelphia   PA   (215) 499-3993
                                          pr nt/online CE co-journal supplement to Seminars in
                                          Onco ogy Nurs ng and Pa n Management Nursing which
                                          wi l summarize key abstracts and posters on BTP
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                                          abstract will be published n and ndexed on PubMed
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15 578   131525.000   131 525 5/6/2013    Our proposed activity s a Meeting Reporter a                 /27/2013      5/26/2014      Web                Web Activ ty        Op oid Misuse and Abuse   Pa n   Onco ogy                                            4/24/2013   E sev er Office of Continu ng Medical Education     Sandy    Breslow   1600 John F Kennedy Blvd. #1800   Philadelphia   PA   (215) 499-3993
                                          pr nt/online CE co-journal supplement to Seminars in
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                                          research activ ties in BTP conducted by nurses.
15 794    15000.000    10 000 9/17/2013   This program is a live 2-day CME-approved conference           0/11/2013   10/12/2013     ive                Symposium           Breakthrough Pa n         Pa n   General            MD Anderson Cancer Center   TX   9/16/2013   The Univers ty of Texas MD Anderson Cancer Center   Kel ey   Porras    1155 Press er Unit 1381           Houston        TX   (713) 563-0603
                                          where attendees w ll learn state-of-the-art chronic pain
                                          & symptom management specific to cancer patients
                                           eading to mproved quality of life patient outcomes
                                          higher quality end-of-l fe care & lower hea th care
                                          costs. Th s program is open to an international audience
                                          and w ll feature two nternat onal speakers. It is
                                          designed as an educational activity that combines the
                                          know edge to close practice gaps w th the competence
                                          to improve cl nical pract ces – an effort that should
                                          ultimately result n mproved patient outcomes.
                                          Instructional methods include d dactic lectures and
                                          plenary sess ons panel discussions question and
                                          answer sess ons and interactive small groups/breakout
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15 794   15000.000   10 000 9/17/2013   This program is a live 2-day CME-approved conference         0/11/2013   10/12/2013     ive         Symposium                Op oid Misuse and Abuse   Pa n   General            MD Anderson Cancer Center   TX   9/16/2013   The Univers ty of Texas MD Anderson Cancer Center   Kel ey    Porras   1155 Press er Unit 1381   Houston    TX   (713) 563-0603
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                                        plenary sess ons panel discussions question and
                                        answer sess ons and interactive small groups/breakout
                                        sessions and poster sess ons/presentations.

15 868    3500.000    3 500 9/30/2013   For th s project i-Net the continuing education branch       /29/2014    1/27/2015      Web         Webcast/Online Program   Breakthrough Pa n         Pa n   Onco ogy                                            9/25/2013   Western Illinois Area Health Education Center NFP   kathryn   fauble   Broadway at 14th Street   quincy     IL   (217)223-0452
                                        of the Western Illinois AHEC will deve op a 1.5 contact
                                        hour continuing educat on webinar program for nurses
                                        advanced pract ce nurses onco ogy nurses and other
                                        nterested health professionals at small rural hospita s
                                        clinics FQHCs and crit cal access hospitals in I linois on
                                        chronic vs. breakthrough pain. Nurse contact hours will
                                        be awarded. i-Net (OH-350 1/19/2014) is an approved
                                        prov der of continuing nursing education by the Ohio
                                        Nurses Association (OBN-001-91) an accred ted
                                        approver by the American Nurses Credentialing Center s
                                        Commission on Accreditation. This continu ng education
                                        program wi l be o fered by as both a live and recorded
                                        webinar. Distance learning was selected for th s project
                                        because of the techno ogy s ability to reach a larger

15 868    3500.000    3 500 9/30/2013   For th s project i-Net the continuing education branch       /29/2014    1/27/2015      Web         Webcast/Online Program   Chron c Pa n (General)    Pa n   Onco ogy                                            9/25/2013   Western Illinois Area Health Education Center NFP   kathryn   fauble   Broadway at 14th Street   quincy     IL   (217)223-0452
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                                        because of the techno ogy s ability to reach a larger

15 868    3500.000    3 500 9/30/2013   For th s project i-Net the continuing education branch 2/6/2014          1/27/2015      Web         Web Posting/Archive      Breakthrough Pa n         Pa n   General                                             9/25/2013   Western Illinois Area Health Education Center NFP   kathryn   fauble   Broadway at 14th Street   quincy     IL   (217)223-0452
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15 868    3500.000    3 500 9/30/2013   For th s project i-Net the continuing education branch 2/6/2014          1/27/2015      Web         Web Posting/Archive      Chron c Pa n (General)    Pa n   General                                             9/25/2013   Western Illinois Area Health Education Center NFP   kathryn   fauble   Broadway at 14th Street   quincy     IL   (217)223-0452
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                                        because of the techno ogy s ability to reach a larger
                                        r ral a d ence
16 092   25000.000   25 000 6/7/2013    The American Pa n Soc ety (APS) has established a                                       ellowship   Fe lowship               Chron c Pa n (General)    Pa n                                                       6/6/2013    American Pain Society                               Alyssa    Engle    4700 W. Lake Ave          Glenview   IL   (847) 375-4829
                                        Future Leaders in Pa n Research Grants Program to fund
                                        research projects of doctorally-prepared nvestigators
                                        who have not yet attained NIH RO1 level funding. The
                                        program s ntent is to encourage the cont nued train ng
                                        and research n pain that will add to the body of
                                        know edge and to allow investigators to develop p lot
                                        data that w ll aid them in securing add tional major
                                        grant funding to continue their nvestigation in the study
                                        and treatment of pain. We are requesting that you
                                        partner with us to expand reach into the field of pain.
                                        This program is a research award that will support
                                        research projects. The f nd ngs of the research will be
                                        presented at the APS Annual Scient fic Meet ng n 2015
                                         n a oster resentat on
16 092   25000.000   25 000 6/7/2013    The American Pa n Soc ety (APS) has established a          /13/2015      5/16/2015      ive         Live                     Chron c Pa n (General)    Pa n   Pain Medicine      Palm Spr ngs Conv Ctr       CA   6/6/2013    American Pain Society                               Alyssa    Engle    4700 W. Lake Ave          Glenview   IL   (847) 375-4829
                                        Future Leaders in Pa n Research Grants Program to fund
                                        research projects of doctorally-prepared nvestigators
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                                        and research n pain that will add to the body of
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16 092    25000.000    25 000 6/7/2013   The American Pa n Soc ety (APS) has established a         /13/2015     5/16/2015     ive   Live                  Chron c Pa n (General)   Pa n   Researchers        Palm Spr ngs Conv Ctr   CA   6/6/2013   American Pain Society       Alyssa   Engle     4700 W. Lake Ave         Glenview   IL   (847) 375-4829
                                         Future Leaders in Pa n Research Grants Program to fund
                                         research projects of doctorally-prepared nvestigators
                                         who have not yet attained NIH RO1 level funding. The
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                                         presented at the APS Annual Scient fic Meet ng n 2015

16 230   110000.000   110 000 8/8/2013   The activ ty wi l cons st of a 60-minute virtual           9/10/2013   3/10/2014     Web   Web Posting/Archive   Breakthrough Pa n        Pa n                                                   8/8/2013   Montefiore Medical Center   Victor   Hatcher   3301 Bainbridge Avenue   Bronx      NY   (718) 920-6674
                                         symposium broadcast from a studio location online at
                                         http://www.OMedLive. com. The v rtual symposium wi l
                                          nclude all of the features of a “live” CME symposium
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                                         access the endur ng activ ty for cred t can participate in
                                         the enduring activity and earn CME credit at their
                                         convenience for six months after the production date.

16 230   110000.000   110 000 8/8/2013   The activ ty wi l cons st of a 60-minute virtual           9/10/2013   3/10/2014     Web   Web Posting/Archive   Breakthrough Pa n        Pa n   Medical Oncology                                8/8/2013   Montefiore Medical Center   Victor   Hatcher   3301 Bainbridge Avenue   Bronx      NY   (718) 920-6674
                                         symposium broadcast from a studio location online at
                                         http://www.OMedLive. com. The v rtual symposium wi l
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16 230   110000.000   110 000 8/8/2013   The activ ty wi l cons st of a 60-minute virtual           9/10/2013   3/10/2014     Web   Web Posting/Archive   Breakthrough Pa n        Pa n   Onco ogy                                        8/8/2013   Montefiore Medical Center   Victor   Hatcher   3301 Bainbridge Avenue   Bronx      NY   (718) 920-6674
                                         symposium broadcast from a studio location online at
                                         http://www.OMedLive. com. The v rtual symposium wi l
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                                         convenience for six months after the production date.
16 230   110000.000   110 000 8/8/2013   The activ ty wi l cons st of a 60-minute virtual           9/10/2013   3/10/2014     Web   Web Posting/Archive   Breakthrough Pa n        Pa n   Pain Medicine                                   8/8/2013   Montefiore Medical Center   Victor   Hatcher   3301 Bainbridge Avenue   Bronx      NY   (718) 920-6674
                                         symposium broadcast from a studio location online at
                                         http://www.OMedLive. com. The v rtual symposium wi l
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16 230   110000.000   110 000 8/8/2013   The activ ty wi l cons st of a 60-minute virtual           9/10/2013   3/10/2014     Web   Web Posting/Archive   Chron c Pa n (General)   Pa n                                                   8/8/2013   Montefiore Medical Center   Victor   Hatcher   3301 Bainbridge Avenue   Bronx      NY   (718) 920-6674
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16 230   110000.000   110 000 8/8/2013   The activ ty wi l cons st of a 60-minute virtual           9/10/2013   3/10/2014     Web   Web Posting/Archive   Chron c Pa n (General)   Pa n   Medical Oncology                                8/8/2013   Montefiore Medical Center   Victor   Hatcher   3301 Bainbridge Avenue   Bronx      NY   (718) 920-6674
                                         symposium broadcast from a studio location online at
                                         http://www.OMedLive. com. The v rtual symposium wi l
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16 230   110000.000   110 000 8/8/2013   The activ ty wi l cons st of a 60-minute virtual           9/10/2013   3/10/2014     Web   Web Posting/Archive      Chron c Pa n (General)    Pa n   Onco ogy                                       8/8/2013   Montefiore Medical Center   Victor   Hatcher   3301 Bainbridge Avenue   Bronx   NY   (718) 920-6674
                                         symposium broadcast from a studio location online at
                                         http://www.OMedLive. com. The v rtual symposium wi l
                                          nclude all of the features of a “live” CME symposium
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16 230   110000.000   110 000 8/8/2013   The activ ty wi l cons st of a 60-minute virtual           9/10/2013   3/10/2014     Web   Web Posting/Archive      Chron c Pa n (General)    Pa n   Pain Medicine                                  8/8/2013   Montefiore Medical Center   Victor   Hatcher   3301 Bainbridge Avenue   Bronx   NY   (718) 920-6674
                                         symposium broadcast from a studio location online at
                                         http://www.OMedLive. com. The v rtual symposium wi l
                                          nclude all of the features of a “live” CME symposium
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                                         convenience for six months after the production date.

16 230   110000.000   110 000 8/8/2013   The activ ty wi l cons st of a 60-minute virtual           9/10/2013   3/10/2014     Web   Web Posting/Archive      Op oid Misuse and Abuse   Pa n                                                  8/8/2013   Montefiore Medical Center   Victor   Hatcher   3301 Bainbridge Avenue   Bronx   NY   (718) 920-6674
                                         symposium broadcast from a studio location online at
                                         http://www.OMedLive. com. The v rtual symposium wi l
                                          nclude all of the features of a “live” CME symposium
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16 230   110000.000   110 000 8/8/2013   The activ ty wi l cons st of a 60-minute virtual           9/10/2013   3/10/2014     Web   Web Posting/Archive      Op oid Misuse and Abuse   Pa n   Medical Oncology                               8/8/2013   Montefiore Medical Center   Victor   Hatcher   3301 Bainbridge Avenue   Bronx   NY   (718) 920-6674
                                         symposium broadcast from a studio location online at
                                         http://www.OMedLive. com. The v rtual symposium wi l
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16 230   110000.000   110 000 8/8/2013   The activ ty wi l cons st of a 60-minute virtual           9/10/2013   3/10/2014     Web   Web Posting/Archive      Op oid Misuse and Abuse   Pa n   Onco ogy                                       8/8/2013   Montefiore Medical Center   Victor   Hatcher   3301 Bainbridge Avenue   Bronx   NY   (718) 920-6674
                                         symposium broadcast from a studio location online at
                                         http://www.OMedLive. com. The v rtual symposium wi l
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16 230   110000.000   110 000 8/8/2013   The activ ty wi l cons st of a 60-minute virtual           9/10/2013   3/10/2014     Web   Web Posting/Archive      Op oid Misuse and Abuse   Pa n   Pain Medicine                                  8/8/2013   Montefiore Medical Center   Victor   Hatcher   3301 Bainbridge Avenue   Bronx   NY   (718) 920-6674
                                         symposium broadcast from a studio location online at
                                         http://www.OMedLive. com. The v rtual symposium wi l
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16 230   110000.000   110 000 8/8/2013   The activ ty wi l cons st of a 60-minute virtual           9/10/2013   3/10/2014     Web   Webcast/Online Program   Breakthrough Pa n         Pa n                      Live - online summ t   NY   8/8/2013   Montefiore Medical Center   Victor   Hatcher   3301 Bainbridge Avenue   Bronx   NY   (718) 920-6674
                                         symposium broadcast from a studio location online at
                                         http://www.OMedLive. com. The v rtual symposium wi l
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16 230   110000.000   110 000 8/8/2013   The activ ty wi l cons st of a 60-minute virtual           9/10/2013   3/10/2014     Web   Webcast/Online Program   Breakthrough Pa n        Pa n   Medical Oncology   Live - online summ t   NY   8/8/2013   Montefiore Medical Center   Victor   Hatcher   3301 Bainbridge Avenue   Bronx   NY   (718) 920-6674
                                         symposium broadcast from a studio location online at
                                         http://www.OMedLive. com. The v rtual symposium wi l
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16 230   110000.000   110 000 8/8/2013   The activ ty wi l cons st of a 60-minute virtual           9/10/2013   3/10/2014     Web   Webcast/Online Program   Breakthrough Pa n        Pa n   Onco ogy           Live - online summ t   NY   8/8/2013   Montefiore Medical Center   Victor   Hatcher   3301 Bainbridge Avenue   Bronx   NY   (718) 920-6674
                                         symposium broadcast from a studio location online at
                                         http://www.OMedLive. com. The v rtual symposium wi l
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16 230   110000.000   110 000 8/8/2013   The activ ty wi l cons st of a 60-minute virtual           9/10/2013   3/10/2014     Web   Webcast/Online Program   Breakthrough Pa n        Pa n   Pain Medicine      Live - online summ t   NY   8/8/2013   Montefiore Medical Center   Victor   Hatcher   3301 Bainbridge Avenue   Bronx   NY   (718) 920-6674
                                         symposium broadcast from a studio location online at
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16 230   110000.000   110 000 8/8/2013   The activ ty wi l cons st of a 60-minute virtual           9/10/2013   3/10/2014     Web   Webcast/Online Program   Chron c Pa n (General)   Pa n                      Live - online summ t   NY   8/8/2013   Montefiore Medical Center   Victor   Hatcher   3301 Bainbridge Avenue   Bronx   NY   (718) 920-6674
                                         symposium broadcast from a studio location online at
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16 230   110000.000   110 000 8/8/2013   The activ ty wi l cons st of a 60-minute virtual           9/10/2013   3/10/2014     Web   Webcast/Online Program   Chron c Pa n (General)   Pa n   Medical Oncology   Live - online summ t   NY   8/8/2013   Montefiore Medical Center   Victor   Hatcher   3301 Bainbridge Avenue   Bronx   NY   (718) 920-6674
                                         symposium broadcast from a studio location online at
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16 230   110000.000   110 000 8/8/2013   The activ ty wi l cons st of a 60-minute virtual           9/10/2013   3/10/2014     Web   Webcast/Online Program   Chron c Pa n (General)   Pa n   Onco ogy           Live - online summ t   NY   8/8/2013   Montefiore Medical Center   Victor   Hatcher   3301 Bainbridge Avenue   Bronx   NY   (718) 920-6674
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                                         convenience for six months after the production date.
16 230   110000.000   110 000 8/8/2013   The activ ty wi l cons st of a 60-minute virtual           9/10/2013   3/10/2014     Web   Webcast/Online Program   Chron c Pa n (General)   Pa n   Pain Medicine      Live - online summ t   NY   8/8/2013   Montefiore Medical Center   Victor   Hatcher   3301 Bainbridge Avenue   Bronx   NY   (718) 920-6674
                                         symposium broadcast from a studio location online at
                                         http://www.OMedLive. com. The v rtual symposium wi l
                                          nclude all of the features of a “live” CME symposium
                                         but will take place entirely onl ne. It will feature live
                                         stream ng faculty presentations and interactive case
                                         presentations and wi l prov de the ab lity for earners to
                                          nteract w th faculty and other participants in real t me.
                                         Participants are therefore ab e to participate n a live
                                         CME activity w thout the time and expense of travel
                                         associated with attending a physical meeting. The virtua
                                         broadcast w ll be recorded and hosted as an endur ng
                                         educat onal activ ty on OMedLive. Learners who are
                                         unable to attend the live virtual activity broadcast can
                                         access the endur ng activ ty for cred t can participate in
                                         the enduring activity and earn CME credit at their
                                         convenience for six months after the production date.




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16 230   110000.000   110 000 8/8/2013    The activ ty wi l cons st of a 60-minute virtual           9/10/2013   3/10/2014     Web   Webcast/Online Program   Op oid Misuse and Abuse   Pa n                       Live - online summ t               NY   8/8/2013    Montefiore Medical Center   Victor   Hatcher   3301 Bainbridge Avenue   Bronx         NY   (718) 920-6674
                                          symposium broadcast from a studio location online at
                                          http://www.OMedLive. com. The v rtual symposium wi l
                                           nclude all of the features of a “live” CME symposium
                                          but will take place entirely onl ne. It will feature live
                                          stream ng faculty presentations and interactive case
                                          presentations and wi l prov de the ab lity for earners to
                                           nteract w th faculty and other participants in real t me.
                                          Participants are therefore ab e to participate n a live
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                                          access the endur ng activ ty for cred t can participate in
                                          the enduring activity and earn CME credit at their
                                          convenience for six months after the production date.
16 230   110000.000   110 000 8/8/2013    The activ ty wi l cons st of a 60-minute virtual           9/10/2013   3/10/2014     Web   Webcast/Online Program   Op oid Misuse and Abuse   Pa n   Medical Oncology    Live - online summ t               NY   8/8/2013    Montefiore Medical Center   Victor   Hatcher   3301 Bainbridge Avenue   Bronx         NY   (718) 920-6674
                                          symposium broadcast from a studio location online at
                                          http://www.OMedLive. com. The v rtual symposium wi l
                                           nclude all of the features of a “live” CME symposium
                                          but will take place entirely onl ne. It w ll feature live
                                          stream ng faculty presentations and interactive case
                                          presentations and wi l prov de the ab lity for earners to
                                           nteract w th faculty and other participants in real t me.
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                                          associated with attending a physical meeting. The virtua
                                          broadcast w ll be recorded and hosted as an endur ng
                                          educat onal activ ty on OMedLive. Learners who are
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                                          access the endur ng activ ty for cred t can participate in
                                          the enduring activity and earn CME credit at their
                                          convenience for six months after the production date.

16 230   110000.000   110 000 8/8/2013    The activ ty wi l cons st of a 60-minute virtual           9/10/2013   3/10/2014     Web   Webcast/Online Program   Op oid Misuse and Abuse   Pa n   Onco ogy            Live - online summ t               NY   8/8/2013    Montefiore Medical Center   Victor   Hatcher   3301 Bainbridge Avenue   Bronx         NY   (718) 920-6674
                                          symposium broadcast from a studio location online at
                                          http://www.OMedLive. com. The v rtual symposium wi l
                                           nclude all of the features of a “live” CME symposium
                                          but will take place entirely onl ne. It will feature live
                                          stream ng faculty presentations and interactive case
                                          presentations and wi l prov de the ab lity for earners to
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                                          educat onal activ ty on OMedLive. Learners who are
                                          unable to attend the live virtual activity broadcast can
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                                          the enduring activity and earn CME credit at their
                                          convenience for six months after the production date.
16 230   110000.000   110 000 8/8/2013    The activ ty wi l cons st of a 60-minute virtual           9/10/2013   3/10/2014     Web   Webcast/Online Program   Op oid Misuse and Abuse   Pa n   Pain Medicine       Live - online summ t               NY   8/8/2013    Montefiore Medical Center   Victor   Hatcher   3301 Bainbridge Avenue   Bronx         NY   (718) 920-6674
                                          symposium broadcast from a studio location online at
                                          http://www.OMedLive. com. The v rtual symposium wi l
                                           nclude all of the features of a “live” CME symposium
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                                          Participants are therefore ab e to participate n a live
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                                          access the endur ng activ ty for cred t can participate in
                                          the enduring activity and earn CME credit at their
                                          convenience for six months after the production date.
16 334   234560.000   234 560 7/15/2013   An accred ted lunch symposium entit ed Breakthrough       9/26/2013    9/29/2013     ive   Satell te Symposium      Breakthrough Pa n         Pa n                       JW Marr ott Orlando Grande Lakes   FL   7/11/2013   Med Com Worldw de Inc       Joan     Meyer     101 Wash ngton           Morrisv lle   PA   (800) 408-4242
                                          Pain Across the Provider Continuum to be held in
                                          conjunction with the 24th Annual Meeting of the
                                          Amer can Academy of Pain Management scheduled for
                                          September 26 – 29 2013 n Orlando F orida and
                                          featur ng a panel of clin cal experts includ ng a pain
                                          management spec alist an onco ogist and a primary
                                          care physician. Endur ng material wi l be an accred ted
                                           nteractive slide-audio self-study adaptation of the live
                                          symposium posted on EmergingSolut onsinPain.com
                                          and linked to Practica Oncologist.com a so ava lable as a
                                          PDF r nta le te t and odcast
16 334   234560.000   234 560 7/15/2013   An accred ted lunch symposium entit ed Breakthrough       9/26/2013    9/29/2013     ive   Satell te Symposium      Breakthrough Pa n         Pa n   Pain Medicine       JW Marr ott Orlando Grande Lakes   FL   7/11/2013   Med Com Worldw de Inc       Joan     Meyer     101 Wash ngton           Morrisv lle   PA   (800) 408-4242
                                          Pain Across the Provider Continuum to be held in
                                          conjunction with the 24th Annual Meeting of the
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                                          September 26 – 29 2013 n Orlando F orida and
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                                          symposium posted on EmergingSolut onsinPain.com
                                          and linked to Practica Oncologist.com a so ava lable as a
                                          PDF r nta le te t and odcast
16 334   234560.000   234 560 7/15/2013   An accred ted lunch symposium entit ed Breakthrough       9/26/2013    9/29/2013     ive   Satell te Symposium      Breakthrough Pa n         Pa n   Pharmacy D rector   JW Marr ott Orlando Grande Lakes   FL   7/11/2013   Med Com Worldw de Inc       Joan     Meyer     101 Wash ngton           Morrisv lle   PA   (800) 408-4242
                                          Pain Across the Provider Continuum to be held in
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                                          symposium posted on EmergingSolut onsinPain.com
                                          and linked to Practica Oncologist.com a so ava lable as a

16 334   234560.000   234 560 7/15/2013   An accred ted lunch symposium entit ed Breakthrough       9/26/2013    9/29/2013     ive   Satell te Symposium      Chron c Pa n (General)    Pa n                       JW Marr ott Orlando Grande Lakes   FL   7/11/2013   Med Com Worldw de Inc       Joan     Meyer     101 Wash ngton           Morrisv lle   PA   (800) 408-4242
                                          Pain Across the Provider Continuum to be held in
                                          conjunction with the 24th Annual Meeting of the
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16 334   234560.000   234 560 7/15/2013   An accred ted lunch symposium entit ed Breakthrough       9/26/2013    9/29/2013     ive   Satell te Symposium      Chron c Pa n (General)    Pa n   Pain Medicine       JW Marr ott Orlando Grande Lakes   FL   7/11/2013   Med Com Worldw de Inc       Joan     Meyer     101 Wash ngton           Morrisv lle   PA   (800) 408-4242
                                          Pain Across the Provider Continuum to be held in
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16 334   234560.000   234 560 7/15/2013   An accred ted lunch symposium entit ed Breakthrough         9/26/2013    9/29/2013      ive   Satell te Symposium             Chron c Pa n (General)    Pa n   Pharmacy D rector   JW Marr ott Orlando Grande Lakes   FL   7/11/2013   Med Com Worldw de Inc   Joan   Meyer   101 Wash ngton   Morrisv lle   PA   (800) 408-4242
                                          Pain Across the Provider Continuum to be held in
                                          conjunction with the 24th Annual Meeting of the
                                          Amer can Academy of Pain Management scheduled for
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                                          and linked to Practica Oncologist.com a so ava lable as a
                                          PDF r nta le te t and odcast
16 334   234560.000   234 560 7/15/2013   An accred ted lunch symposium entit ed Breakthrough         9/26/2013    9/29/2013      ive   Satell te Symposium             Op oid Misuse and Abuse   Pa n                       JW Marr ott Orlando Grande Lakes   FL   7/11/2013   Med Com Worldw de Inc   Joan   Meyer   101 Wash ngton   Morrisv lle   PA   (800) 408-4242
                                          Pain Across the Provider Continuum to be he d in
                                          conjunction with the 24th Annual Meeting of the
                                          Amer can Academy of Pain Management scheduled for
                                          September 26 – 29 2013 n Orlando F orida and
                                          featur ng a panel of clin cal experts includ ng a pain
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                                          PDF r nta le te t and odcast
16 334   234560.000   234 560 7/15/2013   An accred ted lunch symposium entit ed Breakthrough         9/26/2013    9/29/2013      ive   Satell te Symposium             Op oid Misuse and Abuse   Pa n   Pain Medicine       JW Marr ott Orlando Grande Lakes   FL   7/11/2013   Med Com Worldw de Inc   Joan   Meyer   101 Wash ngton   Morrisv lle   PA   (800) 408-4242
                                          Pain Across the Provider Continuum to be held in
                                          conjunction with the 24th Annual Meeting of the
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16 334   234560.000   234 560 7/15/2013   An accred ted lunch symposium entit ed Breakthrough         9/26/2013    9/29/2013      ive   Satell te Symposium             Op oid Misuse and Abuse   Pa n   Pharmacy D rector   JW Marr ott Orlando Grande Lakes   FL   7/11/2013   Med Com Worldw de Inc   Joan   Meyer   101 Wash ngton   Morrisv lle   PA   (800) 408-4242
                                          Pain Across the Provider Continuum to be held in
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16 334   234560.000   234 560 7/15/2013   An accred ted lunch symposium entit ed Breakthrough          0/31/2013   10/30/2014     Web   Mobile Devices: e.g. Podcasts   Breakthrough Pa n         Pa n   General                                                     7/11/2013   Med Com Worldw de Inc   Joan   Meyer   101 Wash ngton   Morrisv lle   PA   (800) 408-4242
                                          Pain Across the Provider Continuum to be he d in
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16 334   234560.000   234 560 7/15/2013   An accred ted lunch symposium entit ed Breakthrough          0/31/2013   10/30/2014     Web   Mobile Devices: e.g. Podcasts   Breakthrough Pa n         Pa n   Medical Oncology                                            7/11/2013   Med Com Worldw de Inc   Joan   Meyer   101 Wash ngton   Morrisv lle   PA   (800) 408-4242
                                          Pain Across the Provider Continuum to be held in
                                          conjunction with the 24th Annual Meeting of the
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                                          symposium posted on EmergingSolut onsinPain.com
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16 334   234560.000   234 560 7/15/2013   An accred ted lunch symposium entit ed Breakthrough          0/31/2013   10/30/2014     Web   Mobile Devices: e.g. Podcasts   Breakthrough Pa n         Pa n   Onco ogy                                                    7/11/2013   Med Com Worldw de Inc   Joan   Meyer   101 Wash ngton   Morrisv lle   PA   (800) 408-4242
                                          Pain Across the Provider Continuum to be held in
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16 334   234560.000   234 560 7/15/2013   An accred ted lunch symposium entit ed Breakthrough          0/31/2013   10/30/2014     Web   Mobile Devices: e.g. Podcasts   Breakthrough Pa n         Pa n   Pain Medicine                                               7/11/2013   Med Com Worldw de Inc   Joan   Meyer   101 Wash ngton   Morrisv lle   PA   (800) 408-4242
                                          Pain Across the Provider Continuum to be held in
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16 334   234560.000   234 560 7/15/2013   An accred ted lunch symposium entit ed Breakthrough          0/31/2013   10/30/2014     Web   Mobile Devices: e.g. Podcasts   Breakthrough Pa n         Pa n   Pr mary Care                                                7/11/2013   Med Com Worldw de Inc   Joan   Meyer   101 Wash ngton   Morrisv lle   PA   (800) 408-4242
                                          Pain Across the Provider Continuum to be held in
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16 334   234560.000   234 560 7/15/2013   An accred ted lunch symposium entit ed Breakthrough          0/31/2013   10/30/2014     Web   Mobile Devices: e.g. Podcasts   Chron c Pa n (General)    Pa n   General                                                     7/11/2013   Med Com Worldw de Inc   Joan   Meyer   101 Wash ngton   Morrisv lle   PA   (800) 408-4242
                                          Pain Across the Provider Continuum to be held in
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                                          Amer can Academy of Pain Management scheduled for
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                                          and linked to Practica Oncologist.com a so ava lable as a

16 334   234560.000   234 560 7/15/2013   An accred ted lunch symposium entit ed Breakthrough          0/31/2013   10/30/2014     Web   Mobile Devices: e.g. Podcasts   Chron c Pa n (General)    Pa n   Medical Oncology                                            7/11/2013   Med Com Worldw de Inc   Joan   Meyer   101 Wash ngton   Morrisv lle   PA   (800) 408-4242
                                          Pain Across the Provider Continuum to be held in
                                          conjunction with the 24th Annual Meeting of the
                                          Amer can Academy of Pain Management scheduled for
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                                           nteractive slide-audio self-study adaptation of the live
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16 334   234560.000   234 560 7/15/2013   An accred ted lunch symposium entit ed Breakthrough         0/31/2013   10/30/2014     Web   Mobile Devices: e.g. Podcasts   Chron c Pa n (General)    Pa n   Onco ogy           7/11/2013   Med Com Worldw de Inc   Joan   Meyer   101 Wash ngton   Morrisv lle   PA   (800) 408-4242
                                          Pain Across the Provider Continuum to be held in
                                          conjunction with the 24th Annual Meeting of the
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16 334   234560.000   234 560 7/15/2013   An accred ted lunch symposium entit ed Breakthrough         0/31/2013   10/30/2014     Web   Mobile Devices: e.g. Podcasts   Chron c Pa n (General)    Pa n   Pain Medicine      7/11/2013   Med Com Worldw de Inc   Joan   Meyer   101 Wash ngton   Morrisv lle   PA   (800) 408-4242
                                          Pain Across the Provider Continuum to be held in
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16 334   234560.000   234 560 7/15/2013   An accred ted lunch symposium entit ed Breakthrough         0/31/2013   10/30/2014     Web   Mobile Devices: e.g. Podcasts   Chron c Pa n (General)    Pa n   Pr mary Care       7/11/2013   Med Com Worldw de Inc   Joan   Meyer   101 Wash ngton   Morrisv lle   PA   (800) 408-4242
                                          Pain Across the Provider Continuum to be held in
                                          conjunction with the 24th Annual Meeting of the
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                                          PDF r nta le te t and odcast
16 334   234560.000   234 560 7/15/2013   An accred ted lunch symposium entit ed Breakthrough         0/31/2013   10/30/2014     Web   Mobile Devices: e.g. Podcasts   Op oid Misuse and Abuse   Pa n   General            7/11/2013   Med Com Worldw de Inc   Joan   Meyer   101 Wash ngton   Morrisv lle   PA   (800) 408-4242
                                          Pain Across the Provider Continuum to be held in
                                          conjunction with the 24th Annual Meeting of the
                                          Amer can Academy of Pain Management scheduled for
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                                          PDF r nta le te t and odcast
16 334   234560.000   234 560 7/15/2013   An accred ted lunch symposium entit ed Breakthrough         0/31/2013   10/30/2014     Web   Mobile Devices: e.g. Podcasts   Op oid Misuse and Abuse   Pa n   Medical Oncology   7/11/2013   Med Com Worldw de Inc   Joan   Meyer   101 Wash ngton   Morrisv lle   PA   (800) 408-4242
                                          Pain Across the Provider Continuum to be held in
                                          conjunction with the 24th Annual Meeting of the
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16 334   234560.000   234 560 7/15/2013   An accred ted lunch symposium entit ed Breakthrough         0/31/2013   10/30/2014     Web   Mobile Devices: e.g. Podcasts   Op oid Misuse and Abuse   Pa n   Onco ogy           7/11/2013   Med Com Worldw de Inc   Joan   Meyer   101 Wash ngton   Morrisv lle   PA   (800) 408-4242
                                          Pain Across the Provider Continuum to be held in
                                          conjunction with the 24th Annual Meeting of the
                                          Amer can Academy of Pain Management scheduled for
                                          September 26 – 29 2013 n Orlando F orida and
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16 334   234560.000   234 560 7/15/2013   An accred ted lunch symposium entit ed Breakthrough         0/31/2013   10/30/2014     Web   Web Posting/Archive             Breakthrough Pa n         Pa n   General            7/11/2013   Med Com Worldw de Inc   Joan   Meyer   101 Wash ngton   Morrisv lle   PA   (800) 408-4242
                                          Pain Across the Provider Continuum to be held in
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16 334   234560.000   234 560 7/15/2013   An accred ted lunch symposium entit ed Breakthrough         0/31/2013   10/30/2014     Web   Web Posting/Archive             Breakthrough Pa n         Pa n   Medical Oncology   7/11/2013   Med Com Worldw de Inc   Joan   Meyer   101 Wash ngton   Morrisv lle   PA   (800) 408-4242
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16 334   234560.000   234 560 7/15/2013   An accred ted lunch symposium entit ed Breakthrough         0/31/2013   10/30/2014     Web   Web Posting/Archive   Breakthrough Pa n         Pa n   Pain Medicine      7/11/2013   Med Com Worldw de Inc   Joan   Meyer   101 Wash ngton   Morrisv lle   PA   (800) 408-4242
                                          Pain Across the Provider Continuum to be held in
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16 334   234560.000   234 560 7/15/2013   An accred ted lunch symposium entit ed Breakthrough         0/31/2013   10/30/2014     Web   Web Posting/Archive   Breakthrough Pa n         Pa n   Pr mary Care       7/11/2013   Med Com Worldw de Inc   Joan   Meyer   101 Wash ngton   Morrisv lle   PA   (800) 408-4242
                                          Pain Across the Provider Continuum to be held in
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16 334   234560.000   234 560 7/15/2013   An accred ted lunch symposium entit ed Breakthrough         0/31/2013   10/30/2014     Web   Web Posting/Archive   Chron c Pa n (General)    Pa n   General            7/11/2013   Med Com Worldw de Inc   Joan   Meyer   101 Wash ngton   Morrisv lle   PA   (800) 408-4242
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16 334   234560.000   234 560 7/15/2013   An accred ted lunch symposium entit ed Breakthrough         0/31/2013   10/30/2014     Web   Web Posting/Archive   Chron c Pa n (General)    Pa n   Pr mary Care       7/11/2013   Med Com Worldw de Inc   Joan   Meyer   101 Wash ngton   Morrisv lle   PA   (800) 408-4242
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16 334   234560.000   234 560 7/15/2013   An accred ted lunch symposium entit ed Breakthrough         0/31/2013   10/30/2014     Web   Web Posting/Archive   Op oid Misuse and Abuse   Pa n   General            7/11/2013   Med Com Worldw de Inc   Joan   Meyer   101 Wash ngton   Morrisv lle   PA   (800) 408-4242
                                          Pain Across the Provider Continuum to be held in
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16 334   234560.000   234 560 7/15/2013   An accred ted lunch symposium entit ed Breakthrough         0/31/2013   10/30/2014     Web   Web Posting/Archive   Op oid Misuse and Abuse   Pa n   Medical Oncology   7/11/2013   Med Com Worldw de Inc   Joan   Meyer   101 Wash ngton   Morrisv lle   PA   (800) 408-4242
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16 334   234560.000   234 560 7/15/2013   An accred ted lunch symposium entit ed Breakthrough         0/31/2013   10/30/2014     Web   Web Posting/Archive   Op oid Misuse and Abuse   Pa n   Onco ogy           7/11/2013   Med Com Worldw de Inc   Joan   Meyer   101 Wash ngton   Morrisv lle   PA   (800) 408-4242
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16 334   234560.000   234 560 7/15/2013   An accred ted lunch symposium entit ed Breakthrough        0/31/2013   10/30/2014     Web   Web Posting/Archive               Op oid Misuse and Abuse   Pa n   Pr mary Care                                                           7/11/2013   Med Com Worldw de Inc                                 Joan    Meyer          101 Wash ngton             Morrisv lle    PA   (800) 408-4242
                                          Pain Across the Provider Continuum to be held in
                                          conjunction with the 24th Annual Meeting of the
                                          Amer can Academy of Pain Management scheduled for
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16 352    33276.810    15 000 11/7/2013   Qual ty Improvements or Op oid Pain Management:           9/26/2013    9/26/2013      ive   Professional Education Programs   Chron c Pa n (General)    Pa n   Clin cal Psychologist                  JW Marr ott Grande Lakes   FL   11/7/2013   American Academy of Pain Management                   Debra   Ne son Hogan   975-A Morn ng Star Drive   Sonora         CA   (212) 532-4794
                                          Practical Steps You Can Use Next Week is a 6-hour
                                          mult -sponsored cased-based workshop format that w ll
                                          describe and portray through case stud es the bas c
                                          best pract ces for using opioid therapies to manage pain
                                          and w ll nclude: assessing pain creat ng treatment
                                          plans differentiat ng between different op o d therapies
                                          manag ng r sk and us ng adjuvant modal ties —
                                          behav oral and physical med c ne— not only to relieve
                                          pain but more importantly to promote healing and
                                          restoration of funct on. Us ng a case study format
                                          supported by didact c presentat ons attendees w ll work
                                           n small groups to d scuss the key po nts. Because of the
                                          subjective nature of pa n often there are no absolute
                                          correct choices just nformed best practices based on
                                          sound education and communicat on and agreement
                                          between clinician and patient. Our goal s to enhance
                                          the know edge of these best practices to achieve better
16 352    33276.810    15 000 11/7/2013   Qual ty Improvements or Op oid Pain Management:           9/26/2013    9/26/2013      ive   Professional Education Programs   Chron c Pa n (General)    Pa n   Pain Medicine                          JW Marr ott Grande Lakes   FL   11/7/2013   American Academy of Pain Management                   Debra   Ne son Hogan   975-A Morn ng Star Drive   Sonora         CA   (212) 532-4794
                                          Practical Steps You Can Use Next Week is a 6-hour
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                                          best pract ces for using opioid therapies to manage pain
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16 352    33276.810    15 000 11/7/2013   Qual ty Improvements or Op oid Pain Management:           9/26/2013    9/26/2013      ive   Professional Education Programs   Op oid Misuse and Abuse   Pa n   Clin cal Psychologist                  JW Marr ott Grande Lakes   FL   11/7/2013   American Academy of Pain Management                   Debra   Ne son Hogan   975-A Morn ng Star Drive   Sonora         CA   (212) 532-4794
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                                          the know edge of these best practices to achieve better
16 480     5000.000     2 500 10/9/2013   This is a one day live conference for the nter-          1/15/2013     11/15/2013     ive   Live                              Chron c Pa n (General)    Pa n   Clin cal Psychologist                  Mil ennium Centre          TN   10/9/2013   East Tennessee State University Research Foundat on   Em ly   W tzeman       2019 W Market Street       Johnson City   TN   (423)439-8078
                                          professional team that ncorporates ectures and
                                          workshops centered on controvers al pain management
                                          topics.
16 480     5000.000     2 500 10/9/2013   This is a one day live conference for the nter-          1/15/2013     11/15/2013     ive   Live                              Chron c Pa n (General)    Pa n   Emergency Med c ne                     Mil ennium Centre          TN   10/9/2013   East Tennessee State University Research Foundat on   Em ly   W tzeman       2019 W Market Street       Johnson City   TN   (423)439-8078
                                          professional team that ncorporates ectures and
                                          workshops centered on controvers al pain management
                                          topics.
16 480     5000.000     2 500 10/9/2013   This is a one day live conference for the nter-          1/15/2013     11/15/2013     ive   Live                              Chron c Pa n (General)    Pa n   General                                Mil ennium Centre          TN   10/9/2013   East Tennessee State University Research Foundat on   Em ly   W tzeman       2019 W Market Street       Johnson City   TN   (423)439-8078
                                          professional team that ncorporates ectures and
                                          workshops centered on controvers al pain management
                                          to ics
16 480     5000.000     2 500 10/9/2013   This is a one day live conference for the nter-          1/15/2013     11/15/2013     ive   Live                              Chron c Pa n (General)    Pa n   Gyneco ogy                             Mil ennium Centre          TN   10/9/2013   East Tennessee State University Research Foundat on   Em ly   W tzeman       2019 W Market Street       Johnson City   TN   (423)439-8078
                                          professional team that ncorporates ectures and
                                          workshops centered on controvers al pain management
                                          topics.
16 480     5000.000     2 500 10/9/2013   This is a one day live conference for the nter-          1/15/2013     11/15/2013     ive   Live                              Chron c Pa n (General)    Pa n   Internal Med c ne                      Mil ennium Centre          TN   10/9/2013   East Tennessee State University Research Foundat on   Em ly   W tzeman       2019 W Market Street       Johnson City   TN   (423)439-8078
                                          professional team that ncorporates ectures and
                                          workshops centered on controvers al pain management
                                          topics.
16 480     5000.000     2 500 10/9/2013   This is a one day live conference for the nter-          1/15/2013     11/15/2013     ive   Live                              Chron c Pa n (General)    Pa n   Physical Med c ne and Rehabil tation   Mil ennium Centre          TN   10/9/2013   East Tennessee State University Research Foundat on   Em ly   W tzeman       2019 W Market Street       Johnson City   TN   (423)439-8078
                                          professional team that ncorporates ectures and
                                          workshops centered on controvers al pain management
                                          to ics
16 480     5000.000     2 500 10/9/2013   This is a one day live conference for the nter-          1/15/2013     11/15/2013     ive   Live                              Chron c Pa n (General)    Pa n   Psychiatry                             Mil ennium Centre          TN   10/9/2013   East Tennessee State University Research Foundat on   Em ly   W tzeman       2019 W Market Street       Johnson City   TN   (423)439-8078
                                          professional team that ncorporates ectures and
                                          workshops centered on controvers al pain management
                                          topics.
16 480     5000.000     2 500 10/9/2013   This is a one day live conference for the nter-          1/15/2013     11/15/2013     ive   Live                              Op oid Misuse and Abuse   Pa n   Clin cal Psychologist                  Mil ennium Centre          TN   10/9/2013   East Tennessee State University Research Foundat on   Em ly   W tzeman       2019 W Market Street       Johnson City   TN   (423)439-8078
                                          professional team that ncorporates ectures and
                                          workshops centered on controvers al pain management
                                          topics.
16 480     5000.000     2 500 10/9/2013   This is a one day live conference for the nter-          1/15/2013     11/15/2013     ive   Live                              Op oid Misuse and Abuse   Pa n   Emergency Med c ne                     Mil ennium Centre          TN   10/9/2013   East Tennessee State University Research Foundat on   Em ly   W tzeman       2019 W Market Street       Johnson City   TN   (423)439-8078
                                          professional team that ncorporates ectures and
                                          workshops centered on controvers al pain management
                                          to ics
16 480     5000.000     2 500 10/9/2013   This is a one day live conference for the nter-          1/15/2013     11/15/2013     ive   Live                              Op oid Misuse and Abuse   Pa n   General                                Mil ennium Centre          TN   10/9/2013   East Tennessee State University Research Foundat on   Em ly   W tzeman       2019 W Market Street       Johnson City   TN   (423)439-8078
                                          professional team that ncorporates ectures and
                                          workshops centered on controvers al pain management
                                          topics.
16 480     5000.000     2 500 10/9/2013   This is a one day live conference for the nter-          1/15/2013     11/15/2013     ive   Live                              Op oid Misuse and Abuse   Pa n   Gyneco ogy                             Mil ennium Centre          TN   10/9/2013   East Tennessee State University Research Foundat on   Em ly   W tzeman       2019 W Market Street       Johnson City   TN   (423)439-8078
                                          professional team that ncorporates ectures and
                                          workshops centered on controvers al pain management
                                          topics.




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16 480    5000.000    2 500 10/9/2013   This is a one day live conference for the nter-             1/15/2013   11/15/2013     ive                Live                              Op oid Misuse and Abuse   Pa n   Internal Med c ne                      Mil ennium Centre               TN   10/9/2013   East Tennessee State University Research Foundat on   Em ly    W tzeman   2019 W Market Street    Johnson City   TN   (423)439-8078
                                        professional team that ncorporates ectures and
                                        workshops centered on controvers al pain management
                                        topics.
16 480    5000.000    2 500 10/9/2013   This is a one day live conference for the nter-             1/15/2013   11/15/2013     ive                Live                              Op oid Misuse and Abuse   Pa n   Physical Med c ne and Rehabil tation   Mil ennium Centre               TN   10/9/2013   East Tennessee State University Research Foundat on   Em ly    W tzeman   2019 W Market Street    Johnson City   TN   (423)439-8078
                                        professional team that ncorporates ectures and
                                        workshops centered on controvers al pain management
                                        topics.
16 480    5000.000    2 500 10/9/2013   This is a one day live conference for the nter-             1/15/2013   11/15/2013     ive                Live                              Op oid Misuse and Abuse   Pa n   Psychiatry                             Mil ennium Centre               TN   10/9/2013   East Tennessee State University Research Foundat on   Em ly    W tzeman   2019 W Market Street    Johnson City   TN   (423)439-8078
                                        professional team that ncorporates ectures and
                                        workshops centered on controvers al pain management
                                        to ics
16 480    5000.000    2 500 10/9/2013   This is a one day live conference for the nter-             1/15/2013   11/15/2013     ive                Symposium                         Chron c Pa n (General)    Pa n                                          Mil ennium Centre               TN   10/9/2013   East Tennessee State University Research Foundat on   Em ly    W tzeman   2019 W Market Street    Johnson City   TN   (423)439-8078
                                        professional team that ncorporates ectures and
                                        workshops centered on controvers al pain management
                                        topics.
16 480    5000.000    2 500 10/9/2013   This is a one day live conference for the nter-             1/15/2013   11/15/2013     ive                Symposium                         Op oid Misuse and Abuse   Pa n                                          Mil ennium Centre               TN   10/9/2013   East Tennessee State University Research Foundat on   Em ly    W tzeman   2019 W Market Street    Johnson City   TN   (423)439-8078
                                        professional team that ncorporates ectures and
                                        workshops centered on controvers al pain management
                                        topics.
16 526   25000.000   12 500 8/26/2013    Essential Tools for Treating the Pat ent in Pa n is                                   nduring Material   Monograph                         Breakthrough Pa n         Pa n   Pain Medicine                                                               8/26/2013   American Academy of Pain Medicine                     Alyssa   Engle      4700 West Lake Avenue   Glenview       IL   (847)375-4829
                                        designed for clinicians interested in obtaining an
                                        overview of some of the fundamenta s of Pain Medicine
                                         n addit on to practical approaches to the treatment of
                                        common pain disorders. The program offers clinically
                                        focused ectures and case presentations on the
                                        assessment diagnos s and treatment of patients w th
                                        various acute cancer end-of-life and neuropathic pain
                                        syndromes. Components of th s educational program
                                        wi l d scuss specif c doma ns with the FDA Prescriber
                                        Educat on Blue Pr nt spec fica ly Domain II. Init ating
                                        Modifying Dosing and D scontinuing Use of ER/LA
                                        Op o d Analgesics and Sect on III Managing Therapy
                                        with ER/LA Op oids Analges cs and Section V General
                                        Drug Information for ER/LA Opioids but will not be
                                        100% compliant with the approved REMS Prescriber
                                        Curriculum as def ned by the RPC CE Team. The hands
                                        on assessment segment of the activity w ll be fac litated
                                        through the Cervical and Lumbar Sp ne Assessment
16 526   25000.000   12 500 8/26/2013    Essential Tools for Treating the Pat ent in Pa n is                                   nduring Material   Monograph                         Chron c Pain (General)    Pa n   Pain Medicine                                                               8/26/2013   American Academy of Pain Medicine                     Alyssa   Engle      4700 West Lake Avenue   Glenview       IL   (847)375-4829
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16 526   25000.000   12 500 8/26/2013    Essential Tools for Treating the Pat ent in Pa n is                                   nduring Material   Monograph                         Op oid Misuse and Abuse   Pa n   Pain Medicine                                                               8/26/2013   American Academy of Pain Medicine                     Alyssa   Engle      4700 West Lake Avenue   Glenview       IL   (847)375-4829
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                                        Educat on Blue Pr nt spec fica ly Domain II. Init ating
                                        Modifying Dosing and D scontinuing Use of ER/LA
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                                        on assessment segment of the activity w ll be fac litated
                                        through the Cervical and Lumbar Sp ne Assessment
16 526   25000.000   12 500 8/26/2013    Essential Tools for Treating the Pat ent in Pa n is      9/7/2013      9/7/2013       ive                Professional Education Programs   Breakthrough Pa n         Pa n   Pain Medicine                          The Cosmopol tan of Las Vegas   NV   8/26/2013   American Academy of Pain Medicine                     Alyssa   Engle      4700 West Lake Avenue   Glenview       IL   (847)375-4829
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                                        overview of some of the fundamenta s of Pain Medicine
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16 526   25000.000   12 500 8/26/2013    Essential Tools for Treating the Pat ent in Pa n is      9/7/2013      9/7/2013       ive                Professional Education Programs   Breakthrough Pa n         Pa n   Pr mary Care                           The Cosmopol tan of Las Vegas   NV   8/26/2013   American Academy of Pain Medicine                     Alyssa   Engle      4700 West Lake Avenue   Glenview       IL   (847)375-4829
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16 526   25000.000   12 500 8/26/2013    Essential Tools for Treating the Pat ent in Pa n is      9/7/2013      9/7/2013      ive   Professional Education Programs   Chron c Pa n (General)    Pa n   Pain Medicine    The Cosmopol tan of Las Vegas   NV   8/26/2013   American Academy of Pain Medicine   Alyssa     Engle    4700 West Lake Avenue      Glenview   IL   (847)375-4829
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16 526   25000.000   12 500 8/26/2013    Essential Tools for Treating the Pat ent in Pa n is      9/7/2013      9/7/2013      ive   Professional Education Programs   Chron c Pa n (General)    Pa n   Pr mary Care     The Cosmopol tan of Las Vegas   NV   8/26/2013   American Academy of Pain Medicine   Alyssa     Engle    4700 West Lake Avenue      Glenview   IL   (847)375-4829
                                        designed for clinicians interested in obtaining an
                                        overview of some of the fundamenta s of Pain Medicine
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                                        focused ectures and case presentations on the
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                                        on assessment segment of the activity w ll be fac litated
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16 526   25000.000   12 500 8/26/2013    Essential Tools for Treating the Pat ent in Pa n is      9/7/2013      9/7/2013      ive   Professional Education Programs   Op oid Misuse and Abuse   Pa n   Pain Medicine    The Cosmopol tan of Las Vegas   NV   8/26/2013   American Academy of Pain Medicine   Alyssa     Engle    4700 West Lake Avenue      Glenview   IL   (847)375-4829
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16 526   25000.000   12 500 8/26/2013    Essential Tools for Treating the Pat ent in Pa n is      9/7/2013      9/7/2013      ive   Professional Education Programs   Op oid Misuse and Abuse   Pa n   Pr mary Care     The Cosmopol tan of Las Vegas   NV   8/26/2013   American Academy of Pain Medicine   Alyssa     Engle    4700 West Lake Avenue      Glenview   IL   (847)375-4829
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                                        on assessment segment of the activity w ll be fac litated
                                        through the Cervical and Lumbar Sp ne Assessment
16 564   18863.000    5 000 11/7/2013   An outstanding facu ty from Beth Israel Medical Center       2/3/2013   12/3/2013     ive   Live                              Breakthrough Pa n         Pa n                    CUNY Graduate Center            NY   11/7/2013   Beth Israel Med cal Center          Win fred   Schein   First Ave at 16th Street   New York   NY   (212) 844-1219
                                        and MJHS Hospice and Palliative Care w ll present
                                        plenary and breakout sessions covering an array of
                                        topics relevant to the pract ce of spec a ty palliative care
                                         n varied d scipl nes. A l faculty members are author ties
                                         n their f elds w th years of experience presenting at
                                         nternational national and ocal conferences. Plenary
                                        sessions w ll nclude keynote presentations on ‘goa s of
                                        care discussions and the ro e of caregivers in end-of-l fe
                                        care; a panel on ethics and law; and hospice eligib lity in
                                        complex cases. Breakout sessions w ll be offered n four
                                        areas: pain management in advanced llness; the
                                         nterdiscipl nary team; psychiatric and psychosocial
                                         ssues; and evolving issues n palliative care. Because
                                        attendees at past programs expressed the desire to
                                        attend more breakout sess ons we have expanded the
                                        t me al otted to these at this conference giving a l
                                        attendees the opportunity to attend two out of four
16 564   18863.000    5 000 11/7/2013   An outstanding facu ty from Beth Israel Medical Center       2/3/2013   12/3/2013     ive   Live                              Breakthrough Pa n         Pa n   Anesthes ology   CUNY Graduate Center            NY   11/7/2013   Beth Israel Med cal Center          Win fred   Schein   First Ave at 16th Street   New York   NY   (212) 844-1219
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16 564   18863.000   5 000 11/7/2013   An outstanding facu ty from Beth Israel Medical Center       2/3/2013   12/3/2013     ive   Live   Breakthrough Pa n   Pa n   General             CUNY Graduate Center   NY   11/7/2013   Beth Israel Med cal Center   Win fred   Schein   First Ave at 16th Street   New York   NY   (212) 844-1219
                                       and MJHS Hospice and Palliative Care w ll present
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16 564   18863.000   5 000 11/7/2013   An outstanding facu ty from Beth Israel Medical Center       2/3/2013   12/3/2013     ive   Live   Breakthrough Pa n   Pa n   Internal Med c ne   CUNY Graduate Center   NY   11/7/2013   Beth Israel Med cal Center   Win fred   Schein   First Ave at 16th Street   New York   NY   (212) 844-1219
                                       and MJHS Hospice and Palliative Care w ll present
                                       plenary and breakout sessions covering an array of
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                                        n varied d sciplines. A l faculty members are authorities
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                                        nternational national and ocal conferences. Plenary
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16 564   18863.000   5 000 11/7/2013   An outstanding facu ty from Beth Israel Medical Center       2/3/2013   12/3/2013     ive   Live   Breakthrough Pa n   Pa n   Medical Oncology    CUNY Graduate Center   NY   11/7/2013   Beth Israel Med cal Center   Win fred   Schein   First Ave at 16th Street   New York   NY   (212) 844-1219
                                       and MJHS Hospice and Palliative Care w ll present
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16 564   18863.000   5 000 11/7/2013   An outstanding facu ty from Beth Israel Medical Center       2/3/2013   12/3/2013     ive   Live   Breakthrough Pa n   Pa n   Onco ogy            CUNY Graduate Center   NY   11/7/2013   Beth Israel Med cal Center   Win fred   Schein   First Ave at 16th Street   New York   NY   (212) 844-1219
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16 564   18863.000   5 000 11/7/2013   An outstanding facu ty from Beth Israel Medical Center       2/3/2013   12/3/2013     ive   Live   Breakthrough Pa n   Pa n   Pain Medicine       CUNY Graduate Center   NY   11/7/2013   Beth Israel Med cal Center   Win fred   Schein   First Ave at 16th Street   New York   NY   (212) 844-1219
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16 564   18863.000   5 000 11/7/2013   An outstanding facu ty from Beth Israel Medical Center       2/3/2013   12/3/2013     ive   Live   Breakthrough Pa n   Pa n   Psychiatry          CUNY Graduate Center   NY   11/7/2013   Beth Israel Med cal Center   Win fred   Schein   First Ave at 16th Street   New York   NY   (212) 844-1219
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16 564   18863.000   5 000 11/7/2013   An outstanding facu ty from Beth Israel Medical Center       2/3/2013   12/3/2013     ive   Live   Chron c Pa n (General)   Pa n                       CUNY Graduate Center   NY   11/7/2013   Beth Israel Med cal Center   Win fred   Schein   First Ave at 16th Street   New York   NY   (212) 844-1219
                                       and MJHS Hospice and Palliative Care w ll present
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16 564   18863.000   5 000 11/7/2013   An outstanding facu ty from Beth Israel Medical Center       2/3/2013   12/3/2013     ive   Live   Chron c Pa n (General)   Pa n   Anesthes ology      CUNY Graduate Center   NY   11/7/2013   Beth Israel Med cal Center   Win fred   Schein   First Ave at 16th Street   New York   NY   (212) 844-1219
                                       and MJHS Hospice and Palliative Care w ll present
                                       plenary and breakout sessions covering an array of
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                                        n varied d scipl nes. A l faculty members are author ties
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16 564   18863.000   5 000 11/7/2013   An outstanding facu ty from Beth Israel Medical Center       2/3/2013   12/3/2013     ive   Live   Chron c Pa n (General)   Pa n   General             CUNY Graduate Center   NY   11/7/2013   Beth Israel Med cal Center   Win fred   Schein   First Ave at 16th Street   New York   NY   (212) 844-1219
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16 564   18863.000   5 000 11/7/2013   An outstanding facu ty from Beth Israel Medical Center       2/3/2013   12/3/2013     ive   Live   Chron c Pa n (General)   Pa n   Internal Med c ne   CUNY Graduate Center   NY   11/7/2013   Beth Israel Med cal Center   Win fred   Schein   First Ave at 16th Street   New York   NY   (212) 844-1219
                                       and MJHS Hospice and Palliative Care w ll present
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                                       attendees the opportunity to attend two out of four
16 564   18863.000   5 000 11/7/2013   An outstanding facu ty from Beth Israel Medical Center       2/3/2013   12/3/2013     ive   Live   Chron c Pa n (General)   Pa n   Medical Oncology    CUNY Graduate Center   NY   11/7/2013   Beth Israel Med cal Center   Win fred   Schein   First Ave at 16th Street   New York   NY   (212) 844-1219
                                       and MJHS Hospice and Palliative Care w ll present
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16 564   18863.000   5 000 11/7/2013   An outstanding facu ty from Beth Israel Medical Center       2/3/2013   12/3/2013     ive   Live   Chron c Pa n (General)   Pa n   Onco ogy            CUNY Graduate Center   NY   11/7/2013   Beth Israel Med cal Center   Win fred   Schein   First Ave at 16th Street   New York   NY   (212) 844-1219
                                       and MJHS Hospice and Palliative Care w ll present
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16 564   18863.000   5 000 11/7/2013   An outstanding facu ty from Beth Israel Medical Center       2/3/2013   12/3/2013     ive   Live   Chron c Pa n (General)    Pa n   Pain Medicine       CUNY Graduate Center   NY   11/7/2013   Beth Israel Med cal Center   Win fred   Schein   First Ave at 16th Street   New York   NY   (212) 844-1219
                                       and MJHS Hospice and Palliative Care w ll present
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16 564   18863.000   5 000 11/7/2013   An outstanding facu ty from Beth Israel Medical Center       2/3/2013   12/3/2013     ive   Live   Chron c Pa n (General)    Pa n   Psychiatry          CUNY Graduate Center   NY   11/7/2013   Beth Israel Med cal Center   Win fred   Schein   First Ave at 16th Street   New York   NY   (212) 844-1219
                                       and MJHS Hospice and Palliative Care w ll present
                                       plenary and breakout sessions covering an array of
                                       topics relevant to the pract ce of spec a ty palliative care
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                                       attendees the opportunity to attend two out of four
16 564   18863.000   5 000 11/7/2013   An outstanding facu ty from Beth Israel Medical Center       2/3/2013   12/3/2013     ive   Live   Op oid Misuse and Abuse   Pa n                       CUNY Graduate Center   NY   11/7/2013   Beth Israel Med cal Center   Win fred   Schein   First Ave at 16th Street   New York   NY   (212) 844-1219
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16 564   18863.000   5 000 11/7/2013   An outstanding facu ty from Beth Israel Medical Center       2/3/2013   12/3/2013     ive   Live   Op oid Misuse and Abuse   Pa n   Internal Med c ne   CUNY Graduate Center   NY   11/7/2013   Beth Israel Med cal Center   Win fred   Schein   First Ave at 16th Street   New York   NY   (212) 844-1219
                                       and MJHS Hospice and Palliative Care w ll present
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16 564   18863.000    5 000 11/7/2013   An outstanding facu ty from Beth Israel Medical Center       2/3/2013   12/3/2013      ive                Live                 Op oid Misuse and Abuse   Pa n   Medical Oncology    CUNY Graduate Center    NY   11/7/2013   Beth Israel Med cal Center                             Win fred   Schein   First Ave at 16th Street       New York            NY   (212) 844-1219
                                        and MJHS Hospice and Palliative Care w ll present
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                                        attendees the opportunity to attend two out of four
16 564   18863.000    5 000 11/7/2013   An outstanding facu ty from Beth Israel Medical Center       2/3/2013   12/3/2013      ive                Live                 Op oid Misuse and Abuse   Pa n   Onco ogy            CUNY Graduate Center    NY   11/7/2013   Beth Israel Med cal Center                             Win fred   Schein   First Ave at 16th Street       New York            NY   (212) 844-1219
                                        and MJHS Hospice and Palliative Care w ll present
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                                         nternational national and ocal conferences. Plenary
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                                        care; a panel on ethics and law; and hospice eligib lity in
                                        complex cases. Breakout sessions w ll be offered n four
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                                         ssues; and evolving issues n palliative care. Because
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                                        t me al otted to these at this conference giving a l
                                        attendees the opportunity to attend two out of four
16 564   18863.000    5 000 11/7/2013   An outstanding facu ty from Beth Israel Medical Center       2/3/2013   12/3/2013      ive                Live                 Op oid Misuse and Abuse   Pa n   Pain Medicine       CUNY Graduate Center    NY   11/7/2013   Beth Israel Med cal Center                             Win fred   Schein   First Ave at 16th Street       New York            NY   (212) 844-1219
                                        and MJHS Hospice and Palliative Care w ll present
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                                        topics relevant to the pract ce of spec a ty palliative care
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16 564   18863.000    5 000 11/7/2013   An outstanding facu ty from Beth Israel Medical Center       2/3/2013   12/3/2013      ive                Live                 Op oid Misuse and Abuse   Pa n   Psychiatry          CUNY Graduate Center    NY   11/7/2013   Beth Israel Med cal Center                             Win fred   Schein   First Ave at 16th Street       New York            NY   (212) 844-1219
                                        and MJHS Hospice and Palliative Care w ll present
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                                        attend more breakout sess ons we have expanded the
                                        t me al otted to these at this conference giving a l
                                        attendees the opportunity to attend two out of four
16 620   15000.000   15 000 8/27/2013   support two educational sessions “Beyond Morph ne –        9/21/2013    9/21/2013      ive                Symposium            Chron c Pa n (General)    Pa n   Onco ogy            Shera on H ll Society   PA   8/27/2013   Associat on of Physician Assistants n Oncology         H ldy      Lake     222 S Westmonte Dr Su te 101   Altamonte Spr ngs   FL   (201)280-4533
                                        Cases requir ng advanced ana gesic strategies” and
                                        “Cancer Survivorship: Best Pract ces and Gu delines
                                        followed by a Panel Discuss on” at the Associat on of
                                        Physician Assistants in Oncology 16th Annual
                                        Conference.Physician Ass stants (PAs) are helping to
                                        address the projected oncology workforce shortage by
                                        prov ding quality care to patients through the r
                                        co la orati e artnershi      ith s er s ng h s c ans
16 620   15000.000   15 000 8/27/2013   support two educational sessions “Beyond Morph ne –        9/21/2013    9/21/2013      ive                Symposium            Chron c Pa n (General)    Pa n   Onco ogy            Shera on Society H ll   PA   8/27/2013   Associat on of Physician Assistants n Oncology         H ldy      Lake     222 S Westmonte Dr Su te 101   Altamonte Spr ngs   FL   (201)280-4533
                                        Cases requir ng advanced ana gesic strategies” and
                                        “Cancer Survivorship: Best Pract ces and Gu delines
                                        followed by a Panel Discuss on” at the Associat on of
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                                        co la orati e artnershi      ith s er s ng h s c ans
16 620   15000.000   15 000 8/27/2013   support two educational sessions “Beyond Morph ne –        9/21/2013    9/21/2013      ive                Symposium            Op oid Misuse and Abuse   Pa n   Onco ogy            Shera on H ll Society   PA   8/27/2013   Associat on of Physician Assistants n Oncology         H ldy      Lake     222 S Westmonte Dr Su te 101   Altamonte Spr ngs   FL   (201)280-4533
                                        Cases requir ng advanced ana gesic strategies” and
                                        “Cancer Survivorship: Best Pract ces and Gu delines
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16 620   15000.000   15 000 8/27/2013   support two educational sessions “Beyond Morph ne –        9/21/2013    9/21/2013      ive                Symposium            Op oid Misuse and Abuse   Pa n   Onco ogy            Shera on Society H ll   PA   8/27/2013   Associat on of Physician Assistants n Oncology         H ldy      Lake     222 S Westmonte Dr Su te 101   Altamonte Spr ngs   FL   (201)280-4533
                                        Cases requir ng advanced ana gesic strategies” and
                                        “Cancer Survivorship: Best Pract ces and Gu delines
                                        followed by a Panel Discuss on” at the Associat on of
                                        Physician Assistants in Oncology 16th Annual
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                                        address the projected oncology workforce shortage by
                                        prov ding quality care to patients through the r
                                        co la orati e artnershi      ith s er s ng h s c ans
16 640   35000.000   15 000 9/25/2013   Grant request s for one live session on treatment                                      nduring Material   Journal Supp ement   Chron c Pain (General)    Pa n   Pharmacy D rector                                9/24/2013   Nat onal Association of Managed Care Physicians Inc.   Katie      Eads     4435 Waterfront Drive          Glen A len          VA   (804) 527-1905
                                        strategies of chronic pain at the 2013 Fall Managed Care
                                        Forum. The aud o from the session will be turned nto
                                        an enduring webcast. It wi l also be transcribed and an
                                        enduring journal art c e wi l be created.
16 640   35000.000   15 000 9/25/2013   Grant request s for one live session on treatment                                      nduring Material   Journal Supp ement   Op oid Misuse and Abuse   Pa n   Pharmacy D rector                                9/24/2013   Nat onal Association of Managed Care Physicians Inc.   Katie      Eads     4435 Waterfront Drive          Glen A len          VA   (804) 527-1905
                                        strategies of chronic pain at the 2013 Fall Managed Care
                                        Forum. The aud o from the session will be turned nto
                                        an enduring webcast. It wi l also be transcribed and an
                                        enduring journal art c e wi l be created.
16 640   35000.000   15 000 9/25/2013   Grant request s for one live session on treatment           1/14/2013   11/15/2013     ive                Symposium            Chron c Pa n (General)    Pa n   General             Bellagio Hotel          NV   9/24/2013   Nat onal Association of Managed Care Physicians Inc.   Katie      Eads     4435 Waterfront Drive          Glen A len          VA   (804) 527-1905
                                        strategies of chronic pain at the 2013 Fall Managed Care
                                        Forum. The aud o from the session will be turned nto
                                        an enduring webcast. It wi l also be transcribed and an
                                        enduring journal art c e wi l be created.
16 640   35000.000   15 000 9/25/2013   Grant request s for one live session on treatment           1/14/2013   11/15/2013     ive                Symposium            Chron c Pa n (General)    Pa n   Pain Medicine       Bellagio Hotel          NV   9/24/2013   Nat onal Association of Managed Care Physicians Inc.   Katie      Eads     4435 Waterfront Drive          Glen A len          VA   (804) 527-1905
                                        strategies of chronic pain at the 2013 Fall Managed Care
                                        Forum. The aud o from the session will be turned nto
                                        an enduring webcast. It wi l also be transcribed and an
                                        end ring jo rnal art c e i l e created




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16 640   35000.000   15 000 9/25/2013   Grant request s for one live session on treatment                1/14/2013   11/15/2013     ive                Symposium                Chron c Pa n (General)    Pa n   Pharmacy D rector   Bellagio Hotel         NV   9/24/2013   Nat onal Association of Managed Care Physicians Inc.   Katie   Eads    4435 Waterfront Drive   Glen A len   VA   (804) 527-1905
                                        strategies of chronic pain at the 2013 Fall Managed Care
                                        Forum. The aud o from the session will be turned nto
                                        an enduring webcast. It wi l also be transcribed and an
                                        end ring jo rnal art c e i l e created
16 640   35000.000   15 000 9/25/2013   Grant request s for one live session on treatment                1/14/2013   11/15/2013     ive                Symposium                Op oid Misuse and Abuse   Pa n   General             Bellagio Hotel         NV   9/24/2013   Nat onal Association of Managed Care Physicians Inc.   Katie   Eads    4435 Waterfront Drive   Glen A len   VA   (804) 527-1905
                                        strategies of chronic pain at the 2013 Fall Managed Care
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                                        an enduring webcast. It wi l also be transcribed and an
                                        enduring journal art c e wi l be created.
16 640   35000.000   15 000 9/25/2013   Grant request s for one live session on treatment                1/14/2013   11/15/2013     ive                Symposium                Op oid Misuse and Abuse   Pa n   Pain Medicine       Bellagio Hotel         NV   9/24/2013   Nat onal Association of Managed Care Physicians Inc.   Katie   Eads    4435 Waterfront Drive   Glen A len   VA   (804) 527-1905
                                        strategies of chronic pain at the 2013 Fall Managed Care
                                        Forum. The aud o from the session will be turned nto
                                        an enduring webcast. It wi l also be transcribed and an
                                        enduring journal art c e wi l be created.
16 640   35000.000   15 000 9/25/2013   Grant request s for one live session on treatment                1/14/2013   11/15/2013     ive                Symposium                Op oid Misuse and Abuse   Pa n   Pharmacy D rector   Bellagio Hotel         NV   9/24/2013   Nat onal Association of Managed Care Physicians Inc.   Katie   Eads    4435 Waterfront Drive   Glen A len   VA   (804) 527-1905
                                        strategies of chronic pain at the 2013 Fall Managed Care
                                        Forum. The aud o from the session will be turned nto
                                        an enduring webcast. It wi l also be transcribed and an
                                        enduring journal art c e wi l be created.
16 640   35000.000   15 000 9/25/2013   Grant request s for one live session on treatment               2/3/2014     2/3/2015       Web                Webcast/Online Program   Chron c Pa n (General)    Pa n   General                                         9/24/2013   Nat onal Association of Managed Care Physicians Inc.   Katie   Eads    4435 Waterfront Drive   Glen A len   VA   (804) 527-1905
                                        strategies of chronic pain at the 2013 Fall Managed Care
                                        Forum. The aud o from the session will be turned nto
                                        an enduring webcast. It wi l also be transcribed and an
                                        enduring journal art c e wi l be created.
16 640   35000.000   15 000 9/25/2013   Grant request s for one live session on treatment               2/3/2014     2/3/2015       Web                Webcast/Online Program   Chron c Pa n (General)    Pa n   Pain Medicine                                   9/24/2013   Nat onal Association of Managed Care Physicians Inc.   Katie   Eads    4435 Waterfront Drive   Glen A len   VA   (804) 527-1905
                                        strategies of chronic pain at the 2013 Fall Managed Care
                                        Forum. The aud o from the session will be turned nto
                                        an enduring webcast. It wi l also be transcribed and an
                                        end ring jo rnal art c e i l e created
16 640   35000.000   15 000 9/25/2013   Grant request s for one live session on treatment               2/3/2014     2/3/2015       Web                Webcast/Online Program   Chron c Pa n (General)    Pa n   Pharmacy D rector                               9/24/2013   Nat onal Association of Managed Care Physicians Inc.   Katie   Eads    4435 Waterfront Drive   Glen A len   VA   (804) 527-1905
                                        strategies of chronic pain at the 2013 Fall Managed Care
                                        Forum. The aud o from the session will be turned nto
                                        an enduring webcast. It wi l also be transcribed and an
                                        end ring jo rnal art c e i l e created
16 640   35000.000   15 000 9/25/2013   Grant request s for one live session on treatment               2/3/2014     2/3/2015       Web                Webcast/Online Program   Op oid Misuse and Abuse   Pa n   General                                         9/24/2013   Nat onal Association of Managed Care Physicians Inc.   Katie   Eads    4435 Waterfront Drive   Glen A len   VA   (804) 527-1905
                                        strategies of chronic pain at the 2013 Fall Managed Care
                                        Forum. The aud o from the session will be turned nto
                                        an enduring webcast. It wi l also be transcribed and an
                                        end ring jo rnal art c e i l e created
16 640   35000.000   15 000 9/25/2013   Grant request s for one live session on treatment               2/3/2014     2/3/2015       Web                Webcast/Online Program   Op oid Misuse and Abuse   Pa n   Pain Medicine                                   9/24/2013   Nat onal Association of Managed Care Physicians Inc.   Katie   Eads    4435 Waterfront Drive   Glen A len   VA   (804) 527-1905
                                        strategies of chronic pain at the 2013 Fall Managed Care
                                        Forum. The aud o from the session will be turned nto
                                        an enduring webcast. It wi l also be transcribed and an
                                        enduring journal art c e wi l be created.
16 640   35000.000   15 000 9/25/2013   Grant request s for one live session on treatment               2/3/2014     2/3/2015       Web                Webcast/Online Program   Op oid Misuse and Abuse   Pa n   Pharmacy D rector                               9/24/2013   Nat onal Association of Managed Care Physicians Inc.   Katie   Eads    4435 Waterfront Drive   Glen A len   VA   (804) 527-1905
                                        strategies of chronic pain at the 2013 Fall Managed Care
                                        Forum. The aud o from the session will be turned nto
                                        an enduring webcast. It wi l also be transcribed and an
                                        enduring journal art c e wi l be created.
16 658    2500.000    2 500 8/19/2013   With the mp ementation of Wiscons n s Prescription              9/6/2013     9/6/2013       ive                Symposium                Op oid Misuse and Abuse   Pa n   General             KI Convention Center   WI   8/15/2013   Pharmacy Society of Wisconsin                          Sarah   Sorum   701 Hear land Trail     Mad son      WI   (608) 827-9200
                                        Drug Mon toring Program (PDMP) for tracking controlled
                                        substance dispensing pharmacists are now armed with
                                        an add tional clin cal tool to assist in identifying patients
                                        at risk for prescription drug abuse. The first hour of this
                                        spec al training sess on w ll be ed by Department of
                                        Safety and Professional Serv ces staff and wi l cover how
                                        pharmacists pharmacy technicians and other health
                                        care providers can query the system for clin cal
                                         nformat on. The second hour of the session wi l be led
                                        by PSW staff and clinical experts and wi l address
                                        questions re ated to liability interaction with law
                                        enforcement communicat on w th physicians
                                        communicat on w th patients referral for treatment and
                                        other q est ons
16 658    2500.000    2 500 8/19/2013   With the mp ementation of Wiscons n s Prescription              9/7/2013     9/7/2013       ive                Symposium                Op oid Misuse and Abuse   Pa n   General             KI Convention Center   WI   8/15/2013   Pharmacy Society of Wisconsin                          Sarah   Sorum   701 Hear land Trail     Mad son      WI   (608) 827-9200
                                        Drug Mon toring Program (PDMP) for tracking controlled
                                        substance dispensing pharmacists are now armed with
                                        an add tional clin cal tool to assist in identifying patients
                                        at risk for prescription drug abuse. The first hour of this
                                        spec al training sess on w ll be ed by Department of
                                        Safety and Professional Serv ces staff and wi l cover how
                                        pharmacists pharmacy technicians and other health
                                        care providers can query the system for clin cal
                                         nformat on. The second hour of the session wi l be led
                                        by PSW staff and clinical experts and wi l address
                                        questions re ated to liability interaction with law
                                        enforcement communicat on w th physicians
                                        communicat on w th patients referral for treatment and
                                        other q est ons
16 988   16632.500   14 233 9/18/2013   The PAFP s live CME con erence in November 2013                                             nduring Material   News etters              Op oid Misuse and Abuse   Pa n   Fam ly Med c ne                                 9/18/2013   Pennsylvan a Academy of Family Physicians Foundation Cathy     Stamm   2704 Commerce Dr.       Harr sburg   PA   (717)635-7579
                                         ncludes two sessions related to the safe use of opio ds.
                                        “Prescription Drugs n Amer ca ” presented by a retired
                                        DEA agent will educate primary care physicians about
                                         ncidence dentif cation and prevent on of prescription
                                        abuse/misuse among their patient popu at ons. Bui ding
                                        on the information presented n the prescription drug
                                        session the “Extended-Re ease/Long-Acting Op oid
                                        Therapies” ecture will present the latest risk evaluation
                                        and mit gat on strategies (REMS) for extended-re ease
                                        and ong-acting opioids. We expect approximately 100
                                        physicians to attend the prescription drug ecture and
                                        200 the opioid therap es lecture. Both ectures about
                                        prescription drug safety w ll be streamed live over the
                                         nternet. Both ectures w ll also be available for 12
                                        months as accred ted web nars follow ng the
                                        conference allow ng additional physicians to benefit
                                        from the educat on and the CME credits.
16 988   16632.500   14 233 9/18/2013   The PAFP s live CME con erence in November 2013                  1/8/2013    11/8/2013      ive                Live                     Op oid Misuse and Abuse   Pa n   Fam ly Med c ne     Shera on Hotel         PA   9/18/2013   Pennsylvan a Academy of Family Physicians Foundation Cathy     Stamm   2704 Commerce Dr.       Harr sburg   PA   (717)635-7579
                                        includes two sessions related to the safe use of opio ds.
                                        “Prescription Drugs n Amer ca ” presented by a retired
                                        DEA agent will educate primary care physicians about
                                        incidence dentif cation and prevent on of prescription
                                        abuse/misuse among their patient popu at ons. Bui ding
                                        on the information presented n the prescription drug
                                        session the “Extended-Re ease/Long-Acting Op oid
                                        Therapies” ecture will present the latest risk evaluation
                                        and mit gat on strategies (REMS) for extended-re ease
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                                        physicians to attend the prescription drug ecture and
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                                        prescription drug safety w ll be streamed live over the
                                        internet. Both ectures w ll also be available for 12
                                        months as accred ted web nars follow ng the
                                        conference allow ng additional physicians to benefit
                                        from the educat on and the CME credits.




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16 988   16632.500   14 233 9/18/2013    The PAFP s live CME con erence in November 2013             1/9/2013    11/9/2013      ive   Live                     Op oid Misuse and Abuse   Pa n   Fam ly Med c ne   Shera on Hotel               PA   9/18/2013    Pennsylvan a Academy of Family Physicians Foundation Cathy   Stamm    2704 Commerce Dr.   Harr sburg   PA   (717)635-7579
                                          ncludes two sessions related to the safe use of opio ds.
                                         “Prescription Drugs n Amer ca ” presented by a retired
                                         DEA agent will educate primary care physicians about
                                          ncidence dentif cation and prevent on of prescription
                                         abuse/misuse among their patient popu at ons. Bui ding
                                         on the information presented n the prescription drug
                                         session the “Extended-Re ease/Long-Acting Op oid
                                         Therapies” ecture will present the latest risk evaluation
                                         and mit gat on strategies (REMS) for extended-re ease
                                         and ong-acting opioids. We expect approximately 100
                                         physicians to attend the prescription drug ecture and
                                         200 the opioid therap es lecture. Both ectures about
                                         prescription drug safety w ll be streamed live over the
                                          nternet. Both ectures w ll also be available for 12
                                         months as accred ted web nars follow ng the
                                         conference allow ng additional physicians to benefit
                                         from the educat on and the CME credits.
16 988   16632.500   14 233 9/18/2013    The PAFP s live CME con erence in November 2013             /1/2014     1/1/2015       Web   Webcast/Online Program   Op oid Misuse and Abuse   Pa n   Fam ly Med c ne                                     9/18/2013    Pennsylvan a Academy of Family Physicians Foundation Cathy   Stamm    2704 Commerce Dr.   Harr sburg   PA   (717)635-7579
                                          ncludes two sessions related to the safe use of opio ds.
                                         “Prescription Drugs n Amer ca ” presented by a retired
                                         DEA agent will educate primary care physicians about
                                          ncidence dentif cation and prevent on of prescription
                                         abuse/misuse among their patient popu at ons. Bui ding
                                         on the information presented n the prescription drug
                                         session the “Extended-Re ease/Long-Acting Op oid
                                         Therapies” ecture will present the latest risk evaluation
                                         and mit gation strategies (REMS) for extended-re ease
                                         and ong-acting opioids. We expect approximately 100
                                         physicians to attend the prescription drug ecture and
                                         200 the opioid therap es lecture. Both ectures about
                                         prescription drug safety w ll be streamed live over the
                                          nternet. Both ectures w ll also be available for 12
                                         months as accred ted web nars follow ng the
                                         conference allow ng additional physicians to benefit
                                         from the educat on and the CME credits.
17 134   20000.000   10 000 10/24/2013   The 12th Annual ASRA Pain Medicine Meeting prov des         1/21/2013   11/24/2013     ive   Live                     Breakthrough Pa n         Pa n                     The Ar zona Bi tmore Hotel   AZ   10/22/2013   American Soc ety of Reg onal Anesthesia and Pa n    Julie    S mper   239 4th Avenue      P ttsburgh   PA   (619)606-8692
                                         the latest informat on on nvasive and non- nvasive                                                                                                                                                                      Med c ne
                                         targeted therapies in pain med c ne features experts in
                                         the field of pain med c ne and offers lively d scussions
                                         and eading-edge in ormation about advances in the
                                         f eld of pa n management. The scientif c program
                                          ncludes refresher courses general sessions parallel
                                         sessions cadaver workshops intensive lower back pain
                                         workshops problem-based earning d scussions poster
                                         presentations and a comprehensive technical exhibit on.
                                         •Pharmacologic Controversies in Pa n Medicine: Pro-Con
                                         Debate •Impact of the Af ordable Care Act on Pain
                                         Medicine •Physician Ass stant/Nurse Practit oner and
                                         Res dent/Fellow Tracks • E-Poster Presentations and E-
                                         Poster Moderated D scussions showcasing the latest
                                         science and med cally challeng ng cases •Network ng
                                         Opportunit es for establishing a profess onal network
17 134   20000.000   10 000 10/24/2013   The 12th Annual ASRA Pain Medicine Meeting prov des         1/21/2013   11/24/2013     ive   Live                     Breakthrough Pa n         Pa n   Anesthes ology    The Ar zona Bi tmore Hotel   AZ   10/22/2013   American Soc ety of Reg onal Anesthesia and Pa n    Julie    S mper   239 4th Avenue      P ttsburgh   PA   (619)606-8692
                                         the latest informat on on nvasive and non- nvasive                                                                                                                                                                      Med c ne
                                         targeted therapies in pain med c ne features experts in
                                         the field of pain med c ne and offers lively d scussions
                                         and eading-edge in ormation about advances in the
                                         f eld of pa n management. The scientif c program
                                          ncludes refresher courses general sessions parallel
                                         sessions cadaver workshops intensive lower back pain
                                         workshops problem-based earning d scussions poster
                                         presentations and a comprehensive technical exhibit on.
                                         •Pharmacologic Controversies in Pa n Medicine: Pro-Con
                                         Debate •Impact of the Af ordable Care Act on Pain
                                         Medicine •Physician Ass stant/Nurse Practit oner and
                                         Resident/Fellow Tracks • E-Poster Presentat ons and E-
                                         Poster Moderated D scussions showcasing the latest
                                         science and med cally challeng ng cases •Network ng
                                         Opportunit es for establishing a profess onal network
17 134   20000.000   10 000 10/24/2013   The 12th Annual ASRA Pain Medicine Meeting prov des         1/21/2013   11/24/2013     ive   Live                     Breakthrough Pa n         Pa n   Pain Medicine     The Ar zona Bi tmore Hotel   AZ   10/22/2013   American Soc ety of Reg onal Anesthesia and Pain    Julie    S mper   239 4th Avenue      P ttsburgh   PA   (619)606-8692
                                         the latest informat on on nvasive and non- nvasive                                                                                                                                                                      Med c ne
                                         targeted therapies in pain med c ne features experts in
                                         the field of pain med c ne and offers lively d scussions
                                         and eading-edge in ormation about advances in the
                                         f eld of pa n management. The scientif c program
                                          ncludes refresher courses general sessions parallel
                                         sessions cadaver workshops intensive lower back pain
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                                         presentations and a comprehensive technical exhibit on.
                                         •Pharmacologic Controversies in Pa n Medicine: Pro-Con
                                         Debate •Impact of the Af ordable Care Act on Pain
                                         Medicine •Physician Ass stant/Nurse Practit oner and
                                         Resident/Fellow Tracks • E-Poster Presentat ons and E-
                                         Poster Moderated D scussions showcasing the latest
                                         science and med cally challeng ng cases •Network ng
                                         Opportunit es for establishing a profess onal network
17 134   20000.000   10 000 10/24/2013   The 12th Annual ASRA Pain Medicine Meeting prov des         1/21/2013   11/24/2013     ive   Live                     Chron c Pa n (General)    Pa n                     The Ar zona Bi tmore Hotel   AZ   10/22/2013   American Soc ety of Reg onal Anesthesia and Pain    Julie    S mper   239 4th Avenue      P ttsburgh   PA   (619)606-8692
                                         the latest informat on on nvasive and non- nvasive                                                                                                                                                                      Med c ne
                                         targeted therapies in pain med c ne features experts in
                                         the field of pain med c ne and offers lively d scussions
                                         and eading-edge in ormation about advances in the
                                         f eld of pa n management. The scientif c program
                                          ncludes refresher courses general sessions parallel
                                         sessions cadaver workshops intensive lower back pain
                                         workshops problem-based earning d scussions poster
                                         presentations and a comprehensive technical exhibit on.
                                         •Pharmacologic Controversies in Pa n Medicine: Pro-Con
                                         Deba e •Impact of the Af ordable Care Act on Pain
                                         Medicine •Physician Ass stant/Nurse Practit oner and
                                         Resident/Fellow Tracks • E-Poster Presentat ons and E-
                                         Poster Moderated D scussions showcasing the latest
                                         science and med cally challeng ng cases •Network ng
                                         Opportunit es for establishing a profess onal network
17 134   20000.000   10 000 10/24/2013   The 12th Annual ASRA Pain Medicine Meeting prov des         1/21/2013   11/24/2013     ive   Live                     Chron c Pa n (General)    Pa n   Anesthes ology    The Ar zona Bi tmore Hotel   AZ   10/22/2013   American Soc ety of Reg onal Anesthesia and Pain    Julie    S mper   239 4th Avenue      P ttsburgh   PA   (619)606-8692
                                         the latest informat on on nvasive and non- nvasive                                                                                                                                                                      Med c ne
                                         targeted therapies in pain med c ne features experts in
                                         the f eld of pain med c ne and offers lively d scussions
                                         and eading-edge information about advances in the
                                         f eld of pa n management. The scientif c program
                                          ncludes refresher courses general sessions parallel
                                         sessions cadaver workshops intensive lower back pain
                                         workshops problem-based earning d scussions poster
                                         presentations and a comprehensive technical exhibit on.
                                         •Pharmacologic Controvers es in Pa n Medicine: Pro-Con
                                         Deba e •Impact of the Af ordable Care Act on Pain
                                         Medicine •Physician Ass stant/Nurse Practit oner and
                                         Resident/Fel ow Tracks • E-Poster Presentat ons and E-
                                         Poster Moderated D scussions showcasing the latest
                                         science and med cally challeng ng cases •Networking
                                         Opportunit es for establishing a profess onal network




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17 134   20000.000   10 000 10/24/2013   The 12th Annual ASRA Pain Medicine Meeting prov des        1/21/2013   11/24/2013     ive   Live   Chron c Pa n (General)    Pa n   Pain Medicine           The Ar zona Bi tmore Hotel   AZ   10/22/2013   American Soc ety of Reg onal Anesthesia and Pa n   Julie    S mper   239 4th Avenue      P ttsburgh   PA   (619)606-8692
                                         the latest informat on on nvasive and non- nvasive                                                                                                                                                         Med c ne
                                         targeted therapies in pain med c ne features experts in
                                         the field of pain med c ne and offers lively d scussions
                                         and eading-edge in ormation about advances in the
                                         f eld of pa n management. The scientif c program
                                          ncludes refresher courses general sessions parallel
                                         sessions cadaver workshops intensive lower back pain
                                         workshops problem-based earning d scussions poster
                                         presentations and a comprehensive technical exhibit on.
                                         •Pharmacologic Controversies in Pa n Medicine: Pro-Con
                                         Debate •Impact of the Af ordable Care Act on Pain
                                         Medicine •Physician Ass stant/Nurse Practit oner and
                                         Res dent/Fellow Tracks • E-Poster Presentations and E-
                                         Poster Moderated D scussions showcasing the latest
                                         science and med cally challeng ng cases •Network ng
                                         Opportunit es for establishing a profess onal network
17 134   20000.000   10 000 10/24/2013   The 12th Annual ASRA Pain Medicine Meeting prov des        1/21/2013   11/24/2013     ive   Live   Op oid Misuse and Abuse   Pa n                           The Ar zona Bi tmore Hotel   AZ   10/22/2013   American Soc ety of Reg onal Anesthesia and Pain   Julie    S mper   239 4th Avenue      P ttsburgh   PA   (619)606-8692
                                         the latest informat on on nvasive and non- nvasive                                                                                                                                                         Med c ne
                                         targeted therapies in pain med c ne features experts in
                                         the field of pain med c ne and offers lively d scussions
                                         and eading-edge in ormation about advances in the
                                         f eld of pa n management. The scientif c program
                                          ncludes refresher courses general sessions parallel
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                                         presentations and a comprehensive technical exhibit on.
                                         •Pharmacologic Controversies in Pa n Medicine: Pro-Con
                                         Debate •Impact of the Af ordable Care Act on Pain
                                         Medicine •Physician Ass stant/Nurse Practit oner and
                                         Resident/Fellow Tracks • E-Poster Presentat ons and E-
                                         Poster Moderated D scussions showcasing the latest
                                         science and med cally challeng ng cases •Network ng
                                         Opportunit es for establishing a profess onal network
17 134   20000.000   10 000 10/24/2013   The 12th Annual ASRA Pain Medicine Meeting prov des        1/21/2013   11/24/2013     ive   Live   Op oid Misuse and Abuse   Pa n   Anesthes ology          The Ar zona Bi tmore Hotel   AZ   10/22/2013   American Soc ety of Reg onal Anesthesia and Pain   Julie    S mper   239 4th Avenue      P ttsburgh   PA   (619)606-8692
                                         the latest informat on on nvasive and non- nvasive                                                                                                                                                         Med c ne
                                         targeted therapies in pain med c ne features experts in
                                         the field of pain med c ne and offers lively d scussions
                                         and eading-edge in ormation about advances in the
                                         f eld of pa n management. The scientif c program
                                          ncludes refresher courses general sessions parallel
                                         sessions cadaver workshops intensive lower back pain
                                         workshops problem-based earning d scussions poster
                                         presentations and a comprehensive technical exhibit on.
                                         •Pharmacologic Controversies in Pa n Medicine: Pro-Con
                                         Deba e •Impact of the Af ordable Care Act on Pain
                                         Medicine •Physician Ass stant/Nurse Practit oner and
                                         Resident/Fellow Tracks • E-Poster Presentat ons and E-
                                         Poster Moderated D scussions showcasing the latest
                                         science and med cally challeng ng cases •Network ng
                                         Opportunit es for establishing a profess onal network
17 134   20000.000   10 000 10/24/2013   The 12th Annual ASRA Pain Medicine Meeting prov des        1/21/2013   11/24/2013     ive   Live   Op oid Misuse and Abuse   Pa n   Pain Medicine           The Ar zona Bi tmore Hotel   AZ   10/22/2013   American Soc ety of Reg onal Anesthesia and Pain   Julie    S mper   239 4th Avenue      P ttsburgh   PA   (619)606-8692
                                         the latest informat on on nvasive and non- nvasive                                                                                                                                                         Med c ne
                                         targeted therapies in pain med c ne features experts in
                                         the f eld of pain med c ne and offers lively d scussions
                                         and eading-edge in ormation about advances in the
                                         f eld of pa n management. The scientif c program
                                          ncludes refresher courses general sessions parallel
                                         sessions cadaver workshops intensive lower back pain
                                         workshops problem-based earning d scussions poster
                                         presentations and a comprehensive technical exhibit on.
                                         •Pharmacologic Controversies in Pa n Medicine: Pro-Con
                                         Deba e •Impact of the Af ordable Care Act on Pain
                                         Medicine •Physician Ass stant/Nurse Practit oner and
                                         Resident/Fel ow Tracks • E-Poster Presentat ons and E-
                                         Poster Moderated D scussions showcasing the latest
                                         science and med cally challeng ng cases •Networking
                                         Opportunit es for establishing a profess onal network
17 576   25000.000   25 000 3/27/2014    The APS 33rd Annual Scientif c Meeting wi l o fer current /30/2014     5/3/2014       ive   Live   Breakthrough Pa n         Pa n   Clin cal Psychologist   Tampa Convent on Center      FL   2/18/2014    American Pain Society                              Alyssa   Engle    8735 W H ggins Rd   Ch cago      IL   (847) 375-4829
                                          nformat on about the d agnosis treatment
                                         management and current research of acute pain
                                         chronic cancer and non-cancer pa n and recurrent pa n.
                                         Presentations are des gned to enhance research or
                                         clinical ski ls pert nent to pa n management and w ll
                                         feature content appropr ate for professiona s at several
                                         experience evels. The meeting is the leading forum for
                                         the interdiscipl nary exchange among sc ent sts pain
                                         clinicians and other professionals with prominent
                                         faculty presenting basic trans ational and cl nical
                                         research and treatment ad ancements
17 576   25000.000   25 000 3/27/2014    The APS 33rd Annual Scientif c Meeting wi l o fer current /30/2014     5/3/2014       ive   Live   Breakthrough Pa n         Pa n   General                 Tampa Convent on Center      FL   2/18/2014    American Pain Society                              Alyssa   Engle    8735 W H ggins Rd   Ch cago      IL   (847) 375-4829
                                          nformat on about the d agnosis treatment
                                         management and current research of acute pain
                                         chronic cancer and non-cancer pa n and recurrent pa n.
                                         Presentations are des gned to enhance research or
                                         clinical ski ls pert nent to pa n management and w ll
                                         feature content appropr ate for professiona s at several
                                         experience evels. The meeting is the leading forum for
                                         the interdiscipl nary exchange among sc ent sts pain
                                         clinicians and other professionals with prominent
                                         faculty presenting basic trans ational and cl nical
                                         research and treatment ad ancements
17 576   25000.000   25 000 3/27/2014    The APS 33rd Annual Scientif c Meeting wi l o fer current /30/2014     5/3/2014       ive   Live   Breakthrough Pa n         Pa n   Pain Medicine           Tampa Convent on Center      FL   2/18/2014    American Pain Society                              Alyssa   Engle    8735 W H ggins Rd   Ch cago      IL   (847) 375-4829
                                          nformat on about the d agnosis treatment
                                         management and current research of acute pain
                                         chronic cancer and non-cancer pa n and recurrent pa n.
                                         Presentations are des gned to enhance research or
                                         clinical ski ls pert nent to pa n management and w ll
                                         feature content appropr ate for professiona s at several
                                         experience evels. The meeting is the leading forum for
                                         the interdiscipl nary exchange among sc ent sts pain
                                         clinicians and other professionals with prominent
                                         faculty presenting basic trans ational and cl nical

17 576   25000.000   25 000 3/27/2014    The APS 33rd Annual Scientif c Meeting wi l o fer current /30/2014     5/3/2014       ive   Live   Breakthrough Pa n         Pa n   Researchers             Tampa Convent on Center      FL   2/18/2014    American Pain Society                              Alyssa   Engle    8735 W H ggins Rd   Ch cago      IL   (847) 375-4829
                                          nformat on about the d agnosis treatment
                                         management and current research of acute pain
                                         chronic cancer and non-cancer pa n and recurrent pa n.
                                         Presentations are des gned to enhance research or
                                         clinical ski ls pert nent to pa n management and w ll
                                         feature content appropr ate for professiona s at several
                                         experience evels. The meeting is the leading forum for
                                         the interdiscipl nary exchange among sc ent sts pain
                                         clinicians and other professionals with prominent
                                         faculty presenting basic trans ational and cl nical
                                         research and treatment ad ancements
17 576   25000.000   25 000 3/27/2014    The APS 33rd Annual Scientif c Meeting wi l o fer current /30/2014     5/3/2014       ive   Live   Chron c Pa n (General)    Pa n   Clin cal Psychologist   Tampa Convent on Center      FL   2/18/2014    American Pain Society                              Alyssa   Engle    8735 W H ggins Rd   Ch cago      IL   (847) 375-4829
                                          nformat on about the d agnosis treatment
                                         management and current research of acute pain
                                         chronic cancer and non-cancer pa n and recurrent pa n.
                                         Presentations are des gned to enhance research or
                                         clinical ski ls pert nent to pa n management and w ll
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17 576    25000.000    25 000 3/27/2014   The APS 33rd Annual Scientif c Meeting wi l o fer current   /30/2014   5/3/2014     ive   Live   Chron c Pa n (General)    Pa n   General                 Tampa Convent on Center   FL   2/18/2014   American Pain Society                               Alyssa    Engle    8735 W H ggins Rd            Ch cago     IL   (847) 375-4829
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                                          research and treatment ad ancements
17 576    25000.000    25 000 3/27/2014   The APS 33rd Annual Scientif c Meeting wi l o fer current   /30/2014   5/3/2014     ive   Live   Chron c Pa n (General)    Pa n   Pain Medicine           Tampa Convent on Center   FL   2/18/2014   American Pain Society                               Alyssa    Engle    8735 W H ggins Rd            Ch cago     IL   (847) 375-4829
                                           nformat on about the d agnosis treatment
                                          management and current research of acute pain
                                          chronic cancer and non-cancer pa n and recurrent pa n.
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                                          clinicians and other professionals with prominent
                                          faculty presenting basic trans ational and cl nical
                                          research and treatment ad ancements
17 576    25000.000    25 000 3/27/2014   The APS 33rd Annual Scientif c Meeting wi l o fer current   /30/2014   5/3/2014     ive   Live   Chron c Pa n (General)    Pa n   Researchers             Tampa Convent on Center   FL   2/18/2014   American Pain Society                               Alyssa    Engle    8735 W H ggins Rd            Ch cago     IL   (847) 375-4829
                                           nformat on about the d agnosis treatment
                                          management and current research of acute pain
                                          chronic cancer and non-cancer pa n and recurrent pa n.
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                                          faculty presenting basic trans ational and cl nical
                                          research and treatment ad ancements
17 576    25000.000    25 000 3/27/2014   The APS 33rd Annual Scientif c Meeting wi l o fer current   /30/2014   5/3/2014     ive   Live   Op oid Misuse and Abuse   Pa n   Clin cal Psychologist   Tampa Convent on Center   FL   2/18/2014   American Pain Society                               Alyssa    Engle    8735 W H ggins Rd            Ch cago     IL   (847) 375-4829
                                           nformat on about the d agnosis treatment
                                          management and current research of acute pain
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                                          clinicians and other professionals with prominent
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                                          research and treatment ad ancements
17 576    25000.000    25 000 3/27/2014   The APS 33rd Annual Scientif c Meeting wi l o fer current   /30/2014   5/3/2014     ive   Live   Op oid Misuse and Abuse   Pa n   General                 Tampa Convent on Center   FL   2/18/2014   American Pain Society                               Alyssa    Engle    8735 W H ggins Rd            Ch cago     IL   (847) 375-4829
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17 576    25000.000    25 000 3/27/2014   The APS 33rd Annual Scientif c Meeting wi l o fer current /30/2014     5/3/2014     ive   Live   Op oid Misuse and Abuse   Pa n   Researchers             Tampa Convent on Center   FL   2/18/2014   American Pain Society                               Alyssa    Engle    8735 W H ggins Rd            Ch cago     IL   (847) 375-4829
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                                          clinicians and other professionals with prominent
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                                          research and treatment ad ancements
17 648   852265.000   850 000 4/14/2014   This grant proposes a CME/CE educat onal platform for     /7/2014      4/7/2014     ive   Live   Chron c Pa n (General)    Pa n   General                 TBD - Pri-Med             PA   4/14/2014   Ult mate Medical Academy LLC dba Global Education   All son   Kickel   5575 South Sycamore Street   L ttleton   CO   (303)395-1782
                                          pr mary care prov ders (includ ng amily pract tioners                                                                                                                                                Group
                                          and phys c an ass stants) pain specialists and other
                                          clinicians involved in the opio d-based treatment of
                                          chronic pain. Funds will be used for live 75- to 90-m n
                                          Interactive Exchange programs held at 2014 Primary
                                          Care Updates meet ngs PAINWeek 2014 the 2014
                                          Sc ent fic Assembly of the Amer can Academy of Family
                                          Practitioners and the IMPACT 2014 Conference of the
                                          AAPA. Enduring Interactive Exchange programs w ll be
                                          hosted on Pri-Med.com and Learn ng Central On-
                                          Demand (onl ne CME Portal of the AAPA). The programs
                                          use a modular interactive case-based format and
                                           nclude access to a Cl nical Resource Center conta n ng
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                                          and documentation tools discussed during the
                                          programs. Emphasis will be placed on aud ence-specif c
                                          barriers to optimizing the effectiveness and safety of
                                           ong-term op oid therapy for chron c pa n
17 648   852265.000   850 000 4/14/2014   This grant proposes a CME/CE educat onal platform for       /7/2014    4/7/2014     ive   Live   Chron c Pa n (General)    Pa n   Pr mary Care            TBD - Pri-Med             PA   4/14/2014   Ult mate Medical Academy LLC dba Global Education   All son   Kickel   5575 South Sycamore Street   L ttleton   CO   (303)395-1782
                                          primary care prov ders (includ ng amily pract tioners                                                                                                                                                Group
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17 648   852265.000   850 000 4/14/2014   This grant proposes a CME/CE educat onal platform for     /7/2014   4/7/2014     ive   Live   Op oid Misuse and Abuse   Pa n   General        TBD - Pri-Med   PA   4/14/2014   Ult mate Medical Academy LLC dba Global Education   All son   Kickel   5575 South Sycamore Street   L ttleton   CO   (303)395-1782
                                          pr mary care prov ders (includ ng amily pract tioners                                                                                                                          Group
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                                           ong-term op oid therapy for chron c pa n
17 648   852265.000   850 000 4/14/2014   This grant proposes a CME/CE educat onal platform for     /7/2014   4/7/2014     ive   Live   Op oid Misuse and Abuse   Pa n   Pr mary Care   TBD - Pri-Med   PA   4/14/2014   Ult mate Medical Academy LLC dba Global Education   All son   Kickel   5575 South Sycamore Street   L ttleton   CO   (303)395-1782
                                          primary care prov ders (includ ng amily pract tioners                                                                                                                          Group
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                                           ong-term op oid therapy for chron c pa n
17 648   852265.000   850 000 4/14/2014   This grant proposes a CME/CE educat onal platform for     /2/2014   5/2/2014     ive   Live   Chron c Pa n (General)    Pa n   General        TBD - Pri-Med   OR   4/14/2014   Ult mate Medical Academy LLC dba Global Education   All son   Kickel   5575 South Sycamore Street   L ttleton   CO   (303)395-1782
                                          primary care prov ders (includ ng amily pract tioners                                                                                                                          Group
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17 648   852265.000   850 000 4/14/2014   This grant proposes a CME/CE educat onal platform for     /2/2014   5/2/2014     ive   Live   Chron c Pa n (General)    Pa n   Pr mary Care   TBD - Pri-Med   OR   4/14/2014   Ult mate Medical Academy LLC dba Global Education   All son   Kickel   5575 South Sycamore Street   L ttleton   CO   (303)395-1782
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                                           ong-term op oid therapy for chron c pa n
17 648   852265.000   850 000 4/14/2014   This grant proposes a CME/CE educat onal platform for     /2/2014   5/2/2014     ive   Live   Op oid Misuse and Abuse   Pa n   General        TBD - Pri-Med   OR   4/14/2014   Ult mate Medical Academy LLC dba Global Education   All son   Kickel   5575 South Sycamore Street   L ttleton   CO   (303)395-1782
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                                          Practitioners and the IMPACT 2014 Conference of the
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17 648   852265.000   850 000 4/14/2014   This grant proposes a CME/CE educat onal platform for     /2/2014   5/2/2014     ive   Live   Op oid Misuse and Abuse   Pa n   Pr mary Care   TBD - Pri-Med   OR   4/14/2014   Ult mate Medical Academy LLC dba Global Education   All son   Kickel   5575 South Sycamore Street   L ttleton   CO   (303)395-1782
                                          primary care prov ders (includ ng amily pract tioners                                                                                                                          Group
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17 648   852265.000   850 000 4/14/2014   This grant proposes a CME/CE educat onal platform for 6/30/2014   6/30/2015     Web   Web Activ ty          Chron c Pa n (General)    Pa n   Pr mary Care                                       4/14/2014   Ult mate Medical Academy LLC dba Global Education   All son   Kickel   5575 South Sycamore Street   L ttleton   CO   (303)395-1782
                                          pr mary care prov ders (includ ng amily pract tioners                                                                                                                                                       Group
                                          and phys c an ass stants) pain specialists and other
                                          clinicians involved in the opio d-based treatment of
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17 648   852265.000   850 000 4/14/2014   This grant proposes a CME/CE educat onal platform for 6/30/2014   6/30/2015     Web   Web Activ ty          Op oid Misuse and Abuse   Pa n   Pr mary Care                                       4/14/2014   Ult mate Medical Academy LLC dba Global Education   All son   Kickel   5575 South Sycamore Street   L ttleton   CO   (303)395-1782
                                          pr mary care prov ders (includ ng amily pract tioners                                                                                                                                                       Group
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17 648   852265.000   850 000 4/14/2014   This grant proposes a CME/CE educat onal platform for 9/3/2014    9/6/2014      ive   Satell te Symposium   Chron c Pa n (General)    Pa n   General         The Cosmopol tan - PAINWeek   NV   4/14/2014   Ult mate Medical Academy LLC dba Global Education   All son   Kickel   5575 South Sycamore Street   L ttleton   CO   (303)395-1782
                                          pr mary care prov ders (includ ng amily pract tioners                                                                                                                                                       Group
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17 648   852265.000   850 000 4/14/2014   This grant proposes a CME/CE educat onal platform for 9/3/2014    9/6/2014      ive   Satell te Symposium   Chron c Pa n (General)    Pa n   Pain Medicine   The Cosmopol tan - PAINWeek   NV   4/14/2014   Ult mate Medical Academy LLC dba Global Education   All son   Kickel   5575 South Sycamore Street   L ttleton   CO   (303)395-1782
                                          primary care prov ders (includ ng amily pract tioners                                                                                                                                                       Group
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                                          primary care prov ders (includ ng amily pract tioners                                                                                                                                                       Group
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17 648   852265.000   850 000 4/14/2014   This grant proposes a CME/CE educat onal platform for 9/3/2014    9/6/2014      ive   Satell te Symposium   Op oid Misuse and Abuse   Pa n   General         The Cosmopol tan - PAINWeek   NV   4/14/2014   Ult mate Medical Academy LLC dba Global Education   All son   Kickel   5575 South Sycamore Street   L ttleton   CO   (303)395-1782
                                          primary care prov ders (includ ng amily pract tioners                                                                                                                                                       Group
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                                           nclude access to a Cl nical Resource Center contain ng
                                          sl des animat ons key stud es and r sk stratif cation
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                                          barriers to optimizing the effectiveness and safety of
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17 648   852265.000   850 000 4/14/2014   This grant proposes a CME/CE educat onal platform for 9/3/2014    9/6/2014      ive   Satell te Symposium   Op oid Misuse and Abuse   Pa n   Pain Medicine   The Cosmopol tan - PAINWeek   NV   4/14/2014   Ult mate Medical Academy LLC dba Global Education   All son   Kickel   5575 South Sycamore Street   L ttleton   CO   (303)395-1782
                                          pr mary care prov ders (includ ng amily pract tioners                                                                                                                                                       Group
                                          and phys c an ass stants) pain specialists and other
                                          clinicians involved in the opio d-based treatment of
                                          chronic pain. Funds will be used for live 75- to 90-m n
                                          Interactive Exchange programs held at 2014 Primary
                                          Care Updates meet ngs PAINWeek 2014 the 2014
                                          Sc ent fic Assembly of the Amer can Academy of Family
                                          Practitioners and the IMPACT 2014 Conference of the
                                          AAPA. Enduring Interactive Exchange programs w ll be
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                                           ong-term op oid therapy for chron c pa n
17 648   852265.000   850 000 4/14/2014   This grant proposes a CME/CE educat onal platform for 9/3/2014    9/6/2014      ive   Satell te Symposium   Op oid Misuse and Abuse   Pa n   Pr mary Care    The Cosmopol tan - PAINWeek   NV   4/14/2014   Ult mate Medical Academy LLC dba Global Education   All son   Kickel   5575 South Sycamore Street   L ttleton   CO   (303)395-1782
                                          pr mary care prov ders (includ ng amily pract tioners                                                                                                                                                       Group
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                                           ong-term op oid therapy for chron c pa n
17 648   852265.000   850 000 4/14/2014   This grant proposes a CME/CE educat onal platform for 9/11/2014   9/11/2014     ive   Live                  Chron c Pa n (General)    Pa n   General         TBD - Pri-Med East            MA   4/14/2014   Ult mate Medical Academy LLC dba Global Education   All son   Kickel   5575 South Sycamore Street   L ttleton   CO   (303)395-1782
                                          primary care prov ders (includ ng amily pract tioners                                                                                                                                                       Group
                                          and phys c an ass stants) pain specialists and other
                                          clinicians involved in the opio d-based treatment of
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17 648   852265.000   850 000 4/14/2014   This grant proposes a CME/CE educat onal platform for 9/11/2014   9/11/2014     ive   Live                  Chron c Pa n (General)    Pa n   Pr mary Care    TBD - Pri-Med East            MA   4/14/2014   Ult mate Medical Academy LLC dba Global Education   All son   Kickel   5575 South Sycamore Street   L ttleton   CO   (303)395-1782
                                          primary care prov ders (includ ng amily pract tioners                                                                                                                                                       Group
                                          and phys c an ass stants) pain specialists and other
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                                           ong-term op oid therapy for chron c pa n
17 648   852265.000   850 000 4/14/2014   This grant proposes a CME/CE educat onal platform for 9/11/2014   9/11/2014     ive   Live                  Op oid Misuse and Abuse   Pa n   General         TBD - Pri-Med East            MA   4/14/2014   Ult mate Medical Academy LLC dba Global Education   All son   Kickel   5575 South Sycamore Street   L ttleton   CO   (303)395-1782
                                          primary care prov ders (includ ng amily pract tioners                                                                                                                                                       Group
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17 648   852265.000   850 000 4/14/2014   This grant proposes a CME/CE educat onal platform for 9/11/2014   9/11/2014     ive   Live                  Op oid Misuse and Abuse   Pa n   Pr mary Care    TBD - Pri-Med East            MA   4/14/2014   Ult mate Medical Academy LLC dba Global Education   All son   Kickel   5575 South Sycamore Street   L ttleton   CO   (303)395-1782
                                          primary care prov ders (includ ng amily pract tioners                                                                                                                                                       Group
                                          and phys c an ass stants) pain specialists and other
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17 648   852265.000   850 000 4/14/2014    This grant proposes a CME/CE educat onal platform for     0/21/2014   10/25/2014     ive   Satell te Symposium   Chron c Pa n (General)    Pa n   Pr mary Care      Walter E. Washington Convent on Center - AAFP   DC   4/14/2014    Ult mate Medical Academy LLC dba Global Education   All son   Kickel    5575 South Sycamore Street   L ttleton   CO   (303)395-1782
                                           pr mary care prov ders (includ ng amily pract tioners                                                                                                                                                                                 Group
                                           and phys c an ass stants) pain specialists and other
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17 648   852265.000   850 000 4/14/2014    This grant proposes a CME/CE educat onal platform for     0/21/2014   10/25/2014     ive   Satell te Symposium   Op oid Misuse and Abuse   Pa n   Pr mary Care      Walter E. Washington Convent on Center - AAFP   DC   4/14/2014    Ult mate Medical Academy LLC dba Global Education   All son   Kickel    5575 South Sycamore Street   L ttleton   CO   (303)395-1782
                                           primary care prov ders (includ ng amily pract tioners                                                                                                                                                                                 Group
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                                           clinicians involved in the opio d-based treatment of
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17 820     5000.000     5 000 12/12/2013   The 16th Annual Pain Management Symposium is a 5- 2/15/2014           2/19/2014      ive   Symposium             Breakthrough Pa n         Pa n                     Caesars Palce                                   NV   12/11/2013   Cleveland Clinic Educational Foundat on             Mark      Shelton   9500 Euclid Avenue KK31      Cleveland   OH   (216) 448-0899
                                           day educational activity providing an in-depth review
                                           and analys s of recent advances in pain medicine and
                                           regional anesthes a/ana gesia includ ng research related
                                           to the principles and management of pa n in a format
                                           that allows nteract on between the faculty and
                                           attendees. Th s Symposium w ll promote a better
                                           understanding of the pathophysio ogy of acute and
                                           chronic pain enhance knowledge regarding various
                                           chronic neuropathic pain condit ons and cr tically rev ew
                                           novel state-of-the-art interventional and
                                           non nterventional techniques in diagnosis and
                                           management of pain cancer pain and headache. A
                                           nationally renowned faculty w ll provide ins ghtful
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17 820     5000.000     5 000 12/12/2013   The 16th Annual Pain Management Symposium is a 5- 2/15/2014           2/19/2014      ive   Symposium             Breakthrough Pa n         Pa n   Pain Management   Caesars Palce                                   NV   12/11/2013   Cleveland Clinic Educational Foundat on             Mark      Shelton   9500 Euclid Avenue KK31      Cleveland   OH   (216) 448-0899
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                                           day educational activity providing an in-depth review
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17 820   5000.000   5 000 12/12/2013   The 16th Annual Pain Management Symposium is a 5- 2/15/2014          2/19/2014     ive   Symposium                         Chron c Pa n (General)    Pa n   Pain Management     Caesars Palce               NV   12/11/2013   Cleveland Clinic Educational Foundat on           Mark   Shelton   9500 Euclid Avenue KK31   Cleveland    OH   (216) 448-0899
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17 820   5000.000   5 000 12/12/2013   The 16th Annual Pain Management Symposium is a 5- 2/15/2014          2/19/2014     ive   Symposium                         Chron c Pa n (General)    Pa n   spine surgeons      Caesars Palce               NV   12/11/2013   Cleveland Clinic Educational Foundat on           Mark   Shelton   9500 Euclid Avenue KK31   Cleveland    OH   (216) 448-0899
                                       day educational activity providing an in-depth review
                                       and analys s of recent advances in pain medicine and
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                                       day educational activity providing an in-depth review
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17 940   3650.000   3 650 1/16/2014    This program is a live ecture format delivered as one     2/5/2014   2/5/2014      ive   Professional Education Programs   Chron c Pa n (General)    Pa n   Fam ly Med c ne     Hyatt Regency Mission Bay   CA   1/14/2014    Osteopathic Physicians & Surgeons of Cal forn a   Karl   Baur      2015 H Street             Sacramento   CA   (916) 822-5246
                                       ecture n a series of opio d-focused lectures at OPSC's
                                       Annual Convention. Approximately 400 osteopathic
                                       physicians wi l be in attendance as well as osteopathic
                                       medical students and other hea thcare professionals.
17 940   3650.000   3 650 1/16/2014    This program is a live ecture format delivered as one     2/5/2014   2/5/2014      ive   Professional Education Programs   Chron c Pa n (General)    Pa n   General             Hyatt Regency Mission Bay   CA   1/14/2014    Os eopathic Physicians & Surgeons of Cal forn a   Karl   Baur      2015 H Street             Sacramento   CA   (916) 822-5246
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17 940   3650.000   3 650 1/16/2014    This program is a live ecture format delivered as one     2/5/2014   2/5/2014      ive   Professional Education Programs   Chron c Pa n (General)    Pa n   Internal Med c ne   Hyatt Regency Mission Bay   CA   1/14/2014    Osteopathic Physicians & Surgeons of Cal forn a   Karl   Baur      2015 H Street             Sacramento   CA   (916) 822-5246
                                       ecture n a series of opio d-focused lectures at OPSC's
                                       Annual Convention. Approximately 400 osteopathic
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                                       medical students and other hea thcare professionals.
17 940   3650.000   3 650 1/16/2014    This program is a live ecture format delivered as one     2/5/2014   2/5/2014      ive   Professional Education Programs   Chron c Pa n (General)    Pa n   N/A                 Hyatt Regency Mission Bay   CA   1/14/2014    Os eopathic Physicians & Surgeons of Cal forn a   Karl   Baur      2015 H Street             Sacramento   CA   (916) 822-5246
                                       ecture n a series of opio d-focused lectures at OPSC's
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                                       physicians will be in attendance as well as osteopathic
                                       medical students and other hea thcare professionals.




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                                                                                                                             Case: 1:17-md-02804-DAP Doc #: 2251-93 Filed: 08/13/19 37 of 78. PageID #: 352352

17 940    3650.000    3 650 1/16/2014   This program is a live ecture format delivered as one        2/5/2014    2/5/2014      ive   Professional Education Programs   Chron c Pa n (General)    Pa n   Neurology                              Hyatt Regency Mission Bay          CA   1/14/2014   Os eopathic Physicians & Surgeons of Cal forn a   Karl     Baur         2015 H Street              Sacramento   CA   (916) 822-5246
                                         ecture n a series of opio d-focused lectures at OPSC's
                                        Annual Convention. Approximately 400 osteopathic
                                        physicians will be in attendance as well as osteopathic
                                        medical st dents and other hea thcare rofessionals
17 940    3650.000    3 650 1/16/2014   This program is a live ecture format delivered as one        2/5/2014    2/5/2014      ive   Professional Education Programs   Op oid Misuse and Abuse   Pa n   Fam ly Med c ne                        Hyatt Regency Mission Bay          CA   1/14/2014   Osteopathic Physicians & Surgeons of Cal forn a   Karl     Baur         2015 H Street              Sacramento   CA   (916) 822-5246
                                         ecture n a series of opio d-focused lectures at OPSC's
                                        Annual Convention. Approximately 400 osteopathic
                                        physicians will be in attendance as well as osteopathic
                                        medical students and other hea thcare professionals.
17 940    3650.000    3 650 1/16/2014   This program is a live ecture format delivered as one        2/5/2014    2/5/2014      ive   Professional Education Programs   Op oid Misuse and Abuse   Pa n   General                                Hyatt Regency Mission Bay          CA   1/14/2014   Os eopathic Physicians & Surgeons of Cal forn a   Karl     Baur         2015 H Street              Sacramento   CA   (916) 822-5246
                                         ecture n a series of opio d-focused lectures at OPSC's
                                        Annual Convention. Approximately 400 osteopathic
                                        physicians will be in attendance as well as osteopathic
                                        medical students and other hea thcare professionals.
17 940    3650.000    3 650 1/16/2014   This program is a live ecture format delivered as one        2/5/2014    2/5/2014      ive   Professional Education Programs   Op oid Misuse and Abuse   Pa n   Internal Med c ne                      Hyatt Regency Mission Bay          CA   1/14/2014   Osteopathic Physicians & Surgeons of Cal forn a   Karl     Baur         2015 H Street              Sacramento   CA   (916) 822-5246
                                         ecture n a series of opio d-focused lectures at OPSC's
                                        Annual Convention. Approximately 400 osteopathic
                                        physicians will be in attendance as well as osteopathic
                                        medical students and other hea thcare professionals.
17 940    3650.000    3 650 1/16/2014   This program is a live ecture format delivered as one        2/5/2014    2/5/2014      ive   Professional Education Programs   Op oid Misuse and Abuse   Pa n   N/A                                    Hyatt Regency Mission Bay          CA   1/14/2014   Os eopathic Physicians & Surgeons of Cal forn a   Karl     Baur         2015 H Street              Sacramento   CA   (916) 822-5246
                                         ecture n a series of opio d-focused lectures at OPSC's
                                        Annual Convention. Approximately 400 osteopathic
                                        physicians will be in attendance as well as osteopathic
                                        medical students and other hea thcare professionals.
17 940    3650.000    3 650 1/16/2014   This program is a live ecture format delivered as one        2/5/2014    2/5/2014      ive   Professional Education Programs   Op oid Misuse and Abuse   Pa n   Neurology                              Hyatt Regency Mission Bay          CA   1/14/2014   Os eopathic Physicians & Surgeons of Cal forn a   Karl     Baur         2015 H Street              Sacramento   CA   (916) 822-5246
                                         ecture n a series of opio d-focused lectures at OPSC's
                                        Annual Convention. Approximately 400 osteopathic
                                        physicians will be in attendance as well as osteopathic
                                        medical st dents and other hea thcare rofessionals
17 968   11250.000    3 000 1/27/2014   In this session experts wi l review the pathophys ology       /29/2014   3/29/2014     ive   Live                              Op oid Misuse and Abuse   Pa n   General                                Orlando County Convention Center   FL   1/21/2014   American Pharmacists Association                  Peter    VanPelt      2215 Constitut on Ave NW   Washington   DC   (215) 755-2424
                                        of addiction and discuss appropriate nonpharmacologic
                                        and pharmacologic strategies that are effective for
                                        assisting patients with the disease of addiction with a
                                        focus on alcohol prescription opioid and i legal drugs.
                                        The session wi l be in the form of a didactic presentation
                                        with a Question and Answer forum before its conclus on.

18 122   31826.670   31 827 3/27/2014   We are seeking support for 2 case-based interactive           /10/2014   4/10/2016     Web   Web Activ ty                      Breakthrough Pa n         Pa n   General                                                                        3/13/2014   Univers ty of Connect cut                         Ji l     F tzgerald   69 N Eaglevil e Rd         Storrs       CT   (860)486-2130
                                        onl ne activ ties where earners wi l apply earnings from
                                        know edge based print and onl ne activ ties presented
                                        prev ously.
18 122   31826.670   31 827 3/27/2014   We are seeking support or 2 case-based interactive            /10/2014   4/10/2016     Web   Web Activ ty                      Chron c Pa n (General)    Pa n   General                                                                        3/13/2014   Univers ty of Connect cut                         Ji l     F tzgerald   69 N Eaglevil e Rd         Storrs       CT   (860)486-2130
                                        onl ne activ ties where earners wi l apply earnings from
                                        know edge based print and onl ne activ ties presented
                                          re o sl
18 122   31826.670   31 827 3/27/2014   We are seeking support or 2 case-based interactive            /10/2014   4/10/2016     Web   Web Activ ty                      Op oid Misuse and Abuse   Pa n   General                                                                        3/13/2014   Univers ty of Connect cut                         Ji l     F tzgerald   69 N Eaglevil e Rd         Storrs       CT   (860)486-2130
                                        onl ne activ ties where earners wi l apply earnings from
                                        know edge based print and onl ne activ ties presented
                                        prev ously.
18 122   31826.670   31 827 3/27/2014   We are seeking support or 2 case-based interactive            /10/2014   5/10/2016     Web   Web Activ ty                      Breakthrough Pa n         Pa n   General                                                                        3/13/2014   Univers ty of Connect cut                         Ji l     F tzgerald   69 N Eaglevil e Rd         Storrs       CT   (860)486-2130
                                        onl ne activ ties where earners wi l apply earnings from
                                        know edge based print and onl ne activ ties presented
                                        prev ously.
18 122   31826.670   31 827 3/27/2014   We are seeking support or 2 case-based interactive            /10/2014   5/10/2016     Web   Web Activ ty                      Chron c Pa n (General)    Pa n   General                                                                        3/13/2014   Univers ty of Connect cut                         Ji l     F tzgerald   69 N Eaglevil e Rd         Storrs       CT   (860)486-2130
                                        onl ne activ ties where earners wi l apply earnings from
                                        know edge based print and onl ne activ ties presented
                                          re o sl
18 122   31826.670   31 827 3/27/2014   We are seeking support or 2 case-based interactive            /10/2014   5/10/2016     Web   Web Activ ty                      Op oid Misuse and Abuse   Pa n   General                                                                        3/13/2014   Univers ty of Connect cut                         Ji l     F tzgerald   69 N Eaglevil e Rd         Storrs       CT   (860)486-2130
                                        onl ne activ ties where earners wi l apply earnings from
                                        know edge based print and onl ne activ ties presented
                                        prev ously.
18 138   25000.000   25 000 3/27/2014   With a 30-year h story of prov ding quality pa n              /5/2014    3/6/2014      ive   Live                              Chron c Pa n (General)    Pa n   Anesthes ology                         Phoenix Convent on Center          AZ   3/3/2014    American Academy of Pain Medicine                 Alyssa   Engle        8735 W H ggins Rd          Ch cago      IL   (847)375-4829
                                        educat on AAPM s Essential Too s for Treating the
                                        Patient n Pain™ is designed for clinicians interested in
                                        obta ning an overview of some of the fundamenta s of
                                        Pain Med c ne in addition to practical approaches to the
                                        treatment of common pain disorders. This continu ng
                                        medical education (CME) program o fers clin cally
                                        focused ectures and case presentations on the
                                        assessment diagnos s and treatment of pat ents w th
                                        various acute breakthrough and chronic pain disorders.

18 138   25000.000   25 000 3/27/2014   With a 30-year h story of prov ding quality pa n              /5/2014    3/6/2014      ive   Live                              Chron c Pa n (General)    Pa n   Fam ly Med c ne                        Phoenix Convent on Center          AZ   3/3/2014    American Academy of Pain Medicine                 Alyssa   Engle        8735 W H ggins Rd          Ch cago      IL   (847)375-4829
                                        educat on AAPM s Essential Too s for Treating the
                                        Patient n Pain™ is designed for clinicians interested in
                                        obta ning an overview of some of the fundamenta s of
                                        Pain Med c ne in addition to practical approaches to the
                                        treatment of common pain disorders. This continu ng
                                        medical education (CME) program offers clin cally
                                        focused ectures and case presentations on the
                                        assessment diagnos s and treatment of pat ents w th
                                        various acute breakthrough and chronic pain disorders.

18 138   25000.000   25 000 3/27/2014   With a 30-year h story of prov ding quality pa n              /5/2014    3/6/2014      ive   Live                              Chron c Pa n (General)    Pa n   General                                Phoenix Convent on Center          AZ   3/3/2014    American Academy of Pain Medicine                 Alyssa   Engle        8735 W H ggins Rd          Ch cago      IL   (847)375-4829
                                        educat on AAPM s Essential Too s or Treating the
                                        Patient n Pain™ is designed for clinicians interested in
                                        obta ning an overview of some of the fundamenta s of
                                        Pain Med c ne in addition to practical approaches to the
                                        treatment of common pain disorders. This continu ng
                                        medical education (CME) program offers clin cally
                                        focused ectures and case presentations on the
                                        assessment diagnos s and treatment of pat ents w th
                                        various acute breakthrough and chronic pain disorders.

18 138   25000.000   25 000 3/27/2014   With a 30-year h story of prov ding quality pa n              /5/2014    3/6/2014      ive   Live                              Chron c Pa n (General)    Pa n   Neuro ogy                              Phoenix Convent on Center          AZ   3/3/2014    American Academy of Pain Medicine                 Alyssa   Engle        8735 W H ggins Rd          Ch cago      IL   (847)375-4829
                                        educat on AAPM s Essential Too s or Treating the
                                        Patient n Pain™ is designed for clinicians interested in
                                        obta ning an overview of some of the fundamenta s of
                                        Pain Med c ne in addition to practical approaches to the
                                        treatment of common pain disorders. This continu ng
                                        medical education (CME) program offers clin cally
                                        focused ectures and case presentations on the
                                        assessment diagnos s and treatment of pat ents w th
                                        various acute breakthrough and chronic pain disorders.

18 138   25000.000   25 000 3/27/2014   With a 30-year h story of prov ding quality pa n              /5/2014    3/6/2014      ive   Live                              Chron c Pa n (General)    Pa n   Pain Medicine                          Phoenix Convent on Center          AZ   3/3/2014    American Academy of Pain Medicine                 Alyssa   Engle        8735 W H ggins Rd          Ch cago      IL   (847)375-4829
                                        educat on AAPM s Essential Too s or Treating the
                                        Patient n Pain™ is designed for clinicians interested in
                                        obta ning an overview of some of the fundamenta s of
                                        Pain Med c ne in addition to practical approaches to the
                                        treatment of common pain disorders. This continu ng
                                        medical education (CME) program offers clin cally
                                        focused ectures and case presentations on the
                                        assessment diagnos s and treatment of pat ents w th
                                        various acute breakthrough and chronic pain disorders.

18 138   25000.000   25 000 3/27/2014   With a 30-year h story of prov ding quality pa n              /5/2014    3/6/2014      ive   Live                              Chron c Pa n (General)    Pa n   Physical Med c ne and Rehabil tation   Phoenix Convent on Center          AZ   3/3/2014    American Academy of Pain Medicine                 Alyssa   Engle        8735 W H ggins Rd          Ch cago      IL   (847)375-4829
                                        educat on AAPM s Essential Too s or Treating the
                                        Patient n Pain™ is designed for clinicians interested in
                                        obta ning an overview of some of the fundamenta s of
                                        Pain Med c ne in addition to practical approaches to the
                                        treatment of common pain disorders. This continu ng
                                        medical education (CME) program offers clin cally
                                        focused ectures and case presentations on the
                                        assessment diagnos s and treatment of pat ents w th
                                        various acute breakthrough and chronic pain disorders.




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18 138    25000.000    25 000 3/27/2014   With a 30-year h story of prov ding quality pa n           /5/2014   3/6/2014     ive   Live                  Chron c Pa n (General)    Pa n   Psychiatry                             Phoenix Convent on Center   AZ   3/3/2014    American Academy of Pain Medicine                   Alyssa    Engle    8735 W H ggins Rd            Ch cago     IL   (847)375-4829
                                          educat on AAPM s Essential Too s for Treating the
                                          Patient n Pain™ is designed for clinicians interested in
                                          obta ning an overview of some of the fundamenta s of
                                          Pain Med c ne in addition to practical approaches to the
                                          treatment of common pain disorders. This continu ng
                                          medical education (CME) program o fers clin cally
                                          focused ectures and case presentations on the
                                          assessment diagnos s and treatment of pat ents w th
                                          various acute breakthrough and chronic pain disorders.

18 138    25000.000    25 000 3/27/2014   With a 30-year h story of prov ding quality pa n           /5/2014   3/6/2014     ive   Live                  Op oid Misuse and Abuse   Pa n   Anesthes ology                         Phoenix Convent on Center   AZ   3/3/2014    American Academy of Pain Medicine                   Alyssa    Engle    8735 W H ggins Rd            Ch cago     IL   (847)375-4829
                                          educat on AAPM s Essential Too s for Treating the
                                          Patient n Pain™ is designed for clinicians interested in
                                          obta ning an overview of some of the fundamenta s of
                                          Pain Med c ne in addition to practical approaches to the
                                          treatment of common pain disorders. This continu ng
                                          medical education (CME) program offers clin cally
                                          focused ectures and case presentations on the
                                          assessment diagnos s and treatment of pat ents w th
                                          various acute breakthrough and chronic pain disorders.

18 138    25000.000    25 000 3/27/2014   With a 30-year h story of prov ding quality pa n           /5/2014   3/6/2014     ive   Live                  Op oid Misuse and Abuse   Pa n   Fam ly Med c ne                        Phoenix Convent on Center   AZ   3/3/2014    American Academy of Pain Medicine                   Alyssa    Engle    8735 W H ggins Rd            Ch cago     IL   (847)375-4829
                                          educat on AAPM s Essential Too s or Treating the
                                          Patient n Pain™ is designed for clinicians interested in
                                          obta ning an overview of some of the fundamenta s of
                                          Pain Med c ne in addition to practical approaches to the
                                          treatment of common pain disorders. This continu ng
                                          medical education (CME) program offers clin cally
                                          focused ectures and case presentations on the
                                          assessment diagnos s and treatment of pat ents w th
                                          various acute breakthrough and chronic pain disorders.

18 138    25000.000    25 000 3/27/2014   With a 30-year h story of prov ding quality pa n           /5/2014   3/6/2014     ive   Live                  Op oid Misuse and Abuse   Pa n   General                                Phoenix Convent on Center   AZ   3/3/2014    American Academy of Pain Medicine                   Alyssa    Engle    8735 W H ggins Rd            Ch cago     IL   (847)375-4829
                                          educat on AAPM s Essential Too s or Treating the
                                          Patient n Pain™ is designed for clinicians interested in
                                          obta ning an overview of some of the fundamenta s of
                                          Pain Med c ne in addition to practical approaches to the
                                          treatment of common pain disorders. This continu ng
                                          medical education (CME) program offers clin cally
                                          focused ectures and case presentations on the
                                          assessment diagnos s and treatment of pat ents w th
                                          various acute breakthrough and chronic pain disorders.

18 138    25000.000    25 000 3/27/2014   With a 30-year h story of prov ding quality pa n           /5/2014   3/6/2014     ive   Live                  Op oid Misuse and Abuse   Pa n   Neurology                              Phoenix Convent on Center   AZ   3/3/2014    American Academy of Pain Medicine                   Alyssa    Engle    8735 W H ggins Rd            Ch cago     IL   (847)375-4829
                                          educat on AAPM s Essential Too s or Treating the
                                          Patient n Pain™ is designed for clinicians interested in
                                          obta ning an overview of some of the fundamenta s of
                                          Pain Med c ne in addition to practical approaches to the
                                          treatment of common pain disorders. This continu ng
                                          medical education (CME) program offers clin cally
                                          focused ectures and case presentations on the
                                          assessment diagnos s and treatment of pat ents w th
                                          various acute breakthrough and chronic pain disorders.

18 138    25000.000    25 000 3/27/2014   With a 30-year h story of prov ding quality pa n           /5/2014   3/6/2014     ive   Live                  Op oid Misuse and Abuse   Pa n   Pain Medicine                          Phoenix Convent on Center   AZ   3/3/2014    American Academy of Pain Medicine                   Alyssa    Engle    8735 W H ggins Rd            Ch cago     IL   (847)375-4829
                                          educat on AAPM s Essential Too s or Treating the
                                          Patient n Pain™ is designed for clinicians interested in
                                          obta ning an overview of some of the fundamenta s of
                                          Pain Med c ne in addition to practical approaches to the
                                          treatment of common pain disorders. This continu ng
                                          medical education (CME) program offers clin cally
                                          focused ectures and case presentations on the
                                          assessment diagnos s and treatment of pat ents w th
                                          various acute breakthrough and chronic pain disorders.

18 138    25000.000    25 000 3/27/2014   With a 30-year h story of prov ding quality pa n           /5/2014   3/6/2014     ive   Live                  Op oid Misuse and Abuse   Pa n   Physical Med c ne and Rehabil tation   Phoenix Convent on Center   AZ   3/3/2014    American Academy of Pain Medicine                   Alyssa    Engle    8735 W H ggins Rd            Ch cago     IL   (847)375-4829
                                          educat on AAPM s Essential Too s or Treating the
                                          Patient n Pain™ is designed for clinicians interested in
                                          obta ning an overview of some of the fundamenta s of
                                          Pain Med c ne in addition to practical approaches to the
                                          treatment of common pain disorders. This continu ng
                                          medical education (CME) program offers clin cally
                                          focused ectures and case presentations on the
                                          assessment diagnos s and treatment of pat ents w th
                                          various acute breakthrough and chronic pain disorders.

18 138    25000.000    25 000 3/27/2014   With a 30-year h story of prov ding quality pa n           /5/2014   3/6/2014     ive   Live                  Op oid Misuse and Abuse   Pa n   Psychiatry                             Phoenix Convent on Center   AZ   3/3/2014    American Academy of Pain Medicine                   Alyssa    Engle    8735 W H ggins Rd            Ch cago     IL   (847)375-4829
                                          education AAPM s Essential Too s or Treating the
                                          Patient n Pain™ is designed for clinicians interested in
                                          obta ning an overview of some of the fundamenta s of
                                          Pain Med c ne in addition to practical approaches to the
                                          treatment of common pain disorders. This continu ng
                                          medical education (CME) program offers clin cally
                                          focused ectures and case presentations on the
                                          assessment diagnos s and treatment of pat ents w th
                                          various acute breakthrough and chronic pain disorders.

18 142   241900.000   241 900 1/29/2014   This grant proposes an accredited Evidence-Based Best- /1/2014       5/2/2014     ive   Satell te Symposium   Breakthrough Pa n         Pa n   Onco ogy                               Anaheim Convention Center   CA   1/28/2014   Ult mate Medical Academy LLC dba Global Education   All son   Kickel   5575 South Sycamore Street   L ttleton   CO   (303)395-1782
                                          Practices Program at the 39th Annual Congress of the                                                                                                                                                                               Group
                                          Oncology Nurs ng Society which will be held on May 1-
                                          4 2014 n Anaheim Cali orn a. The 90-minute case-
                                          based program will include interactive discussions
                                          among expert faculty dedicated to the collaborative
                                          management of cancer-related persistent and
                                          breakthrough pain. Presentat ons wi l address
                                          assessment and differential d agnosis of transient
                                          cancer pain ep sodes treatment strategies for various
                                          breakthrough pain subtypes R sk Evaluat on and
                                          Mit gat on Strateg es for prescription opioids and pat ent
                                          educat on and mon toring to promote safe op oid use.
                                          The live program wi l also be recorded and edited into a
                                          60-m nute online Webcast. The endur ng activ ty wi l be
                                          distributed via a mu tichannel network including
                                          Oncology Nurse Advisor myCME.com and
                                          ExchangeCME.com. The overall goal of the educational
                                          platform s to improve pa n management n patients with
18 142   241900.000   241 900 1/29/2014   This grant proposes an accredited Evidence-Based Best- /1/2014       5/2/2014     ive   Satell te Symposium   Op oid Misuse and Abuse   Pa n   Onco ogy                               Anaheim Convention Center   CA   1/28/2014   Ult mate Medical Academy LLC dba Global Education   All son   Kickel   5575 South Sycamore Street   L ttleton   CO   (303)395-1782
                                          Practices Program at the 39th Annual Congress of the                                                                                                                                                                               Group
                                          Oncology Nurs ng Society which will be held on May 1-
                                          4 2014 n Anaheim Cali orn a. The 90-minute case-
                                          based program will include interactive discussions
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                                          management of cancer-related persistent and
                                          breakthrough pain. Presentat ons wi l address
                                          assessment and differential d agnosis of transient
                                          cancer pain ep sodes treatment strategies for various
                                          breakthrough pain subtypes R sk Evaluat on and
                                          Mit gat on Strateg es for prescription opioids and pat ent
                                          educat on and mon toring to promote safe op oid use.
                                          The live program wi l also be recorded and edited into a
                                          60-m nute online Webcast. The endur ng activ ty wi l be
                                          distributed via a mu tichannel network including
                                          Oncology Nurse Advisor myCME.com and
                                          ExchangeCME.com. The overall goal of the educational
                                          platform s to improve pa n management n patients with




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                                                                                                                       Case: 1:17-md-02804-DAP Doc #: 2251-93 Filed: 08/13/19 39 of 78. PageID #: 352354

18 142   241900.000   241 900 1/29/2014   This grant proposes an accredited Evidence-Based Best- 7/1/2014   7/1/2015     Web                Webcast/Online Program   Breakthrough Pa n         Pa n                      1/28/2014   Ult mate Medical Academy LLC dba Global Education      All son   Kickel   5575 South Sycamore Street   L ttleton    CO   (303)395-1782
                                          Practices Program at the 39th Annual Congress of the                                                                                                                                       Group
                                          Oncology Nurs ng Society which will be held on May 1-
                                          4 2014 n Anaheim Cali orn a. The 90-minute case-
                                          based program will include interactive d scussions
                                          among expert faculty dedicated to the collaborative
                                          management of cancer-related persistent and
                                          breakthrough pain. Presentat ons wi l address
                                          assessment and differential d agnosis of transient
                                          cancer pain ep sodes treatment strategies for various
                                          breakthrough pain subtypes R sk Evaluat on and
                                          Mit gat on Strateg es for prescription opioids and pat ent
                                          educat on and mon toring to promote safe op oid use.
                                          The live program wi l also be recorded and edited into a
                                          60-m nute online Webcast. The endur ng activ ty wi l be
                                          distributed via a mu tichannel network including
                                          Oncology Nurse Advisor myCME.com and
                                          ExchangeCME.com. The overall goal of the educational
                                          platform s to improve pa n management n patients with
18 142   241900.000   241 900 1/29/2014   This grant proposes an accredited Evidence-Based Best- 7/1/2014   7/1/2015     Web                Webcast/Online Program   Breakthrough Pa n         Pa n   Medical Oncology   1/28/2014   Ult mate Medical Academy LLC dba Global Education      All son   Kickel   5575 South Sycamore Street   L ttleton    CO   (303)395-1782
                                          Practices Program at the 39th Annual Congress of the                                                                                                                                       Group
                                          Oncology Nurs ng Society which will be held on May 1-
                                          4 2014 n Anaheim Cali orn a. The 90-minute case-
                                          based program will include interactive d scussions
                                          among expert faculty dedicated to the collaborative
                                          management of cancer-related persistent and
                                          breakthrough pain. Presentat ons wi l address
                                          assessment and differential d agnosis of transient
                                          cancer pain ep sodes treatment strategies for various
                                          breakthrough pain subtypes R sk Evaluat on and
                                          Mit gat on Strateg es for prescription opioids and pat ent
                                          educat on and mon toring to promote safe op oid use.
                                          The live program wi l also be recorded and edited into a
                                          60-m nute online Webcast. The endur ng activ ty wi l be
                                          distributed via a mu tichannel network including
                                          Oncology Nurse Advisor myCME.com and
                                          ExchangeCME.com. The overall goal of the educational
                                          platform s to improve pa n management n patients with
18 142   241900.000   241 900 1/29/2014   This grant proposes an accredited Evidence-Based Best- 7/1/2014   7/1/2015     Web                Webcast/Online Program   Breakthrough Pa n         Pa n   Onco ogy           1/28/2014   Ult mate Medical Academy LLC dba Global Education      All son   Kickel   5575 South Sycamore Street   L ttleton    CO   (303)395-1782
                                          Practices Program at the 39th Annual Congress of the                                                                                                                                       Group
                                          Oncology Nurs ng Society which will be held on May 1-
                                          4 2014 n Anaheim Cali orn a. The 90-minute case-
                                          based program will include interactive d scussions
                                          among expert faculty dedicated to the collaborative
                                          management of cancer-related persistent and
                                          breakthrough pain. Presentat ons wi l address
                                          assessment and differential d agnosis of transient
                                          cancer pain ep sodes treatment strategies for various
                                          breakthrough pain subtypes R sk Evaluat on and
                                          Mit gat on Strateg es for prescription opioids and pat ent
                                          educat on and mon toring to promote safe op oid use.
                                          The live program wi l also be recorded and edited into a
                                          60-m nute online Webcast. The endur ng activ ty wi l be
                                          distributed via a mu tichannel network including
                                          Oncology Nurse Advisor myCME.com and
                                          ExchangeCME.com. The overall goal of the educational
                                          platform s to improve pa n management n patients with
18 142   241900.000   241 900 1/29/2014   This grant proposes an accredited Evidence-Based Best- 7/1/2014   7/1/2015     Web                Webcast/Online Program   Op oid Misuse and Abuse   Pa n                      1/28/2014   Ult mate Medical Academy LLC dba Global Education      All son   Kickel   5575 South Sycamore Street   L ttleton    CO   (303)395-1782
                                          Practices Program at the 39th Annual Congress of the                                                                                                                                       Group
                                          Oncology Nurs ng Society which will be held on May 1-
                                          4 2014 n Anaheim Cali orn a. The 90-minute case-
                                          based program will include interactive d scussions
                                          among expert faculty dedicated to the collaborative
                                          management of cancer-related persistent and
                                          breakthrough pain. Presentat ons wi l address
                                          assessment and differential d agnosis of transient
                                          cancer pain ep sodes treatment strategies for various
                                          breakthrough pain subtypes R sk Evaluat on and
                                          Mit gat on Strateg es for prescription opioids and pat ent
                                          educat on and mon toring to promote safe op oid use.
                                          The live program wi l also be recorded and edited into a
                                          60-m nute online Webcast. The endur ng activ ty wi l be
                                          distributed via a mu tichannel network including
                                          Oncology Nurse Advisor myCME.com and
                                          ExchangeCME.com. The overall goal of the educational
                                          platform s to improve pa n management n patients with
18 142   241900.000   241 900 1/29/2014   This grant proposes an accredited Evidence-Based Best- 7/1/2014   7/1/2015     Web                Webcast/Online Program   Op oid Misuse and Abuse   Pa n   Medical Oncology   1/28/2014   Ult mate Medical Academy LLC dba Global Education      All son   Kickel   5575 South Sycamore Street   L ttleton    CO   (303)395-1782
                                          Practices Program at the 39th Annual Congress of the                                                                                                                                       Group
                                          Oncology Nurs ng Society which will be held on May 1-
                                          4 2014 n Anaheim Cali orn a. The 90-minute case-
                                          based program will include interactive d scussions
                                          among expert faculty dedicated to the collaborative
                                          management of cancer-related persistent and
                                          breakthrough pain. Presentat ons wi l address
                                          assessment and differential d agnosis of transient
                                          cancer pain ep sodes treatment strategies for various
                                          breakthrough pain subtypes R sk Evaluat on and
                                          Mit gat on Strateg es for prescription opioids and pat ent
                                          educat on and mon toring to promote safe op oid use.
                                          The live program wi l also be recorded and edited into a
                                          60-m nute online Webcast. The endur ng activ ty wi l be
                                          distributed via a mu tichannel network including
                                          Oncology Nurse Advisor myCME.com and
                                          ExchangeCME.com. The overall goal of the educational
                                          platform s to improve pa n management n patients with
18 142   241900.000   241 900 1/29/2014   This grant proposes an accredited Evidence-Based Best- 7/1/2014   7/1/2015     Web                Webcast/Online Program   Op oid Misuse and Abuse   Pa n   Onco ogy           1/28/2014   Ult mate Medical Academy LLC dba Global Education      All son   Kickel   5575 South Sycamore Street   L ttleton    CO   (303)395-1782
                                          Practices Program at the 39th Annual Congress of the                                                                                                                                       Group
                                          Oncology Nurs ng Society which will be held on May 1-
                                          4 2014 n Anaheim Cali orn a. The 90-minute case-
                                          based program will include interactive d scussions
                                          among expert faculty dedicated to the collaborative
                                          management of cancer-related persistent and
                                          breakthrough pain. Presentat ons wi l address
                                          assessment and differential d agnosis of transient
                                          cancer pain ep sodes treatment strategies for various
                                          breakthrough pain subtypes R sk Evaluat on and
                                          Mit gat on Strateg es for prescription opioids and pat ent
                                          educat on and mon toring to promote safe op oid use.
                                          The live program wi l also be recorded and edited into a
                                          60-m nute online Webcast. The endur ng activ ty wi l be
                                          distributed via a mu tichannel network including
                                          Oncology Nurse Advisor myCME.com and
                                          ExchangeCME.com. The overall goal of the educational
                                          platform s to improve pa n management n patients with
18 238    35000.000    30 903 3/27/2014   Grant request s for one live session on the current and                        nduring Material   Journal Supp ement       Chron c Pain (General)    Pa n   Medical D rector   2/18/2014   Nat onal Association of Managed Care Physicians Inc.   Katie     Eads     4435 Waterfront Drive        Glen A len   VA   (804) 527-1905
                                          emerging treatments and novel strateg es in the
                                          management of chronic pa n presented at the 2014
                                          Spring Managed Care Forum. The audio from the live
                                          session will be turned nto an enduring webcast. The
                                          program wi l be transcribed and an endur ng article will
                                          be created and publ shed n the Journal of Managed
                                          Care Medicine




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                                                                                                                              Case: 1:17-md-02804-DAP Doc #: 2251-93 Filed: 08/13/19 40 of 78. PageID #: 352355

18 238   35000.000   30 903 3/27/2014   Grant request s for one live session on the current and                                 nduring Material   Journal Supp ement   Op oid Misuse and Abuse   Pa n   Medical D rector                                           2/18/2014   Nat onal Association of Managed Care Physicians Inc.   Katie   Eads      4435 Waterfront Drive      Glen A len   VA   (804) 527-1905
                                        emerging treatments and novel strateg es in the
                                        management of chronic pa n presented at the 2014
                                        Spring Managed Care Forum. The audio from the live
                                        session will be turned nto an enduring webcast. The
                                        program wi l be transcribed and an endur ng article will
                                        be created and publ shed n the Journal of Managed
                                        Care Medicine
18 238   35000.000   30 903 3/27/2014   Grant request s for one live session on the current and        /24/2014   4/25/2014     ive                Symposium            Chron c Pa n (General)    Pa n   General            Orlando Wor d Center Marriott      FL   2/18/2014   Nat onal Association of Managed Care Physicians Inc.   Katie   Eads      4435 Waterfront Drive      Glen A len   VA   (804) 527-1905
                                        emerging treatments and novel strateg es in the
                                        management of chronic pa n presented at the 2014
                                        Spring Managed Care Forum. The audio from the live
                                        session will be turned nto an enduring webcast. The
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                                        be created and publ shed n the Journal of Managed
                                        Care Medicine
18 238   35000.000   30 903 3/27/2014   Grant request s for one live session on the current and        /24/2014   4/25/2014     ive                Symposium            Chron c Pa n (General)    Pa n   Medical D rector   Orlando Wor d Center Marriott      FL   2/18/2014   Nat onal Association of Managed Care Physicians Inc.   Katie   Eads      4435 Waterfront Drive      Glen A len   VA   (804) 527-1905
                                        emerging treatments and novel strateg es in the
                                        management of chronic pa n presented at the 2014
                                        Spring Managed Care Forum. The audio from the live
                                        session will be turned nto an enduring webcast. The
                                        program wi l be transcribed and an endur ng article will
                                        be created and publ shed n the Journal of Managed
                                        Care Medicine
18 238   35000.000   30 903 3/27/2014   Grant request s for one live session on the current and        /24/2014   4/25/2014     ive                Symposium            Chron c Pa n (General)    Pa n   Pain Medicine      Orlando Wor d Center Marriott      FL   2/18/2014   Nat onal Association of Managed Care Physicians Inc.   Katie   Eads      4435 Waterfront Drive      Glen A len   VA   (804) 527-1905
                                        emerging treatments and novel strateg es in the
                                        management of chronic pa n presented at the 2014
                                        Spring Managed Care Forum. The audio from the live
                                        session will be turned nto an enduring webcast. The
                                        program wi l be transcribed and an endur ng article will
                                        be created and publ shed n the Journal of Managed
                                        Care Medicine
18 238   35000.000   30 903 3/27/2014   Grant request s for one live session on the current and        /24/2014   4/25/2014     ive                Symposium            Op oid Misuse and Abuse   Pa n   General            Orlando Wor d Center Marriott      FL   2/18/2014   Nat onal Association of Managed Care Physicians Inc.   Katie   Eads      4435 Waterfront Drive      Glen A len   VA   (804) 527-1905
                                        emerging treatments and novel strateg es in the
                                        management of chronic pa n presented at the 2014
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                                        session will be turned nto an enduring webcast. The
                                        program wi l be transcribed and an endur ng article will
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                                        Care Medicine
18 238   35000.000   30 903 3/27/2014   Grant request s for one live session on the current and        /24/2014   4/25/2014     ive                Symposium            Op oid Misuse and Abuse   Pa n   Medical D rector   Orlando Wor d Center Marriott      FL   2/18/2014   Nat onal Association of Managed Care Physicians Inc.   Katie   Eads      4435 Waterfront Drive      Glen A len   VA   (804) 527-1905
                                        emerging treatments and novel strateg es in the
                                        management of chronic pa n presented at the 2014
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                                        session will be turned nto an enduring webcast. The
                                        program wi l be transcribed and an endur ng article will
                                        be created and publ shed n the Journal of Managed
                                        Care Medicine
18 238   35000.000   30 903 3/27/2014   Grant request s for one live session on the current and        /24/2014   4/25/2014     ive                Symposium            Op oid Misuse and Abuse   Pa n   Pain Medicine      Orlando Wor d Center Marriott      FL   2/18/2014   Nat onal Association of Managed Care Physicians Inc.   Katie   Eads      4435 Waterfront Drive      Glen A len   VA   (804) 527-1905
                                        emerging treatments and novel strateg es in the
                                        management of chronic pa n presented at the 2014
                                        Spring Managed Care Forum. The audio from the live
                                        session will be turned nto an enduring webcast. The
                                        program wi l be transcribed and an endur ng article will
                                        be created and publ shed n the Journal of Managed
                                        Care Medicine.
18 238   35000.000   30 903 3/27/2014   Grant request s for one live session on the current and       8/1/2014    8/1/2015      Web                Web Activ ty         Chron c Pa n (General)    Pa n   General                                                    2/18/2014   Nat onal Association of Managed Care Physicians Inc.   Katie   Eads      4435 Waterfront Drive      Glen A len   VA   (804) 527-1905
                                        emerging treatments and novel strateg es in the
                                        management of chronic pa n presented at the 2014
                                        Spring Managed Care Forum. The audio from the live
                                        session will be turned nto an enduring webcast. The
                                        program wi l be transcribed and an endur ng article will
                                        be created and publ shed n the Journal of Managed
                                        Care Medicine
18 238   35000.000   30 903 3/27/2014   Grant request s for one live session on the current and       8/1/2014    8/1/2015      Web                Web Activ ty         Chron c Pa n (General)    Pa n   Medical D rector                                           2/18/2014   Nat onal Association of Managed Care Physicians Inc.   Katie   Eads      4435 Waterfront Drive      Glen A len   VA   (804) 527-1905
                                        emerging treatments and novel strateg es in the
                                        management of chronic pa n presented at the 2014
                                        Spring Managed Care Forum. The audio from the live
                                        session will be turned nto an enduring webcast. The
                                        program wi l be transcribed and an endur ng article will
                                        be created and publ shed n the Journal of Managed
                                        Care Medicine.
18 238   35000.000   30 903 3/27/2014   Grant request s for one live session on the current and       8/1/2014    8/1/2015      Web                Web Activ ty         Chron c Pa n (General)    Pa n   Pain Medicine                                              2/18/2014   Nat onal Association of Managed Care Physicians Inc.   Katie   Eads      4435 Waterfront Drive      Glen A len   VA   (804) 527-1905
                                        emerging treatments and novel strateg es in the
                                        management of chronic pa n presented at the 2014
                                        Spring Managed Care Forum. The audio from the live
                                        session will be turned nto an enduring webcast. The
                                        program wi l be transcribed and an endur ng article will
                                        be created and publ shed n the Journal of Managed
                                        Care Medicine
18 238   35000.000   30 903 3/27/2014   Grant request s for one live session on the current and       8/1/2014    8/1/2015      Web                Web Activ ty         Op oid Misuse and Abuse   Pa n   General                                                    2/18/2014   Nat onal Association of Managed Care Physicians Inc.   Katie   Eads      4435 Waterfront Drive      Glen A len   VA   (804) 527-1905
                                        emerging treatments and novel strateg es in the
                                        management of chronic pa n presented at the 2014
                                        Spring Managed Care Forum. The audio from the live
                                        session will be turned nto an enduring webcast. The
                                        program wi l be transcribed and an endur ng article will
                                        be created and publ shed n the Journal of Managed
                                        Care Medicine.
18 238   35000.000   30 903 3/27/2014   Grant request s for one live session on the current and       8/1/2014    8/1/2015      Web                Web Activ ty         Op oid Misuse and Abuse   Pa n   Medical D rector                                           2/18/2014   Nat onal Association of Managed Care Physicians Inc.   Katie   Eads      4435 Waterfront Drive      Glen A len   VA   (804) 527-1905
                                        emerging treatments and novel strateg es in the
                                        management of chronic pa n presented at the 2014
                                        Spring Managed Care Forum. The audio from the live
                                        session will be turned nto an enduring webcast. The
                                        program wi l be transcribed and an endur ng article will
                                        be created and publ shed n the Journal of Managed
                                        Care Medicine
18 238   35000.000   30 903 3/27/2014   Grant request s for one live session on the current and       8/1/2014    8/1/2015      Web                Web Activ ty         Op oid Misuse and Abuse   Pa n   Pain Medicine                                              2/18/2014   Nat onal Association of Managed Care Physicians Inc.   Katie   Eads      4435 Waterfront Drive      Glen A len   VA   (804) 527-1905
                                        emerging treatments and novel strateg es in the
                                        management of chronic pa n presented at the 2014
                                        Spring Managed Care Forum. The audio from the live
                                        session will be turned nto an enduring webcast. The
                                        program wi l be transcribed and an endur ng article will
                                        be created and publ shed n the Journal of Managed
                                        Care Medicine.
18 326   11250.000    5 100 3/27/2014   Patients with advanced llness often require ta lored           /29/2014   3/29/2014     ive                Live                 Breakthrough Pa n         Pa n                      Orlando County Convention Center   FL   3/12/2014   American Pharmacists Association                       Peter   VanPelt   2215 Constitut on Ave NW   Washington   DC   (215) 755-2424
                                        treatment approaches to manage their symptoms.
                                        Around-the-c ock and break-through pain are common
                                        for these patients and appropriate intervent ons to
                                        mainta n quality of l fe are necessary. Specifica ly
                                        educat on is needed on the control of pain ncluding
                                        opioid use dyspnea gastro ntest nal problems and
                                        psychiatric diff culties in pat ents with advanced illness.
                                        These needs were reflected n APhA survey data across
                                        multiple d sease states includ ng cancer congestive
                                        heart ailure Parkinson's disease multiple sclerosis and
                                        respiratory diseases amongst others. Th s session wi l
                                        discuss strategies and approaches to help mainta n
                                        comfort and support overall quality of life for patients
                                        with advanced illness in the form of a didactic live
                                        presentation followed by a question and answer forum.




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18 326   11250.000    5 100 3/27/2014   Patients with advanced llness often require ta lored          /29/2014   3/29/2014     ive   Live        Breakthrough Pa n         Pa n   General                     Orlando County Convention Center                    FL   3/12/2014   American Pharmacists Association           Peter   VanPelt   2215 Constitut on Ave NW           Washington   DC   (215) 755-2424
                                        treatment approaches to manage their symptoms.
                                        Around-the-c ock and break-through pain are common
                                        for these patients and appropriate intervent ons to
                                        mainta n quality of l fe are necessary. Specifica ly
                                        educat on is needed on the control of pain ncluding
                                        opioid use dyspnea gastro ntest nal problems and
                                        psychiatric diff culties in pat ents with advanced illness.
                                        These needs were reflected n APhA survey data across
                                        multiple d sease states includ ng cancer congestive
                                        heart ailure Parkinson's disease multiple sclerosis and
                                        respiratory diseases amongst others. Th s session wi l
                                        discuss strategies and approaches to help mainta n
                                        comfort and support overall quality of life for patients
                                        with advanced illness in the form of a didactic live
                                        presentation followed by a question and answer forum.

18 326   11250.000    5 100 3/27/2014   Patients with advanced llness often require ta lored          /29/2014   3/29/2014     ive   Live        Op oid Misuse and Abuse   Pa n                               Orlando County Convention Center                    FL   3/12/2014   American Pharmacists Association           Peter   VanPelt   2215 Constitut on Ave NW           Washington   DC   (215) 755-2424
                                        treatment approaches to manage their symptoms.
                                        Around-the-c ock and break-through pain are common
                                        for these patients and appropriate intervent ons to
                                        mainta n quality of l fe are necessary. Specifica ly
                                        educat on is needed on the control of pain ncluding
                                        opioid use dyspnea gastro ntest nal problems and
                                        psychiatric diff culties in pat ents with advanced illness.
                                        These needs were reflected n APhA survey data across
                                        multiple d sease states includ ng cancer congestive
                                        heart ailure Parkinson's disease multiple sclerosis and
                                        respiratory diseases amongst others. Th s session wi l
                                        discuss strategies and approaches to help mainta n
                                        comfort and support overall quality of life for patients
                                        with advanced illness in the form of a didactic live
                                        presentation followed by a question and answer forum.

18 326   11250.000    5 100 3/27/2014   Patients with advanced llness often require ta lored          /29/2014   3/29/2014     ive   Live        Op oid Misuse and Abuse   Pa n   General                     Orlando County Convention Center                    FL   3/12/2014   American Pharmacists Assoc ation           Peter   VanPelt   2215 Constitut on Ave NW           Washington   DC   (215) 755-2424
                                        treatment approaches to manage their symptoms.
                                        Around-the-c ock and break-through pain are common
                                        for these patients and appropriate intervent ons to
                                        ma nta n quality of l fe are necessary. Specifica ly
                                        educat on is needed on the control of pain ncluding
                                        opioid use dyspnea gastro ntest nal problems and
                                        psychiatric diff culties in pat ents with advanced illness.
                                        These needs were reflected n APhA survey data across
                                        multiple d sease states includ ng cancer congestive
                                        heart ailure Parkinson's disease multiple sclerosis and
                                        respiratory diseases amongst others. Th s session wi l
                                        discuss strategies and approaches to help mainta n
                                        comfort and support overall quality of life for patients
                                        with advanced illness in the form of a didactic live
                                        presentation followed by a question and answer forum.

18 344    3000.000    3 000 3/27/2014   an educat onal session “Op ate Abuse/Addiction” to be    /5/2014         4/5/2014      ive   Live        Op oid Misuse and Abuse   Pa n   General                     Nemours Chi dren Hospital 1600 Rock and Rd          DE   3/10/2014   De aware Academy of Physician Assistants   H ldy   Lake      111 Continental Drive Su te 201    Newark       DE   (201)280-4533
                                        presented at the De aware Academy of Physician
                                        Assistants Pharmacolog 014 Conference
18 420   10000.000   10 000 3/27/2014   This one-day course is geared towards pr mary care       /5/2014         4/5/2014      ive   Symposium   Breakthrough Pa n         Pa n   General                     Univers ty of Rochester School of Med & Dentistry   NY   2/21/2014   Univers ty of Rochester                    N sha   Johar     Center for Experient al Learning   Rochester    NY   (585) 275-4392
                                        prov ders and specialists who on a daily bas s confront
                                        the challenge of treat ng acute and chron c pa n. This
                                        course explores assessment treatment and
                                        management options to help physicians determine the
                                        right solution for patients w th acute and chronic pain.
                                        Presentations by lead ng internat onal experts from the
                                        clinical arena basic sc ence and journalism will examine
                                        the evidence for new d agnostic tools for chronic pain
                                        the ana ges c benefit for d fferent therapeut c classes
                                        rang ng from oral to ntrathecal agents to
                                        neuromodu ation the neurob ology of pain and
                                        migraine and the ev dence for using these therap es in
                                        clinical practice. The ro e of non-pharmacologic
                                        therapies n the management of pa n wi l also be

18 420   10000.000   10 000 3/27/2014   This one-day course is geared towards pr mary care       /5/2014         4/5/2014      ive   Symposium   Breakthrough Pa n         Pa n   Medical Oncology            Univers ty of Rochester School of Med & Dentistry   NY   2/21/2014   Univers ty of Rochester                    N sha   Johar     Center for Experient al Learning   Rochester    NY   (585) 275-4392
                                        prov ders and specialists who on a daily bas s confront
                                        the challenge of treat ng acute and chron c pa n. This
                                        course explores assessment treatment and
                                        management options to help physicians determine the
                                        right solution for patients w th acute and chronic pain.
                                        Presentations by lead ng internat onal experts from the
                                        clinical arena basic sc ence and journalism will examine
                                        the evidence for new d agnostic tools for chronic pain
                                        the ana ges c benefit for d fferent therapeut c classes
                                        rang ng from oral to ntrathecal agents to
                                        neuromodu ation the neurob ology of pain and
                                        migraine and the ev dence for using these therap es in
                                        clinical practice. The ro e of non-pharmacologic
                                        therapies n the management of pa n wi l also be

18 420   10000.000   10 000 3/27/2014   This one-day course is geared towards pr mary care       /5/2014         4/5/2014      ive   Symposium   Breakthrough Pa n         Pa n   Neurology - Pain Medicine   Univers ty of Rochester School of Med & Dentistry   NY   2/21/2014   Univers ty of Rochester                    N sha   Johar     Center for Experient al Learning   Rochester    NY   (585) 275-4392
                                        prov ders and specialists who on a daily bas s confront
                                        the challenge of treat ng acute and chron c pa n. This
                                        course explores assessment treatment and
                                        management options to help physicians determine the
                                        right solution for patients w th acute and chronic pain.
                                        Presentations by lead ng internat onal experts from the
                                        clinical arena basic sc ence and journalism will examine
                                        the evidence for new d agnostic tools for chronic pain
                                        the ana ges c benefit for d fferent therapeut c classes
                                        rang ng from oral to ntrathecal agents to
                                        neuromodu ation the neurob ology of pain and
                                        migraine and the ev dence for using these therap es in
                                        clinical practice. The ro e of non-pharmacologic
                                        therapies n the management of pa n wi l also be
                                        e amined
18 420   10000.000   10 000 3/27/2014   This one-day course is geared towards pr mary care       /5/2014         4/5/2014      ive   Symposium   Breakthrough Pa n         Pa n   Pain Medicine               Univers ty of Rochester School of Med & Dentistry   NY   2/21/2014   Univers ty of Rochester                    N sha   Johar     Center for Experient al Learning   Rochester    NY   (585) 275-4392
                                        prov ders and specialists who on a daily bas s confront
                                        the challenge of treat ng acute and chron c pa n. This
                                        course explores assessment treatment and
                                        management options to help physicians determine the
                                        right solution for patients w th acute and chronic pain.
                                        Presentations by lead ng internat onal experts from the
                                        clinical arena basic sc ence and journalism will examine
                                        the evidence for new d agnostic tools for chronic pain
                                        the ana ges c benefit for d fferent therapeut c classes
                                        rang ng from oral to ntrathecal agents to
                                        neuromodu ation the neurob ology of pain and
                                        migraine and the ev dence for using these therap es in
                                        clinical practice. The ro e of non-pharmacologic
                                        therapies n the management of pa n wi l also be




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18 420   10000.000   10 000 3/27/2014   This one-day course is geared towards pr mary care       /5/2014   4/5/2014     ive   Symposium   Breakthrough Pa n         Pa n   Pall ative Med c ne         Univers ty of Rochester School of Med & Dentistry   NY   2/21/2014   Univers ty of Rochester   N sha   Johar   Center for Experient al Learning   Rochester   NY   (585) 275-4392
                                        prov ders and specialists who on a daily bas s confront
                                        the challenge of treat ng acute and chron c pa n. This
                                        course explores assessment treatment and
                                        management options to help physicians determine the
                                        right solution for patients w th acute and chronic pain.
                                        Presentations by lead ng internat onal experts from the
                                        clinical arena basic sc ence and journalism will examine
                                        the evidence for new d agnostic tools for chronic pain
                                        the ana ges c benefit for d fferent therapeut c classes
                                        rang ng from oral to ntrathecal agents to
                                        neuromodu ation the neurob ology of pain and
                                        migraine and the ev dence for using these therap es in
                                        clinical practice. The ro e of non-pharmacologic
                                        therapies n the management of pa n wi l also be

18 420   10000.000   10 000 3/27/2014   This one-day course is geared towards pr mary care       /5/2014   4/5/2014     ive   Symposium   Chron c Pa n (General)    Pa n   General                     Univers ty of Rochester School of Med & Dentistry   NY   2/21/2014   Univers ty of Rochester   N sha   Johar   Center for Experient al Learning   Rochester   NY   (585) 275-4392
                                        prov ders and specialists who on a daily bas s confront
                                        the challenge of treat ng acute and chron c pa n. This
                                        course explores assessment treatment and
                                        management options to help physicians determine the
                                        right solution for patients w th acute and chronic pain.
                                        Presentations by lead ng internat onal experts from the
                                        clinical arena basic sc ence and journalism will examine
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                                        rang ng from oral to ntrathecal agents to
                                        neuromodu ation the neurob ology of pain and
                                        migraine and the ev dence for using these therap es in
                                        clinical practice. The ro e of non-pharmacologic
                                        therapies n the management of pa n wi l also be

18 420   10000.000   10 000 3/27/2014   This one-day course is geared towards pr mary care       /5/2014   4/5/2014     ive   Symposium   Chron c Pa n (General)    Pa n   Medical Oncology            Univers ty of Rochester School of Med & Dentistry   NY   2/21/2014   Univers ty of Rochester   N sha   Johar   Center for Experient al Learning   Rochester   NY   (585) 275-4392
                                        prov ders and specialists who on a daily bas s confront
                                        the challenge of treat ng acute and chron c pa n. This
                                        course explores assessment treatment and
                                        management options to help physicians determine the
                                        right solution for patients w th acute and chronic pain.
                                        Presentations by lead ng internat onal experts from the
                                        clinical arena basic sc ence and journalism will examine
                                        the evidence for new d agnostic tools for chronic pain
                                        the ana ges c benefit for d fferent therapeut c classes
                                        rang ng from oral to ntrathecal agents to
                                        neuromodu ation the neurob ology of pain and
                                        migraine and the ev dence for using these therap es in
                                        clinical practice. The ro e of non-pharmacologic
                                        therapies n the management of pa n wi l also be

18 420   10000.000   10 000 3/27/2014   This one-day course is geared towards pr mary care       /5/2014   4/5/2014     ive   Symposium   Chron c Pa n (General)    Pa n   Neurology - Pain Medicine   Univers ty of Rochester School of Med & Dentistry   NY   2/21/2014   Univers ty of Rochester   N sha   Johar   Center for Experient al Learning   Rochester   NY   (585) 275-4392
                                        prov ders and specialists who on a daily bas s confront
                                        the challenge of treat ng acute and chron c pa n. This
                                        course explores assessment treatment and
                                        management options to help physicians determine the
                                        right solution for patients w th acute and chronic pain.
                                        Presentations by lead ng internat onal experts from the
                                        clinical arena basic sc ence and journalism will examine
                                        the evidence for new d agnostic tools for chronic pain
                                        the ana ges c benefit for d fferent therapeut c classes
                                        rang ng from oral to ntrathecal agents to
                                        neuromodu ation the neurob ology of pain and
                                        migraine and the ev dence for using these therap es in
                                        clinical practice. The ro e of non-pharmacologic
                                        therapies n the management of pa n wi l also be

18 420   10000.000   10 000 3/27/2014   This one-day course is geared towards pr mary care       /5/2014   4/5/2014     ive   Symposium   Chron c Pa n (General)    Pa n   Pain Medicine               Univers ty of Rochester School of Med & Dentistry   NY   2/21/2014   Univers ty of Rochester   N sha   Johar   Center for Experient al Learning   Rochester   NY   (585) 275-4392
                                        prov ders and specialists who on a daily bas s confront
                                        the challenge of treat ng acute and chron c pa n. This
                                        course explores assessment treatment and
                                        management options to help physicians determine the
                                        right solution for patients w th acute and chronic pain.
                                        Presentations by lead ng internat onal experts from the
                                        clinical arena basic sc ence and journalism will examine
                                        the evidence for new d agnostic tools for chronic pain
                                        the ana ges c benefit for d fferent therapeut c classes
                                        rang ng from oral to ntrathecal agents to
                                        neuromodu ation the neurob ology of pain and
                                        migraine and the ev dence for using these therap es in
                                        clinical practice. The ro e of non-pharmacologic
                                        therapies n the management of pa n wi l also be

18 420   10000.000   10 000 3/27/2014   This one-day course is geared towards pr mary care       /5/2014   4/5/2014     ive   Symposium   Chron c Pa n (General)    Pa n   Pall ative Med c ne         Univers ty of Rochester School of Med & Dentistry   NY   2/21/2014   Univers ty of Rochester   N sha   Johar   Center for Experient al Learning   Rochester   NY   (585) 275-4392
                                        prov ders and specialists who on a daily bas s confront
                                        the challenge of treat ng acute and chron c pa n. This
                                        course explores assessment treatment and
                                        management options to help physicians determine the
                                        right solution for patients w th acute and chronic pain.
                                        Presentations by lead ng internat onal experts from the
                                        clinical arena basic sc ence and journalism will examine
                                        the evidence for new d agnostic tools for chronic pain
                                        the ana ges c benefit for d fferent therapeut c classes
                                        rang ng from oral to ntrathecal agents to
                                        neuromodu ation the neurob ology of pain and
                                        migraine and the ev dence for using these therap es in
                                        clinical practice. The ro e of non-pharmacologic
                                        therapies n the management of pa n wi l also be
                                        e amined
18 420   10000.000   10 000 3/27/2014   This one-day course is geared towards pr mary care       /5/2014   4/5/2014     ive   Symposium   Op oid Misuse and Abuse   Pa n   General                     Univers ty of Rochester School of Med & Dentistry   NY   2/21/2014   Univers ty of Rochester   N sha   Johar   Center for Experient al Learning   Rochester   NY   (585) 275-4392
                                        prov ders and specialists who on a daily bas s confront
                                        the challenge of treat ng acute and chron c pa n. This
                                        course explores assessment treatment and
                                        management options to help physicians determine the
                                        right solution for patients w th acute and chronic pain.
                                        Presentations by lead ng internat onal experts from the
                                        clinical arena basic sc ence and journalism will examine
                                        the evidence for new d agnostic tools for chronic pain
                                        the ana ges c benefit for d fferent therapeut c classes
                                        rang ng from oral to ntrathecal agents to
                                        neuromodu ation the neurob ology of pain and
                                        migraine and the ev dence for using these therap es in
                                        clinical practice. The ro e of non-pharmacologic
                                        therapies n the management of pa n wi l also be

18 420   10000.000   10 000 3/27/2014   This one-day course is geared towards pr mary care       /5/2014   4/5/2014     ive   Symposium   Op oid Misuse and Abuse   Pa n   Medical Oncology            Univers ty of Rochester School of Med & Dentistry   NY   2/21/2014   Univers ty of Rochester   N sha   Johar   Center for Experient al Learning   Rochester   NY   (585) 275-4392
                                        prov ders and specialists who on a daily bas s confront
                                        the challenge of treat ng acute and chron c pa n. This
                                        course explores assessment treatment and
                                        management options to help physicians determine the
                                        right solution for patients w th acute and chronic pain.
                                        Presentations by lead ng internat onal experts from the
                                        clinical arena basic sc ence and journalism will examine
                                        the evidence for new d agnostic tools for chronic pain
                                        the ana ges c benefit for d fferent therapeut c classes
                                        rang ng from oral to ntrathecal agents to
                                        neuromodu ation the neurob ology of pain and
                                        migraine and the ev dence for using these therap es in
                                        clinical practice. The ro e of non-pharmacologic
                                        therapies n the management of pa n wi l also be




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18 420   10000.000   10 000 3/27/2014   This one-day course is geared towards pr mary care       /5/2014   4/5/2014       ive   Symposium   Op oid Misuse and Abuse   Pa n   Neurology - Pain Medicine   Univers ty of Rochester School of Med & Dentistry   NY   2/21/2014   Univers ty of Rochester                            N sha     Johar     Center for Experient al Learning   Rochester       NY   (585) 275-4392
                                        prov ders and specialists who on a daily bas s confront
                                        the challenge of treat ng acute and chron c pa n. This
                                        course explores assessment treatment and
                                        management options to help physicians determine the
                                        right solution for patients w th acute and chronic pain.
                                        Presentations by lead ng internat onal experts from the
                                        clinical arena basic sc ence and journalism will examine
                                        the evidence for new d agnostic tools for chronic pain
                                        the ana ges c benefit for d fferent therapeut c classes
                                        rang ng from oral to ntrathecal agents to
                                        neuromodu ation the neurob ology of pain and
                                        migraine and the ev dence for using these therap es in
                                        clinical practice. The ro e of non-pharmacologic
                                        therapies n the management of pa n wi l also be

18 420   10000.000   10 000 3/27/2014   This one-day course is geared towards pr mary care       /5/2014   4/5/2014       ive   Symposium   Op oid Misuse and Abuse   Pa n   Pain Medicine               Univers ty of Rochester School of Med & Dentistry   NY   2/21/2014   Univers ty of Rochester                            N sha     Johar     Center for Experient al Learning   Rochester       NY   (585) 275-4392
                                        prov ders and specialists who on a daily bas s confront
                                        the challenge of treat ng acute and chron c pa n. This
                                        course explores assessment treatment and
                                        management options to help physicians determine the
                                        right solution for patients w th acute and chronic pain.
                                        Presentations by lead ng internat onal experts from the
                                        clinical arena basic sc ence and journalism will examine
                                        the evidence for new d agnostic tools for chronic pain
                                        the ana ges c benefit for d fferent therapeut c classes
                                        rang ng from oral to ntrathecal agents to
                                        neuromodu ation the neurob ology of pain and
                                        migraine and the ev dence for using these therap es in
                                        clinical practice. The ro e of non-pharmacologic
                                        therapies n the management of pa n wi l also be

18 420   10000.000   10 000 3/27/2014   This one-day course is geared towards pr mary care       /5/2014   4/5/2014       ive   Symposium   Op oid Misuse and Abuse   Pa n   Pall ative Med c ne         Univers ty of Rochester School of Med & Dentistry   NY   2/21/2014   Univers ty of Rochester                            N sha     Johar     Center for Experient al Learning   Rochester       NY   (585) 275-4392
                                        prov ders and specialists who on a daily bas s confront
                                        the challenge of treat ng acute and chron c pa n. This
                                        course explores assessment treatment and
                                        management options to help physicians determine the
                                        right solution for patients w th acute and chronic pain.
                                        Presentations by lead ng internat onal experts from the
                                        clinical arena basic sc ence and journalism will examine
                                        the evidence for new d agnostic tools for chronic pain
                                        the ana ges c benefit for d fferent therapeut c classes
                                        rang ng from oral to ntrathecal agents to
                                        neuromodu ation the neurob ology of pain and
                                        migraine and the ev dence for using these therap es in
                                        clinical practice. The ro e of non-pharmacologic
                                        therapies n the management of pa n wi l also be

18 472    6000.000    6 000 6/3/2014    The Family Medicine Foundat on of West Virg nia's Drug 1/13/2014   11/16/2014     ive   Live        Chron c Pa n (General)    Pa n   Fam ly Med c ne             Pullman Plaza Hotel                                 WV   6/3/2014    Fam ly Medicine Foundation of West V rginia Inc.   William   Ferrell   650 Main Street                    Barboursvil e   WV   (304) 733-6485
                                        Diversion and Best Practice Prescribing of Controlled
                                        Substances s an award-w nn ng 3-hour workshop
                                        ded cated to opioid misuse and abuse and general
                                        treatment of chronic pain. This spec alized workshop is
                                        held in conjunct on w th the 28th Annual Jose I. R card
                                        MD Fam ly Med c ne & Sports Medicine Conference
                                        wh ch is West Virg nia's largest medical meeting and
                                        hosts more than 550 people each November. Th s
                                        workshop is a 3-hour part of our overall Conference
                                        weekend which has become known or its h gh-quality
                                        practical clin cal med cal education.

18 472    6000.000    6 000 6/3/2014    The Family Medicine Foundat on of West Virg nia's Drug 1/13/2014   11/16/2014     ive   Live        Chron c Pa n (General)    Pa n   General                     Pullman Plaza Hotel                                 WV   6/3/2014    Fam ly Med cine Foundation of West V rginia Inc.   William   Ferrell   650 Main Street                    Barboursvil e   WV   (304) 733-6485
                                        Diversion and Best Practice Prescribing of Controlled
                                        Substances s an award-w nn ng 3-hour workshop
                                        ded cated to opioid misuse and abuse and general
                                        treatment of chronic pain. This spec alized workshop is
                                        held in conjunct on w th the 28th Annual Jose I. R card
                                        MD Fam ly Med c ne & Sports Medicine Conference
                                        wh ch is West Virg nia's largest medical meeting and
                                        hosts more than 550 people each November. Th s
                                        workshop is a 3-hour part of our overall Conference
                                        weekend which has become known or its h gh-quality
                                        practical clin cal med cal education.

18 472    6000.000    6 000 6/3/2014    The Family Medicine Foundat on of West Virg nia's Drug 1/13/2014   11/16/2014     ive   Live        Chron c Pa n (General)    Pa n   Pain Medicine               Pullman Plaza Hotel                                 WV   6/3/2014    Fam ly Medicine Foundation of West V rginia Inc.   William   Ferrell   650 Main Street                    Barboursvil e   WV   (304) 733-6485
                                        Diversion and Best Practice Prescribing of Controlled
                                        Substances s an award-w nn ng 3-hour workshop
                                        ded cated to opioid misuse and abuse and general
                                        treatment of chronic pain. This spec alized workshop is
                                        held in conjunct on w th the 28th Annual Jose I. R card
                                        MD Fam ly Med c ne & Sports Medicine Conference
                                        wh ch is West Virg nia's largest medical meeting and
                                        hosts more than 550 people each November. Th s
                                        workshop is a 3-hour part of our overall Conference
                                        weekend which has become known or its h gh-quality
                                        practical clin cal med cal education.

18 472    6000.000    6 000 6/3/2014    The Family Medicine Foundat on of West Virg nia's Drug 1/13/2014   11/16/2014     ive   Live        Chron c Pa n (General)    Pa n   Pr mary Care                Pullman Plaza Hotel                                 WV   6/3/2014    Fam ly Medicine Foundation of West V rginia Inc.   William   Ferrell   650 Main Street                    Barboursvil e   WV   (304) 733-6485
                                        Diversion and Best Practice Prescribing of Controlled
                                        Substances s an award-w nn ng 3-hour workshop
                                        ded cated to opioid misuse and abuse and general
                                        treatment of chronic pain. This spec alized workshop is
                                        held in conjunct on w th the 28th Annual Jose I. R card
                                        MD Fam ly Med c ne & Sports Medicine Conference
                                        wh ch is West Virg nia's largest medical meeting and
                                        hosts more than 550 people each November. Th s
                                        workshop is a 3-hour part of our overall Conference
                                        weekend which has become known or its h gh-quality
                                        practical clin cal med cal education.

18 472    6000.000    6 000 6/3/2014    The Family Medicine Foundat on of West Virg nia's Drug 1/13/2014   11/16/2014     ive   Live        Op oid Misuse and Abuse   Pa n   Fam ly Med c ne             Pullman Plaza Hotel                                 WV   6/3/2014    Fam ly Medicine Foundation of West V rginia Inc.   William   Ferrell   650 Main Street                    Barboursvil e   WV   (304) 733-6485
                                        Diversion and Best Practice Prescribing of Controlled
                                        Substances s an award-w nn ng 3-hour workshop
                                        ded cated to opioid misuse and abuse and general
                                        treatment of chronic pain. This spec alized workshop is
                                        held in conjunct on w th the 28th Annual Jose I. R card
                                        MD Fam ly Med c ne & Sports Medicine Conference
                                        wh ch is West Virg nia's largest medical meeting and
                                        hosts more than 550 people each November. Th s
                                        workshop is a 3-hour part of our overall Conference
                                        weekend which has become known or its h gh-quality
                                        practical clin cal med cal education.

18 472    6000.000    6 000 6/3/2014    The Family Medicine Foundat on of West Virg nia's Drug 1/13/2014   11/16/2014     ive   Live        Op oid Misuse and Abuse   Pa n   General                     Pullman Plaza Hotel                                 WV   6/3/2014    Fam ly Medicine Foundation of West V rginia Inc.   William   Ferrell   650 Main Street                    Barboursvil e   WV   (304) 733-6485
                                        Diversion and Best Practice Prescribing of Controlled
                                        Substances s an award-w nn ng 3-hour workshop
                                        ded cated to opioid misuse and abuse and general
                                        treatment of chronic pain. This spec alized workshop is
                                        held in conjunct on w th the 28th Annual Jose I. R card
                                        MD Fam ly Med c ne & Sports Medicine Conference
                                        wh ch is West Virg nia's largest medical meeting and
                                        hosts more than 550 people each November. Th s
                                        workshop is a 3-hour part of our overall Conference
                                        weekend which has become known or its h gh-quality
                                        practical clin cal med cal education.




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18 472   6000.000   6 000 6/3/2014    The Family Medicine Foundat on of West Virg nia's Drug 1/13/2014        11/16/2014     ive   Live        Op oid Misuse and Abuse   Pa n   Pain Medicine             Pullman Plaza Hotel                          WV   6/3/2014    Fam ly Medicine Foundation of West V rginia Inc.   William   Ferrell   650 Main Street             Barboursvil e   WV   (304) 733-6485
                                      Diversion and Best Practice Prescribing of Controlled
                                      Substances s an award-w nn ng 3-hour workshop
                                      ded cated to opioid misuse and abuse and general
                                      treatment of chronic pain. This spec alized workshop is
                                      held in conjunct on w th the 28th Annual Jose I. R card
                                      MD Fam ly Med c ne & Sports Medicine Conference
                                      wh ch is West Virg nia's largest medical meeting and
                                      hosts more than 550 people each November. Th s
                                      workshop is a 3-hour part of our overall Conference
                                      weekend which has become known or its h gh-quality
                                      practical clin cal med cal education.

18 472   6000.000   6 000 6/3/2014    The Family Medicine Foundat on of West Virg nia's Drug 1/13/2014        11/16/2014     ive   Live        Op oid Misuse and Abuse   Pa n   Pr mary Care              Pullman Plaza Hotel                          WV   6/3/2014    Fam ly Medicine Foundation of West V rginia Inc.   William   Ferrell   650 Main Street             Barboursvil e   WV   (304) 733-6485
                                      Diversion and Best Practice Prescribing of Controlled
                                      Substances s an award-w nn ng 3-hour workshop
                                      ded cated to opioid misuse and abuse and general
                                      treatment of chronic pain. This spec alized workshop is
                                      held in conjunct on w th the 28th Annual Jose I. R card
                                      MD Fam ly Med c ne & Sports Medicine Conference
                                      wh ch is West Virg nia's largest medical meeting and
                                      hosts more than 550 people each November. Th s
                                      workshop is a 3-hour part of our overall Conference
                                      weekend which has become known or its h gh-quality
                                      practical clin cal med cal education.

18 474   5000.000   5 000 3/27/2014   To meet the needs of the osteopath c phys c ans and          /30/2014   5/3/2014       ive   Symposium   Chron c Pa n (General)    Pa n                             Valley Forge Ho els and Convention Comp ex   PA   3/25/2014   Pennsylvan a Osteopathic Medical Association       Mar o     Lanni     1330 E senhower Bou evard   Harr sburg      PA   (717) 939-9318
                                      all ed health profess onals in Pennsylvania the                                                                                                                                                                                   Foundat on
                                      Pennsylvania Osteopath c Medical Assoc ation
                                      Foundation is sponsoring the 106th Annual Cl nical
                                      Assembly Scient fic Seminar to be he d April 30 – May 3
                                      2014. The purpose of this program is to enhance the
                                      awareness and educational opportun ties for physicians
                                      and allied health profess onals and cover a variety of
                                      subjects that w ll benef t all attendees across all
                                      discipl nes to enr ch their pract ce and prov de valid and
                                      reliable sc ent fic advances for cl nical and optimal
                                      quality care to their patients across the life span.
                                      Attendees participate in live ectures and workshops
                                      emphasizing ev dence-based / case studies w th power
                                      point presentation and audience response with pre and
                                      post question quizzes quest ons / answers and
                                      e al ation rocess
18 474   5000.000   5 000 3/27/2014   To meet the needs of the osteopath c phys c ans and          /30/2014   5/3/2014       ive   Symposium   Chron c Pa n (General)    Pa n   Anesthes ology            Valley Forge Ho els and Convention Comp ex   PA   3/25/2014   Pennsylvan a Osteopathic Medical Association       Mar o     Lanni     1330 E senhower Bou evard   Harr sburg      PA   (717) 939-9318
                                      all ed health profess onals in Pennsylvania the                                                                                                                                                                                   Foundat on
                                      Pennsylvania Osteopath c Medical Assoc ation
                                      Foundation is sponsoring the 106th Annual Cl nical
                                      Assembly Scient fic Seminar to be he d April 30 – May 3
                                      2014. The purpose of this program is to enhance the
                                      awareness and educational opportun ties for physicians
                                      and allied health profess onals and cover a variety of
                                      subjects that w ll benef t all attendees across all
                                      discipl nes to enr ch their pract ce and prov de valid and
                                      reliable sc ent fic advances for cl nical and optimal
                                      quality care to their patients across the life span.
                                      Attendees participate in live ectures and workshops
                                      emphasizing ev dence-based / case studies w th power
                                      point presentation and audience response with pre and
                                      post question quizzes quest ons / answers and

18 474   5000.000   5 000 3/27/2014   To meet the needs of the osteopath c phys c ans and          /30/2014   5/3/2014       ive   Symposium   Chron c Pa n (General)    Pa n   Emergency Med c ne        Valley Forge Ho els and Convention Comp ex   PA   3/25/2014   Pennsylvan a Osteopathic Medical Association       Mar o     Lanni     1330 E senhower Bou evard   Harr sburg      PA   (717) 939-9318
                                      all ed health profess onals in Pennsylvania the                                                                                                                                                                                   Foundat on
                                      Pennsylvania Osteopath c Medical Assoc ation
                                      Foundation is sponsoring the 106th Annual Cl nical
                                      Assembly Scient fic Seminar to be he d April 30 – May 3
                                      2014. The purpose of this program is to enhance the
                                      awareness and educational opportun ties for physicians
                                      and allied health profess onals and cover a variety of
                                      subjects that w ll benef t all attendees across all
                                      discipl nes to enr ch their pract ce and prov de valid and
                                      reliable sc ent fic advances for cl nical and optimal
                                      quality care to their patients across the life span.
                                      Attendees participate in live ectures and workshops
                                      emphasizing ev dence-based / case studies w th power
                                      point presentation and audience response with pre and
                                      post question quizzes quest ons / answers and
                                      e al ation rocess
18 474   5000.000   5 000 3/27/2014   To meet the needs of the osteopath c phys c ans and          /30/2014   5/3/2014       ive   Symposium   Chron c Pa n (General)    Pa n   General                   Valley Forge Ho els and Convention Comp ex   PA   3/25/2014   Pennsylvan a Osteopathic Medical Association       Mar o     Lanni     1330 E senhower Bou evard   Harr sburg      PA   (717) 939-9318
                                      all ed health profess onals in Pennsylvania the                                                                                                                                                                                   Foundat on
                                      Pennsylvania Osteopath c Medical Assoc ation
                                      Foundation is sponsoring the 106th Annual Cl nical
                                      Assembly Scient fic Seminar to be he d April 30 – May 3
                                      2014. The purpose of this program is to enhance the
                                      awareness and educational opportun ties for physicians
                                      and allied health profess onals and cover a variety of
                                      subjects that w ll benef t all attendees across all
                                      discipl nes to enr ch their pract ce and prov de valid and
                                      reliable sc ent fic advances for cl nical and optimal
                                      quality care to their patients across the life span.
                                      Attendees participate in live ectures and workshops
                                      emphasizing ev dence-based / case studies w th power
                                      point presentation and audience response with pre and
                                      post question quizzes quest ons / answers and

18 474   5000.000   5 000 3/27/2014   To meet the needs of the osteopath c phys c ans and          /30/2014   5/3/2014       ive   Symposium   Chron c Pa n (General)    Pa n   Internal Med c ne         Valley Forge Ho els and Convention Comp ex   PA   3/25/2014   Pennsylvan a Osteopathic Medical Association       Mar o     Lanni     1330 E senhower Bou evard   Harr sburg      PA   (717) 939-9318
                                      all ed health profess onals in Pennsylvania the                                                                                                                                                                                   Foundat on
                                      Pennsylvania Osteopath c Medical Assoc ation
                                      Foundation is sponsoring the 106th Annual Cl nical
                                      Assembly Scient fic Seminar to be he d April 30 – May 3
                                      2014. The purpose of this program is to enhance the
                                      awareness and educational opportun ties for physicians
                                      and allied health profess onals and cover a variety of
                                      subjects that w ll benef t all attendees across all
                                      discipl nes to enr ch their pract ce and prov de valid and
                                      reliable sc ent fic advances for cl nical and optimal
                                      quality care to their patients across the life span.
                                      Attendees participate in live ectures and workshops
                                      emphasizing ev dence-based / case studies w th power
                                      point presentation and audience response with pre and
                                      post question quizzes quest ons / answers and
                                      e al ation rocess
18 474   5000.000   5 000 3/27/2014   To meet the needs of the osteopath c phys c ans and          /30/2014   5/3/2014       ive   Symposium   Chron c Pa n (General)    Pa n   Ped atric Endocrinology   Valley Forge Ho els and Convention Comp ex   PA   3/25/2014   Pennsylvan a Osteopathic Medical Association       Mar o     Lanni     1330 E senhower Bou evard   Harr sburg      PA   (717) 939-9318
                                      all ed health profess onals in Pennsylvania the                                                                                                                                                                                   Foundat on
                                      Pennsylvania Osteopath c Medical Assoc ation
                                      Foundation is sponsoring the 106th Annual Cl nical
                                      Assembly Scient fic Seminar to be he d April 30 – May 3
                                      2014. The purpose of this program is to enhance the
                                      awareness and educational opportun ties for physicians
                                      and allied health profess onals and cover a variety of
                                      subjects that w ll benef t all attendees across all
                                      discipl nes to enr ch their pract ce and prov de valid and
                                      reliable sc ent fic advances for cl nical and optimal
                                      quality care to their patients across the life span.
                                      Attendees participate in live ectures and workshops
                                      emphasizing ev dence-based / case studies w th power
                                      point presentation and audience response with pre and
                                      post question quizzes quest ons / answers and




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18 474   5000.000   5 000 3/27/2014   To meet the needs of the osteopath c phys c ans and          /30/2014   5/3/2014     ive   Symposium   Chron c Pa n (General)    Pa n   Pr mary Care         Valley Forge Ho els and Convention Comp ex   PA   3/25/2014   Pennsylvan a Osteopathic Medical Association   Mar o   Lanni   1330 E senhower Bou evard   Harr sburg   PA   (717) 939-9318
                                      all ed health profess onals in Pennsylvania the                                                                                                                                                                            Foundat on
                                      Pennsylvania Osteopath c Medical Assoc ation
                                      Foundation is sponsoring the 106th Annual Clinical
                                      Assembly Scient fic Seminar to be he d April 30 – May 3
                                      2014. The purpose of this program is to enhance the
                                      awareness and educational opportun ties for physicians
                                      and allied health profess onals and cover a variety of
                                      subjects that w ll benefit all attendees across all
                                      discipl nes to enr ch their pract ce and prov de valid and
                                      reliable sc ent fic advances for cl nical and optimal
                                      quality care to their patients across the life span.
                                      Attendees participate in live ectures and workshops
                                      emphasizing ev dence-based / case studies w th power
                                      point presentation and audience response with pre and
                                      post question quizzes quest ons / answers and

18 474   5000.000   5 000 3/27/2014   To meet the needs of the osteopath c phys c ans and          /30/2014   5/3/2014     ive   Symposium   Chron c Pa n (General)    Pa n   Psychiatry           Valley Forge Ho els and Convention Comp ex   PA   3/25/2014   Pennsylvan a Osteopathic Medical Association   Mar o   Lanni   1330 E senhower Bou evard   Harr sburg   PA   (717) 939-9318
                                      all ed health profess onals in Pennsylvania the                                                                                                                                                                            Foundat on
                                      Pennsylvania Osteopath c Medical Assoc ation
                                      Foundation is sponsoring the 106th Annual Cl nical
                                      Assembly Scient fic Seminar to be he d April 30 – May 3
                                      2014. The purpose of this program is to enhance the
                                      awareness and educational opportun ties for physicians
                                      and allied health profess onals and cover a variety of
                                      subjects that w ll benef t all attendees across all
                                      discipl nes to enr ch their pract ce and prov de valid and
                                      reliable sc ent fic advances for cl nical and optimal
                                      quality care to their patients across the life span.
                                      Attendees participate in live ectures and workshops
                                      emphasizing ev dence-based / case studies w th power
                                      point presentation and audience response with pre and
                                      post question quizzes quest ons / answers and

18 474   5000.000   5 000 3/27/2014   To meet the needs of the osteopath c phys c ans and          /30/2014   5/3/2014     ive   Symposium   Chron c Pa n (General)    Pa n   Pulmonology          Valley Forge Ho els and Convention Comp ex   PA   3/25/2014   Pennsylvan a Osteopathic Medical Association   Mar o   Lanni   1330 E senhower Bou evard   Harr sburg   PA   (717) 939-9318
                                      all ed health profess onals in Pennsylvania the                                                                                                                                                                            Foundat on
                                      Pennsylvania Osteopath c Medical Assoc ation
                                      Foundation is sponsoring the 106th Annual Cl nical
                                      Assembly Scient fic Seminar to be he d April 30 – May 3
                                      2014. The purpose of this program is to enhance the
                                      awareness and educational opportun ties for physicians
                                      and allied health profess onals and cover a variety of
                                      subjects that w ll benef t all attendees across all
                                      discipl nes to enr ch their pract ce and prov de valid and
                                      reliable sc ent fic advances for cl nical and optimal
                                      quality care to their patients across the life span.
                                      Attendees participate in live ectures and workshops
                                      emphasizing ev dence-based / case studies w th power
                                      point presentation and audience response with pre and
                                      post question quizzes quest ons / answers and

18 474   5000.000   5 000 3/27/2014   To meet the needs of the osteopath c phys c ans and          /30/2014   5/3/2014     ive   Symposium   Op oid Misuse and Abuse   Pa n                        Valley Forge Ho els and Convention Comp ex   PA   3/25/2014   Pennsylvan a Osteopathic Medical Association   Mar o   Lanni   1330 E senhower Bou evard   Harr sburg   PA   (717) 939-9318
                                      all ed health profess onals in Pennsylvania the                                                                                                                                                                            Foundat on
                                      Pennsylvania Osteopath c Medical Assoc ation
                                      Foundation is sponsoring the 106th Annual Cl nical
                                      Assembly Scient fic Seminar to be he d April 30 – May 3
                                      2014. The purpose of this program is to enhance the
                                      awareness and educational opportun ties for physicians
                                      and allied health profess onals and cover a variety of
                                      subjects that w ll benef t all attendees across all
                                      discipl nes to enr ch their pract ce and prov de valid and
                                      reliable sc ent fic advances for cl nical and optimal
                                      quality care to their patients across the life span.
                                      Attendees participate in live ectures and workshops
                                      emphasizing ev dence-based / case studies w th power
                                      point presentation and audience response with pre and
                                      post question quizzes quest ons / answers and

18 474   5000.000   5 000 3/27/2014   To meet the needs of the osteopath c phys c ans and          /30/2014   5/3/2014     ive   Symposium   Op oid Misuse and Abuse   Pa n   Anesthes ology       Valley Forge Ho els and Convention Comp ex   PA   3/25/2014   Pennsylvan a Osteopathic Medical Association   Mar o   Lanni   1330 E senhower Bou evard   Harr sburg   PA   (717) 939-9318
                                      all ed health profess onals in Pennsylvania the                                                                                                                                                                            Foundat on
                                      Pennsylvania Osteopath c Medical Assoc ation
                                      Foundation is sponsoring the 106th Annual Cl nical
                                      Assembly Scient fic Seminar to be he d April 30 – May 3
                                      2014. The purpose of this program is to enhance the
                                      awareness and educational opportun ties for physicians
                                      and allied health profess onals and cover a variety of
                                      subjects that w ll benef t all attendees across all
                                      discipl nes to enr ch their pract ce and prov de valid and
                                      reliable sc ent fic advances for cl nical and optimal
                                      quality care to their patients across the life span.
                                      Attendees participate in live ectures and workshops
                                      emphasizing ev dence-based / case studies w th power
                                      point presentation and audience response with pre and
                                      post question quizzes quest ons / answers and

18 474   5000.000   5 000 3/27/2014   To meet the needs of the osteopath c phys c ans and          /30/2014   5/3/2014     ive   Symposium   Op oid Misuse and Abuse   Pa n   Emergency Med c ne   Valley Forge Ho els and Convention Comp ex   PA   3/25/2014   Pennsylvan a Osteopathic Medical Association   Mar o   Lanni   1330 E senhower Bou evard   Harr sburg   PA   (717) 939-9318
                                      all ed health profess onals in Pennsylvania the                                                                                                                                                                            Foundat on
                                      Pennsylvania Osteopath c Medical Assoc ation
                                      Foundation is sponsoring the 106th Annual Cl nical
                                      Assembly Scient fic Seminar to be he d April 30 – May 3
                                      2014. The purpose of this program is to enhance the
                                      awareness and educational opportun ties for physicians
                                      and allied health profess onals and cover a variety of
                                      subjects that w ll benef t all attendees across all
                                      discipl nes to enr ch their pract ce and prov de valid and
                                      reliable sc ent fic advances for cl nical and optimal
                                      quality care to their patients across the life span.
                                      Attendees participate in live ectures and workshops
                                      emphasizing ev dence-based / case studies w th power
                                      point presentation and audience response with pre and
                                      post question quizzes quest ons / answers and

18 474   5000.000   5 000 3/27/2014   To meet the needs of the osteopath c phys c ans and          /30/2014   5/3/2014     ive   Symposium   Op oid Misuse and Abuse   Pa n   General              Valley Forge Ho els and Convention Comp ex   PA   3/25/2014   Pennsylvan a Osteopathic Medical Association   Mar o   Lanni   1330 E senhower Bou evard   Harr sburg   PA   (717) 939-9318
                                      all ed health profess onals in Pennsylvania the                                                                                                                                                                            Foundat on
                                      Pennsylvania Osteopath c Medical Assoc ation
                                      Foundation is sponsoring the 106th Annual Cl nical
                                      Assembly Scient fic Seminar to be he d April 30 – May 3
                                      2014. The purpose of this program is to enhance the
                                      awareness and educational opportun ties for physicians
                                      and allied health profess onals and cover a variety of
                                      subjects that w ll benef t all attendees across all
                                      discipl nes to enr ch their pract ce and prov de valid and
                                      reliable sc ent fic advances for cl nical and optimal
                                      quality care to their patients across the life span.
                                      Attendees participate in live ectures and workshops
                                      emphasizing ev dence-based / case studies w th power
                                      point presentation and audience response with pre and
                                      post question quizzes quest ons / answers and




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18 474     5000.000     5 000 3/27/2014   To meet the needs of the osteopath c phys c ans and          /30/2014   5/3/2014      ive   Symposium                Op oid Misuse and Abuse   Pa n   Internal Med c ne         Valley Forge Hotels and Convention Comp ex   PA   3/25/2014   Pennsylvan a Osteopathic Medical Association      Mar o   Lanni     1330 E senhower Bou evard         Harr sburg     PA   (717) 939-9318
                                          all ed health profess onals in Pennsylvania the                                                                                                                                                                                               Foundat on
                                          Pennsylvania Osteopath c Medical Assoc ation
                                          Foundation is sponsoring the 106th Annual Clinical
                                          Assembly Scient fic Seminar to be he d April 30 – May 3
                                          2014. The purpose of this program is to enhance the
                                          awareness and educational opportun ties for physicians
                                          and allied health profess onals and cover a variety of
                                          subjects that w ll benefit all attendees across all
                                          discipl nes to enr ch their pract ce and prov de valid and
                                          reliable sc ent fic advances for cl nical and optimal
                                          quality care to their patients across the life span.
                                          Attendees participate in live ectures and workshops
                                          emphasizing ev dence-based / case studies w th power
                                          point presentation and audience response with pre and
                                          post question quizzes quest ons / answers and

18 474     5000.000     5 000 3/27/2014   To meet the needs of the osteopath c phys c ans and          /30/2014   5/3/2014      ive   Symposium                Op oid Misuse and Abuse   Pa n   Pediatric Endocrinology   Valley Forge Hotels and Convention Comp ex   PA   3/25/2014   Pennsylvan a Osteopathic Medical Association      Mar o   Lanni     1330 E senhower Bou evard         Harr sburg     PA   (717) 939-9318
                                          all ed health profess onals in Pennsylvania the                                                                                                                                                                                               Foundat on
                                          Pennsylvania Osteopath c Medical Assoc ation
                                          Foundation is sponsoring the 106th Annual Cl nical
                                          Assembly Scient fic Seminar to be he d April 30 – May 3
                                          2014. The purpose of this program is to enhance the
                                          awareness and educational opportun ties for physicians
                                          and allied health profess onals and cover a variety of
                                          subjects that w ll benef t all attendees across all
                                          discipl nes to enr ch their pract ce and prov de valid and
                                          reliable sc ent fic advances for cl nical and optimal
                                          quality care to their patients across the life span.
                                          Attendees participate in live ectures and workshops
                                          emphasizing ev dence-based / case studies w th power
                                          point presentation and audience response with pre and
                                          post question quizzes quest ons / answers and

18 474     5000.000     5 000 3/27/2014   To meet the needs of the osteopath c phys c ans and          /30/2014   5/3/2014      ive   Symposium                Op oid Misuse and Abuse   Pa n   Pr mary Care              Valley Forge Ho els and Convention Comp ex   PA   3/25/2014   Pennsylvan a Osteopathic Medical Association      Mar o   Lanni     1330 E senhower Bou evard         Harr sburg     PA   (717) 939-9318
                                          all ed health profess onals in Pennsylvania the                                                                                                                                                                                               Foundat on
                                          Pennsylvania Osteopath c Medical Assoc ation
                                          Foundation is sponsoring the 106th Annual Cl nical
                                          Assembly Scient fic Seminar to be he d April 30 – May 3
                                          2014. The purpose of this program is to enhance the
                                          awareness and educational opportun ties for physicians
                                          and allied health profess onals and cover a variety of
                                          subjects that w ll benef t all attendees across all
                                          discipl nes to enr ch their pract ce and prov de valid and
                                          reliable sc ent fic advances for cl nical and optimal
                                          quality care to their patients across the life span.
                                          Attendees participate in live ectures and workshops
                                          emphasizing ev dence-based / case studies w th power
                                          point presentation and audience response with pre and
                                          post question quizzes quest ons / answers and

18 474     5000.000     5 000 3/27/2014   To meet the needs of the osteopath c phys c ans and          /30/2014   5/3/2014      ive   Symposium                Op oid Misuse and Abuse   Pa n   Psychiatry                Valley Forge Ho els and Convention Comp ex   PA   3/25/2014   Pennsylvan a Osteopathic Medical Association      Mar o   Lanni     1330 E senhower Bou evard         Harr sburg     PA   (717) 939-9318
                                          all ed health profess onals in Pennsylvania the                                                                                                                                                                                               Foundat on
                                          Pennsylvania Osteopath c Medical Assoc ation
                                          Foundation is sponsoring the 106th Annual Cl nical
                                          Assembly Scient fic Seminar to be he d April 30 – May 3
                                          2014. The purpose of this program is to enhance the
                                          awareness and educational opportun ties for physicians
                                          and allied health profess onals and cover a variety of
                                          subjects that w ll benef t all attendees across all
                                          discipl nes to enr ch their pract ce and prov de valid and
                                          reliable sc ent fic advances for cl nical and optimal
                                          quality care to their patients across the life span.
                                          Attendees participate in live ectures and workshops
                                          emphasizing ev dence-based / case studies w th power
                                          point presentation and audience response with pre and
                                          post question quizzes quest ons / answers and

18 474     5000.000     5 000 3/27/2014   To meet the needs of the osteopath c phys c ans and          /30/2014   5/3/2014      ive   Symposium                Op oid Misuse and Abuse   Pa n   Pulmonology               Valley Forge Hotels and Convention Comp ex   PA   3/25/2014   Pennsylvan a Osteopathic Medical Association      Mar o   Lanni     1330 E senhower Bou evard         Harr sburg     PA   (717) 939-9318
                                          all ed health profess onals in Pennsylvania the                                                                                                                                                                                               Foundat on
                                          Pennsylvania Osteopath c Medical Assoc ation
                                          Foundation is sponsoring the 106th Annual Cl nical
                                          Assembly Scient fic Seminar to be he d April 30 – May 3
                                          2014. The purpose of this program is to enhance the
                                          awareness and educational opportun ties for physicians
                                          and allied health profess onals and cover a variety of
                                          subjects that w ll benef t all attendees across all
                                          discipl nes to enr ch their pract ce and prov de valid and
                                          reliable sc ent fic advances for cl nical and optimal
                                          quality care to their patients across the life span.
                                          Attendees participate in live ectures and workshops
                                          emphasizing ev dence-based / case studies w th power
                                          point presentation and audience response with pre and
                                          post question quizzes quest ons / answers and

18 514   211900.000   132 900 4/8/2014    The program w ll nclude the following components: •      6/15/2014      6/14/2015     Web   Webcast/Online Program   Chron c Pa n (General)    Pa n   General                                                                     4/7/2014    E sev er Office of Cont nu ng Medical Education   Sandy   Bres ow   1600 John F Kennedy Blvd. #1800   Philadelphia   PA   (215) 499-3993
                                          Reg stration and basel ne survey • 1st webcast: w th 2
                                          faculty – Importance of PMPs how to use and how to
                                           ntegrate into pract ce sample reports best practices o
                                          .5 AMA PRA Category 1 Credits™ *Control group survey
                                          #1 • 2nd webcast: with 2 faculty – Concepts of
                                          add ct on physical dependence and tolerance us ng
                                          case studies; discont nu ng op oids; refresher on PMPs o
                                          .5 AMA PRA Category 1 Credits™ • Enro led participant
                                          survey #2; enro l • Three Online Newsletters (1 per
                                          month consecutive over 3 months) o 1.5 AMA PRA
                                          Category 1 Credits™ • Control group survey #2 •
                                          Enro led participant survey #3 • Outcomes up to Level 5
                                          wi l be measured • Publ cation of the in tiative and its
                                          outcomes in a re evant Elsevier journal (optional)

18 514   211900.000   132 900 4/8/2014    The program w ll nclude the following components: •      6/15/2014      6/14/2015     Web   Webcast/Online Program   Chron c Pa n (General)    Pa n   Internal Med c ne                                                           4/7/2014    E sev er Office of Cont nu ng Medical Education   Sandy   Bres ow   1600 John F Kennedy Blvd. #1800   Philadelphia   PA   (215) 499-3993
                                          Reg stration and basel ne survey • 1st webcast: w th 2
                                          faculty – Importance of PMPs how to use and how to
                                           ntegrate into pract ce sample reports best practices o
                                          .5 AMA PRA Category 1 Credits™ *Control group survey
                                          #1 • 2nd webcast: with 2 faculty – Concepts of
                                          add ct on physical dependence and tolerance us ng
                                          case studies; discont nu ng op oids; refresher on PMPs o
                                          .5 AMA PRA Category 1 Credits™ • Enro led participant
                                          survey #2; enro l • Three Online Newsletters (1 per
                                          month consecutive over 3 months) o 1.5 AMA PRA
                                          Category 1 Credi s™ • Control group survey #2 •
                                          Enro led participant survey #3 • Outcomes up to Level 5
                                          wi l be measured • Publ cation of the in tiative and its
                                          outcomes in a re evant Elsevier journal (optional)




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18 514   211900.000   132 900 4/8/2014   The program w ll nclude the following components: •      6/15/2014   6/14/2015     Web   Webcast/Online Program   Chron c Pa n (General)    Pa n   Neurology - Pain Medicine   4/7/2014   E sev er Office of Cont nu ng Medical Education   Sandy   Bres ow   1600 John F Kennedy Blvd. #1800   Philadelphia   PA   (215) 499-3993
                                         Reg stration and basel ne survey • 1st webcast: w th 2
                                         faculty – Importance of PMPs how to use and how to
                                          ntegrate into pract ce sample reports best practices o
                                         .5 AMA PRA Category 1 Credits™ *Control group survey
                                         #1 • 2nd webcast: with 2 faculty – Concepts of
                                         add ct on physical dependence and tolerance us ng
                                         case studies; discont nu ng op oids; refresher on PMPs o
                                         .5 AMA PRA Category 1 Credits™ • Enro led participant
                                         survey #2; enro l • Three Online Newsletters (1 per
                                         month consecutive over 3 months) o 1.5 AMA PRA
                                         Category 1 Credits™ • Control group survey #2 •
                                         Enro led participant survey #3 • Outcomes up to Level 5
                                         wi l be measured • Publ cation of the in tiative and its
                                         outcomes in a re evant Elsevier journal (optional)

18 514   211900.000   132 900 4/8/2014   The program w ll nclude the following components: •      6/15/2014   6/14/2015     Web   Webcast/Online Program   Chron c Pa n (General)    Pa n   Pain Medicine               4/7/2014   E sev er Office of Cont nu ng Medical Education   Sandy   Bres ow   1600 John F Kennedy Blvd. #1800   Philadelphia   PA   (215) 499-3993
                                         Reg stration and basel ne survey • 1st webcast: w th 2
                                         faculty – Importance of PMPs how to use and how to
                                          ntegrate into pract ce sample reports best practices o
                                         .5 AMA PRA Category 1 Credits™ *Control group survey
                                         #1 • 2nd webcast: with 2 faculty – Concepts of
                                         add ct on physical dependence and tolerance us ng
                                         case studies; discont nu ng op oids; refresher on PMPs o
                                         .5 AMA PRA Category 1 Credits™ • Enro led participant
                                         survey #2; enro l • Three Online Newsletters (1 per
                                         month consecutive over 3 months) o 1.5 AMA PRA
                                         Category 1 Credits™ • Control group survey #2 •
                                         Enro led participant survey #3 • Outcomes up to Level 5
                                         wi l be measured • Publ cation of the in tiative and its
                                         outcomes in a re evant Elsevier journal (optional)

18 514   211900.000   132 900 4/8/2014   The program w ll nclude the following components: •      6/15/2014   6/14/2015     Web   Webcast/Online Program   Chron c Pa n (General)    Pa n   Pr mary Care                4/7/2014   E sev er Office of Cont nu ng Medical Education   Sandy   Bres ow   1600 John F Kennedy Blvd. #1800   Philadelphia   PA   (215) 499-3993
                                         Reg stration and basel ne survey • 1st webcast: w th 2
                                         faculty – Importance of PMPs how to use and how to
                                          ntegrate into pract ce sample reports best practices o
                                         .5 AMA PRA Category 1 Credits™ *Control group survey
                                         #1 • 2nd webcast: with 2 faculty – Concepts of
                                         add ct on physical dependence and tolerance us ng
                                         case studies; discont nu ng op oids; refresher on PMPs o
                                         .5 AMA PRA Category 1 Credits™ • Enro led participant
                                         survey #2; enro l • Three Online Newsletters (1 per
                                         month consecutive over 3 months) o 1.5 AMA PRA
                                         Category 1 Credi s™ • Control group survey #2 •
                                         Enro led participant survey #3 • Outcomes up to Level 5
                                         wi l be measured • Publ cation of the in tiative and its
                                         outcomes in a re evant Elsevier journal (optional)

18 514   211900.000   132 900 4/8/2014   The program w ll nclude the following components: •      6/15/2014   6/14/2015     Web   Webcast/Online Program   Op oid Misuse and Abuse   Pa n   General                     4/7/2014   E sev er Office of Cont nu ng Medical Education   Sandy   Bres ow   1600 John F Kennedy Blvd. #1800   Philadelphia   PA   (215) 499-3993
                                         Reg stration and basel ne survey • 1st webcast: w th 2
                                         faculty – Importance of PMPs how to use and how to
                                          ntegrate into pract ce sample reports best practices o
                                         .5 AMA PRA Category 1 Credits™ *Control group survey
                                         #1 • 2nd webcast: with 2 faculty – Concepts of
                                         add ct on physical dependence and tolerance us ng
                                         case studies; discont nu ng op oids; refresher on PMPs o
                                         .5 AMA PRA Category 1 Credits™ • Enro led participant
                                         survey #2; enro l • Three Online Newsletters (1 per
                                         month consecutive over 3 months) o 1.5 AMA PRA
                                         Category 1 Credi s™ • Control group survey #2 •
                                         Enro led participant survey #3 • Outcomes up to Level 5
                                         wi l be measured • Publ cation of the in tiative and its
                                         outcomes in a re evant Elsevier journal (optional)

18 514   211900.000   132 900 4/8/2014   The program w ll nclude the following components: •      6/15/2014   6/14/2015     Web   Webcast/Online Program   Op oid Misuse and Abuse   Pa n   Internal Med c ne           4/7/2014   E sev er Office of Cont nu ng Medical Education   Sandy   Bres ow   1600 John F Kennedy Blvd. #1800   Philadelphia   PA   (215) 499-3993
                                         Reg stration and basel ne survey • 1st webcast: w th 2
                                         faculty – Importance of PMPs how to use and how to
                                          ntegrate into pract ce sample reports best practices o
                                         .5 AMA PRA Category 1 Credits™ *Control group survey
                                         #1 • 2nd webcast: with 2 faculty – Concepts of
                                         add ct on physical dependence and tolerance us ng
                                         case studies; discont nu ng op oids; refresher on PMPs o
                                         .5 AMA PRA Category 1 Credits™ • Enro led participant
                                         survey #2; enro l • Three Online Newsletters (1 per
                                         month consecutive over 3 months) o 1.5 AMA PRA
                                         Category 1 Credi s™ • Control group survey #2 •
                                         Enro led participant survey #3 • Outcomes up to Level 5
                                         wi l be measured • Publ cation of the in tiative and its
                                         outcomes in a re evant Elsevier journal (optional)

18 514   211900.000   132 900 4/8/2014   The program w ll nclude the following components: •      6/15/2014   6/14/2015     Web   Webcast/Online Program   Op oid Misuse and Abuse   Pa n   Neurology - Pain Medicine   4/7/2014   E sev er Office of Cont nu ng Medical Education   Sandy   Bres ow   1600 John F Kennedy Blvd. #1800   Philadelphia   PA   (215) 499-3993
                                         Reg stration and basel ne survey • 1st webcast: w th 2
                                         faculty – Importance of PMPs how to use and how to
                                          ntegrate into pract ce sample reports best practices o
                                         .5 AMA PRA Category 1 Credits™ *Control group survey
                                         #1 • 2nd webcast: with 2 faculty – Concepts of
                                         add ct on physical dependence and tolerance us ng
                                         case studies; discont nu ng op oids; refresher on PMPs o
                                         .5 AMA PRA Category 1 Credits™ • Enro led participant
                                         survey #2; enro l • Three Online Newsletters (1 per
                                         month consecutive over 3 months) o 1.5 AMA PRA
                                         Category 1 Credi s™ • Control group survey #2 •
                                         Enro led participant survey #3 • Outcomes up to Level 5
                                         wi l be measured • Publ cation of the in tiative and its
                                         outcomes in a re evant Elsevier journal (optional)

18 514   211900.000   132 900 4/8/2014   The program w ll nclude the following components: •      6/15/2014   6/14/2015     Web   Webcast/Online Program   Op oid Misuse and Abuse   Pa n   Pain Medicine               4/7/2014   E sev er Office of Cont nu ng Medical Education   Sandy   Bres ow   1600 John F Kennedy Blvd. #1800   Philadelphia   PA   (215) 499-3993
                                         Reg stration and basel ne survey • 1st webcast: w th 2
                                         faculty – Importance of PMPs how to use and how to
                                          ntegrate into pract ce sample reports best practices o
                                         .5 AMA PRA Category 1 Credits™ *Control group survey
                                         #1 • 2nd webcast: with 2 faculty – Concepts of
                                         add ct on physical dependence and tolerance us ng
                                         case studies; discont nu ng op oids; refresher on PMPs o
                                         .5 AMA PRA Category 1 Credits™ • Enro led participant
                                         survey #2; enro l • Three Online Newsletters (1 per
                                         month consecutive over 3 months) o 1.5 AMA PRA
                                         Category 1 Credi s™ • Control group survey #2 •
                                         Enro led participant survey #3 • Outcomes up to Level 5
                                         wi l be measured • Publ cation of the in tiative and its
                                         outcomes in a re evant Elsevier journal (optional)

18 514   211900.000   132 900 4/8/2014   The program w ll nclude the following components: •      6/15/2014   6/14/2015     Web   Webcast/Online Program   Op oid Misuse and Abuse   Pa n   Pr mary Care                4/7/2014   E sev er Office of Cont nu ng Medical Education   Sandy   Bres ow   1600 John F Kennedy Blvd. #1800   Philadelphia   PA   (215) 499-3993
                                         Reg stration and basel ne survey • 1st webcast: w th 2
                                         faculty – Importance of PMPs how to use and how to
                                          ntegrate into pract ce sample reports best practices o
                                         .5 AMA PRA Category 1 Credits™ *Control group survey
                                         #1 • 2nd webcast: with 2 faculty – Concepts of
                                         add ct on physical dependence and tolerance us ng
                                         case studies; discont nu ng op oids; refresher on PMPs o
                                         .5 AMA PRA Category 1 Credits™ • Enro led participant
                                         survey #2; enro l • Three Online Newsletters (1 per
                                         month consecutive over 3 months) o 1.5 AMA PRA
                                         Category 1 Credi s™ • Control group survey #2 •
                                         Enro led participant survey #3 • Outcomes up to Level 5
                                         wi l be measured • Publ cation of the in tiative and its
                                         outcomes in a re evant Elsevier journal (optional)




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18 514   211900.000   132 900 4/8/2014   The program w ll nclude the following components: •        1/25/2014   11/24/2015     Web   Webcast/Online Program   Chron c Pa n (General)    Pa n   General                     4/7/2014   E sev er Office of Cont nu ng Medical Education   Sandy   Bres ow   1600 John F Kennedy Blvd. #1800   Philadelphia   PA   (215) 499-3993
                                         Reg stration and basel ne survey • 1st webcast: w th 2
                                         faculty – Importance of PMPs how to use and how to
                                          ntegrate into pract ce sample reports best practices o
                                         .5 AMA PRA Category 1 Credits™ *Control group survey
                                         #1 • 2nd webcast: with 2 faculty – Concepts of
                                         add ct on physical dependence and tolerance us ng
                                         case studies; discont nu ng op oids; refresher on PMPs o
                                         .5 AMA PRA Category 1 Credits™ • Enro led participant
                                         survey #2; enro l • Three Online Newsletters (1 per
                                         month consecutive over 3 months) o 1.5 AMA PRA
                                         Category 1 Credits™ • Control group survey #2 •
                                         Enro led participant survey #3 • Outcomes up to Level 5
                                         wi l be measured • Publ cation of the in tiative and its
                                         outcomes in a re evant Elsevier journal (optional)

18 514   211900.000   132 900 4/8/2014   The program w ll nclude the following components: •        1/25/2014   11/24/2015     Web   Webcast/Online Program   Chron c Pa n (General)    Pa n   Internal Med c ne           4/7/2014   E sev er Office of Cont nu ng Medical Education   Sandy   Bres ow   1600 John F Kennedy Blvd. #1800   Philadelphia   PA   (215) 499-3993
                                         Reg stration and basel ne survey • 1st webcast: w th 2
                                         faculty – Importance of PMPs how to use and how to
                                          ntegrate into pract ce sample reports best practices o
                                         .5 AMA PRA Category 1 Credits™ *Control group survey
                                         #1 • 2nd webcast: with 2 faculty – Concepts of
                                         add ct on physical dependence and tolerance us ng
                                         case studies; discont nu ng op oids; refresher on PMPs o
                                         .5 AMA PRA Category 1 Credits™ • Enro led participant
                                         survey #2; enro l • Three Online Newsletters (1 per
                                         month consecutive over 3 months) o 1.5 AMA PRA
                                         Category 1 Credits™ • Control group survey #2 •
                                         Enro led participant survey #3 • Outcomes up to Level 5
                                         wi l be measured • Publ cation of the in tiative and its
                                         outcomes in a re evant Elsevier journal (optional)

18 514   211900.000   132 900 4/8/2014   The program w ll nclude the following components: •        1/25/2014   11/24/2015     Web   Webcast/Online Program   Chron c Pa n (General)    Pa n   Neuro ogy - Pain Medicine   4/7/2014   E sev er Office of Cont nu ng Medical Education   Sandy   Bres ow   1600 John F Kennedy Blvd. #1800   Philadelphia   PA   (215) 499-3993
                                         Reg stration and basel ne survey • 1st webcast: w th 2
                                         faculty – Importance of PMPs how to use and how to
                                          ntegrate into pract ce sample reports best practices o
                                         .5 AMA PRA Category 1 Credits™ *Control group survey
                                         #1 • 2nd webcast: with 2 faculty – Concepts of
                                         add ct on physical dependence and tolerance us ng
                                         case studies; discont nu ng op oids; refresher on PMPs o
                                         .5 AMA PRA Category 1 Credits™ • Enro led participant
                                         survey #2; enro l • Three Online Newsletters (1 per
                                         month consecutive over 3 months) o 1.5 AMA PRA
                                         Category 1 Credi s™ • Control group survey #2 •
                                         Enro led participant survey #3 • Outcomes up to Level 5
                                         wi l be measured • Publ cation of the in tiative and its
                                         outcomes in a re evant Elsevier journal (optional)

18 514   211900.000   132 900 4/8/2014   The program w ll nclude the following components: •        1/25/2014   11/24/2015     Web   Webcast/Online Program   Chron c Pa n (General)    Pa n   Pain Medicine               4/7/2014   E sev er Office of Cont nu ng Medical Education   Sandy   Bres ow   1600 John F Kennedy Blvd. #1800   Philadelphia   PA   (215) 499-3993
                                         Reg stration and basel ne survey • 1st webcast: w th 2
                                         faculty – Importance of PMPs how to use and how to
                                          ntegrate into pract ce sample reports best practices o
                                         .5 AMA PRA Category 1 Credits™ *Control group survey
                                         #1 • 2nd webcast: with 2 faculty – Concepts of
                                         add ct on physical dependence and tolerance us ng
                                         case studies; discont nu ng op oids; refresher on PMPs o
                                         .5 AMA PRA Category 1 Credits™ • Enro led participant
                                         survey #2; enro l • Three Online Newsletters (1 per
                                         month consecutive over 3 months) o 1.5 AMA PRA
                                         Category 1 Credi s™ • Control group survey #2 •
                                         Enro led participant survey #3 • Outcomes up to Level 5
                                         wi l be measured • Publ cation of the in tiative and its
                                         outcomes in a re evant Elsevier journal (optional)

18 514   211900.000   132 900 4/8/2014   The program w ll nclude the following components: •        1/25/2014   11/24/2015     Web   Webcast/Online Program   Chron c Pa n (General)    Pa n   Pr mary Care                4/7/2014   E sev er Office of Cont nu ng Medical Education   Sandy   Bres ow   1600 John F Kennedy Blvd. #1800   Philadelphia   PA   (215) 499-3993
                                         Reg stration and basel ne survey • 1st webcast: w th 2
                                         faculty – Importance of PMPs how to use and how to
                                          ntegrate into pract ce sample reports best practices o
                                         .5 AMA PRA Category 1 Credits™ *Control group survey
                                         #1 • 2nd webcast: with 2 faculty – Concepts of
                                         add ct on physical dependence and tolerance us ng
                                         case studies; discont nu ng op oids; refresher on PMPs o
                                         .5 AMA PRA Category 1 Credits™ • Enro led participant
                                         survey #2; enro l • Three Online Newsletters (1 per
                                         month consecutive over 3 months) o 1.5 AMA PRA
                                         Category 1 Credi s™ • Control group survey #2 •
                                         Enro led participant survey #3 • Outcomes up to Level 5
                                         wi l be measured • Publ cation of the in tiative and its
                                         outcomes in a re evant Elsevier journal (optional)

18 514   211900.000   132 900 4/8/2014   The program w ll nclude the following components: •        1/25/2014   11/24/2015     Web   Webcast/Online Program   Op oid Misuse and Abuse   Pa n   General                     4/7/2014   E sev er Office of Cont nu ng Medical Education   Sandy   Bres ow   1600 John F Kennedy Blvd. #1800   Philadelphia   PA   (215) 499-3993
                                         Reg stration and basel ne survey • 1st webcast: w th 2
                                         faculty – Importance of PMPs how to use and how to
                                          ntegrate into pract ce sample reports best practices o
                                         .5 AMA PRA Category 1 Credits™ *Control group survey
                                         #1 • 2nd webcast: with 2 faculty – Concepts of
                                         add ct on physical dependence and tolerance us ng
                                         case studies; discont nu ng op oids; refresher on PMPs o
                                         .5 AMA PRA Category 1 Credits™ • Enro led participant
                                         survey #2; enro l • Three Online Newsletters (1 per
                                         month consecutive over 3 months) o 1.5 AMA PRA
                                         Category 1 Credi s™ • Control group survey #2 •
                                         Enro led participant survey #3 • Outcomes up to Level 5
                                         wi l be measured • Publ cation of the in tiative and its
                                         outcomes in a re evant Elsevier journal (optiona )

18 514   211900.000   132 900 4/8/2014   The program w ll nclude the following components: •        1/25/2014   11/24/2015     Web   Webcast/Online Program   Op oid Misuse and Abuse   Pa n   Internal Med c ne           4/7/2014   E sev er Office of Cont nu ng Medical Education   Sandy   Bres ow   1600 John F Kennedy Blvd. #1800   Philadelphia   PA   (215) 499-3993
                                         Reg stration and basel ne survey • 1st webcast: w th 2
                                         faculty – Importance of PMPs how to use and how to
                                          ntegrate into pract ce sample reports best practices o
                                         .5 AMA PRA Category 1 Credits™ *Control group survey
                                         #1 • 2nd webcast: with 2 faculty – Concepts of
                                         add ct on physical dependence and tolerance us ng
                                         case studies; discont nu ng op oids; refresher on PMPs o
                                         .5 AMA PRA Category 1 Credits™ • Enro led participant
                                         survey #2; enro l • Three Online Newsletters (1 per
                                         month consecutive over 3 months) o 1.5 AMA PRA
                                         Category 1 Credi s™ • Control group survey #2 •
                                         Enro led participant survey #3 • Outcomes up to Level 5
                                         wi l be measured • Publication of the in tiative and its
                                         outcomes in a re evant Elsevier journal (optiona )

18 514   211900.000   132 900 4/8/2014   The program w ll nclude the following components: •        1/25/2014   11/24/2015     Web   Webcast/Online Program   Op oid Misuse and Abuse   Pa n   Neuro ogy - Pain Medicine   4/7/2014   E sev er Office of Cont nu ng Medical Education   Sandy   Bres ow   1600 John F Kennedy Blvd. #1800   Philadelphia   PA   (215) 499-3993
                                         Reg stration and basel ne survey • 1st webcast: w th 2
                                         faculty – Importance of PMPs how to use and how to
                                          ntegrate into pract ce sample reports best practices o
                                         .5 AMA PRA Category 1 Credits™ *Control group survey
                                         #1 • 2nd webcast: with 2 faculty – Concep s of
                                         add ct on physical dependence and tolerance us ng
                                         case studies; discont nu ng op oids; refresher on PMPs o
                                         .5 AMA PRA Category 1 Credits™ • Enro led participant
                                         survey #2; enro l • Three Online Newsletters (1 per
                                         month consecutive over 3 months) o 1.5 AMA PRA
                                         Category 1 Credi s™ • Control group survey #2 •
                                         Enro led participant survey #3 • Outcomes up to Level 5
                                         wi l be measured • Publication of the in tiative and its
                                         outcomes in a re evant Elsevier journal (optiona )




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18 514   211900.000   132 900 4/8/2014    The program w ll nclude the following components: •        1/25/2014    11/24/2015     Web   Webcast/Online Program            Op oid Misuse and Abuse   Pa n   Pain Medicine                                     4/7/2014   E sev er Office of Cont nu ng Medical Education   Sandy   Bres ow   1600 John F Kennedy Blvd. #1800   Philadelphia   PA   (215) 499-3993
                                          Reg stration and basel ne survey • 1st webcast: w th 2
                                          faculty – Importance of PMPs how to use and how to
                                           ntegrate into pract ce sample reports best practices o
                                          .5 AMA PRA Category 1 Credits™ *Control group survey
                                          #1 • 2nd webcast: with 2 faculty – Concepts of
                                          add ct on physical dependence and tolerance us ng
                                          case studies; discont nu ng op oids; refresher on PMPs o
                                          .5 AMA PRA Category 1 Credits™ • Enro led participant
                                          survey #2; enro l • Three Online Newsletters (1 per
                                          month consecutive over 3 months) o 1.5 AMA PRA
                                          Category 1 Credits™ • Control group survey #2 •
                                          Enro led participant survey #3 • Outcomes up to Level 5
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                                          outcomes in a re evant Elsevier journal (optional)

18 514   211900.000   132 900 4/8/2014    The program w ll nclude the following components: •        1/25/2014    11/24/2015     Web   Webcast/Online Program            Op oid Misuse and Abuse   Pa n   Pr mary Care                                      4/7/2014   E sev er Office of Cont nu ng Medical Education   Sandy   Bres ow   1600 John F Kennedy Blvd. #1800   Philadelphia   PA   (215) 499-3993
                                          Reg stration and basel ne survey • 1st webcast: w th 2
                                          faculty – Importance of PMPs how to use and how to
                                           ntegrate into pract ce sample reports best practices o
                                          .5 AMA PRA Category 1 Credits™ *Control group survey
                                          #1 • 2nd webcast: with 2 faculty – Concepts of
                                          add ct on physical dependence and tolerance us ng
                                          case studies; discont nu ng op oids; refresher on PMPs o
                                          .5 AMA PRA Category 1 Credits™ • Enro led participant
                                          survey #2; enro l • Three Online Newsletters (1 per
                                          month consecutive over 3 months) o 1.5 AMA PRA
                                          Category 1 Credits™ • Control group survey #2 •
                                          Enro led participant survey #3 • Outcomes up to Level 5
                                          wi l be measured • Publ cation of the in tiative and its
                                          outcomes in a re evant Elsevier journal (optional)

18 518     7500.000     7 500 5/6/2014    The 23rd annual PRN course wi l be an educational           8/26/2014   8/28/2014      ive   Live                              Breakthrough Pa n         Pa n   Pain Medicine     Hotel                      CA   5/6/2014   City of Hope Nat onal Medical Center              Jo      Hanson    City of Hope Nurse Res Ed Dept    Duarte         CA   (626) 256-4673
                                          conference with multidiscipl nary speakers. Course
                                          objectives wi l be met through d dact c and interactive
                                           ectures and breakout sessions over three days.
                                          Participants wi l receive a l course in ormation in printed
                                          form n an accompanied b nder as we l as var ous text
                                          books including Pain Assessment and Pharmacolog c
                                          Management wr tten by Chirs Pasero the featured
                                          speaker for days one and two.Pain s a significant
                                          prob em in management of acute chronic mal gnant
                                          and non-malignant conditions. The pr mary objective of
                                          this course s to educate nurses n pain management
                                          and prepare nurses or institutions o develop the ro e of
                                          the Pain Reso rce N rse
18 518     7500.000     7 500 5/6/2014    The 23rd annual PRN course wi l be an educational           8/26/2014   8/28/2014      ive   Live                              Chron c Pa n (General)    Pa n   Pain Medicine     Hotel                      CA   5/6/2014   City of Hope Nat onal Medical Center              Jo      Hanson    City of Hope Nurse Res Ed Dept    Duarte         CA   (626) 256-4673
                                          conference with multidiscipl nary speakers. Course
                                          objectives wi l be met through d dact c and interactive
                                           ectures and breakout sessions over three days.
                                          Participants wi l receive a l course in ormation in printed
                                          form n an accompanied b nder as we l as var ous text
                                          books including Pain Assessment and Pharmacolog c
                                          Management wr tten by Chirs Pasero the featured
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                                          prob em in management of acute chronic mal gnant
                                          and non-malignant conditions. The pr mary objective of
                                          this course s to educate nurses n pain management
                                          and prepare nurses or institutions o develop the ro e of

18 518     7500.000     7 500 5/6/2014    The 23rd annual PRN course wi l be an educational           8/26/2014   8/28/2014      ive   Live                              Op oid Misuse and Abuse   Pa n   Pain Medicine     Hotel                      CA   5/6/2014   City of Hope Nat onal Medical Center              Jo      Hanson    City of Hope Nurse Res Ed Dept    Duarte         CA   (626) 256-4673
                                          conference with multidiscipl nary speakers. Course
                                          objectives wi l be met through d dact c and interactive
                                           ectures and breakout sessions over three days.
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                                          Management wr tten by Chirs Pasero the featured
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                                          prob em in management of acute chronic mal gnant
                                          and non-malignant conditions. The pr mary objective of
                                          this course s to educate nurses n pain management
                                          and prepare nurses or institutions o develop the ro e of

18 730    10000.000    10 000 9/18/2014   2.5-day program attracting registrants from around the 9/18/2014        9/20/2014      ive   Professional Education Programs   Chron c Pa n (General)    Pa n   Onco ogy          Green Val ey Ranch Hotel   NV   6/9/2014   Cleveland Clinic Educational Foundat on           Lori    Taylor    9500 Euclid Avenue KK31           Cleveland      OH   (216) 448-0792
                                          wor d the symposium brings together leaders in cl nical
                                          practice to explore potential solutions on improving the
                                          quality of care of pat ents with chron c llnesses through
                                          palliative and supportive onco ogy therapies. This annua
                                          symposium focuses on prov ding an intensive
                                          mult disciplinary rev ew of cutting-edge top cs in the
                                          rapidly deve oping field of pall ative medicine and
                                          supportive oncology. This year there will be a spec al
                                          focus on determining appropriate dement a patients for
                                          hospice care. Add tionally the symposium will examine
                                          opioid addiction in the cancer patient with concurrent
                                          chronic non-mal gnant pain and earning to ncorporate
                                           ess commonly used opioids into cl nical pract ce.
                                          Afternoon sessions/workshops of er two parallel tracks;
                                          one which focuses on supportive oncology and the other
                                          prov des workshops in key palliative med
18 730    10000.000    10 000 9/18/2014   2.5-day program attracting registrants from around the 9/18/2014        9/20/2014      ive   Professional Education Programs   Chron c Pa n (General)    Pa n   Pain Medicine     Green Val ey Ranch Hotel   NV   6/9/2014   Cleveland Clinic Educational Foundat on           Lori    Taylor    9500 Euclid Avenue KK31           Cleveland      OH   (216) 448-0792
                                          wor d the symposium brings together leaders in cl nical
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                                          rapidly deve oping field of pall ative medicine and
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                                          prov des workshops in key palliative med
18 730    10000.000    10 000 9/18/2014   2.5-day program attracting registrants from around the 9/18/2014        9/20/2014      ive   Professional Education Programs   Chron c Pa n (General)    Pa n   Pall ative Care   Green Val ey Ranch Hotel   NV   6/9/2014   Cleveland Clinic Educational Foundat on           Lori    Taylor    9500 Euclid Avenue KK31           Cleveland      OH   (216) 448-0792
                                          wor d the symposium brings together leaders in cl nical
                                          practice to explore potential solutions on improving the
                                          quality of care of pat ents with chron c llnesses through
                                          palliative and supportive onco ogy therapies. This annua
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                                          mult disciplinary rev ew of cutting-edge top cs in the
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18 730   10000.000   10 000 9/18/2014   2.5-day program attracting registrants from around the 9/18/2014   9/20/2014     ive   Professional Education Programs   Chron c Pa n (General)    Pa n   Pall ative Med c ne   Green Val ey Ranch Hotel   NV   6/9/2014   Cleveland Clinic Educational Foundat on   Lori   Taylor   9500 Euclid Avenue KK31   Cleveland   OH   (216) 448-0792
                                        wor d the symposium brings together leaders in cl nical
                                        practice to explore potential solutions on improving the
                                        quality of care of pat ents with chron c llnesses through
                                        palliative and supportive onco ogy therapies. This annua
                                        symposium focuses on prov ding an intensive
                                        mult disciplinary rev ew of cutting-edge top cs in the
                                        rapidly deve oping field of pall ative medicine and
                                        supportive oncology. This year there will be a spec al
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                                         ess commonly used opioids into cl nical pract ce.
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                                        one which focuses on supportive oncology and the other
                                        prov des workshops in key palliative med

18 730   10000.000   10 000 9/18/2014   2.5-day program attracting registrants from around the 9/18/2014   9/20/2014     ive   Professional Education Programs   Chron c Pa n (General)    Pa n   Soc al Worker         Green Val ey Ranch Hotel   NV   6/9/2014   Cleveland Clinic Educational Foundat on   Lori   Taylor   9500 Euclid Avenue KK31   Cleveland   OH   (216) 448-0792
                                        wor d the symposium brings together leaders in cl nical
                                        practice to explore potential solutions on improving the
                                        quality of care of pat ents with chron c llnesses through
                                        palliative and supportive onco ogy therapies. This annua
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                                         ess commonly used opioids into cl nical pract ce.
                                        Afternoon sessions/workshops of er two parallel tracks;
                                        one which focuses on supportive oncology and the other
                                        prov des workshops in key palliative med
18 730   10000.000   10 000 9/18/2014   2.5-day program attracting registrants from around the 9/18/2014   9/20/2014     ive   Professional Education Programs   Op oid Misuse and Abuse   Pa n   Onco ogy              Green Val ey Ranch Hotel   NV   6/9/2014   Cleveland Clinic Educational Foundat on   Lori   Taylor   9500 Euclid Avenue KK31   Cleveland   OH   (216) 448-0792
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                                        palliative and supportive onco ogy therapies. This annua
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                                         ess commonly used opioids into cl nical pract ce.
                                        Afternoon sessions/workshops of er two parallel tracks;
                                        one which focuses on supportive oncology and the other
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18 730   10000.000   10 000 9/18/2014   2.5-day program attracting registrants from around the 9/18/2014   9/20/2014     ive   Professional Education Programs   Op oid Misuse and Abuse   Pa n   Pain Medicine         Green Val ey Ranch Hotel   NV   6/9/2014   Cleveland Clinic Educational Foundat on   Lori   Taylor   9500 Euclid Avenue KK31   Cleveland   OH   (216) 448-0792
                                        wor d the symposium brings together leaders in cl nical
                                        practice to explore potential solutions on improving the
                                        quality of care of pat ents with chron c llnesses through
                                        palliative and supportive onco ogy therapies. This annua
                                        symposium focuses on prov ding an intensive
                                        mult disciplinary rev ew of cutting-edge top cs in the
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                                        one which focuses on supportive oncology and the other
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18 730   10000.000   10 000 9/18/2014   2.5-day program attracting registrants from around the 9/18/2014   9/20/2014     ive   Professional Education Programs   Op oid Misuse and Abuse   Pa n   Pall ative Care       Green Val ey Ranch Hotel   NV   6/9/2014   Cleveland Clinic Educational Foundat on   Lori   Taylor   9500 Euclid Avenue KK31   Cleveland   OH   (216) 448-0792
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                                        quality of care of pat ents with chron c llnesses through
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                                        one which focuses on supportive oncology and the other
                                        prov des workshops in key palliative med
18 730   10000.000   10 000 9/18/2014   2.5-day program attracting registrants from around the 9/18/2014   9/20/2014     ive   Professional Education Programs   Op oid Misuse and Abuse   Pa n   Pall ative Med c ne   Green Val ey Ranch Hotel   NV   6/9/2014   Cleveland Clinic Educational Foundat on   Lori   Taylor   9500 Euclid Avenue KK31   Cleveland   OH   (216) 448-0792
                                        wor d the symposium brings together leaders in cl nical
                                        practice to explore potential solutions on improving the
                                        quality of care of pat ents with chron c llnesses through
                                        palliative and supportive onco ogy therapies. This annua
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18 730   10000.000   10 000 9/18/2014   2.5-day program attracting registrants from around the 9/18/2014   9/20/2014     ive   Professional Education Programs   Op oid Misuse and Abuse   Pa n   Soc al Worker         Green Val ey Ranch Hotel   NV   6/9/2014   Cleveland Clinic Educational Foundat on   Lori   Taylor   9500 Euclid Avenue KK31   Cleveland   OH   (216) 448-0792
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                                        quality of care of pat ents with chron c llnesses through
                                        palliative and supportive onco ogy therapies. This annua
                                        symposium focuses on prov ding an intensive
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18 732   41407.000   41 407 5/20/2014   Pharmacy Times Office of Continuing Professional                                      nduring Material   Enduring Mater al     Chron c Pain (General)    Pa n   General                                        5/19/2014   Pharmacy Times Office of Continuing Education LLC      Dave     Heckard   666 Plainsboro Road   P ainsboro   NJ   (609) 378-3709
                                        Educat on is proposing a series of accred ted activ ties
                                        on “Pharmacist s Ro e n Op oid Analgesia: Support ng
                                        the Pain Patient Wh le Preventing Abuse.” Educat onal
                                        activities include a 12-16 page in-book print activ ty and
                                        onl ne enduring PDF as well as two online cases. The n-
                                        book activity will be accred ted or 2 credits and each
                                        onl ne case will be a unique 1 cred t activity. There are a
                                        total of four CE credits available for comp eting all
                                        acti i ies
18 732   41407.000   41 407 5/20/2014   Pharmacy Times Office of Continuing Professional                                      nduring Material   Enduring Mater al     Op oid Misuse and Abuse   Pa n   General                                        5/19/2014   Pharmacy Times Office of Continuing Education LLC      Dave     Heckard   666 Plainsboro Road   P ainsboro   NJ   (609) 378-3709
                                        Educat on is proposing a series of accred ted activ ties
                                        on “Pharmacist s Ro e n Op oid Analgesia: Support ng
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                                        total of four CE credits available for comp eting all
                                        acti i ies
18 732   41407.000   41 407 5/20/2014   Pharmacy Times Office of Continuing Professional            8/20/2014   8/20/2016     Web                Web Activ ty          Chron c Pa n (General)    Pa n   General                                        5/19/2014   Pharmacy Times Office of Continuing Education LLC      Dave     Heckard   666 Plainsboro Road   P ainsboro   NJ   (609) 378-3709
                                        Educat on is proposing a series of accred ted activ ties
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                                        the Pain Patient Wh le Preventing Abuse.” Educat onal
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                                        total of four CE credits available for comp eting all
                                        acti i ies
18 732   41407.000   41 407 5/20/2014   Pharmacy Times Office of Continuing Professional            8/20/2014   8/20/2016     Web                Web Activ ty          Op oid Misuse and Abuse   Pa n   General                                        5/19/2014   Pharmacy Times Office of Continuing Education LLC      Dave     Heckard   666 Plainsboro Road   P ainsboro   NJ   (609) 378-3709
                                        Educat on is proposing a series of accred ted activ ties
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                                        onl ne case will be a unique 1 cred t activity. There are a
                                        total of four CE credits available for comp eting all

18 732   41407.000   41 407 5/20/2014   Pharmacy Times Office of Continuing Professional            8/20/2014   8/20/2016     Web                Web Posting/Archive   Chron c Pa n (General)    Pa n   General                                        5/19/2014   Pharmacy Times Office of Continuing Education LLC      Dave     Heckard   666 Plainsboro Road   P ainsboro   NJ   (609) 378-3709
                                        Educat on is proposing a series of accred ted activ ties
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                                        onl ne enduring PDF as well as two online cases. The n-
                                        book activity will be accred ted or 2 credits and each
                                        onl ne case will be a unique 1 cred t activity. There are a
                                        total of four CE credits available for comp eting all
                                        acti i ies
18 732   41407.000   41 407 5/20/2014   Pharmacy Times Office of Continuing Professional            8/20/2014   8/20/2016     Web                Web Posting/Archive   Op oid Misuse and Abuse   Pa n   General                                        5/19/2014   Pharmacy Times Office of Continuing Education LLC      Dave     Heckard   666 Plainsboro Road   P ainsboro   NJ   (609) 378-3709
                                        Educat on is proposing a series of accred ted activ ties
                                        on “Pharmacist s Ro e n Op oid Analgesia: Support ng
                                        the Pain Patient Wh le Preventing Abuse.” Educat onal
                                        activities include a 12-16 page in-book print activ ty and
                                        onl ne enduring PDF as well as two online cases. The n-
                                        book activity will be accred ted or 2 credits and each
                                        onl ne case will be a unique 1 cred t activity. There are a
                                        total of four CE credits available for comp eting all
                                        acti i ies
18 826    1500.000    1 500 5/13/2014   Learners participate in pre and post test ng which a lows /13/2014      5/17/2014     ive                Live                  Chron c Pa n (General)    Pa n   General        Sheraton Midwest City OK   OK   5/12/2014   State of Ok ahoma Board of Regents of the University   Margie   Mil er    800 NE 15th           OKC          OK   (405) 271-2350
                                        for self-assessment of their sk lls. Each learn ng                                                                                                                                                                         of Oklahoma Hea th Sc ences Center
                                        experience has been designed to include case
                                        presentations with po ling by way of an aud ence
                                        response system to determine content and learner
                                        needs. The learn ng concepts are tested at the end of
                                        the educat onal period to determine how successful the
                                        teaching concepts were conveyed. If needed concepts
                                        wi l be re-addressed. Time is also a lotted or additional
                                        questions and answers from the learners. Evaluation
                                        and ol ow-up surveys are created to ident fy proposed
                                        changes in practice and performance n pract ce.
                                        Workshops are a so ava lable for more in-depth learn ng
                                         n selected areas. The past success of this format has
                                        created an excit ng opportunity for community
                                        physicians and other health profess onals to participate
                                         n e ther educational sess ons and/or workshops
                                        designed specif cally for the primary care prov ders.
18 826    1500.000    1 500 5/13/2014   Learners participate in pre and post test ng which a lows   /13/2014    5/17/2014     ive                Live                  Chron c Pa n (General)    Pa n   Pr mary Care   Sheraton Midwest City OK   OK   5/12/2014   State of Ok ahoma Board of Regents of the University   Margie   Mil er    800 NE 15th           OKC          OK   (405) 271-2350
                                        for self-assessment of their sk lls. Each learn ng                                                                                                                                                                         of Oklahoma Hea th Sc ences Center
                                        experience has been designed to include case
                                        presentations with po ling by way of an aud ence
                                        response system to determine content and learner
                                        needs. The learn ng concepts are tested at the end of
                                        the educat onal period to determine how successful the
                                        teaching concepts were conveyed. If needed concepts
                                        wi l be re-addressed. Time is also a lotted or additional
                                        questions and answers from the learners. Evaluation
                                        and ol ow-up surveys are created to ident fy proposed
                                        changes in practice and performance n pract ce.
                                        Workshops are a so ava lable for more in-depth learn ng
                                         n selected areas. The past success of this format has
                                        created an excit ng opportunity for community
                                        physicians and other health profess onals to participate
                                         n e ther educational sess ons and/or workshops
                                        designed specif cally for the primary care prov ders.
18 826    1500.000    1 500 5/13/2014   Learners participate in pre and post test ng which a lows   /13/2014    5/17/2014     ive                Live                  Op oid Misuse and Abuse   Pa n   General        Shera on Midwest City OK   OK   5/12/2014   State of Ok ahoma Board of Regents of the University   Margie   Mil er    800 NE 15th           OKC          OK   (405) 271-2350
                                        for self-assessment of their sk lls. Each learn ng                                                                                                                                                                         of Oklahoma Hea th Sc ences Center
                                        experience has been designed to include case
                                        presentations with po ling by way of an aud ence
                                        response system to determine content and learner
                                        needs. The learn ng concepts are tested at the end of
                                        the educat onal period to determine how successful the
                                        teaching concepts were conveyed. If needed concepts
                                        wi l be re-addressed. Time is also a lotted or additional
                                        questions and answers from the learners. Evaluation
                                        and ol ow-up surveys are created to ident fy proposed
                                        changes in practice and performance n pract ce.
                                        Workshops are a so ava lable for more in-depth learn ng
                                         n selected areas. The past success of this format has
                                        created an excit ng opportunity for community
                                        physicians and other health profess onals to participate
                                         n e ther educational sess ons and/or workshops
                                        designed specif cally for the primary care prov ders.




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18 826    1500.000    1 500 5/13/2014   Learners participate in pre and post test ng which a lows    /13/2014   5/17/2014     ive                Live                              Op oid Misuse and Abuse   Pa n   Pr mary Care      Shera on Midwest City OK                           OK   5/12/2014   State of Ok ahoma Board of Regents of the University   Margie    Mil er   800 NE 15th                      OKC          OK   (405) 271-2350
                                        for self-assessment of their sk lls. Each learn ng                                                                                                                                                                                                                of Oklahoma Hea th Sc ences Center
                                        experience has been designed to include case
                                        presentations with po ling by way of an aud ence
                                        response system to determine content and learner
                                        needs. The learn ng concepts are tested at the end of
                                        the educat onal period to determine how successful the
                                        teaching concepts were conveyed. If needed concepts
                                        wi l be re-addressed. Time is also a lotted or additional
                                        questions and answers from the learners. Evaluation
                                        and ol ow-up surveys are created to ident fy proposed
                                        changes in practice and performance n pract ce.
                                        Workshops are a so ava lable for more in-depth learn ng
                                         n selected areas. The past success of this format has
                                        created an excit ng opportunity for community
                                        physicians and other health profess onals to participate
                                         n e ther educational sess ons and/or workshops
                                        designed specif cally for the primary care prov ders.
18 846   75000.000   25 000 6/3/2014    The International Conference on Op oids is a 2 day          6/8/2014    6/10/2014     ive                Professional Education Programs   Breakthrough Pa n         Pa n   Fam ly Med c ne   Joseph B. Martin Conference Center at Harvard MS   MA   6/2/2014    Weston Medical Publish ng LLC                          Michael   Glynn    470 Boston Post Road Suite 301   Weston       MA   (781)899-2702
                                        educat onal program designed to enlighten primary care
                                        physicians pain specialists and others with an interest
                                         n appl ed op o d pharmacology and the public health
                                        with new data essential information and best pract ces
                                        every medical professional needs to know when
                                          rescri ing o ioid analges cs for their atients
18 846   75000.000   25 000 6/3/2014    The International Conference on Op oids is a 2 day          6/8/2014    6/10/2014     ive                Professional Education Programs   Breakthrough Pa n         Pa n   Pain Medicine     Joseph B. Martin Conference Center at Harvard MS   MA   6/2/2014    Weston Medical Publish ng LLC                          Michael   Glynn    470 Boston Post Road Suite 301   Weston       MA   (781)899-2702
                                        educat onal program designed to enlighten primary care
                                        physicians pain specialists and others with an interest
                                         n appl ed op o d pharmacology and the public health
                                        with new data essential information and best pract ces
                                        every medical professional needs to know when
                                        prescribing opioid analges cs for their patients.
18 846   75000.000   25 000 6/3/2014    The International Conference on Op oids is a 2 day          6/8/2014    6/10/2014     ive                Professional Education Programs   Chron c Pa n (General)    Pa n   Fam ly Med c ne   Joseph B. Martin Conference Center at Harvard MS   MA   6/2/2014    Weston Medical Publish ng LLC                          Michael   Glynn    470 Boston Post Road Suite 301   Weston       MA   (781)899-2702
                                        educat onal program designed to enlighten primary care
                                        physicians pain specialists and others with an interest
                                         n appl ed op o d pharmacology and the public health
                                        with new data essential information and best pract ces
                                        every medical professional needs to know when
                                          rescri ing o ioid analges cs for their atients
18 846   75000.000   25 000 6/3/2014    The International Conference on Op oids is a 2 day          6/8/2014    6/10/2014     ive                Professional Education Programs   Chron c Pa n (General)    Pa n   Pain Medicine     Joseph B. Martin Conference Center at Harvard MS   MA   6/2/2014    Weston Medical Publish ng LLC                          Michael   Glynn    470 Boston Post Road Suite 301   Weston       MA   (781)899-2702
                                        educat onal program designed to enlighten primary care
                                        physicians pain specialists and others with an interest
                                         n appl ed op o d pharmacology and the public health
                                        with new data essential information and best pract ces
                                        every medical professional needs to know when
                                          rescri ing o ioid analges cs for their atients
18 846   75000.000   25 000 6/3/2014    The International Conference on Op oids is a 2 day          6/8/2014    6/10/2014     ive                Professional Education Programs   Op oid Misuse and Abuse   Pa n   Fam ly Med c ne   Joseph B. Martin Conference Center at Harvard MS   MA   6/2/2014    Weston Medical Publish ng LLC                          Michael   Glynn    470 Boston Post Road Suite 301   Weston       MA   (781)899-2702
                                        educat onal program designed to enlighten primary care
                                        physicians pain specialists and others with an interest
                                         n appl ed op o d pharmacology and the public health
                                        with new data essential information and best pract ces
                                        every medical professional needs to know when
                                          rescri ing o ioid analges cs for their atients
18 846   75000.000   25 000 6/3/2014    The International Conference on Op oids is a 2 day          6/8/2014    6/10/2014     ive                Professional Education Programs   Op oid Misuse and Abuse   Pa n   Pain Medicine     Joseph B. Martin Conference Center at Harvard MS   MA   6/2/2014    Weston Medical Publish ng LLC                          Michael   Glynn    470 Boston Post Road Suite 301   Weston       MA   (781)899-2702
                                        educat onal program designed to enlighten primary care
                                        physicians pain specialists and others with an interest
                                         n appl ed op o d pharmacology and the public health
                                        with new data essential information and best pract ces
                                        every medical professional needs to know when
                                        prescribing opioid analges cs for their patients.
18 878   21788.000   21 788 5/29/2014   To address knowledge and practice gaps n the                                          nduring Material   Enduring Mater al                 Chron c Pain (General)    Pa n   Fam ly Med c ne                                                           5/28/2014   Pennsylvan a Academy of Family Physicians Foundation Cathy       Stamm    2704 Commerce Dr.                Harr sburg   PA   (717)635-7579
                                        management of chronic pa n in the primary care setting
                                        the PAFP w ll deliver educat on to physicians residents
                                        and cl nical staff members at the live meeting of its
                                        Res dency Program and Community Health Center
                                        Collaborative June 7 2014 in Lancaster Pennsylvania.
                                        Team learning encourages coordinated care and
                                         mproved patient outcomes. Educat on wi l be delivered
                                         n multiple ways to approximately 5 000 total learners:
                                        two live CME lectures (~ 200) two accred ted webcasts
                                        (~100) and two summary “tip sheets” publ shed in
                                        Keystone Phys c an magazine (~4 800). Additional
                                        enduring mater als include event wrap-up newsletters
                                        and top c-spec fic direct mail postcards.

18 878   21788.000   21 788 5/29/2014   To address knowledge and practice gaps n the                                          nduring Material   Enduring Mater al                 Chron c Pain (General)    Pa n   General                                                                   5/28/2014   Pennsylvan a Academy of Family Physicians Foundation Cathy       Stamm    2704 Commerce Dr.                Harr sburg   PA   (717)635-7579
                                        management of chronic pa n in the primary care setting
                                        the PAFP w ll deliver educat on to physicians residents
                                        and cl nical staff members at the live meeting of its
                                        Res dency Program and Community Health Center
                                        Collaborative June 7 2014 in Lancaster Pennsylvania.
                                        Team learning encourages coordinated care and
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                                        (~100) and two summary “tip sheets” publ shed in
                                        Keystone Phys c an magazine (~4 800). Additional
                                        enduring mater als include event wrap-up newsletters
                                        and top c-spec fic direct mail postcards.

18 878   21788.000   21 788 5/29/2014   To address knowledge and practice gaps n the                                          nduring Material   Enduring Mater al                 Op oid Misuse and Abuse   Pa n   Fam ly Med c ne                                                           5/28/2014   Pennsylvan a Academy of Family Physicians Foundation Cathy       Stamm    2704 Commerce Dr.                Harr sburg   PA   (717)635-7579
                                        management of chronic pa n in the primary care setting
                                        the PAFP w ll deliver educat on to physicians residents
                                        and cl nical staff members at the live meeting of its
                                        Res dency Program and Community Health Center
                                        Collaborative June 7 2014 in Lancaster Pennsylvania.
                                        Team learning encourages coordinated care and
                                         mproved patient outcomes. Educat on wi l be delivered
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                                        two live CME lectures (~ 200) two accred ted webcasts
                                        (~100) and two summary “tip sheets” publ shed in
                                        Keystone Phys c an magazine (~4 800). Additional
                                        enduring mater als include event wrap-up newsletters
                                        and top c-spec fic direct mail postcards.

18 878   21788.000   21 788 5/29/2014   To address knowledge and practice gaps n the                                          nduring Material   Enduring Mater al                 Op oid Misuse and Abuse   Pa n   General                                                                   5/28/2014   Pennsylvan a Academy of Family Physicians Foundation Cathy       Stamm    2704 Commerce Dr.                Harr sburg   PA   (717)635-7579
                                        management of chronic pa n in the primary care setting
                                        the PAFP w ll deliver educat on to physicians residents
                                        and cl nical staff members at the live meeting of its
                                        Res dency Program and Community Health Center
                                        Collaborative June 7 2014 in Lancaster Pennsylvania.
                                        Team learning encourages coordinated care and
                                         mproved patient outcomes. Educat on wi l be delivered
                                         n multiple ways to approximately 5 000 total learners:
                                        two live CME lectures (~ 200) two accred ted webcasts
                                        (~100) and two summary “tip sheets” publ shed in
                                        Keystone Phys c an magazine (~4 800). Additional
                                        enduring mater als include event wrap-up newsletters
                                        and top c-spec fic direct mail postcards.




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18 878   21788.000   21 788 5/29/2014   To address knowledge and practice gaps n the                nduring Material   Journal Supp ement   Chron c Pain (General)    Pa n   Fam ly Med c ne   5/28/2014   Pennsylvan a Academy of Family Physicians Foundation Cathy   Stamm   2704 Commerce Dr.   Harr sburg   PA   (717)635-7579
                                        management of chronic pa n in the primary care setting
                                        the PAFP w ll deliver educat on to physicians residents
                                        and cl nical staff members at the live meeting of its
                                        Res dency Program and Community Health Center
                                        Collaborative June 7 2014 in Lancaster Pennsylvania.
                                        Team learning encourages coordinated care and
                                         mproved patient outcomes. Educat on wi l be delivered
                                         n multiple ways to approximately 5 000 total learners:
                                        two live CME lectures (~ 200) two accred ted webcasts
                                        (~100) and two summary “tip sheets” publ shed in
                                        Keystone Phys c an magazine (~4 800). Additional
                                        enduring mater als include event wrap-up newsletters
                                        and top c-spec fic direct mail postcards.

18 878   21788.000   21 788 5/29/2014   To address knowledge and practice gaps n the                nduring Material   Journal Supp ement   Chron c Pain (General)    Pa n   General           5/28/2014   Pennsylvan a Academy of Family Physicians Foundation Cathy   Stamm   2704 Commerce Dr.   Harr sburg   PA   (717)635-7579
                                        management of chronic pa n in the primary care setting
                                        the PAFP w ll deliver educat on to physicians residents
                                        and cl nical staff members at the live meeting of its
                                        Res dency Program and Community Health Center
                                        Collaborative June 7 2014 in Lancaster Pennsylvania.
                                        Team learning encourages coordinated care and
                                         mproved patient outcomes. Educat on wi l be delivered
                                         n multiple ways to approximately 5 000 total learners:
                                        two live CME lectures (~ 200) two accred ted webcasts
                                        (~100) and two summary “tip sheets” publ shed in
                                        Keystone Phys c an magazine (~4 800). Additional
                                        enduring mater als include event wrap-up newsletters
                                        and top c-spec fic direct mail postcards.

18 878   21788.000   21 788 5/29/2014   To address knowledge and practice gaps n the                nduring Material   Journal Supp ement   Op oid Misuse and Abuse   Pa n   Fam ly Med c ne   5/28/2014   Pennsylvan a Academy of Family Physicians Foundation Cathy   Stamm   2704 Commerce Dr.   Harr sburg   PA   (717)635-7579
                                        management of chronic pa n in the primary care setting
                                        the PAFP w ll deliver educat on to physicians residents
                                        and cl nical staff members at the live meeting of its
                                        Res dency Program and Community Health Center
                                        Collaborative June 7 2014 in Lancaster Pennsylvania.
                                        Team learning encourages coordinated care and
                                         mproved patient outcomes. Educat on wi l be delivered
                                         n multiple ways to approximately 5 000 total learners:
                                        two live CME lectures (~ 200) two accred ted webcasts
                                        (~100) and two summary “tip sheets” publ shed in
                                        Keystone Phys c an magazine (~4 800). Additional
                                        enduring mater als include event wrap-up newsletters
                                        and top c-spec fic direct mail postcards.

18 878   21788.000   21 788 5/29/2014   To address knowledge and practice gaps n the                nduring Material   Journal Supp ement   Op oid Misuse and Abuse   Pa n   General           5/28/2014   Pennsylvan a Academy of Family Physicians Foundation Cathy   Stamm   2704 Commerce Dr.   Harr sburg   PA   (717)635-7579
                                        management of chronic pa n in the primary care setting
                                        the PAFP w ll deliver educat on to physicians residents
                                        and cl nical staff members at the live meeting of its
                                        Res dency Program and Community Health Center
                                        Collaborative June 7 2014 in Lancaster Pennsylvania.
                                        Team learning encourages coordinated care and
                                         mproved patient outcomes. Educat on wi l be delivered
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                                        (~100) and two summary “tip sheets” publ shed in
                                        Keystone Phys c an magazine (~4 800). Additional
                                        enduring mater als include event wrap-up newsletters
                                        and top c-spec fic direct mail postcards.

18 878   21788.000   21 788 5/29/2014   To address knowledge and practice gaps n the                nduring Material   News etters          Chron c Pa n (General)    Pa n   Fam ly Med c ne   5/28/2014   Pennsylvan a Academy of Family Physicians Foundation Cathy   Stamm   2704 Commerce Dr.   Harr sburg   PA   (717)635-7579
                                        management of chronic pa n in the primary care setting
                                        the PAFP w ll deliver educat on to physicians residents
                                        and cl nical staff members at the live meeting of its
                                        Res dency Program and Community Health Center
                                        Collaborative June 7 2014 in Lancaster Pennsylvania.
                                        Team learning encourages coordinated care and
                                         mproved patient outcomes. Educat on wi l be delivered
                                         n multiple ways to approximately 5 000 total learners:
                                        two live CME lectures (~ 200) two accred ted webcasts
                                        (~100) and two summary “tip sheets” publ shed in
                                        Keystone Phys c an magazine (~4 800). Additional
                                        enduring mater als include event wrap-up newsletters
                                        and top c-spec fic direct mail postcards.

18 878   21788.000   21 788 5/29/2014   To address knowledge and practice gaps n the                nduring Material   News etters          Chron c Pa n (General)    Pa n   General           5/28/2014   Pennsylvan a Academy of Family Physicians Foundation Cathy   Stamm   2704 Commerce Dr.   Harr sburg   PA   (717)635-7579
                                        management of chronic pa n in the primary care setting
                                        the PAFP w ll deliver educat on to physicians residents
                                        and cl nical staff members at the live meeting of its
                                        Res dency Program and Community Health Center
                                        Collaborative June 7 2014 in Lancaster Pennsylvania.
                                        Team learning encourages coordinated care and
                                         mproved patient outcomes. Educat on wi l be delivered
                                         n multiple ways to approximately 5 000 total learners:
                                        two live CME lectures (~ 200) two accred ted webcasts
                                        (~100) and two summary “tip sheets” publ shed in
                                        Keystone Phys c an magazine (~4 800). Additional
                                        enduring mater als include event wrap-up newsletters
                                        and top c-spec fic direct mail postcards.

18 878   21788.000   21 788 5/29/2014   To address knowledge and practice gaps n the                nduring Material   News etters          Op oid Misuse and Abuse   Pa n   Fam ly Med c ne   5/28/2014   Pennsylvan a Academy of Family Physicians Foundation Cathy   Stamm   2704 Commerce Dr.   Harr sburg   PA   (717)635-7579
                                        management of chronic pa n in the primary care setting
                                        the PAFP w ll deliver educat on to physicians residents
                                        and cl nical staff members at the live meeting of its
                                        Res dency Program and Community Health Center
                                        Collaborative June 7 2014 in Lancaster Pennsylvania.
                                        Team learning encourages coordinated care and
                                         mproved patient outcomes. Educat on wi l be delivered
                                         n multiple ways to approximately 5 000 total learners:
                                        two live CME lectures (~ 200) two accred ted webcasts
                                        (~100) and two summary “tip sheets” publ shed in
                                        Keystone Phys c an magazine (~4 800). Additional
                                        enduring mater als include event wrap-up newsletters
                                        and top c-spec fic direct mail postcards.

18 878   21788.000   21 788 5/29/2014   To address knowledge and practice gaps n the                nduring Material   News etters          Op oid Misuse and Abuse   Pa n   General           5/28/2014   Pennsylvan a Academy of Family Physicians Foundation Cathy   Stamm   2704 Commerce Dr.   Harr sburg   PA   (717)635-7579
                                        management of chronic pa n in the primary care setting
                                        the PAFP w ll deliver educat on to physicians residents
                                        and cl nical staff members at the live meeting of its
                                        Res dency Program and Community Health Center
                                        Collaborative June 7 2014 in Lancaster Pennsylvania.
                                        Team learning encourages coordinated care and
                                         mproved patient outcomes. Educat on wi l be delivered
                                         n multiple ways to approximately 5 000 total learners:
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                                        (~100) and two summary “tip sheets” publ shed in
                                        Keystone Phys c an magazine (~4 800). Additional
                                        enduring mater als include event wrap-up newsletters
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18 878   21788.000   21 788 5/29/2014   To address knowledge and practice gaps n the            6/6/2014     6/6/2014      ive   Live   Chron c Pa n (General)    Pa n   Fam ly Med c ne   Marriott Convent on Center                PA   5/28/2014   Pennsylvan a Academy of Family Physicians Foundation Cathy     Stamm           2704 Commerce Dr.                   Harr sburg   PA   (717)635-7579
                                        management of chronic pa n in the primary care setting
                                        the PAFP w ll deliver educat on to physicians residents
                                        and cl nical staff members at the live meeting of its
                                        Res dency Program and Community Health Center
                                        Collaborative June 7 2014 in Lancaster Pennsylvania.
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                                        (~100) and two summary “tip sheets” publ shed in
                                        Keystone Phys c an magazine (~4 800). Additional
                                        enduring mater als include event wrap-up newsletters
                                        and top c-spec fic direct mail postcards.

18 878   21788.000   21 788 5/29/2014   To address knowledge and practice gaps n the            6/6/2014     6/6/2014      ive   Live   Chron c Pa n (General)    Pa n   General           Marriott Convent on Center                PA   5/28/2014   Pennsylvan a Academy of Family Physicians Foundation Cathy     Stamm           2704 Commerce Dr.                   Harr sburg   PA   (717)635-7579
                                        management of chronic pa n in the primary care setting
                                        the PAFP w ll deliver educat on to physicians residents
                                        and cl nical staff members at the live meeting of its
                                        Res dency Program and Community Health Center
                                        Collaborative June 7 2014 in Lancaster Pennsylvania.
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                                         mproved patient outcomes. Educat on wi l be delivered
                                         n multiple ways to approximately 5 000 total learners:
                                        two live CME lectures (~ 200) two accred ted webcasts
                                        (~100) and two summary “tip sheets” publ shed in
                                        Keystone Phys c an magazine (~4 800). Additional
                                        enduring mater als include event wrap-up newsletters
                                        and top c-spec fic direct mail postcards.

18 878   21788.000   21 788 5/29/2014   To address knowledge and practice gaps n the            6/6/2014     6/6/2014      ive   Live   Op oid Misuse and Abuse   Pa n   Fam ly Med c ne   Marriott Convent on Center                PA   5/28/2014   Pennsylvan a Academy of Family Physicians Foundation Cathy     Stamm           2704 Commerce Dr.                   Harr sburg   PA   (717)635-7579
                                        management of chronic pa n in the primary care setting
                                        the PAFP w ll deliver educat on to physicians residents
                                        and cl nical staff members at the live meeting of its
                                        Res dency Program and Community Health Center
                                        Collaborative June 7 2014 in Lancaster Pennsylvania.
                                        Team learning encourages coordinated care and
                                         mproved patient outcomes. Educat on wi l be delivered
                                         n multiple ways to approximately 5 000 total learners:
                                        two live CME lectures (~ 200) two accred ted webcasts
                                        (~100) and two summary “tip sheets” publ shed in
                                        Keystone Phys c an magazine (~4 800). Additional
                                        enduring mater als include event wrap-up newsletters
                                        and top c-spec fic direct mail postcards.

18 878   21788.000   21 788 5/29/2014   To address knowledge and practice gaps n the            6/6/2014     6/6/2014      ive   Live   Op oid Misuse and Abuse   Pa n   General           Marriott Convent on Center                PA   5/28/2014   Pennsylvan a Academy of Family Physicians Foundation Cathy     Stamm           2704 Commerce Dr.                   Harr sburg   PA   (717)635-7579
                                        management of chronic pa n in the primary care setting
                                        the PAFP w ll deliver educat on to physicians residents
                                        and cl nical staff members at the live meeting of its
                                        Res dency Program and Community Health Center
                                        Collaborative June 7 2014 in Lancaster Pennsylvania.
                                        Team learning encourages coordinated care and
                                         mproved patient outcomes. Educat on wi l be delivered
                                         n multiple ways to approximately 5 000 total learners:
                                        two live CME lectures (~ 200) two accred ted webcasts
                                        (~100) and two summary “tip sheets” publ shed in
                                        Keystone Phys c an magazine (~4 800). Additional
                                        enduring mater als include event wrap-up newsletters
                                        and top c-spec fic direct mail postcards.

18 882    6000.000    6 000 4/30/2014   AAPA s Conference is the preeminent event for PA-         /24/2014   8/28/2014     ive   Live   Chron c Pa n (General)    Pa n   General           Boston Exhibit on and Convent on Center   MA   4/30/2014   American Academy of Physician Assistants            Jenn fer   W ll ams        2318 Mill Road                      Alexandria   VA   571-319-4417
                                        spec fic CME and the only meeting for PAs in all
                                        spec alt es. Conference 2014 wi l be the largest
                                        ded cated to professional development and recognition
                                        of PAs. Conference offers opportunities o address
                                        know edge and ski ls gaps across a wide variety of
                                        clinical areas through workshops lectures and
                                         nteractive case presentations. AAPA 2014 w ll offer
                                        ~200 educational sessions in more than 40 tracks.
                                        These sessions will cover a broad range of primary care
                                        and specia ty topics. AAPA s Pain Track addresses topics
                                        related to treatment and management of acute and
                                        chronic pain. Topics covered nclude end-of-li e decision-
                                        making treating chronic/recurring pain pa liative care
                                        acute pain in the hosp tal etc. AAPA seeks support for
                                        the Pain and Pall ative Care Track includ ng sessions
                                        cross-listed in this Track. There are 5 sessions ncluded
                                         n the Track. Conference s schedu ed for 5/24-
                                        5/28/2014 with an evaluation period 5/24-8/28/2014.
18 882    6000.000    6 000 4/30/2014   AAPA s Conference is the preeminent event for PA-         /24/2014   8/28/2014     ive   Live   Op oid Misuse and Abuse   Pa n   General           Boston Exhibit on and Convent on Center   MA   4/30/2014   American Academy of Physician Assistants            Jenn fer   W ll ams        2318 Mill Road                      Alexandria   VA   571-319-4417
                                        spec fic CME and the only meeting for PAs in all
                                        spec alt es. Conference 2014 wi l be the largest
                                        ded cated to professional development and recognition
                                        of PAs. Conference offers opportunities to address
                                        know edge and ski ls gaps across a wide variety of
                                        clinical areas through workshops lectures and
                                         nteractive case presentations. AAPA 2014 will offer
                                        ~200 educational sessions in more than 40 tracks.
                                        These sessions will cover a broad range of primary care
                                        and specia ty topics. AAPA s Pain Track addresses topics
                                        related to treatment and management of acute and
                                        chronic pain. Topics covered nclude end-of-li e decision-
                                        making treating chronic/recurring pain palliative care
                                        acute pain in the hosp tal etc. AAPA seeks support for
                                        the Pain and Pall ative Care Track includ ng sessions
                                        cross-listed in this Track. There are 5 sessions ncluded
                                         n the Track. Conference s schedu ed for 5/24-
                                        5/28/2014 with an evaluation period 5/24-8/28/2014.
18 986   10000.000   10 000 5/20/2014   This 2-day interprofess onal regional con erence br ngs   /30/2014   5/31/2014     ive   Live   Chron c Pa n (General)    Pa n                     university of montana                     MT   5/19/2014   Postgraduate Institute for Medicine                 Angela     Noreen Meader   304 Inverness Way South Suite 100   Englewood    CO   7208955380
                                        together national and ocal leaders nvolved in efforts to
                                        address diverse challenges in provid ng effective pa n
                                        control safely. Participants wi l share expertise network
                                        and obtain knowledge and resources to assist patients in
                                        pain by evaluat ng and treating it n the most effective
                                        manner. The treatment of persistent pain is one of the
                                        most compl cated clin cal cha lenges providers face and
                                         t cannot be done well in solat on. Thus a major focus
                                        of the conference s to help providers develop an
                                         nterdiscipl nary team while assimilating neuroplast c ty
                                        motivat onal nterviewing effective pain education
                                         nterprofessional approaches and safe prescribing into
                                        our clinical settings. Additiona ly 2 hours of Risk
                                        Evaluation and Mit gat on Strategies (REMS) train ng is
                                        part of the conference. These approaches wi l improve
                                        prov der practices by giv ng them tools to help patients
                                         mprove their abil ty to manage the r lives.




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                                                                                                                             Case: 1:17-md-02804-DAP Doc #: 2251-93 Filed: 08/13/19 55 of 78. PageID #: 352370

18 986   10000.000   10 000 5/20/2014   This 2-day interprofess onal regional con erence br ngs   /30/2014       5/31/2014     ive   Live        Chron c Pa n (General)   Pa n   Advanced Practice Nurse   Univers ty of Montana       MT   5/19/2014   Postgraduate Institute for Med cine                 Angela   Noreen Meader   304 Inverness Way South Suite 100   Englewood   CO   7208955380
                                        together national and ocal leaders nvolved in efforts to
                                        address diverse challenges in provid ng effective pa n
                                        control safely. Participants wi l share expertise network
                                        and obtain knowledge and resources to assist patients in
                                        pain by evaluat ng and treating it n the most effective
                                        manner. The treatment of persistent pain is one of the
                                        most compl cated clin cal cha lenges providers face and
                                         t cannot be done well in solat on. Thus a major focus
                                        of the conference s to help providers develop an
                                         nterdiscipl nary team while assimilating neuroplast c ty
                                        motivat onal nterviewing effective pain education
                                         nterprofessional approaches and safe prescribing into
                                        our clinical settings. Additiona ly 2 hours of Risk
                                        Evaluation and Mit gat on Strategies (REMS) train ng is
                                        part of the conference. These approaches wi l improve
                                        prov der practices by giv ng them tools to help patients
                                         mprove their abil ty to manage the r lives.
18 986   10000.000   10 000 5/20/2014   This 2-day interprofess onal regional con erence br ngs   /30/2014       5/31/2014     ive   Live        Chron c Pa n (General)   Pa n   Fam ly Med c ne           Univers ty of Montana       MT   5/19/2014   Postgraduate Institute for Med cine                 Angela   Noreen Meader   304 Inverness Way South Suite 100   Englewood   CO   7208955380
                                        together national and ocal leaders nvolved in efforts to
                                        address diverse challenges in provid ng effective pa n
                                        control safely. Participants wi l share expertise network
                                        and obtain knowledge and resources to assist patients in
                                        pain by evaluat ng and treating it n the most effective
                                        manner. The treatment of persistent pain is one of the
                                        most compl cated clin cal cha lenges providers face and
                                         t cannot be done well in solat on. Thus a major focus
                                        of the conference s to help providers develop an
                                         nterdiscipl nary team while assimilating neuroplast c ty
                                        motivat onal nterviewing effective pain education
                                         nterprofessional approaches and safe prescribing into
                                        our clinical settings. Additiona ly 2 hours of Risk
                                        Evaluation and Mit gat on Strategies (REMS) train ng is
                                        part of the conference. These approaches wi l improve
                                        prov der practices by giv ng them tools to help patients
                                         mprove their abil ty to manage the r lives.
18 986   10000.000   10 000 5/20/2014   This 2-day interprofess onal regional con erence br ngs   /30/2014       5/31/2014     ive   Live        Chron c Pa n (General)   Pa n   General                   Univers ty of Montana       MT   5/19/2014   Postgraduate Institute for Medicine                 Angela   Noreen Meader   304 Inverness Way South Suite 100   Englewood   CO   7208955380
                                        together national and ocal leaders nvolved in efforts to
                                        address diverse challenges in provid ng effective pa n
                                        control safely. Participants wi l share expertise network
                                        and obtain knowledge and resources to assist patients in
                                        pain by evaluat ng and treating it n the most effective
                                        manner. The treatment of persistent pain is one of the
                                        most compl cated clin cal cha lenges providers face and
                                         t cannot be done well in solat on. Thus a major focus
                                        of the conference s to help providers develop an
                                         nterdiscipl nary team while assimilating neuroplast c ty
                                        motivat onal nterviewing effective pain education
                                         nterprofessional approaches and safe prescribing into
                                        our clinical settings. Additiona ly 2 hours of Risk
                                        Evaluation and Mit gat on Strategies (REMS) train ng is
                                        part of the conference. These approaches wi l improve
                                        prov der practices by giv ng them tools to help patients
                                         mprove their abil ty to manage the r lives.
19 024   15000.000    7 500 6/5/2014    This conference will cover topics n family practice           9/5/2014   9/6/2014      ive   Symposium   Breakthrough Pa n        Pa n   General                   MD Anderson Cancer Center   TX   6/5/2014    The Univers ty of Texas MD Anderson Cancer Center   Kel ey   Porras          7007 Bertner Ave. Un t 1781         Houston     TX   (713) 563-0603
                                         nternal medicine oncology psych atry anesthes ology
                                        palliative care and hospice that are focused on the
                                        proper and timely use of pa liative care and the
                                        diagnosis assessment and treatment of related chronic
                                        pain. Attendees of this con erence will be able to
                                         ntegrate the fol owing sk lls into daily practice: state-of-
                                        the art pa n and symptom management for patients with
                                        advanced d sease; effective commun cation with
                                        patients in advanced stages of cancer or debilitat ng
                                        disease; qual ty survivorship and end-of-life care; and
                                        proper diagnosis treatment planning and symptom
                                        management for chron c cancer pain.

19 024   15000.000    7 500 6/5/2014    This conference will cover topics n family practice           9/5/2014   9/6/2014      ive   Symposium   Breakthrough Pa n        Pa n   Pain Medicine             MD Anderson Cancer Center   TX   6/5/2014    The Univers ty of Texas MD Anderson Cancer Center   Kel ey   Porras          7007 Bertner Ave. Un t 1781         Houston     TX   (713) 563-0603
                                         nternal medicine oncology psych atry anesthes ology
                                        palliative care and hospice that are focused on the
                                        proper and timely use of pa liative care and the
                                        diagnosis assessment and treatment of related chronic
                                        pain. Attendees of this con erence will be able to
                                         ntegrate the fol owing sk lls into daily practice: state-of-
                                        the art pa n and symptom management for patients with
                                        advanced d sease; effective commun cation with
                                        patients in advanced stages of cancer or debilitat ng
                                        disease; qual ty survivorship and end-of-life care; and
                                        proper diagnosis treatment planning and symptom
                                        management for chron c cancer pain.

19 024   15000.000    7 500 6/5/2014    This conference will cover topics n family practice           9/5/2014   9/6/2014      ive   Symposium   Breakthrough Pa n        Pa n   Pall ative Med c ne       MD Anderson Cancer Center   TX   6/5/2014    The Univers ty of Texas MD Anderson Cancer Center   Kel ey   Porras          7007 Bertner Ave. Un t 1781         Houston     TX   (713) 563-0603
                                         nternal medicine oncology psych atry anesthes ology
                                        palliative care and hospice that are focused on the
                                        proper and timely use of pa liative care and the
                                        diagnosis assessment and treatment of related chronic
                                        pain. Attendees of this con erence will be able to
                                         ntegrate the fol owing sk lls into daily practice: state-of-
                                        the art pa n and symptom management for patients with
                                        advanced d sease; effective commun cation with
                                        patients in advanced stages of cancer or debilitat ng
                                        disease; qual ty survivorship and end-of-life care; and
                                        proper diagnosis treatment planning and symptom
                                        management for chron c cancer pain.

19 024   15000.000    7 500 6/5/2014    This conference will cover topics n family practice           9/5/2014   9/6/2014      ive   Symposium   Breakthrough Pa n        Pa n   Soc al Worker             MD Anderson Cancer Center   TX   6/5/2014    The Univers ty of Texas MD Anderson Cancer Center   Kel ey   Porras          7007 Bertner Ave. Un t 1781         Houston     TX   (713) 563-0603
                                         nternal medicine oncology psych atry anesthes ology
                                        palliative care and hospice that are focused on the
                                        proper and timely use of pa liative care and the
                                        diagnosis assessment and treatment of related chronic
                                        pain. Attendees of this con erence will be able to
                                         ntegrate the fol owing sk lls into daily practice: state-of-
                                        the art pa n and symptom management for patients with
                                        advanced d sease; effective commun cation with
                                        patients in advanced stages of cancer or debilitat ng
                                        disease; qual ty survivorship and end-of-life care; and
                                        proper diagnosis treatment planning and symptom
                                        management for chron c cancer pain.

19 024   15000.000    7 500 6/5/2014    This conference will cover topics n family practice           9/5/2014   9/6/2014      ive   Symposium   Chron c Pa n (General)   Pa n   General                   MD Anderson Cancer Center   TX   6/5/2014    The Univers ty of Texas MD Anderson Cancer Center   Kel ey   Porras          7007 Bertner Ave. Un t 1781         Houston     TX   (713) 563-0603
                                         nternal medicine oncology psych atry anesthes ology
                                        palliative care and hospice that are focused on the
                                        proper and timely use of pa liative care and the
                                        diagnosis assessment and treatment of related chronic
                                        pain. Attendees of this con erence will be able to
                                         ntegrate the fol owing sk lls into daily practice: state-of-
                                        the art pa n and symptom management for patients with
                                        advanced d sease; effective commun cation with
                                        patients in advanced stages of cancer or debilitat ng
                                        disease; qual ty survivorship and end-of-life care; and
                                        proper diagnosis treatment planning and symptom
                                        management for chron c cancer pain.




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19 024   15000.000    7 500 6/5/2014    This conference will cover topics n family practice           9/5/2014   9/6/2014     ive                Symposium            Chron c Pa n (General)    Pa n   Pain Medicine         MD Anderson Cancer Center   TX   6/5/2014    The Univers ty of Texas MD Anderson Cancer Center   Kel ey   Porras    7007 Bertner Ave. Un t 1781   Houston      TX   (713) 563-0603
                                         nternal medicine oncology psych atry anesthes ology
                                        palliative care and hospice that are focused on the
                                        proper and timely use of pa liative care and the
                                        diagnosis assessment and treatment of related chronic
                                        pain. Attendees of this con erence will be able to
                                         ntegrate the fol owing sk lls into daily practice: state-of-
                                        the art pa n and symptom management for patients with
                                        advanced d sease; effective commun cation with
                                        patients in advanced stages of cancer or debilitat ng
                                        disease; qual ty survivorship and end-of-life care; and
                                        proper diagnosis treatment planning and symptom
                                        management for chron c cancer pain.

19 024   15000.000    7 500 6/5/2014    This conference will cover topics n family practice           9/5/2014   9/6/2014     ive                Symposium            Chron c Pa n (General)    Pa n   Pall ative Med c ne   MD Anderson Cancer Center   TX   6/5/2014    The Univers ty of Texas MD Anderson Cancer Center   Kel ey   Porras    7007 Bertner Ave. Un t 1781   Houston      TX   (713) 563-0603
                                         nternal medicine oncology psych atry anesthes ology
                                        palliative care and hospice that are focused on the
                                        proper and timely use of pa liative care and the
                                        diagnosis assessment and treatment of related chronic
                                        pain. Attendees of this con erence will be able to
                                         ntegrate the fol owing sk lls into daily practice: state-of-
                                        the art pa n and symptom management for patients with
                                        advanced d sease; effective commun cation with
                                        patients in advanced stages of cancer or debilitat ng
                                        disease; qual ty survivorship and end-of-life care; and
                                        proper diagnosis treatment planning and symptom
                                        management for chron c cancer pain.

19 024   15000.000    7 500 6/5/2014    This conference will cover topics n family practice           9/5/2014   9/6/2014     ive                Symposium            Chron c Pa n (General)    Pa n   Soc al Worker         MD Anderson Cancer Center   TX   6/5/2014    The Univers ty of Texas MD Anderson Cancer Center   Kel ey   Porras    7007 Bertner Ave. Un t 1781   Houston      TX   (713) 563-0603
                                         nternal medicine oncology psych atry anesthes ology
                                        palliative care and hospice that are focused on the
                                        proper and timely use of pa liative care and the
                                        diagnosis assessment and treatment of related chronic
                                        pain. Attendees of this con erence will be able to
                                         ntegrate the fol owing sk lls into daily practice: state-of-
                                        the art pa n and symptom management for patients with
                                        advanced d sease; effective commun cation with
                                        patients in advanced stages of cancer or debilitat ng
                                        disease; qual ty survivorship and end-of-life care; and
                                        proper diagnosis treatment planning and symptom
                                        management for chron c cancer pain.

19 024   15000.000    7 500 6/5/2014    This conference will cover topics n family practice           9/5/2014   9/6/2014     ive                Symposium            Op oid Misuse and Abuse   Pa n   General               MD Anderson Cancer Center   TX   6/5/2014    The Univers ty of Texas MD Anderson Cancer Center   Kel ey   Porras    7007 Bertner Ave. Un t 1781   Houston      TX   (713) 563-0603
                                         nternal medicine oncology psych atry anesthes ology
                                        palliative care and hospice that are focused on the
                                        proper and timely use of pa liative care and the
                                        diagnosis assessment and treatment of related chronic
                                        pain. Attendees of this con erence will be able to
                                         ntegrate the fol owing sk lls into daily practice: state-of-
                                        the art pa n and symptom management for patients with
                                        advanced d sease; effective commun cation with
                                        patients in advanced stages of cancer or debilitat ng
                                        disease; qual ty survivorship and end-of-life care; and
                                        proper diagnosis treatment planning and symptom
                                        management for chron c cancer pain.

19 024   15000.000    7 500 6/5/2014    This conference will cover topics n family practice           9/5/2014   9/6/2014     ive                Symposium            Op oid Misuse and Abuse   Pa n   Pain Medicine         MD Anderson Cancer Center   TX   6/5/2014    The Univers ty of Texas MD Anderson Cancer Center   Kel ey   Porras    7007 Bertner Ave. Un t 1781   Houston      TX   (713) 563-0603
                                         nternal medicine oncology psych atry anesthes ology
                                        palliative care and hospice that are focused on the
                                        proper and timely use of pa liative care and the
                                        diagnosis assessment and treatment of related chronic
                                        pain. Attendees of this con erence will be able to
                                         ntegrate the fol owing sk lls into daily practice: state-of-
                                        the art pa n and symptom management for patients with
                                        advanced d sease; effective commun cation with
                                        patients in advanced stages of cancer or debilitat ng
                                        disease; qual ty survivorship and end-of-life care; and
                                        proper diagnosis treatment planning and symptom
                                        management for chron c cancer pain.

19 024   15000.000    7 500 6/5/2014    This conference will cover topics n family practice           9/5/2014   9/6/2014     ive                Symposium            Op oid Misuse and Abuse   Pa n   Pall ative Med c ne   MD Anderson Cancer Center   TX   6/5/2014    The Univers ty of Texas MD Anderson Cancer Center   Kel ey   Porras    7007 Bertner Ave. Un t 1781   Houston      TX   (713) 563-0603
                                         nternal medicine oncology psych atry anesthes ology
                                        palliative care and hospice that are focused on the
                                        proper and timely use of pa liative care and the
                                        diagnosis assessment and treatment of related chronic
                                        pain. Attendees of this con erence will be able to
                                         ntegrate the fol owing sk lls into daily practice: state-of-
                                        the art pa n and symptom management for patients with
                                        advanced d sease; effective commun cation with
                                        patients in advanced stages of cancer or debilitat ng
                                        disease; qual ty survivorship and end-of-life care; and
                                        proper diagnosis treatment planning and symptom
                                        management for chron c cancer pain.

19 024   15000.000    7 500 6/5/2014    This conference will cover topics n family practice           9/5/2014   9/6/2014     ive                Symposium            Op oid Misuse and Abuse   Pa n   Soc al Worker         MD Anderson Cancer Center   TX   6/5/2014    The Univers ty of Texas MD Anderson Cancer Center   Kel ey   Porras    7007 Bertner Ave. Un t 1781   Houston      TX   (713) 563-0603
                                         nternal medicine oncology psych atry anesthes ology
                                        palliative care and hospice that are focused on the
                                        proper and timely use of pa liative care and the
                                        diagnosis assessment and treatment of related chronic
                                        pain. Attendees of this con erence will be able to
                                         ntegrate the fol owing sk lls into daily practice: state-of-
                                        the art pa n and symptom management for patients with
                                        advanced d sease; effective commun cation with
                                        patients in advanced stages of cancer or debilitat ng
                                        disease; qual ty survivorship and end-of-life care; and
                                        proper diagnosis treatment planning and symptom
                                        management for chron c cancer pain.

20 356   75000.000   75 000 2/18/2015   Pharmacy Times Office of CPE and their education and                                  nduring Material   Journal Supp ement   Chron c Pain (General)    Pa n   General                                                2/18/2015   Pharmacy Times Office of Continuing Professional    Dave     Heckard   666 Plainsboro Road           P ainsboro   NJ   (609)378-3709
                                        CME accreditation partner Univers ty of Cinc nnati                                                                                                                                                                                Education LLC
                                        propose a CME/CE journal supp ement to accompany
                                        the Amer can Journal of Managed Care. The journal
                                        supplement ncludes 3 separate articles that are written
                                        by clinical and managed care thought leaders. The
                                         nformat on w ll nclude patient management strateg es
                                        from both the cl nical and managed care point of v ew
                                        for managed care professiona s involved in the care of
                                        patients using opioid analgesic for pain management.

20 356   75000.000   75 000 2/18/2015   Pharmacy Times Office of CPE and their education and                                  nduring Material   Journal Supp ement   Chron c Pain (General)    Pa n   Pain Medicine                                          2/18/2015   Pharmacy Times Office of Continuing Professional    Dave     Heckard   666 Plainsboro Road           P ainsboro   NJ   (609)378-3709
                                        CME accreditation partner Univers ty of Cinc nnati                                                                                                                                                                                Education LLC
                                        propose a CME/CE journal supp ement to accompany
                                        the Amer can Journal of Managed Care. The journal
                                        supplement ncludes 3 separate articles that are written
                                        by clinical and managed care thought leaders. The
                                         nformat on w ll nclude patient management strateg es
                                        from both the cl nical and managed care point of v ew
                                        for managed care professiona s involved in the care of
                                        patients using opioid analgesic for pain management.




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20 472   15000.000   15 000 2/23/2015   AAHPM and HPNA represent nearly 17 000 physicians         2/25/2015    2/28/2015     ive   Live        Chron c Pa n (General)   Pa n   General               Pennsylvan a Convention Center                  PA   2/20/2015   American Academy of Hosp ce and Palliative Med c ne   Alyssa   Engle   8735 W H ggins Rd           Ch cago             IL   (847)375-4829
                                        nurses and other nterdisciplinary professiona s work ng
                                         n hospice and pa liative care. Together these
                                        organizat ons col aborate to deve op an nterdisciplinary
                                        educat onal Annual Assembly hosting over 2 500
                                        professiona s (excluding exhib tors) including many
                                        palliative care providers from around the world. This
                                        meeting provides cont nu ng education cred ts for
                                        physicians fam ly phys c ans nurses pharmacists
                                        medical directors and soc al workers. This continua ly
                                        evolv ng meeting now includes over 130 educat onal
                                        sessions; 100 scient fic and case-based posters; and
                                         ndividual consu tat ons with a billing and cod ng
                                        spec al st representatives from the Nat onal Inst tute of
                                        Health or National Institute for Nursing Research peers
                                         n hospice practice and a career counselor. Venues are
                                        prov ded for educators to share practical tools and
                                        strategies and for over 20 special interest groups to
20 472   15000.000   15 000 2/23/2015   AAHPM and HPNA represent nearly 17 000 physicians         2/25/2015    2/28/2015     ive   Live        Chron c Pa n (General)   Pa n   Pall ative Care       Pennsylvan a Convention Center                  PA   2/20/2015   American Academy of Hosp ce and Palliative Med c ne   Alyssa   Engle   8735 W H ggins Rd           Ch cago             IL   (847)375-4829
                                        nurses and other nterdisciplinary professiona s work ng
                                         n hospice and pa liative care. Together these
                                        organizat ons col aborate to deve op an nterdisciplinary
                                        educat onal Annual Assembly hosting over 2 500
                                        professiona s (excluding exhib tors) including many
                                        palliative care providers from around the world. This
                                        meeting provides cont nu ng education cred ts for
                                        physicians fam ly phys c ans nurses pharmacists
                                        medical directors and soc al workers. This continua ly
                                        evolv ng meeting now includes over 130 educat onal
                                        sessions; 100 scient fic and case-based posters; and
                                         ndividual consu tat ons with a billing and cod ng
                                        spec al st representatives from the Nat onal Inst tute of
                                        Health or National Institute for Nursing Research peers
                                         n hospice practice and a career counselor. Venues are
                                        prov ded for educators to share practical tools and
                                        strategies and for over 20 special interest groups to
20 472   15000.000   15 000 2/23/2015   AAHPM and HPNA represent nearly 17 000 physicians         2/25/2015    2/28/2015     ive   Live        Chron c Pa n (General)   Pa n   Pall ative Med c ne   Pennsylvan a Convention Center                  PA   2/20/2015   American Academy of Hosp ce and Palliative Med c ne   Alyssa   Engle   8735 W H ggins Rd           Ch cago             IL   (847)375-4829
                                        nurses and other nterdisciplinary professiona s work ng
                                         n hospice and pa liative care. Together these
                                        organizat ons col aborate to deve op an nterdisciplinary
                                        educat onal Annual Assembly hosting over 2 500
                                        professiona s (excluding exhib tors) including many
                                        palliative care providers from around the world. This
                                        meeting provides cont nu ng education cred ts for
                                        physicians fam ly phys c ans nurses pharmacists
                                        medical directors and soc al workers. This continua ly
                                        evolv ng meeting now includes over 130 educat onal
                                        sessions; 100 scient fic and case-based posters; and
                                         ndividual consu tat ons with a billing and cod ng
                                        spec al st representatives from the Nat onal Inst tute of
                                        Health or National Institute for Nursing Research peers
                                         n hospice practice and a career counselor. Venues are
                                        prov ded for educators to share practical tools and
                                        strategies and for over 20 special interest groups to
20 570   10000.000   10 000 1/23/2015   to support a 1-hour CME educational session               2/15/2015    2/15/2015     ive   Symposium   Chron c Pa n (General)   Pa n   General               Buena Vista Palace                              FL   1/23/2015   F orida Academy of Physician Assistants               H ldy    Lake    222 South Westmonte Drive   Altamonte Spr ngs   FL   (201)280-4533
                                        “Prescription Abuse: What to do About Drug Seekers” to
                                        be presented at the F orida Academy of Physician
                                        Assistants 2015 W nter Symposium and Recertification
                                        Rev ew. The target audience for this annual conference
                                         s Phys c an Assistants (PAs) and projected attendance
                                        at this regional state conference is 400 attendees. The
                                        session will include an outcomes assessment tool as
                                        descri ed elo
20 700   25000.000   25 000 3/2/2015    With a commitment to making h gh- mpact long-term          /19/2015    3/22/2015     ive   Live        Breakthrough Pa n        Pa n   Anesthes ology        Gaylord National Resort and Convention Center   MD   3/2/2015    American Academy of Pain Medicine                     Alyssa   Engle   8735 W H ggins Rd           Ch cago             IL   (847)375-4829
                                        change in the delivery of safe and value-based pain
                                        care the AAPM 2015 Annual Meeting aims to address
                                        the needs and reduce the d sparit es in access to qual ty
                                        ev dence-based pain care to a nat onal aud ence of pain
                                        clinicians and pr mary care providers. The Annual
                                        Meeting will engage cl nicians and hea thcare providers
                                         n the improvement of quality safety efficiency and
                                        efficacy of chronic and acu e pain treatment approaches
                                        across the hea thcare continuum. Educat onal activ ties
                                        wi l empower pain care champions to trans orm the r
                                        communit es by improving assessment evaluation and
                                        clinical decision-making ski ls. Patient-centered
                                        strategies and outcomes related to the treatment of
                                        pain across the healthcare continuum w ll mprove as a
                                        result of learner attendance at th s activ ty.

20 700   25000.000   25 000 3/2/2015    With a commitment to making h gh- mpact long-term           /19/2015   3/22/2015     ive   Live        Breakthrough Pa n        Pa n   Fam ly Med c ne       Gaylord National Resort and Convention Center   MD   3/2/2015    American Academy of Pain Medicine                     Alyssa   Engle   8735 W H ggins Rd           Ch cago             IL   (847)375-4829
                                        change in the delivery of safe and value-based pain
                                        care the AAPM 2015 Annual Meeting aims to address
                                        the needs and reduce the d sparities in access to qual ty
                                        ev dence-based pain care to a nat onal aud ence of pain
                                        clinicians and pr mary care providers. The Annual
                                        Meeting will engage cl nicians and hea thcare providers
                                         n the improvement of quality safety efficiency and
                                        efficacy of chronic and acu e pain treatment approaches
                                        across the hea thcare continuum. Educat onal activ ties
                                        wi l empower pain care champions to trans orm the r
                                        communit es by improving assessment evaluation and
                                        clinical decision-making ski ls. Patient-centered
                                        strategies and outcomes related to the treatment of
                                        pain across the healthcare continuum w ll mprove as a
                                        result of learner attendance at th s activ ty.

20 700   25000.000   25 000 3/2/2015    With a commitment to making h gh- mpact long-term           /19/2015   3/22/2015     ive   Live        Breakthrough Pa n        Pa n   General               Gaylord National Resort and Convention Center   MD   3/2/2015    American Academy of Pain Medicine                     Alyssa   Engle   8735 W H ggins Rd           Ch cago             IL   (847)375-4829
                                        change in the delivery of safe and value-based pain
                                        care the AAPM 2015 Annual Meeting aims to address
                                        the needs and reduce the d sparities in access to qual ty
                                        ev dence-based pain care to a nat onal aud ence of pain
                                        clinicians and pr mary care providers. The Annual
                                        Meeting will engage cl nicians and healthcare providers
                                         n the improvement of quality safety efficiency and
                                        efficacy of chronic and acute pain treatment approaches
                                        across the hea thcare continuum. Educat onal activ ties
                                        wi l empower pain care champions to trans orm the r
                                        communit es by improving assessment evaluation and
                                        clinical decis on-making ski ls. Patient-centered
                                        strategies and outcomes related to the treatment of
                                        pain across the healthcare continuum w ll mprove as a
                                        result of learner attendance at th s activ ty.




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20 700   25000.000   25 000 3/2/2015   With a commitment to making h gh- mpact long-term           /19/2015   3/22/2015     ive   Live   Breakthrough Pa n        Pa n   Internal Med c ne                      Gaylord National Resort and Convention Center   MD   3/2/2015   American Academy of Pain Medicine   Alyssa   Engle   8735 W H ggins Rd   Ch cago   IL   (847)375-4829
                                       change in the delivery of safe and value-based pa n
                                       care the AAPM 2015 Annual Meeting aims to address
                                       the needs and reduce the d sparit es in access to qual ty
                                       evidence-based pain care to a nat onal aud ence of pain
                                       clinicians and pr mary care providers. The Annual
                                       Meeting will engage cl nicians and hea thcare providers
                                        n the improvement of quality safety efficiency and
                                       efficacy of chronic and acu e pain treatment approaches
                                       across the hea thcare continuum. Educat onal activ ties
                                       wi l empower pain care champions to trans orm the r
                                       communit es by improving assessment evaluation and
                                       clinical decision-making ski ls. Patient-centered
                                       strategies and outcomes related to the treatment of
                                       pain across the healthcare continuum w ll mprove as a
                                       result of learner attendance at th s activ ty.

20 700   25000.000   25 000 3/2/2015   With a commitment to making h gh- mpact long-term           /19/2015   3/22/2015     ive   Live   Breakthrough Pa n        Pa n   Neuro ogy                              Gaylord National Resort and Convention Center   MD   3/2/2015   American Academy of Pain Medicine   Alyssa   Engle   8735 W H ggins Rd   Ch cago   IL   (847)375-4829
                                       change in the delivery of safe and value-based pain
                                       care the AAPM 2015 Annual Meeting aims to address
                                       the needs and reduce the d sparities in access to qual ty
                                       ev dence-based pain care to a nat onal aud ence of pain
                                       clinicians and pr mary care providers. The Annual
                                       Meeting will engage cl nicians and hea thcare providers
                                        n the improvement of quality safety efficiency and
                                       efficacy of chronic and acu e pain treatment approaches
                                       across the hea thcare continuum. Educat onal activ ties
                                       wi l empower pain care champions to trans orm the r
                                       communit es by improving assessment evaluation and
                                       clinical decision-making ski ls. Patient-centered
                                       strategies and outcomes related to the treatment of
                                       pain across the healthcare continuum w ll mprove as a
                                       result of learner attendance at th s activ ty.

20 700   25000.000   25 000 3/2/2015   With a commitment to making h gh- mpact long-term           /19/2015   3/22/2015     ive   Live   Breakthrough Pa n        Pa n   Physical Med c ne and Rehabil tation   Gaylord National Resort and Convention Center   MD   3/2/2015   American Academy of Pain Medicine   Alyssa   Engle   8735 W H ggins Rd   Ch cago   IL   (847)375-4829
                                       change in the delivery of safe and value-based pain
                                       care the AAPM 2015 Annual Meeting aims to address
                                       the needs and reduce the d sparities in access to qual ty
                                       ev dence-based pain care to a nat onal aud ence of pain
                                       clinicians and pr mary care providers. The Annual
                                       Meeting will engage cl nicians and hea thcare providers
                                        n the improvement of quality safety efficiency and
                                       efficacy of chronic and acute pain treatment approaches
                                       across the hea thcare continuum. Educat onal activ ties
                                       wi l empower pain care champions to trans orm the r
                                       communit es by improving assessment evaluation and
                                       clinical decision-making ski ls. Patient-centered
                                       strategies and outcomes related to the treatment of
                                       pain across the healthcare continuum w ll mprove as a
                                       result of learner attendance at th s activ ty.

20 700   25000.000   25 000 3/2/2015   With a commitment to making h gh- mpact long-term           /19/2015   3/22/2015     ive   Live   Breakthrough Pa n        Pa n   Psychiatry                             Gaylord National Resort and Convention Center   MD   3/2/2015   American Academy of Pain Medicine   Alyssa   Engle   8735 W H ggins Rd   Ch cago   IL   (847)375-4829
                                       change in the delivery of safe and value-based pain
                                       care the AAPM 2015 Annual Meeting aims to address
                                       the needs and reduce the d sparities in access o quality
                                       ev dence-based pain care to a nat onal aud ence of pain
                                       clinicians and pr mary care providers. The Annual
                                       Meeting will engage cl nicians and healthcare providers
                                        n the improvement of quality safety efficiency and
                                       efficacy of chronic and acute pain treatment approaches
                                       across the hea thcare continuum. Educat onal activ ties
                                       wi l empower pain care champions to trans orm the r
                                       communit es by improving assessment evaluation and
                                       clinical decis on-making ski ls. Patient-centered
                                       strategies and outcomes related to the treatment of
                                       pain across the healthcare continuum w ll mprove as a
                                       result of learner attendance at th s activ ty.

20 700   25000.000   25 000 3/2/2015   With a commitment to making h gh- mpact long-term           /19/2015   3/22/2015     ive   Live   Chron c Pa n (General)   Pa n   Anesthes ology                         Gaylord National Resort and Convention Center   MD   3/2/2015   American Academy of Pain Medicine   Alyssa   Engle   8735 W H ggins Rd   Ch cago   IL   (847)375-4829
                                       change in the delivery of safe and value-based pain
                                       care the AAPM 2015 Annual Meeting aims to address
                                       the needs and reduce the d sparities in access o quality
                                       ev dence-based pain care to a nat onal aud ence of pain
                                       clinicians and pr mary care providers. The Annual
                                       Meeting will engage cl nicians and healthcare providers
                                        n the improvement of quality safety efficiency and
                                       efficacy of chronic and acute pain treatment approaches
                                       across the hea thcare continuum. Educat onal activ ties
                                       wi l empower pain care champions to trans orm the r
                                       communit es by improving assessment evaluation and
                                       clinical decis on-making ski ls. Patient-centered
                                       strategies and outcomes related to the treatment of
                                       pain across the healthcare continuum w ll mprove as a
                                       result of learner attendance at th s activ ty.

20 700   25000.000   25 000 3/2/2015   With a commitment to making h gh- mpact long-term           /19/2015   3/22/2015     ive   Live   Chron c Pa n (General)   Pa n   Fam ly Med c ne                        Gaylord National Resort and Convention Center   MD   3/2/2015   American Academy of Pain Medicine   Alyssa   Engle   8735 W H ggins Rd   Ch cago   IL   (847)375-4829
                                       change in the delivery of safe and value-based pain
                                       care the AAPM 2015 Annual Meeting aims to address
                                       the needs and reduce the d spar ties in access o quality
                                       ev dence-based pain care to a nat onal aud ence of pain
                                       cl nicians and pr mary care providers. The Annual
                                       Meeting will engage cl nicians and healthcare providers
                                        n the improvement of quality safety efficiency and
                                       efficacy of chronic and acute pain treatment approaches
                                       across the hea thcare continuum. Educat onal activ ties
                                       wi l empower pain care champions to transform the r
                                       communit es by improving assessment evaluation and
                                       cl nical decis on-making ski ls. Patient-centered
                                       strategies and outcomes related to the treatment of
                                       pain across the healthcare continuum w ll mprove as a
                                       result of learner attendance at th s activ ty.

20 700   25000.000   25 000 3/2/2015   With a commitment to making h gh- mpact long-term           /19/2015   3/22/2015     ive   Live   Chron c Pa n (General)   Pa n   General                                Gaylord National Resort and Convention Center   MD   3/2/2015   American Academy of Pain Medicine   Alyssa   Engle   8735 W H ggins Rd   Ch cago   IL   (847)375-4829
                                       change in the delivery of safe and value-based pain
                                       care the AAPM 2015 Annual Meeting aims to address
                                       the needs and reduce the d spar ties in access o quality
                                       ev dence-based pain care to a nat onal aud ence of pain
                                       cl nicians and pr mary care providers. The Annual
                                       Meeting will engage cl nicians and healthcare providers
                                        n the improvement of quality safety efficiency and
                                       efficacy of chronic and acute pain treatment approaches
                                       across the hea thcare continuum. Educat onal activ ties
                                       wi l empower pain care champions to transform the r
                                       communit es by improving assessment evaluation and
                                       cl nical dec s on-making ski ls. Patient-centered
                                       strategies and outcomes related to the treatment of
                                       pain across the healthcare continuum w ll mprove as a
                                       result of learner attendance at th s activ ty.




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20 700    25000.000    25 000 3/2/2015    With a commitment to making h gh- mpact long-term           /19/2015   3/22/2015     ive                Live                Chron c Pa n (General)   Pa n   Internal Med c ne                      Gaylord National Resort and Convention Center   MD   3/2/2015    American Academy of Pain Medicine   Alyssa   Engle   8735 W H ggins Rd   Ch cago       IL   (847)375-4829
                                          change in the delivery of safe and value-based pa n
                                          care the AAPM 2015 Annual Meeting aims to address
                                          the needs and reduce the d sparit es in access to qual ty
                                          evidence-based pain care to a nat onal aud ence of pain
                                          clinicians and pr mary care providers. The Annual
                                          Meeting will engage cl nicians and hea thcare providers
                                           n the improvement of quality safety efficiency and
                                          efficacy of chronic and acu e pain treatment approaches
                                          across the hea thcare continuum. Educat onal activ ties
                                          wi l empower pain care champions to trans orm the r
                                          communit es by improving assessment evaluation and
                                          clinical decision-making ski ls. Patient-centered
                                          strategies and outcomes related to the treatment of
                                          pain across the healthcare continuum w ll mprove as a
                                          result of learner attendance at th s activ ty.

20 700    25000.000    25 000 3/2/2015    With a commitment to making h gh- mpact long-term           /19/2015   3/22/2015     ive                Live                Chron c Pa n (General)   Pa n   Neuro ogy                              Gaylord National Resort and Convention Center   MD   3/2/2015    American Academy of Pain Medicine   Alyssa   Engle   8735 W H ggins Rd   Ch cago       IL   (847)375-4829
                                          change in the delivery of safe and value-based pain
                                          care the AAPM 2015 Annual Meeting aims to address
                                          the needs and reduce the d sparities in access to qual ty
                                          ev dence-based pain care to a nat onal aud ence of pain
                                          clinicians and pr mary care providers. The Annual
                                          Meeting will engage cl nicians and hea thcare providers
                                           n the improvement of quality safety efficiency and
                                          efficacy of chronic and acu e pain treatment approaches
                                          across the hea thcare continuum. Educat onal activ ties
                                          wi l empower pain care champions to trans orm the r
                                          communit es by improving assessment evaluation and
                                          clinical decision-making ski ls. Patient-centered
                                          strategies and outcomes related to the treatment of
                                          pain across the healthcare continuum w ll mprove as a
                                          result of learner attendance at th s activ ty.

20 700    25000.000    25 000 3/2/2015    With a commitment to making h gh- mpact long-term           /19/2015   3/22/2015     ive                Live                Chron c Pa n (General)   Pa n   Physical Med c ne and Rehabil tation   Gaylord National Resort and Convention Center   MD   3/2/2015    American Academy of Pain Medicine   Alyssa   Engle   8735 W H ggins Rd   Ch cago       IL   (847)375-4829
                                          change in the delivery of safe and value-based pain
                                          care the AAPM 2015 Annual Meeting aims to address
                                          the needs and reduce the d sparities in access to qual ty
                                          ev dence-based pain care to a nat onal aud ence of pain
                                          clinicians and pr mary care providers. The Annual
                                          Meeting will engage cl nicians and hea thcare providers
                                           n the improvement of quality safety efficiency and
                                          efficacy of chronic and acute pain treatment approaches
                                          across the hea thcare continuum. Educat onal activ ties
                                          wi l empower pain care champions to trans orm the r
                                          communit es by improving assessment evaluation and
                                          clinical decision-making ski ls. Patient-centered
                                          strategies and outcomes related to the treatment of
                                          pain across the healthcare continuum w ll mprove as a
                                          result of learner attendance at th s activ ty.

20 700    25000.000    25 000 3/2/2015    With a commitment to making h gh- mpact long-term           /19/2015   3/22/2015     ive                Live                Chron c Pa n (General)   Pa n   Psychiatry                             Gaylord National Resort and Convention Center   MD   3/2/2015    American Academy of Pain Medicine   Alyssa   Engle   8735 W H ggins Rd   Ch cago       IL   (847)375-4829
                                          change in the delivery of safe and value-based pain
                                          care the AAPM 2015 Annual Meeting aims to address
                                          the needs and reduce the d sparities in access o quality
                                          ev dence-based pain care to a nat onal aud ence of pain
                                          clinicians and pr mary care providers. The Annual
                                          Meeting will engage cl nicians and healthcare providers
                                           n the improvement of quality safety efficiency and
                                          efficacy of chronic and acute pain treatment approaches
                                          across the hea thcare continuum. Educat onal activ ties
                                          wi l empower pain care champions to trans orm the r
                                          communit es by improving assessment evaluation and
                                          clinical decis on-making ski ls. Patient-centered
                                          strategies and outcomes related to the treatment of
                                          pain across the healthcare continuum w ll mprove as a
                                          result of learner attendance at th s activ ty.

20 722   240210.000   240 210 3/11/2015   Live Sate lite Symposium: an accredited symposium to                                 nduring Material   Enduring Mater al   Breakthrough Pa n        Pa n                                                                                               3/11/2015   Med Com Worldw de Inc               Joan     Meyer   101 Wash ngton      Morrisv lle   PA   (800) 408-4242
                                          be held in conjunct on w th the 2015 ONS Annual
                                          Meeting. This interactive symposium will br ng together
                                          pain management experts to d scuss current practices
                                          related to therapeut c options for BTP. Through
                                          advanced iPad technology part cipant engagement and
                                           earning will be opt m zed and key data w ll be co lected
                                          concerning each participant s knowledge of diagnos s
                                          assessment and treatment of BTP. Live Simu taneous
                                          Streaming: To ensure that maximum number of
                                          oncology nurses benefit from the crit cal educat onal
                                           nformat on n the symposium Med Com will offer and
                                          promote the option of a live simultaneous stream ng
                                          broadcast of the symposium hosted by
                                          EmergingSolut onsinPain.com so that nurses not in
                                          attendance at ONS may benefit from this educat onal
                                          activ ty. Enduring: An accredited sl de-aud o se f-study
                                          adaptat on of the live symposium wi l be posted on
20 722   240210.000   240 210 3/11/2015   Live Sate lite Symposium: an accred ted symposium to                                 nduring Material   Enduring Mater al   Breakthrough Pa n        Pa n   Onco ogy                                                                                    3/11/2015   Med Com Worldw de Inc               Joan     Meyer   101 Wash ngton      Morrisv lle   PA   (800) 408-4242
                                          be held in conjunct on w th the 2015 ONS Annual
                                          Meeting. This interactive symposium will bring together
                                          pain management experts to d scuss current practices
                                          related to therapeut c options for BTP. Through
                                          advanced iPad technology part cipant engagement and
                                          learning will be opt m zed and key data w ll be co lected
                                          concerning each participant s knowledge of diagnos s
                                          assessment and treatment of BTP. Live Simul aneous
                                          Streaming: To ensure that maximum number of
                                          oncology nurses benefit from the crit cal educat onal
                                          informat on n the symposium Med Com will offer and
                                          promote the option of a live simultaneous stream ng
                                          broadcast of the symposium hosted by
                                          EmergingSolut onsinPain.com so that nurses not in
                                          attendance at ONS may benefit from this educat onal
                                          activity. Enduring: An accredited slide-aud o se f-study
                                          adaptat on of the live symposium wi l be posted on
20 722   240210.000   240 210 3/11/2015   Live Sate lite Symposium: an accred ted symposium to        /23/2015   4/23/2015     ive                Symposium           Breakthrough Pa n        Pa n   Onco ogy                               TBD at ONS                                      FL   3/11/2015   Med Com Worldw de Inc               Joan     Meyer   101 Wash ngton      Morrisv lle   PA   (800) 408-4242
                                          be held in conjunct on w th the 2015 ONS Annual
                                          Meeting. This interactive symposium will bring together
                                          pain management experts to d scuss current practices
                                          related to therapeut c options for BTP. Through
                                          advanced iPad technology part cipant engagement and
                                          learning will be opt m zed and key data w ll be co lected
                                          concerning each participant s knowledge of diagnos s
                                          assessment and treatment of BTP. Live Simul aneous
                                          Streaming: To ensure that maximum number of
                                          oncology nurses benefit from the crit cal educat onal
                                          informat on n the symposium Med Com will offer and
                                          promote the option of a live simultaneous stream ng
                                          broadcast of the symposium hosted by
                                          EmergingSolut onsinPain.com so that nurses not in
                                          attendance at ONS may benefit from this educat onal
                                          activity. Enduring: An accredited slide-aud o se f-study
                                          adaptat on of the live symposium wi l be posted on




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20 768    25000.000    25 000 3/11/2015   The APS 34th Annual Scientif c Meeting wi l offer current   /13/2015   5/16/2015     ive                Live                Breakthrough Pa n        Pa n   Clin cal Psychologist   Palm Spr ngs Convention Center   CA   3/10/2015   American Pain Society       Alyssa   Engle   8735 W H ggins Rd   Ch cago    IL   (847) 375-4829
                                           nformat on about the d agnosis treatment
                                          management and current research of acute pain
                                          chronic cancer and noncancer pa n and recurrent pa n.
                                          Presentations are des gned to enhance research or
                                          clinical ski ls pert nent to pa n management and w ll
                                          feature content appropr ate for professiona s at several
                                          experience evels. The meeting is the leading forum for
                                          the interdiscipl nary exchange among sc ent sts pain
                                          clinicians and other professionals with prominent
                                          faculty presenting basic trans ational and cl nical
                                          research and treatment ad ancements
20 768    25000.000    25 000 3/11/2015   The APS 34th Annual Scientif c Meeting wi l offer current   /13/2015   5/16/2015     ive                Live                Breakthrough Pa n        Pa n   Pain Medicine           Palm Spr ngs Convention Center   CA   3/10/2015   American Pain Society       Alyssa   Engle   8735 W H ggins Rd   Ch cago    IL   (847) 375-4829
                                           nformat on about the d agnosis treatment
                                          management and current research of acute pain
                                          chronic cancer and noncancer pa n and recurrent pa n.
                                          Presentations are des gned to enhance research or
                                          clinical ski ls pert nent to pa n management and w ll
                                          feature content appropr ate for professiona s at several
                                          experience evels. The meeting is the leading forum for
                                          the interdiscipl nary exchange among sc ent sts pain
                                          clinicians and other professionals with prominent
                                          faculty presenting basic trans ational and cl nical
                                          research and treatment ad ancements
20 768    25000.000    25 000 3/11/2015   The APS 34th Annual Scientif c Meeting wi l offer current   /13/2015   5/16/2015     ive                Live                Breakthrough Pa n        Pa n   Researchers             Palm Spr ngs Convention Center   CA   3/10/2015   American Pain Society       Alyssa   Engle   8735 W H ggins Rd   Ch cago    IL   (847) 375-4829
                                           nformat on about the d agnosis treatment
                                          management and current research of acute pain
                                          chronic cancer and noncancer pa n and recurrent pa n.
                                          Presentations are des gned to enhance research or
                                          clinical ski ls pert nent to pa n management and w ll
                                          feature content appropr ate for professiona s at several
                                          experience evels. The meeting is the leading forum for
                                          the interdiscipl nary exchange among sc ent sts pain
                                          clinicians and other professionals with prominent
                                          faculty presenting basic trans ational and cl nical
                                          research and treatment ad ancements
20 768    25000.000    25 000 3/11/2015   The APS 34th Annual Scientif c Meeting wi l offer current   /13/2015   5/16/2015     ive                Live                Chron c Pa n (General)   Pa n   Clin cal Psychologist   Palm Spr ngs Convention Center   CA   3/10/2015   American Pain Society       Alyssa   Engle   8735 W H ggins Rd   Ch cago    IL   (847) 375-4829
                                           nformat on about the d agnosis treatment
                                          management and current research of acute pain
                                          chronic cancer and noncancer pa n and recurrent pa n.
                                          Presentations are des gned to enhance research or
                                          clinical ski ls pert nent to pa n management and w ll
                                          feature content appropr ate for professiona s at several
                                          experience evels. The meeting is the leading forum for
                                          the interdiscipl nary exchange among sc ent sts pain
                                          clinicians and other professionals with prominent
                                          faculty presenting basic trans ational and cl nical
                                          research and treatment ad ancements
20 768    25000.000    25 000 3/11/2015   The APS 34th Annual Scientif c Meeting wi l offer current   /13/2015   5/16/2015     ive                Live                Chron c Pa n (General)   Pa n   Pain Medicine           Palm Spr ngs Convention Center   CA   3/10/2015   American Pain Society       Alyssa   Engle   8735 W H ggins Rd   Ch cago    IL   (847) 375-4829
                                           nformat on about the d agnosis treatment
                                          management and current research of acute pain
                                          chronic cancer and noncancer pa n and recurrent pa n.
                                          Presentations are des gned to enhance research or
                                          clinical ski ls pert nent to pa n management and w ll
                                          feature content appropr ate for professiona s at several
                                          experience evels. The meeting is the leading forum for
                                          the interdiscipl nary exchange among sc ent sts pain
                                          clinicians and other professionals with prominent
                                          faculty presenting basic trans ational and cl nical

20 768    25000.000    25 000 3/11/2015   The APS 34th Annual Scientif c Meeting wi l offer current /13/2015     5/16/2015     ive                Live                Chron c Pa n (General)   Pa n   Researchers             Palm Spr ngs Convention Center   CA   3/10/2015   American Pain Society       Alyssa   Engle   8735 W H ggins Rd   Ch cago    IL   (847) 375-4829
                                           nformat on about the d agnosis treatment
                                          management and current research of acute pain
                                          chronic cancer and noncancer pa n and recurrent pa n.
                                          Presentations are des gned to enhance research or
                                          clinical ski ls pert nent to pa n management and w ll
                                          feature content appropr ate for professiona s at several
                                          experience evels. The meeting is the leading forum for
                                          the interdiscipl nary exchange among sc ent sts pain
                                          clinicians and other professionals with prominent
                                          faculty presenting basic trans ational and cl nical
                                          research and treatment ad ancements
20 894   314615.000   314 615 5/14/2015   This grant proposes live and enduring Clin cal Issues™                               nduring Material   Enduring Mater al   Chron c Pain (General)   Pa n   General                                                       5/14/2015   Integritas Communicat ons   Sean     Quinn   51 Talbot Rd        Harr man   NY   (646) 350-0904
                                          programs for pa n spec al sts and other providers
                                           nvolved in the opioid-based treatment of chron c pa n.
                                          Funds w ll be used for a live program at PAINWeek 2015
                                          and an enduring activity hosted on myCME.com and
                                          ExchangeCME.com. Cl nical Issues™ programs are
                                          designed to engage and educate attendees wh le
                                          promoting critical think ng skil s. Us ng a debate-to-
                                          consensus format the overa l goal is provide expert
                                           nsights nto areas in which clinical data are
                                          contrad ctory ncomplete or just beg nning to
                                          crystalize. Each participant will also receive access to a
                                          Clin cal Resource Center containing slides freely
                                          available stud es assessment tools and video clips from

20 894   314615.000   314 615 5/14/2015   This grant proposes live and enduring Clin cal Issues™                               nduring Material   Enduring Mater al   Chron c Pain (General)   Pa n   Pain Medicine                                                 5/14/2015   Integritas Communicat ons   Sean     Quinn   51 Talbot Rd        Harr man   NY   (646) 350-0904
                                          programs for pa n spec al sts and other providers
                                           nvolved in the opioid-based treatment of chron c pa n.
                                          Funds w ll be used for a live program at PAINWeek 2015
                                          and an enduring activity hosted on myCME.com and
                                          ExchangeCME.com. Cl nical Issues™ programs are
                                          designed to engage and educate attendees wh le
                                          promoting critical think ng skil s. Us ng a debate-to-
                                          consensus format the overa l goal is provide expert
                                           nsights nto areas in which clinical data are
                                          contrad ctory ncomplete or just beg nning to
                                          crystalize. Each participant will also receive access to a
                                          Clin cal Resource Center containing slides freely
                                          available stud es assessment tools and video clips from
                                          the li e rograms
20 894   314615.000   314 615 5/14/2015   This grant proposes live and enduring Clin cal Issues™                               nduring Material   Enduring Mater al   Chron c Pain (General)   Pa n   Pr mary Care                                                  5/14/2015   Integritas Communicat ons   Sean     Quinn   51 Talbot Rd        Harr man   NY   (646) 350-0904
                                          programs for pa n spec al sts and other providers
                                           nvolved in the opioid-based treatment of chron c pa n.
                                          Funds w ll be used for a live program at PAINWeek 2015
                                          and an enduring activity hosted on myCME.com and
                                          ExchangeCME.com. Cl nical Issues™ programs are
                                          designed to engage and educate attendees wh le
                                          promoting critical think ng skil s. Us ng a debate-to-
                                          consensus format the overa l goal is provide expert
                                           nsights nto areas in which clinical data are
                                          contrad ctory ncomplete or just beg nning to
                                          crystalize. Each participant will also receive access to a
                                          Clin cal Resource Center containing slides freely
                                          available stud es assessment tools and video clips from
                                          the li e rograms
20 894   314615.000   314 615 5/14/2015   This grant proposes live and enduring Clin cal Issues™ 9/9/2015        9/10/2015     ive                Symposium           Chron c Pa n (General)   Pa n   General                 Pain Week 2015                   NV   5/14/2015   Integritas Communicat ons   Sean     Quinn   51 Talbot Rd        Harr man   NY   (646) 350-0904
                                          programs for pa n spec al sts and other providers
                                           nvolved in the opioid-based treatment of chron c pa n.
                                          Funds w ll be used for a live program at PAINWeek 2015
                                          and an enduring activity hosted on myCME.com and
                                          ExchangeCME.com. Cl nical Issues™ programs are
                                          designed to engage and educate attendees wh le
                                          promoting critical think ng skil s. Us ng a debate-to-
                                          consensus format the overa l goal is provide expert
                                           nsights nto areas in which clinical data are
                                          contrad ctory ncomplete or just beg nning to
                                          crystalize. Each participant will also receive access to a
                                          Clin cal Resource Center containing slides freely
                                          available stud es assessment tools and video clips from
                                          the li e rograms




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20 894   314615.000   314 615 5/14/2015   This grant proposes live and enduring Clin cal Issues™ 9/9/2015          9/10/2015      ive   Symposium      Chron c Pa n (General)   Pa n   Pain Medicine             Pain Week 2015                                 NV   5/14/2015   Integritas Communicat ons                          Sean      Quinn      51 Talbot Rd                Harr man        NY   (646) 350-0904
                                          programs for pa n spec al sts and other providers
                                          nvolved in the opioid-based treatment of chron c pa n.
                                          Funds w ll be used for a live program at PAINWeek 2015
                                          and an enduring activity hosted on myCME.com and
                                          ExchangeCME.com. Cl nical Issues™ programs are
                                          designed to engage and educate attendees wh le
                                          promoting critical think ng skil s. Us ng a debate-to-
                                          consensus format the overa l goal is provide expert
                                          nsights nto areas in which clinical data are
                                          contrad ctory ncomplete or just beg nning to
                                          crystalize. Each participant will also receive access to a
                                          Clin cal Resource Center containing slides freely
                                          available stud es assessment tools and video clips from

20 894   314615.000   314 615 5/14/2015   This grant proposes live and enduring Clin cal Issues™ 9/9/2015          9/10/2015      ive   Symposium      Chron c Pa n (General)   Pa n   Pr mary Care              Pain Week 2015                                 NV   5/14/2015   Integritas Communicat ons                          Sean      Quinn      51 Talbot Rd                Harr man        NY   (646) 350-0904
                                          programs for pa n spec al sts and other providers
                                          nvolved in the opioid-based treatment of chron c pa n.
                                          Funds w ll be used for a live program at PAINWeek 2015
                                          and an enduring activity hosted on myCME.com and
                                          ExchangeCME.com. Cl nical Issues™ programs are
                                          designed to engage and educate attendees wh le
                                          promoting critical think ng skil s. Us ng a debate-to-
                                          consensus format the overa l goal is provide expert
                                          nsights nto areas in which clinical data are
                                          contrad ctory ncomplete or just beg nning to
                                          crystalize. Each participant will also receive access to a
                                          Clin cal Resource Center containing slides freely
                                          available stud es assessment tools and video clips from

20 982    25000.000    25 000 3/2/2015    This program is designed so that all clinicians w ll meet    /18/2015    3/19/2015      ive   Live           Chron c Pa n (General)   Pa n   Pain Medicine             Gaylord National Hotel and Convent on Center   MD   2/27/2015   American Academy of Pain Medicine                  Alyssa    Engle      8735 W H ggins Rd           Ch cago         IL   (847)375-4829
                                          or exceed the needs of the pat ents they serve by
                                           mprov ng the assessment evaluation cl nical dec s on
                                          making and management of common pain disorders.
                                          This will be accomplished by mplementing evidence-
                                          based pa n treatments and protocols includ ng safe
                                          prescribing practices that mitigate risks assoc ated with
                                          use of opioid analgesics and u timately mprove qual ty
                                          and safety of patients' lives. This curriculum effectively
                                           ntegrates nterventional integrative and pat ent-
                                          centered pain care – designed to improve the
                                           ntegration of evidence-based protocols into cl nical
                                          decision mak ng across mu tip e practice sett ngs. Top cs
                                           dentified but not included n the 2014 program
                                           ncluded: non-op oid pharmacology
                                          medical/legal/ethical issues legal/government phys cal
                                          therapy/exerc se anatomy and physiology. These topics
                                          were incorporated in the curr culum for the 2015
21 116     1800.000     1 800 3/9/2015    This will be a one hour grand rounds ecture                  /2/2015     4/2/2015       ive   Grand Rounds   Chron c Pa n (General)   Pa n                             Shady Grove Adventist Hospital                 MD   3/9/2015    Shady Grove Advent st Hospital                     Viv an    Abadom     9901 Medical Center Drive   Rockvi le       MD   (240)826-6411
                                          presentation to educate attendees on evaluat on and
                                          treatment of patients with chronic pain and the
                                           mp ementation of opio d risk evaluat on and m tigation
                                          strategies (REMS)
21 116     1800.000     1 800 3/9/2015    This will be a one hour grand rounds ecture                  /2/2015     4/2/2015       ive   Grand Rounds   Chron c Pa n (General)   Pa n   Fam ly Med c ne           Shady Grove Adventist Hospital                 MD   3/9/2015    Shady Grove Adventist Hospital                     Viv an    Abadom     9901 Medical Center Drive   Rockvi le       MD   (240)826-6411
                                          presentation to educate attendees on evaluat on and
                                          treatment of patients with chronic pain and the
                                           mp ementation of opio d risk evaluat on and m tigation
                                          strategies (REMS).
21 116     1800.000     1 800 3/9/2015    This will be a one hour grand rounds ecture                  /2/2015     4/2/2015       ive   Grand Rounds   Chron c Pa n (General)   Pa n   General                   Shady Grove Adventist Hospital                 MD   3/9/2015    Shady Grove Advent st Hospital                     Viv an    Abadom     9901 Medical Center Drive   Rockvi le       MD   (240)826-6411
                                          presentation to educate attendees on evaluat on and
                                          treatment of patients with chronic pain and the
                                           mp ementation of opio d risk evaluat on and m tigation
                                          strategies (REMS).
21 116     1800.000     1 800 3/9/2015    This will be a one hour grand rounds ecture                  /2/2015     4/2/2015       ive   Grand Rounds   Chron c Pa n (General)   Pa n   Internal Med c ne         Shady Grove Adventist Hospital                 MD   3/9/2015    Shady Grove Advent st Hospital                     Viv an    Abadom     9901 Medical Center Drive   Rockvi le       MD   (240)826-6411
                                          presentation to educate attendees on evaluat on and
                                          treatment of patients with chronic pain and the
                                           mp ementation of opio d risk evaluat on and m tigation
                                          strategies (REMS).
21 510     1400.000     1 400 3/18/2015   This will be a one hour CME lecture presentation to          /5/2015     5/5/2015       ive   Grand Rounds   Chron c Pa n (General)   Pa n                             Prov dence Holy Cross Medical Center           CA   3/17/2015   Providence Holy Cross Medical Center               Ben ta    Wallraff   15031 Rinaldi Street        Miss on H lls   CA   (818)496-4608
                                          educate at endees on management of chronic pa n
                                           ncl ding a ro riate se of o ioids
21 510     1400.000     1 400 3/18/2015   This will be a one hour CME lecture presentation to          /5/2015     5/5/2015       ive   Grand Rounds   Chron c Pa n (General)   Pa n   Internal Med c ne         Prov dence Holy Cross Medical Center           CA   3/17/2015   Providence Holy Cross Medical Center               Ben ta    Wallraff   15031 Rinaldi Street        Miss on H lls   CA   (818)496-4608
                                          educate at endees on management of chronic pa n
                                           ncluding appropriate use of opioids.
21 510     1400.000     1 400 3/18/2015   This will be a one hour CME lecture presentation to          /5/2015     5/5/2015       ive   Grand Rounds   Chron c Pa n (General)   Pa n   Pr mary Care              Prov dence Holy Cross Medical Center           CA   3/17/2015   Providence Holy Cross Medical Center               Ben ta    Wallraff   15031 Rinaldi Street        Miss on H lls   CA   (818)496-4608
                                          educate at endees on management of chronic pa n
                                           ncl ding a ro riate se of o ioids
21 522     5000.000     5 000 4/14/2015   This 3-hour Drug Diversion and Best Pract ce                 1/12/2015   11/15/2015     ive   Live           Chron c Pa n (General)   Pa n                             Pullman Plaza Hotel                            WV   4/13/2015   Fam ly Medicine Foundation of West V rginia Inc.   William   Ferrell    650 Main Street             Barboursvil e   WV   (304) 733-6485
                                          Prescribing of Control ed Substances lecture offers
                                          regional health care providers w th high-quality
                                          practical clin cal med cal education to mprove the
                                          understanding of chronic pain as a public health
                                          prob em w th signif cant socioeconomic impact patient
                                          hea th consequences and soc etal burdens. Our lecture
                                          wi l be given by a world c ass pa n expert from the Mayo
                                          Clin c n Rochester MN. Please see the attached
                                          documents for our earning objectives and more
                                           nformat on. Also please visit www.painmodel.com
                                          wh ch is the resu t of the outcomes from our annual
                                            ain lect res
21 522     5000.000     5 000 4/14/2015   This 3-hour Drug Diversion and Best Pract ce                 1/12/2015   11/15/2015     ive   Live           Chron c Pa n (General)   Pa n   Advanced Practice Nurse   Pullman Plaza Hotel                            WV   4/13/2015   Fam ly Med cine Foundation of West V rginia Inc.   William   Ferrell    650 Main Street             Barboursvil e   WV   (304) 733-6485
                                          Prescribing of Control ed Substances lecture offers
                                          regional hea th care providers w th high-quality
                                          practical clin cal med cal education to mprove the
                                          understanding of chronic pain as a public health
                                          prob em w th signif cant socioeconomic impact patient
                                          hea th consequences and soc etal burdens. Our lecture
                                          wi l be given by a world c ass pa n expert from the Mayo
                                          Clin c n Rochester MN. Please see the attached
                                          documents for our earning objectives and more
                                           nformat on. Also please visit www.painmodel.com
                                          wh ch is the resu t of the outcomes from our annual

21 522     5000.000     5 000 4/14/2015   This 3-hour Drug Diversion and Best Pract ce                 1/12/2015   11/15/2015     ive   Live           Chron c Pa n (General)   Pa n   General                   Pullman Plaza Hotel                            WV   4/13/2015   Fam ly Medicine Foundation of West V rginia Inc.   William   Ferrell    650 Main Street             Barboursvil e   WV   (304) 733-6485
                                          Prescribing of Control ed Substances lecture offers
                                          regional hea th care providers w th high-quality
                                          practical clin cal med cal education to mprove the
                                          understanding of chronic pain as a public health
                                          prob em w th signif cant socioeconomic impact patient
                                          hea th consequences and soc etal burdens. Our lecture
                                          wi l be given by a world c ass pa n expert from the Mayo
                                          Clin c n Rochester MN. Please see the attached
                                          documents for our earning objectives and more
                                           nformat on. Also please visit www.painmodel.com
                                          wh ch is the resu t of the outcomes from our annual
                                            ain lect res
21 522     5000.000     5 000 4/14/2015   This 3-hour Drug Diversion and Best Pract ce                 1/12/2015   11/15/2015     ive   Live           Chron c Pa n (General)   Pa n   Internal Med c ne         Pullman Plaza Hotel                            WV   4/13/2015   Fam ly Medicine Foundation of West V rginia Inc.   William   Ferrell    650 Main Street             Barboursvil e   WV   (304) 733-6485
                                          Prescribing of Control ed Substances lecture offers
                                          regional hea th care providers w th high-quality
                                          practical clin cal med cal education to mprove the
                                          understanding of chronic pain as a public health
                                          prob em w th signif cant socioeconomic impact patient
                                          hea th consequences and soc etal burdens. Our lecture
                                          wi l be given by a world c ass pa n expert from the Mayo
                                          Clin c n Rochester MN. Please see the attached
                                          documents for our earning objectives and more
                                           nformat on. Also please visit www.painmodel.com
                                          wh ch is the resu t of the outcomes from our annual
                                            ain lect res




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21 522     5000.000     5 000 4/14/2015   This 3-hour Drug Diversion and Best Pract ce              1/12/2015   11/15/2015     ive                Live                     Chron c Pa n (General)   Pa n   Pain Medicine     Pullman Plaza Hotel                     WV   4/13/2015   Fam ly Medicine Foundation of West V rginia Inc.   William   Ferrell   650 Main Street         Barboursvil e   WV   (304) 733-6485
                                          Prescribing of Control ed Substances lecture offers
                                          regional health care providers w th high-quality
                                          practical clin cal med cal education to mprove the
                                          understanding of chronic pain as a public health
                                          prob em w th signif cant socioeconomic impact patient
                                          hea th consequences and soc etal burdens. Our lecture
                                          wi l be given by a world c ass pa n expert from the Mayo
                                          Clin c n Rochester MN. Please see the attached
                                          documents for our earning objectives and more
                                           nformat on. Also please visit www.painmodel.com
                                          wh ch is the resu t of the outcomes from our annual
                                            ain lect res
21 522     5000.000     5 000 4/14/2015   This 3-hour Drug Diversion and Best Pract ce              1/12/2015   11/15/2015     ive                Live                     Chron c Pa n (General)   Pa n   Pr mary Care      Pullman Plaza Hotel                     WV   4/13/2015   Fam ly Medicine Foundation of West V rginia Inc.   William   Ferrell   650 Main Street         Barboursvil e   WV   (304) 733-6485
                                          Prescribing of Control ed Substances lecture offers
                                          regional hea th care providers w th high-quality
                                          practical clin cal med cal education to mprove the
                                          understanding of chronic pain as a public health
                                          prob em w th signif cant socioeconomic impact patient
                                          hea th consequences and soc etal burdens. Our lecture
                                          wi l be given by a world c ass pa n expert from the Mayo
                                          Clin c n Rochester MN. Please see the attached
                                          documents for our earning objectives and more
                                           nformat on. Also please visit www.painmodel.com
                                          wh ch is the resu t of the outcomes from our annual
                                            ain lect res
21 646   295643.000   295 643 5/18/2015   Physicians lack the knowledge competence and                                         nduring Material   Monograph                Chron c Pain (General)   Pa n   Fam ly Med c ne                                                5/18/2015   American Academy of Fam ly Phys c ans New Jersey   Theresa   Barrett   224 West State Street   Trenton         NJ   (609) 394-1711
                                          performance ski ls to successfully manage chronic pain.                                                                                                                                                                                     Chapter
                                          Gaps showed: Ne ther primary care phys c ans or the r
                                          patients fu ly understand the nature of pain resu ting in
                                           nadequate or nappropriate treatment; Phys c ans are
                                          not fu ly aware of REMS programs; Desp te the
                                          prevalence of pain n society t cont nues to be under-
                                          or untreated; Physician and pat en s do not talk about
                                          pain. Therefore this accred ted educational program wi l
                                          cons st of live meetings; endur ng materials; and web-
                                          based content. A l activit es are des gned to be
                                          complementary; provid ng earners with an enr ched
                                          foundat on of knowledge to increase their
                                          comprehens on of th s complex therapeut c area and to
                                          f ll know edge competence and performance level

21 646   295643.000   295 643 5/18/2015   Physicians lack the knowledge competence and              2/1/2015    12/31/2015     ive                Symposium                Chron c Pa n (General)   Pa n   Fam ly Med c ne   Embassy Su tes at Kings on Plantat on   SC   5/18/2015   American Academy of Fam ly Phys c ans New Jersey   Theresa   Barrett   224 West State Street   Trenton         NJ   (609) 394-1711
                                          performance ski ls to successfully manage chronic pain.                                                                                                                                                                                     Chapter
                                          Gaps showed: Ne ther primary care phys c ans or the r
                                          patients fu ly understand the nature of pain resu ting in
                                           nadequate or nappropriate treatment; Phys c ans are
                                          not fu ly aware of REMS programs; Desp te the
                                          prevalence of pain n society t cont nues to be under-
                                          or untreated; Physician and pat en s do not talk about
                                          pain. Therefore this accred ted educational program wi l
                                          cons st of live meetings; endur ng materials; and web-
                                          based content. A l activit es are des gned to be
                                          complementary; provid ng earners with an enr ched
                                          foundat on of knowledge to increase their
                                          comprehens on of th s complex therapeut c area and to
                                          f ll know edge competence and performance level
                                            ractice ga s
21 646   295643.000   295 643 5/18/2015   Physicians lack the knowledge competence and              2/1/2015    12/1/2016      Web                Webcast/Online Program   Chron c Pa n (General)   Pa n   Fam ly Med c ne                                                5/18/2015   American Academy of Fam ly Phys c ans New Jersey   Theresa   Barrett   224 West State Street   Trenton         NJ   (609) 394-1711
                                          performance ski ls to successfully manage chronic pain.                                                                                                                                                                                     Chapter
                                          Gaps showed: Ne ther primary care phys c ans or the r
                                          patients fu ly understand the nature of pain resu ting in
                                           nadequate or nappropriate treatment; Phys c ans are
                                          not fu ly aware of REMS programs; Desp te the
                                          prevalence of pain n society t cont nues to be under-
                                          or untreated; Physician and pat en s do not talk about
                                          pain. Therefore this accred ted educational program wi l
                                          cons st of live meetings; endur ng materials; and web-
                                          based content. A l activit es are des gned to be
                                          complementary; provid ng earners with an enr ched
                                          foundat on of knowledge to increase their
                                          comprehens on of th s complex therapeut c area and to
                                          f ll know edge competence and performance level

21 646   295643.000   295 643 5/18/2015   Physicians lack the knowledge competence and              2/1/2015    12/31/2016     ive                Symposium                Chron c Pa n (General)   Pa n   Fam ly Med c ne   Baytowne Conference Center              FL   5/18/2015   American Academy of Fam ly Phys c ans New Jersey   Theresa   Barrett   224 West State Street   Trenton         NJ   (609) 394-1711
                                          performance ski ls to successfully manage chronic pain.                                                                                                                                                                                     Chapter
                                          Gaps showed: Ne ther primary care phys c ans or the r
                                          patients fu ly understand the nature of pain resu ting in
                                           nadequate or nappropriate treatment; Phys c ans are
                                          not fu ly aware of REMS programs; Desp te the
                                          prevalence of pain n society t cont nues to be under-
                                          or untreated; Physician and pat en s do not talk about
                                          pain. Therefore this accred ted educational program wi l
                                          cons st of live meetings; endur ng materials; and web-
                                          based content. A l activit es are des gned to be
                                          complementary; provid ng earners with an enr ched
                                          foundat on of knowledge to increase their
                                          comprehens on of th s complex therapeut c area and to
                                          f ll know edge competence and performance level

21 646   295643.000   295 643 5/18/2015   Physicians lack the knowledge competence and              2/1/2015    12/31/2016     ive                Symposium                Chron c Pa n (General)   Pa n   Fam ly Med c ne   Caesars At ant c City                   NJ   5/18/2015   American Academy of Fam ly Phys c ans New Jersey   Theresa   Barrett   224 West State Street   Trenton         NJ   (609) 394-1711
                                          performance ski ls to successfully manage chronic pain.                                                                                                                                                                                     Chapter
                                          Gaps showed: Ne ther primary care phys c ans or the r
                                          patients fu ly understand the nature of pain resu ting in
                                           nadequate or nappropriate treatment; Phys c ans are
                                          not fu ly aware of REMS programs; Desp te the
                                          prevalence of pain n society t cont nues to be under-
                                          or untreated; Physician and pat en s do not talk about
                                          pain. Therefore this accred ted educational program wi l
                                          cons st of live meetings; endur ng materials; and web-
                                          based content. A l activit es are des gned to be
                                          complementary; provid ng earners with an enr ched
                                          foundat on of knowledge to increase their
                                          comprehens on of th s complex therapeut c area and to
                                          f ll know edge competence and performance level
                                            ractice ga s
21 646   295643.000   295 643 5/18/2015   Physicians lack the knowledge competence and              2/1/2015    12/31/2016     ive                Symposium                Chron c Pa n (General)   Pa n   Fam ly Med c ne   Cobb Gal eria Centre                    GA   5/18/2015   American Academy of Fam ly Phys c ans New Jersey   Theresa   Barrett   224 West State Street   Trenton         NJ   (609) 394-1711
                                          performance ski ls to successfully manage chronic pain.                                                                                                                                                                                     Chapter
                                          Gaps showed: Ne ther primary care phys c ans or the r
                                          patients fu ly understand the nature of pain resu ting in
                                           nadequate or nappropriate treatment; Phys c ans are
                                          not fu ly aware of REMS programs; Desp te the
                                          prevalence of pain n society t cont nues to be under-
                                          or untreated; Physician and pat en s do not talk about
                                          pain. Therefore this accred ted educational program wi l
                                          cons st of live meetings; endur ng materials; and web-
                                          based content. A l activit es are des gned to be
                                          complementary; provid ng earners with an enr ched
                                          foundat on of knowledge to increase their
                                          comprehens on of th s complex therapeut c area and to
                                          f ll know edge competence and performance level




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21 646   295643.000   295 643 5/18/2015   Physicians lack the knowledge competence and              2/1/2015      12/31/2016     ive   Symposium                         Chron c Pa n (General)   Pa n   Fam ly Med c ne     Grand Traverse Resort            MI   5/18/2015   American Academy of Fam ly Phys c ans New Jersey     Theresa    Barrett          224 West State Street           Trenton        NJ   (609) 394-1711
                                          performance ski ls to successfully manage chronic pain.                                                                                                                                                                              Chapter
                                          Gaps showed: Ne ther primary care phys c ans or the r
                                          patients fu ly understand the nature of pain resu ting in
                                           nadequate or nappropriate treatment; Phys c ans are
                                          not fu ly aware of REMS programs; Desp te the
                                          prevalence of pain n society t cont nues to be under-
                                          or untreated; Physician and pat en s do not talk about
                                          pain. Therefore this accred ted educational program wi l
                                          cons st of live meetings; endur ng materials; and web-
                                          based content. A l activit es are des gned to be
                                          complementary; provid ng earners with an enr ched
                                          foundat on of knowledge to increase their
                                          comprehens on of th s complex therapeut c area and to
                                          f ll know edge competence and performance level

21 646   295643.000   295 643 5/18/2015   Physicians lack the knowledge competence and              2/1/2015      12/31/2016     ive   Symposium                         Chron c Pa n (General)   Pa n   Fam ly Med c ne     La Cantera Hi l Country Resort   TX   5/18/2015   American Academy of Fam ly Phys c ans New Jersey     Theresa    Barrett          224 West State Street           Trenton        NJ   (609) 394-1711
                                          performance ski ls to successfully manage chronic pain.                                                                                                                                                                              Chapter
                                          Gaps showed: Ne ther primary care phys c ans or the r
                                          patients fu ly understand the nature of pain resu ting in
                                           nadequate or nappropriate treatment; Phys c ans are
                                          not fu ly aware of REMS programs; Desp te the
                                          prevalence of pain n society t cont nues to be under-
                                          or untreated; Physician and pat en s do not talk about
                                          pain. Therefore this accred ted educational program wi l
                                          cons st of live meetings; endur ng materials; and web-
                                          based content. A l activit es are des gned to be
                                          complementary; provid ng earners with an enr ched
                                          foundat on of knowledge to increase their
                                          comprehens on of th s complex therapeut c area and to
                                          f ll know edge competence and performance level

21 754    15000.000    15 000 7/21/2015   The Pa n Care for Primary Care conference will offer      7/23/2015     7/25/2015      ive   Professional Education Programs   Chron c Pa n (General)   Pa n   Fam ly Med c ne     Walt Disney Wor d Swan Hotel     FL   7/20/2015   American Pain Society                                Alyssa     Engle            8735 W H ggins Rd               Ch cago        IL   (847) 375-4829
                                          current information about the impact and importance of
                                          pain assessment of the pa n patient mechanisms of
                                          act on pharmacological approaches current and future
                                          directions in emerg ng therapies--some trad tional
                                          therapies which are readily accepted as we l as others
                                          wh ch are less known or pract ced--cognitive and
                                          behav oral approaches add ct on and special
                                          populat ons. The conference w ll also focus on several of
                                          the most common patient complaints seen in the
                                          pr mary care setting: headache back pain neuropathy

21 754    15000.000    15 000 7/21/2015   The Pa n Care for Primary Care conference will offer        7/23/2015   7/25/2015      ive   Professional Education Programs   Chron c Pa n (General)   Pa n   General             Walt Disney Wor d Swan Hotel     FL   7/20/2015   American Pain Society                                Alyssa     Engle            8735 W H ggins Rd               Ch cago        IL   (847) 375-4829
                                          current information about the impact and importance of
                                          pain assessment of the pa n patient mechanisms of
                                          act on pharmacological approaches current and future
                                          directions in emerg ng therapies--some trad tional
                                          therapies which are readily accepted as we l as others
                                          wh ch are less known or pract ced--cognitive and
                                          behav oral approaches add ct on and special
                                          populat ons. The conference w ll also focus on several of
                                          the most common patient complaints seen in the
                                          pr mary care setting: headache back pain neuropathy
                                          and i rom algia
21 754    15000.000    15 000 7/21/2015   The Pa n Care for Primary Care conference will offer        7/23/2015   7/25/2015      ive   Professional Education Programs   Chron c Pa n (General)   Pa n   Internal Med c ne   Walt Disney Wor d Swan Hotel     FL   7/20/2015   American Pain Society                                Alyssa     Engle            8735 W H ggins Rd               Ch cago        IL   (847) 375-4829
                                          current information about the impact and importance of
                                          pain assessment of the pa n patient mechanisms of
                                          act on pharmacological approaches current and future
                                          directions in emerg ng therapies--some trad tional
                                          therapies which are readily accepted as we l as others
                                          wh ch are less known or pract ced--cognitive and
                                          behav oral approaches add ct on and special
                                          populat ons. The conference w ll also focus on several of
                                          the most common patient complaints seen in the
                                          pr mary care setting: headache back pain neuropathy
                                          and i rom algia
21 878    10000.000    10 000 8/4/2015    “Pain Management Update – 2015” is des gned to              8/15/2015   8/15/2015      ive   Professional Education Programs   Chron c Pa n (General)   Pa n   General             CME                              FL   8/3/2015    Institute of Pa n Management Educational and Research Or ando   F orete Jr. MD   1325 San Marco Blvd Suite 401   Jacksonv lle   FL   (904)448-0239
                                           nform Pr mary Care Phys c ans Intern sts Physical                                                                                                                                                                                   Foundat on
                                          Medicine & Rehabilitat on Neurologist Pain Med c ne
                                          Specialists other medical specialists and a lied hea th
                                          personnel on the atest updates n Pain Management. It
                                           s mportant for all healthcare professiona s to be aware
                                          of new advances and laws effecting pain management
                                          and what options are ava lable to prov ders to properly
                                          treat this at ent o ation
21 878    10000.000    10 000 8/4/2015    “Pain Management Update – 2015” is des gned to              8/15/2015   8/15/2015      ive   Professional Education Programs   Chron c Pa n (General)   Pa n   Pain Medicine       CME                              FL   8/3/2015    Institute of Pa n Management Educational and Research Or ando   F orete Jr. MD   1325 San Marco Blvd Suite 401   Jacksonv lle   FL   (904)448-0239
                                           nform Pr mary Care Phys c ans Intern sts Physical                                                                                                                                                                                   Foundat on
                                          Medicine & Rehabilitat on Neurologist Pain Med c ne
                                          Specialists other medical specialists and a lied hea th
                                          personnel on the atest updates n Pain Management. It
                                           s mportant for all healthcare professiona s to be aware
                                          of new advances and laws effecting pain management
                                          and what options are ava lable to prov ders to properly
                                          treat this at ent o ation
21 914    10000.000    10 000 9/3/2015    The ASPMN National Conference prov des pain                 9/16/2015   9/19/2015      ive   Professional Education Programs   Chron c Pa n (General)   Pa n   Pain Medicine       At anta Marriott Marquis         GA   9/3/2015    American Soc ety for Pain Management Nursing         Christie   Ross             18000 W 105th Street            Olathe         KS   (913)895-4776
                                          management nurses at all leve s the opportunity to
                                          discuss clinical opt ons for pa n management pat ents;
                                          analyze clin cal research sociocultural and legal
                                          developments n the field of pain management; and
                                          network with nurses and other health care professiona s
                                          who focus on pain management in the r practice.

21 948    11000.000    11 000 7/21/2015   to support a 1-hour CME session “Caution: Op oid            0/21/2015   10/21/2015     ive   Symposium                         Chron c Pa n (General)   Pa n   General             Bayfront Convent on Center       PA   7/17/2015   Pennsylvan a Society of Physician Ass stants         H ldy      Lake             403 Vi lage Way                 Harr sburg     PA   (201)280-4533
                                          Prescribing” to be presented at the 40th Annual Fa l
                                          Pennsylvania Society of Physician Assistan s CME
                                          Conference in October 2015. The session will include an
                                          educat onal outcomes assessment tool described
                                          below. The target aud ence for this annual regional
                                          conference is Physician Assistants (PAs) w th projected
                                          attendance for this conference at 470 attendees
22 270   241845.000   241 845 8/14/2015   This 2-stage curr culum for pain special sts consists of   9/1/2015     9/1/2016       Web   Web Activ ty                      Chron c Pa n (General)   Pa n                                                             8/13/2015   Haymarket Med cal Education LP                       Mar na     Ga anak s        140 East R dgewood Ave.         Paramus        NJ   (201) 799-4830
                                          linked online activit es: 1) a 60-minute Medically
                                          Speak ng… videotaped roundtab e in which 3 pain
                                          experts guided by a pro ess onal moderator d scuss
                                          key issues in optim zing benef ts and limit ng r sk in use
                                          of opio d ana gesia for chron c pain; 2) an interactive
                                          Current Medical Op nion (CMO) that starts w th a 10-
                                          minute recap of the Med cally Speaking… content
                                          followed by 20 minutes in which earners pose questions
                                          via text ema l or phone and get d rect responses from
                                          faculty who appear on webcam. The CMO is presented
                                          live twice (to accommodate varying schedules/t me
                                          zones) before 1 session is archived and like the
                                          Medica ly Speaking… s avai able 24/7 on the CME
                                          website myCME for a fu l year. Learners are encouraged
                                          to complete both activ ties in sequence to maximize
                                          educat onal mpact and earn up to 1.5 AMA PRA cred ts.

22 398     4975.000     4 975 7/27/2015   The purpose of the request is to support a Pain              0/5/2015   10/9/2015      ive   Live                              Chron c Pa n (General)   Pa n                       Gatlinburg Convention Center     TN   7/27/2015   Tennessee Academy of Physician Assistants            Mallory    Briggs           4416 Gra Mar Dr.                Nashvi le      TN   (615)495-3301
                                          Management ecture at Fa lFest 2015 a Continuing
                                          Medical Education program presented by TAPA. There
                                          are 29 lectures and five workshops of ered with n a five
                                          day CME program. The CME event will be he d in
                                          Gatlinburg Tennessee from October 5 to 9 at the
                                          Gatlinburg Convent on Center. We anticipate 400
                                          physician assistants and nurse pract tioners to be n
                                          attendance.




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22 424     7100.000     7 100 7/21/2015    to support a CME sess on “Opio d Dependence” to be      9/28/2015         9/28/2015      ive   Symposium                Chron c Pa n (General)   Pa n   General                 Coralvil e Marr ott                                  IA   7/17/2015   Iowa Physic an Ass stant Society             H ldy     Lake      6919 V sta Drive                West Des Moines   IA   (201)280-4533
                                           presented at the Iowa Phys c an Ass stant Society Fall
                                           Healthcare n the Heartland CME in September 2015.
                                           The target audience s Phys c an Assistants (PAs) and
                                           projected attendance at this annual state conference is
                                           120 attendees. The session will include an outcomes
                                           assessment tool as descri ed e o
22 436     5000.000     5 000 10/21/2015   The purpose of this meet ng is to present common pa n 0/3/2015            10/3/2015      ive   Symposium                Chron c Pa n (General)   Pa n                           The Conference Center at Montclair State Universit   NJ   10/6/2015   Rutgers The State University of New Jersey   Patrick   Dwyer     30 Bergen Street                Newark            NJ   (973)972-8377
                                           condit ons their diagnos s and various treatment
                                           modal ties to primary care phys c ans and health care
                                           prov ders. The activity w ll nclude discussions by
                                           physicians from multiple d sciplines includ ng pain
                                           management spec alists neurosurgery orthopedic spine
                                           surgery plastic surgery physical med c ne and
                                           rehabil tat on and dentistry. Current d agnosis and
                                           treatment w ll be highlighted in order for primary care
                                           prov der to understand how to approach these patients
                                           and when to seek add tional consu tation from
                                           s ec al sts
22 436     5000.000     5 000 10/21/2015   The purpose of this meeting is to present common pa n 0/3/2015            10/3/2015      ive   Symposium                Chron c Pa n (General)   Pa n   Fam ly Med c ne         The Conference Center at Montclair State Universit   NJ   10/6/2015   Rutgers The State University of New Jersey   Patrick   Dwyer     30 Bergen Street                Newark            NJ   (973)972-8377
                                           condit ons their diagnos s and various treatment
                                           modal ties to primary care phys c ans and health care
                                           prov ders. The activity w ll nclude discussions by
                                           physicians from multiple d sciplines includ ng pain
                                           management spec alists neurosurgery orthopedic spine
                                           surgery plastic surgery physical med c ne and
                                           rehabil tat on and dentistry. Current d agnosis and
                                           treatment w ll be highlighted in order for primary care
                                           prov der to understand how to approach these patients
                                           and when to seek add tional consu tation from

22 436     5000.000     5 000 10/21/2015   The purpose of this meet ng is to present common pa n         0/3/2015    10/3/2015      ive   Symposium                Chron c Pa n (General)   Pa n   General                 The Conference Center at Montclair State Universit   NJ   10/6/2015   Rutgers The State University of New Jersey   Patrick   Dwyer     30 Bergen Street                Newark            NJ   (973)972-8377
                                           condit ons their diagnos s and various treatment
                                           modal ties to primary care phys c ans and health care
                                           prov ders. The activity w ll nclude discussions by
                                           physicians from multiple d sciplines includ ng pain
                                           management spec alists neurosurgery orthopedic spine
                                           surgery plastic surgery physical med c ne and
                                           rehabil tat on and dentistry. Current d agnosis and
                                           treatment w ll be highlighted in order for primary care
                                           prov der to understand how to approach these patients
                                           and when to seek add tional consu tation from
                                           s ec al sts
22 436     5000.000     5 000 10/21/2015   The purpose of this meeting is to present common pa n         0/3/2015    10/3/2015      ive   Symposium                Chron c Pa n (General)   Pa n   Internal Med c ne       The Conference Center at Montclair State Universit   NJ   10/6/2015   Rutgers The State University of New Jersey   Patrick   Dwyer     30 Bergen Street                Newark            NJ   (973)972-8377
                                           condit ons their diagnos s and various treatment
                                           modal ties to primary care phys c ans and health care
                                           prov ders. The activity w ll nclude discussions by
                                           physicians from multiple d sciplines includ ng pain
                                           management spec alists neurosurgery orthopedic spine
                                           surgery plastic surgery physical med c ne and
                                           rehabil tat on and dentistry. Current d agnosis and
                                           treatment w ll be highlighted in order for primary care
                                           prov der to understand how to approach these patients
                                           and when to seek add tional consu tation from

22 554   217800.000   100 000 10/19/2015   The program w ll assess patient outcomes among                0/20/2015   12/20/2015     ive   Live                     Chron c Pa n (General)   Pa n   Internal Med c ne       Washington DC                                        DC   10/8/2015   American College of Physicians Inc.          Andrea    Brock     190 N. Independence Mall West   Philadelphia      PA   (202)261-4537
                                           practices engaged in the previous ACP Quality Connect:
                                           Chron c Pa n study n KY including measures of pat ent
                                           sat sfaction qual ty of l fe and functional status. It aims
                                           to improve pat ent health outcomes and experience
                                           through the expansion of the ACP Qual ty Connect
                                           program to a broader network of primary care providers
                                            n the state of KY and expand to 3-4 add tional states.
                                           The program w ll promote the cost-effective ev dence-
                                           based management of chronic pain using a mu ti-modal
                                            nterdiscipl nary approach that focuses on patient-
                                           centered care coord nat on community engagement
                                           and pat ent self-management support. It w ll focus on
                                            mp ementing practice transformation strategies that
                                           address cl nician sat sfact on and work life in order to
                                           achieve the quadruple aim. Program outcomes will be
                                           dissem nated through ACP s QI network ACP
                                           publications state ACP chapter meet ngs and
                                           newsletters and peer-reviewed publicat ons.
22 554   217800.000   100 000 10/19/2015   The program w ll assess patient outcomes among                1/2/2015    6/20/2017      ive   Live                     Chron c Pa n (General)   Pa n   Internal Med c ne       ACP - Washington DC                                  DC   10/8/2015   American College of Physicians Inc.          Andrea    Brock     190 N. Independence Mall West   Philadelphia      PA   (202)261-4537
                                           practices engaged in the previous ACP Quality Connect:
                                           Chron c Pa n study n KY including measures of pat ent
                                           sat sfaction qual ty of l fe and functional status. It aims
                                           to improve pat ent health outcomes and experience
                                           through the expansion of the ACP Qual ty Connect
                                           program to a broader network of primary care providers
                                            n the state of KY and expand to 3-4 add tional states.
                                           The program w ll promote the cost-effective ev dence-
                                           based management of chronic pain using a mu ti-modal
                                            nterdiscipl nary approach that focuses on patient-
                                           centered care coord nat on community engagement
                                           and pat ent self-management support. It w ll focus on
                                            mp ementing practice transformation strategies that
                                           address cl nician sat sfact on and work life in order to
                                           achieve the quadruple aim. Program outcomes will be
                                           dissem nated through ACP s QI network ACP
                                           publications state ACP chapter meet ngs and
                                           newsletters and peer-reviewed publicat ons.
22 554   217800.000   100 000 10/19/2015   The program w ll assess patient outcomes among                2/1/2015    6/30/2016      Web   Webcast/Online Program   Chron c Pa n (General)   Pa n   Internal Med c ne                                                                 10/8/2015   American College of Physicians Inc.          Andrea    Brock     190 N. Independence Mall West   Philadelphia      PA   (202)261-4537
                                           practices engaged in the previous ACP Quality Connect:
                                           Chron c Pa n study n KY including measures of pat ent
                                           sat sfaction qual ty of l fe and functional status. It aims
                                           to improve pat ent health outcomes and experience
                                           through the expansion of the ACP Qual ty Connect
                                           program to a broader network of primary care providers
                                            n the state of KY and expand to 3-4 add tional states.
                                           The program w ll promote the cost-effective ev dence-
                                           based management of chronic pain using a mu ti-modal
                                            nterdiscipl nary approach that focuses on patient-
                                           centered care coord nat on community engagement
                                           and pat ent self-management support. It w ll focus on
                                            mp ementing practice transformation strategies that
                                           address cl nician sat sfact on and work life in order to
                                           achieve the quadruple aim. Program outcomes will be
                                           dissem nated through ACP s QI network ACP
                                           publications state ACP chapter meet ngs and
                                           newsletters and peer-reviewed publicat ons.
22 592     5000.000     3 600 9/15/2015    The Midwest Pain Society Annual meeting is a scientific       0/16/2015   10/17/2015     ive   Live                     Chron c Pa n (General)   Pa n   Anesthes ology          Northwestern Memorial Hosp tal                       IL   9/6/2015    Midwest Pa n Soc ety Inc.                    Kenneth   Lofland   8735 W. Higgins Road            Ch cago           IL   (847) 920-4644
                                           meeting for any health care professional involved n
                                           assessment treatment and/or research n the area of
                                           pain. The meeting provides the latest in ormation on
                                           today s most important pa n care top cs. There are
                                           sessions for clinicians and researchers interdiscipl nary
                                           faculty and panel d scussions and opportun ties for
                                           net or ing and col a orat on
22 592     5000.000     3 600 9/15/2015    The Midwest Pain Society Annual meeting is a scientific       0/16/2015   10/17/2015     ive   Live                     Chron c Pa n (General)   Pa n   Clin cal Psychologist   Northwestern Memorial Hosp tal                       IL   9/6/2015    Midwest Pa n Soc ety Inc.                    Kenneth   Lofland   8735 W. Higgins Road            Ch cago           IL   (847) 920-4644
                                           meeting for any health care professional involved n
                                           assessment treatment and/or research n the area of
                                           pain. The meeting provides the latest in ormation on
                                           today s most important pa n care top cs. There are
                                           sessions for clinicians and researchers interdiscipl nary
                                           faculty and panel d scussions and opportun ties for
                                           net or ing and col a orat on




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22 592    5000.000    3 600 9/15/2015   The Midwest Pain Society Annual meeting is a scientific      0/16/2015   10/17/2015     ive   Live                              Chron c Pa n (General)   Pa n   Internal Med c ne           Northwestern Memorial Hosp tal               IL   9/6/2015     Midwest Pa n Soc ety Inc.                          Kenneth   Lofland   8735 W. Higgins Road   Ch cago      IL   (847) 920-4644
                                        meeting for any health care professional involved n
                                        assessment treatment and/or research n the area of
                                        pain. The meeting provides the latest in ormation on
                                        today s most important pa n care top cs. There are
                                        sessions for clinicians and researchers interdiscipl nary
                                        faculty and panel d scussions and opportun ties for
                                        net or ing and col a orat on
22 592    5000.000    3 600 9/15/2015   The Midwest Pain Society Annual meeting is a scientific      0/16/2015   10/17/2015     ive   Live                              Chron c Pa n (General)   Pa n   Medical Oncology            Northwestern Memorial Hosp tal               IL   9/6/2015     Midwest Pa n Soc ety Inc.                          Kenneth   Lofland   8735 W. Higgins Road   Ch cago      IL   (847) 920-4644
                                        meeting for any health care professional involved n
                                        assessment treatment and/or research n the area of
                                        pain. The meeting provides the latest in ormation on
                                        today s most important pa n care top cs. There are
                                        sessions for clinicians and researchers interdiscipl nary
                                        faculty and panel d scussions and opportun ties for
                                        net or ing and col a orat on
22 592    5000.000    3 600 9/15/2015   The Midwest Pain Society Annual meeting is a scientific      0/16/2015   10/17/2015     ive   Live                              Chron c Pa n (General)   Pa n   Neurology - Pain Medicine   Northwestern Memorial Hosp tal               IL   9/6/2015     Midwest Pa n Soc ety Inc.                          Kenneth   Lofland   8735 W. Higgins Road   Ch cago      IL   (847) 920-4644
                                        meeting for any health care professional involved n
                                        assessment treatment and/or research n the area of
                                        pain. The meeting provides the latest in ormation on
                                        today s most important pa n care top cs. There are
                                        sessions for clinicians and researchers interdiscipl nary
                                        faculty and panel d scussions and opportun ties for
                                        net or ing and col a orat on
22 592    5000.000    3 600 9/15/2015   The Midwest Pain Society Annual meeting is a scientific      0/16/2015   10/17/2015     ive   Live                              Chron c Pa n (General)   Pa n   Pain Medicine               Northwestern Memorial Hosp tal               IL   9/6/2015     Midwest Pa n Soc ety Inc.                          Kenneth   Lofland   8735 W. Higgins Road   Ch cago      IL   (847) 920-4644
                                        meeting for any health care professional involved n
                                        assessment treatment and/or research n the area of
                                        pain. The meeting provides the latest in ormation on
                                        today s most important pa n care top cs. There are
                                        sessions for clinicians and researchers interdiscipl nary
                                        faculty and panel d scussions and opportun ties for
                                        net or ing and col a orat on
22 592    5000.000    3 600 9/15/2015   The Midwest Pain Society Annual meeting is a scientific      0/16/2015   10/17/2015     ive   Live                              Chron c Pa n (General)   Pa n   Researchers                 Northwestern Memorial Hosp tal               IL   9/6/2015     Midwest Pa n Soc ety Inc.                          Kenneth   Lofland   8735 W. Higgins Road   Ch cago      IL   (847) 920-4644
                                        meeting for any health care professional involved n
                                        assessment treatment and/or research n the area of
                                        pain. The meeting provides the latest in ormation on
                                        today s most important pa n care top cs. There are
                                        sessions for clinicians and researchers interdiscipl nary
                                        faculty and panel d scussions and opportun ties for
                                        net or ing and col a orat on
22 592    5000.000    3 600 9/15/2015   The Midwest Pain Society Annual meeting is a scientific      0/16/2015   10/17/2015     ive   Live                              Chron c Pa n (General)   Pa n   Students                    Northwestern Memorial Hosp tal               IL   9/6/2015     Midwest Pa n Soc ety Inc.                          Kenneth   Lofland   8735 W. Higgins Road   Ch cago      IL   (847) 920-4644
                                        meeting for any health care professional involved n
                                        assessment treatment and/or research n the area of
                                        pain. The meeting provides the latest in ormation on
                                        today s most important pa n care top cs. There are
                                        sessions for clinicians and researchers interdiscipl nary
                                        faculty and panel d scussions and opportun ties for
                                        net or ing and col a orat on
22 636   20000.000   20 000 9/9/2015    The meeting is a three-day scientific and educational        1/19/2015   11/21/2015     ive   Live                              Chron c Pa n (General)   Pa n   General                     Fontainebleau                                FL   9/8/2015     American Soc ety of Reg onal Anesthesia and Pain   Julie     S mper    239 Fourth Avenue      P ttsburgh   PA   (619)606-8692
                                        event prov ding a wide range of educat onal                                                                                                                                                                                                                Med c ne
                                        opportun ties to meet the needs of a diverse audience of
                                        approx mately 1000 practit oners. The meet ng is
                                        structured to al ow learners to tailor their educat onal
                                        experience and select content based on their individual
                                        needs. The comprehensive offer ng ensures a strong
                                        practical ocus delivering nformat on of take-home
                                         al e that can e t to immed ate se n ract ce
22 636   20000.000   20 000 9/9/2015    The meeting is a three-day scientific and educational        1/19/2015   11/21/2015     ive   Live                              Chron c Pa n (General)   Pa n   Pain Medicine               Fontainebleau                                FL   9/8/2015     American Soc ety of Reg onal Anesthesia and Pa n   Julie     S mper    239 Fourth Avenue      P ttsburgh   PA   (619)606-8692
                                        event prov ding a wide range of educat onal                                                                                                                                                                                                                Med c ne
                                        opportun ties to meet the needs of a diverse audience of
                                        approx mately 1000 practit oners. The meet ng is
                                        structured to al ow learners to tailor their educat onal
                                        experience and select content based on their individual
                                        needs. The comprehensive offer ng ensures a strong
                                        practical ocus delivering nformat on of take-home
                                         al e that can e t to immed ate se n ract ce
22 868    2292.500    2 293 1/6/2016    This program is designed to educate pharmacists and         2/28/2016    2/28/2016      ive   Professional Education Programs   Chron c Pa n (General)   Pa n   General                     Detroit Marr ott at the Renaissance Center   MI   12/17/2015   Michigan Pharmac sts Association                   Sarah     Barden    408 Ka amazoo Plaza    Lansing      MI   (517)377-0240
                                        pharmacy techn c ans about their different roles n
                                        helping appropria e patients address their pain
                                        management needs while a so p aying an important role
                                         n curb ng the opioid ep demic. Pharmacists and
                                        pharmacy techn c ans must be able to adequately
                                        perform these dual roles to protect patient needs as wel
                                        as commun ty public health. Th s program meets the
                                        state of M chigan's continuing education n pain
                                        management req rement
23 092   25000.000   25 000 1/11/2016   The Annual Meet ng addresses the needs and reduces          2/18/2016    2/21/2016      ive   Live                              Chron c Pa n (General)   Pa n                               Palm Spr ngs Convention Center               CA   1/11/2016    American Academy of Pain Medicine                  Susan     Vogel     8735 W H ggins Rd      Ch cago      IL   (847)375-4829
                                        the d spar ties in access to quality evidence-based pa n
                                        care by providing educational opportun ties to pain
                                        clinicians and pr mary care providers. The program s
                                        designed to develop know edge competence and
                                        performance re ated to common pa n management
                                        protoco s including prescribing pract ces recommended
                                        to max mize the safety and effectiveness of opio d
                                        ana ges c therapy and their understand ng of the
                                        growing field of comprehensive pa n medicine through
                                        evidence-based research cl nical pract ce standards and
                                        guidel nes ntegrative medicine and interactive
                                        educat onal strateg es. Educat onal activ ties wi l
                                        empower pain care champions to transform the r
                                        communit es by improving assessment evaluation and
                                        clinical decision-making ski ls. Patient-centered
                                        strategies and outcomes related to the treatment of
                                        pain across the healthcare continuum w ll mprove as a
                                        result of learner attendance at th s activ ty.
23 092   25000.000   25 000 1/11/2016   The Annual Meet ng addresses the needs and reduces       2/18/2016       2/21/2016      ive   Live                              Chron c Pa n (General)   Pa n   Anesthes ology              Palm Spr ngs Convention Center               CA   1/11/2016    American Academy of Pain Medicine                  Susan     Vogel     8735 W H ggins Rd      Ch cago      IL   (847)375-4829
                                        the d spar ties in access to quality evidence-based pa n
                                        care by providing educational opportun ties to pain
                                        clinicians and pr mary care providers. The program s
                                        designed to develop know edge competence and
                                        performance re ated to common pa n management
                                        protoco s including prescribing pract ces recommended
                                        to max mize the safety and effectiveness of opio d
                                        ana ges c therapy and their understand ng of the
                                        growing field of comprehensive pa n medicine through
                                        evidence-based research cl nical pract ce standards and
                                        guidel nes ntegrative medicine and interactive
                                        educat onal strateg es. Educat onal activ ties wi l
                                        empower pain care champions to transform the r
                                        communit es by improving assessment evaluation and
                                        clinical decision-making ski ls. Patient-centered
                                        strategies and outcomes related to the treatment of
                                        pain across the healthcare continuum w ll mprove as a
                                        result of learner attendance at th s activ ty.




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23 092   25000.000   25 000 1/11/2016   The Annual Meet ng addresses the needs and reduces       2/18/2016   2/21/2016     ive   Live   Chron c Pa n (General)   Pa n   Fam ly Med c ne                        Palm Spr ngs Convention Center   CA   1/11/2016   American Academy of Pain Medicine   Susan   Vogel   8735 W H ggins Rd   Ch cago   IL   (847)375-4829
                                        the d spar ties in access to quality evidence-based pa n
                                        care by providing educational opportun ties to pain
                                        clinicians and pr mary care providers. The program s
                                        designed to develop know edge competence and
                                        performance re ated to common pa n management
                                        protoco s including prescribing pract ces recommended
                                        to max mize the safety and effectiveness of opio d
                                        ana ges c therapy and their understand ng of the
                                        growing field of comprehensive pa n medicine through
                                        evidence-based research cl nical pract ce standards and
                                        guidel nes ntegrative medicine and interactive
                                        educat onal strateg es. Educat onal activ ties wi l
                                        empower pain care champions to transform the r
                                        communit es by improving assessment evaluation and
                                        clinical decision-making ski ls. Patient-centered
                                        strategies and outcomes related to the treatment of
                                        pain across the healthcare continuum w ll mprove as a
                                        result of learner attendance at th s activ ty.
23 092   25000.000   25 000 1/11/2016   The Annual Meet ng addresses the needs and reduces       2/18/2016   2/21/2016     ive   Live   Chron c Pa n (General)   Pa n   General                                Palm Spr ngs Convention Center   CA   1/11/2016   American Academy of Pain Medicine   Susan   Vogel   8735 W H ggins Rd   Ch cago   IL   (847)375-4829
                                        the d spar ties in access to quality evidence-based pa n
                                        care by providing educational opportun ties to pain
                                        clinicians and pr mary care providers. The program s
                                        designed to develop know edge competence and
                                        performance re ated to common pa n management
                                        protoco s including prescribing pract ces recommended
                                        to max mize the safety and effectiveness of opio d
                                        ana ges c therapy and their understand ng of the
                                        growing field of comprehensive pa n medicine through
                                        evidence-based research cl nical pract ce standards and
                                        guidel nes ntegrative medicine and interactive
                                        educat onal strateg es. Educat onal activ ties wi l
                                        empower pain care champions to transform the r
                                        communit es by improving assessment evaluation and
                                        clinical decision-making ski ls. Patient-centered
                                        strategies and outcomes related to the treatment of
                                        pain across the healthcare continuum w ll mprove as a
                                        result of learner attendance at th s activ ty.
23 092   25000.000   25 000 1/11/2016   The Annual Meet ng addresses the needs and reduces       2/18/2016   2/21/2016     ive   Live   Chron c Pa n (General)   Pa n   Internal Med c ne                      Palm Spr ngs Convention Center   CA   1/11/2016   American Academy of Pain Medicine   Susan   Vogel   8735 W H ggins Rd   Ch cago   IL   (847)375-4829
                                        the d spar ties in access to quality evidence-based pa n
                                        care by providing educational opportun ties to pain
                                        clinicians and pr mary care providers. The program s
                                        designed to develop know edge competence and
                                        performance re ated to common pa n management
                                        protoco s including prescribing pract ces recommended
                                        to max mize the safety and effectiveness of opio d
                                        ana ges c therapy and their understand ng of the
                                        growing field of comprehensive pa n medicine through
                                        evidence-based research cl nical pract ce standards and
                                        guidel nes ntegrative medicine and interactive
                                        educat onal strateg es. Educat onal activ ties wi l
                                        empower pain care champions to transform the r
                                        communit es by improving assessment evaluation and
                                        clinical decision-making ski ls. Patient-centered
                                        strategies and outcomes related to the treatment of
                                        pain across the healthcare continuum w ll mprove as a
                                        result of learner attendance at th s activ ty.
23 092   25000.000   25 000 1/11/2016   The Annual Meet ng addresses the needs and reduces       2/18/2016   2/21/2016     ive   Live   Chron c Pa n (General)   Pa n   Neurology                              Palm Spr ngs Convention Center   CA   1/11/2016   American Academy of Pain Medicine   Susan   Vogel   8735 W H ggins Rd   Ch cago   IL   (847)375-4829
                                        the d spar ties in access to quality evidence-based pa n
                                        care by providing educational opportun ties to pain
                                        clinicians and pr mary care providers. The program s
                                        designed to develop know edge competence and
                                        performance re ated to common pa n management
                                        protoco s including prescribing pract ces recommended
                                        to max mize the safety and effectiveness of opio d
                                        ana ges c therapy and their understand ng of the
                                        growing field of comprehensive pa n medicine through
                                        evidence-based research cl nical pract ce standards and
                                        guidel nes ntegrative medicine and interactive
                                        educat onal strateg es. Educat onal activ ties wi l
                                        empower pain care champions to transform the r
                                        communit es by improving assessment evaluation and
                                        clinical decision-making ski ls. Patient-centered
                                        strategies and outcomes related to the treatment of
                                        pain across the healthcare continuum w ll mprove as a
                                        result of learner attendance at th s activ ty.
23 092   25000.000   25 000 1/11/2016   The Annual Meet ng addresses the needs and reduces       2/18/2016   2/21/2016     ive   Live   Chron c Pa n (General)   Pa n   Physical Med c ne and Rehabil tation   Palm Spr ngs Convention Center   CA   1/11/2016   American Academy of Pain Medicine   Susan   Vogel   8735 W H ggins Rd   Ch cago   IL   (847)375-4829
                                        the d spar ties in access to quality evidence-based pa n
                                        care by providing educational opportun ties to pain
                                        clinicians and pr mary care providers. The program s
                                        designed to develop know edge competence and
                                        performance re ated to common pa n management
                                        protoco s including prescribing pract ces recommended
                                        to max mize the safety and effectiveness of opio d
                                        ana ges c therapy and their understand ng of the
                                        growing field of comprehensive pa n medicine through
                                        evidence-based research cl nical pract ce standards and
                                        guidel nes ntegrative medicine and interactive
                                        educat onal strateg es. Educat onal activ ties wi l
                                        empower pain care champions to transform the r
                                        communit es by improving assessment evaluation and
                                        clinical decision-making ski ls. Patient-centered
                                        strategies and outcomes related to the treatment of
                                        pain across the healthcare continuum w ll mprove as a
                                        result of learner attendance at th s activ ty.
23 092   25000.000   25 000 1/11/2016   The Annual Meet ng addresses the needs and reduces       2/18/2016   2/21/2016     ive   Live   Chron c Pa n (General)   Pa n   Psychiatry                             Palm Spr ngs Convention Center   CA   1/11/2016   American Academy of Pain Medicine   Susan   Vogel   8735 W H ggins Rd   Ch cago   IL   (847)375-4829
                                        the d spar ties in access to quality evidence-based pa n
                                        care by providing educational opportun ties to pain
                                        clinicians and pr mary care providers. The program s
                                        designed to develop know edge competence and
                                        performance re ated to common pa n management
                                        protoco s including prescribing pract ces recommended
                                        to max mize the safety and effectiveness of opio d
                                        ana ges c therapy and their understand ng of the
                                        growing field of comprehensive pa n medicine through
                                        ev dence-based research cl nical pract ce standards and
                                        guidel nes ntegrative medicine and interactive
                                        educat onal strateg es. Educat onal activ ties wi l
                                        empower pain care champions to transform the r
                                        communit es by improving assessment evaluation and
                                        clinical decision-making ski ls. Patient-centered
                                        strategies and outcomes related to the treatment of
                                        pain across the healthcare continuum w ll mprove as a
                                        result of learner attendance at th s activ ty.




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23 240   25000.000   25 000 1/12/2016   Essential Tools for Treating the Patient in Pa n ™ is     2/20/2016   2/21/2016     ive   Live                              Chron c Pa n (General)   Pa n   Pain Medicine   Palm Spr ngs Convention Center       CA   1/11/2016   American Academy of Pain Medicine          Susan      Vogel      8735 W H ggins Rd           Ch cago      IL   (847)375-4829
                                        designed for clinicians interested in obtaining an
                                        overview of the fundamentals of pain med c ne n
                                        add tion to practical approaches to the treatment of
                                        common pain disorders. This CME activ ty offers
                                        clinica ly focused lectures and case presentations on the
                                        assessment diagnos s and treatment of patients w th
                                        various acute breakthrough and chronic pain disorders.
                                        Participants wi l conclude this program w th an improved
                                        delivery of patient-centered pa n care; demonstration of
                                        medical know edge competency and performance of
                                        quality pa n care; demonstration of a comm tment to
                                        carrying out profess onal responsibilities related to
                                        access to quality pain care regu atory standards and
                                        sens tivity to diverse pain pat ent populations.

23 266   10000.000   10 000 1/13/2016   AAPA s Conference is the preeminent event for PA-         /14/2016    8/18/2016     ive   Live                              Chron c Pa n (General)   Pa n   General         Henry B Gonzalez Convention Center   TX   1/13/2016   American Academy of Physician Assistants   Jenn fer   W ll ams   2318 Mill Road Suite 1300   Alexandria   VA   571-319-4417
                                        spec fic CME and the only meeting for PAs in all
                                        spec alt es. Conference 2014 wi l be the largest
                                        ded cated to professional development and recognition
                                        of PAs. Conference also offers the opportun ty to
                                        address know edge and ski ls gaps across a wide variety
                                        of clin cal areas through workshops lectures and meet
                                        the expert sess ons. AAPA 2014 wi l offer approx mately
                                        200 educational sess ons in more than 40 tracks. These
                                        sessions w ll cover a broad range of pr mary care and
                                        spec alty topics. AAPA s Pain Track addresses topics
                                        related to treatment and management of acute and
                                        chronic pain. Topics covered nclude end-of-li e decision-
                                        making treating chronic/recurring pain pa liative care
                                        acute pain in the hosp tal setting and others. Sess ons
                                        are designed to meet educational needs and practice
                                        gaps of PAs in primary care and specialty pract ce.
                                        Through Conference PAs develop and enhance
                                        know edge and ski ls to improve patient care
23 372    5000.000    5 000 1/12/2016   This dynam c 5-day symposium w ll focus on n-depth        /5/2016     3/9/2016      ive   Symposium                         Chron c Pa n (General)   Pa n                   Loews Coronado Bay Hotel             CA   1/11/2016   Cleveland Clinic Educational Foundat on    Mark       Shelton    9500 Euclid Avenue KK31     Cleveland    OH   (216) 448-0899
                                        reviews and analyses of recent advances n pain
                                        medicine and regional anesthes a/analgesia in a format
                                        that allows nteract on between the faculty and
                                        attendees. The overriding goal of the activity is to
                                        enhance attendees know edge of state-of-the-art
                                        techniques n the d agnosis and management of acute
                                        and chronic pain which w ll ultimately improve pat ent
                                        outcomes. Tremendous changes have affected the
                                        practice of pain management part cularly therapeutic
                                        advances. This symposium w ll promote a better
                                        understanding of the pathophysio ogy of acute and
                                        chronic pain enhance knowledge regarding various
                                        chronic neuropathic pain condit ons and cr tically rev ew
                                        novel state-of-the-art interventional and
                                        non nterventional techniques in diagnosis and
                                        management of chronic pa n cancer pain and
                                        headaches. A nationa ly renowned facu ty wi l prov de
                                         nsightful assessment and clinical practice evaluation of
23 372    5000.000    5 000 1/12/2016   This dynamic 5-day symposium w ll focus on n-depth        /5/2016     3/9/2016      ive   Symposium                         Chron c Pa n (General)   Pa n   Pain Medicine   Loews Coronado Bay Hotel             CA   1/11/2016   Cleveland Clinic Educational Foundat on    Mark       Shelton    9500 Euclid Avenue KK31     Cleveland    OH   (216) 448-0899
                                        reviews and analyses of recent advances n pain
                                        medicine and regional anesthes a/analgesia in a format
                                        that allows nteract on between the faculty and
                                        attendees. The overriding goal of the activity is to
                                        enhance attendees know edge of state-of-the-art
                                        techniques n the d agnosis and management of acute
                                        and chronic pain which w ll ultimately improve pat ent
                                        outcomes. Tremendous changes have affected the
                                        practice of pain management part cularly therapeutic
                                        advances. This symposium w ll promote a better
                                        understanding of the pathophysio ogy of acute and
                                        chronic pain enhance knowledge regarding various
                                        chronic neuropathic pain condit ons and cr tically rev ew
                                        novel state-of-the-art interventional and
                                        non nterventional techniques in diagnosis and
                                        management of chronic pa n cancer pain and
                                        headaches. A nationa ly renowned facu ty wi l prov de
                                         nsightful assessment and clinical practice evaluation of
23 508   25000.000   25 000 2/2/2016    Pain is a eading cause of disabil ty and a major public    /11/2016   5/14/2016     ive   Professional Education Programs   Chron c Pa n (General)   Pa n   General         Aust n Convent on Center             TX   2/1/2016    American Pain Society                      Susan      Vogel      8735 W H ggins Rd           Ch cago      IL   (847) 375-4829
                                        hea th prob em. Ensuring appropriate assessment and
                                        treatment of pain has a far-reaching impact on
                                        morb dity mortality qual ty of l fe and econom cs of
                                         ndividuals and across the healthcare system. There is a
                                        continued need to connect the work of researchers
                                        studying the science of pa n with those from multiple
                                        discipl nes who seek to use the best and most current
                                        ev dence to treat and thus improve pain care especia ly
                                        as put forward n The National Pain Strategy (4/2/2015)
                                        The document includes objectives for key areas of pain
                                        care: pro ess onal education publ c
                                        educat on/commun cation service
                                        delivery/re mbursement prevention and care
                                        dispar ties and population research. APS provides the
                                        pain community w th a un que forum for shar ng
                                        advances and standards in evidence-based pain
                                        research and treatment by colleagues from all
                                        discipl nes n a setting that encourages interact ons
23 508   25000.000   25 000 2/2/2016    Pain is a eading cause of disabil ty and a major public    /11/2016   5/14/2016     ive   Professional Education Programs   Chron c Pa n (General)   Pa n   Pain Medicine   Aust n Convent on Center             TX   2/1/2016    American Pain Society                      Susan      Vogel      8735 W H ggins Rd           Ch cago      IL   (847) 375-4829
                                        hea th prob em. Ensuring appropriate assessment and
                                        treatment of pain has a far-reaching impact on
                                        morb dity mortality qual ty of l fe and econom cs of
                                         ndividuals and across the healthcare system. There is a
                                        continued need to connect the work of researchers
                                        studying the science of pa n with those from multiple
                                        discipl nes who seek to use the best and most current
                                        evidence to treat and thus improve pain care especia ly
                                        as put forward n The National Pain Strategy (4/2/2015)
                                        The document includes objectives for key areas of pain
                                        care: profess onal education publ c
                                        educat on/commun cation service
                                        delivery/re mbursement prevention and care
                                        dispar ties and population research. APS provides the
                                        pain community w th a un que forum for shar ng
                                        advances and standards in evidence-based pa n
                                        research and treatment by colleagues from all
                                        discipl nes n a setting that encourages interact ons
23 644    2660.000    2 660 2/29/2016   This will be a one hour grand rounds ecture                /18/2016   5/18/2016     ive   Grand Rounds                      Chron c Pa n (General)   Pa n                   Un ted Medical Center                DC   2/29/2016   Not-For-Profit Hospital Corporation        Sarah      Davis      1310 Southern Avenue SE     Washington   DC   (202)574-7039
                                        presentation to educate attendees on treatment of
                                        chronic pain.
23 644    2660.000    2 660 2/29/2016   This will be a one hour grand rounds ecture                /18/2016   5/18/2016     ive   Grand Rounds                      Chron c Pa n (General)   Pa n   General         Un ted Med cal Center                DC   2/29/2016   Not-For-Profit Hospital Corporation        Sarah      Davis      1310 Southern Avenue SE     Washington   DC   (202)574-7039
                                        presentation to educate attendees on treatment of
                                        chronic ain
23 644    2660.000    2 660 2/29/2016   This will be a one hour grand rounds ecture                /18/2016   5/18/2016     ive   Grand Rounds                      Chron c Pa n (General)   Pa n   Pr mary Care    Un ted Medical Center                DC   2/29/2016   Not-For-Profit Hospital Corporation        Sarah      Davis      1310 Southern Avenue SE     Washington   DC   (202)574-7039
                                        presentation to educate attendees on treatment of
                                        chronic pain.




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23 724   348500.000   348 500 4/4/2016   1-hour segment at each of PCE s 6 regional sympos a                                   nduring Material   Enduring Mater al   Chron c Pain (General)   Pa n   General                                         3/29/2016   Continuing Educat on All ance LLC   Eric   VanStone   1 Dock Street   Stamford   CT   203.258.5515
                                         with m nimum total attendance of 1 500 nurse
                                         practitioners and phys c an ass s ants (250 per
                                         meeting) • Start date – November 5 2016 • End date –
                                         December 3 2016 • Home Study – Series 3 PCE eClin c
                                         Cha lenging Case Stud es - 1-hour written content
                                         posted online and Disseminated to PCE s database of
                                         65 000 NPs and PAs with m nimum 600 participants
                                         and 300 completers • Start date – March 31 2017 • End
                                         date – March 30 2018 Activity Format and Structure
                                         PCE and Boston University School of Medicine develop
                                         sympos a that cover a variety of timely pr mary-care
                                         topics and are built on adu t learn ng principles us ng an
                                         engag ng nteractive case-based multimedia format.
                                         Each presentation includes an NP or PA moderator on
                                         stage engaged with the facu ty to gu de the
                                         presentation fac litate dialogue and ask questions.
23 724   348500.000   348 500 4/4/2016   1-hour segment at each of PCE s 6 regional sympos a        1/5/2016    11/5/2016      ive                Symposium           Chron c Pa n (General)   Pa n   General   Melvi le Marriott Long Island    NY   3/29/2016   Continuing Educat on All ance LLC   Eric   VanStone   1 Dock Street   Stamford   CT   203.258.5515
                                         with m nimum total attendance of 1 500 nurse
                                         practitioners and phys c an ass s ants (250 per
                                         meeting) • Start date – November 5 2016 • End date –
                                         December 3 2016 • Home Study – Series 3 PCE eClin c
                                         Cha lenging Case Stud es - 1-hour written content
                                         posted online and Disseminated to PCE s database of
                                         65 000 NPs and PAs with m nimum 600 participants
                                         and 300 completers • Start date – March 31 2017 • End
                                         date – March 30 2018 Activity Format and Structure
                                         PCE and Boston University School of Medicine develop
                                         sympos a that cover a variety of timely pr mary-care
                                         topics and are built on adu t learn ng principles us ng an
                                         engag ng nteractive case-based multimedia format.
                                         Each presentation includes an NP or PA moderator on
                                         stage engaged with the facu ty to gu de the
                                         presentation fac litate dialogue and ask questions.
23 724   348500.000   348 500 4/4/2016   1-hour segment at each of PCE s 6 regional sympos a        1/5/2016    11/5/2016      ive                Symposium           Chron c Pa n (General)   Pa n   General   West n Buckhead Atlanta          GA   3/29/2016   Continuing Educat on All ance LLC   Eric   VanStone   1 Dock Street   Stamford   CT   203.258.5515
                                         with m nimum total attendance of 1 500 nurse
                                         practitioners and phys c an ass s ants (250 per
                                         meeting) • Start date – November 5 2016 • End date –
                                         December 3 2016 • Home Study – Series 3 PCE eClin c
                                         Cha lenging Case Stud es - 1-hour written content
                                         posted online and Disseminated to PCE s database of
                                         65 000 NPs and PAs with m nimum 600 participants
                                         and 300 completers • Start date – March 31 2017 • End
                                         date – March 30 2018 Activity Format and Structure
                                         PCE and Boston University School of Medicine develop
                                         sympos a that cover a variety of timely pr mary-care
                                         topics and are built on adu t learn ng principles us ng an
                                         engag ng nteractive case-based multimedia format.
                                         Each presentation includes an NP or PA moderator on
                                         stage engaged with the facu ty to gu de the
                                         presentation fac litate dialogue and ask questions.
23 724   348500.000   348 500 4/4/2016   1-hour segment at each of PCE s 6 regional sympos a        1/12/2016   11/12/2016     ive                Symposium           Chron c Pa n (General)   Pa n   General   Philadelphia Marriott Downtown   PA   3/29/2016   Continuing Educat on All ance LLC   Eric   VanStone   1 Dock Street   Stamford   CT   203.258.5515
                                         with m nimum total attendance of 1 500 nurse
                                         practitioners and phys c an ass s ants (250 per
                                         meeting) • Start date – November 5 2016 • End date –
                                         December 3 2016 • Home Study – Series 3 PCE eClin c
                                         Cha lenging Case Stud es - 1-hour written content
                                         posted online and Disseminated to PCE s database of
                                         65 000 NPs and PAs with m nimum 600 participants
                                         and 300 completers • Start date – March 31 2017 • End
                                         date – March 30 2018 Activity Format and Structure
                                         PCE and Boston University School of Medicine develop
                                         sympos a that cover a variety of timely pr mary-care
                                         topics and are built on adu t learn ng principles us ng an
                                         engag ng nteractive case-based multimedia format.
                                         Each presentation includes an NP or PA moderator on
                                         stage engaged with the facu ty to gu de the
                                         presentation fac litate dialogue and ask questions.
23 724   348500.000   348 500 4/4/2016   1-hour segment at each of PCE s 6 regional sympos a        1/12/2016   11/12/2016     ive                Symposium           Chron c Pa n (General)   Pa n   General   West n San Franc sco Airport     CA   3/29/2016   Continuing Educat on All ance LLC   Eric   VanStone   1 Dock Street   Stamford   CT   203.258.5515
                                         with m nimum total attendance of 1 500 nurse
                                         practitioners and phys c an ass s ants (250 per
                                         meeting) • Start date – November 5 2016 • End date –
                                         December 3 2016 • Home Study – Series 3 PCE eClin c
                                         Cha lenging Case Stud es - 1-hour written content
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                                         65 000 NPs and PAs with m nimum 600 participants
                                         and 300 completers • Start date – March 31 2017 • End
                                         date – March 30 2018 Activity Format and Structure
                                         PCE and Boston University School of Medicine develop
                                         sympos a that cover a variety of timely pr mary-care
                                         topics and are built on adu t learn ng principles us ng an
                                         engag ng nteractive case-based multimedia format.
                                         Each presentation includes an NP or PA moderator on
                                         stage engaged with the facu ty to gu de the
                                         presentation fac litate dialogue and ask questions.
23 724   348500.000   348 500 4/4/2016   1-hour segment at each of PCE s 6 regional sympos a        1/19/2016   11/19/2016     ive                Symposium           Chron c Pa n (General)   Pa n   General   Boston Marr ott Newton           MA   3/29/2016   Continuing Educat on All ance LLC   Eric   VanStone   1 Dock Street   Stamford   CT   203.258.5515
                                         with m nimum total attendance of 1 500 nurse
                                         practitioners and phys c an ass s ants (250 per
                                         meeting) • Start date – November 5 2016 • End date –
                                         December 3 2016 • Home Study – Series 3 PCE eClin c
                                         Cha lenging Case Stud es - 1-hour written content
                                         posted online and Disseminated to PCE s database of
                                         65 000 NPs and PAs with m nimum 600 participants
                                         and 300 completers • Start date – March 31 2017 • End
                                         date – March 30 2018 Activity Format and Structure
                                         PCE and Boston University School of Medicine develop
                                         sympos a that cover a variety of timely pr mary-care
                                         topics and are built on adu t learn ng principles us ng an
                                         engag ng nteractive case-based multimedia format.
                                         Each presentation includes an NP or PA moderator on
                                         stage engaged with the facu ty to gu de the
                                         presentation fac litate dialogue and ask questions.
23 724   348500.000   348 500 4/4/2016   1-hour segment at each of PCE s 6 regional sympos a        2/3/2016    12/3/2016      ive                Symposium           Chron c Pa n (General)   Pa n   General   Doubletree Austin                TX   3/29/2016   Continuing Educat on All ance LLC   Eric   VanStone   1 Dock Street   Stamford   CT   203.258.5515
                                         with m nimum total attendance of 1 500 nurse
                                         practitioners and phys c an ass s ants (250 per
                                         meeting) • Start date – November 5 2016 • End date –
                                         December 3 2016 • Home Study – Series 3 PCE eClin c
                                         Cha lenging Case Stud es - 1-hour written content
                                         posted online and Disseminated to PCE s database of
                                         65 000 NPs and PAs with m nimum 600 participants
                                         and 300 completers • Start date – March 31 2017 • End
                                         date – March 30 2018 Activity Format and Structure
                                         PCE and Boston University School of Medicine develop
                                         sympos a that cover a variety of timely pr mary-care
                                         topics and are built on adu t learn ng principles us ng an
                                         engag ng nteractive case-based multimedia format.
                                         Each presentation includes an NP or PA moderator on
                                         stage engaged with the facu ty to gu de the
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23 746   25000.000   25 000 3/10/2016   The Fundamenta s of Pain Management Course: An             /10/2016   5/11/2016      ive   Live                              Chron c Pa n (General)   Pa n   General                   Aust n Convent on Center          TX   3/10/2016   American Pain Society                              Susan     Vogel     8735 W H ggins Rd   Ch cago         IL   (847) 375-4829
                                        Interd sciplinary Primer© has been established to fi l the
                                        need for a h ghly-trained researchers and practit oners
                                        to address the treatment of pa n as a publ c health
                                         ssue. The pedagogical aims are to prov de an
                                        opportun ty for interd sciplinary learn ng and the soc al
                                        foundat on for l felong learning focused on pain
                                        management. The target audience s practit oners in
                                        Anesthes a Neurology Family Medicine and
                                        Physical/Rehabil tation Medicine. No CME cred ts are
                                        prov ded. The 1 1/2 -day course combin ng didactic
                                         ectures with breakout groups and case studies offers
                                        approx mately 13 hours of content. The content
                                        prov des an overview of all aspects of pa n med c ne and
                                        spec fic presentations on common pain disorders.
                                        Fol owing the course part cipants attend the Annual
                                        Sc ent fic Meet ng to further engage them with inter-

23 746   25000.000   25 000 3/10/2016   The Fundamenta s of Pain Management Course: An             /10/2016   5/11/2016      ive   Live                              Chron c Pa n (General)   Pa n   Pain Medicine             Aust n Convent on Center          TX   3/10/2016   American Pain Society                              Susan     Vogel     8735 W H ggins Rd   Ch cago         IL   (847) 375-4829
                                        Interd sciplinary Primer© has been established to fi l the
                                        need for a h ghly-trained researchers and practit oners
                                        to address the treatment of pa n as a publ c health
                                         ssue. The pedagogical aims are to prov de an
                                        opportun ty for interd sciplinary learn ng and the soc al
                                        foundat on for l felong learning focused on pain
                                        management. The target audience s practit oners in
                                        Anesthes a Neurology Family Medicine and
                                        Physical/Rehabil tation Medicine. No CME cred ts are
                                        prov ded. The 1 1/2 -day course combin ng didactic
                                         ectures with breakout groups and case studies offers
                                        approx mately 13 hours of content. The content
                                        prov des an overview of all aspects of pa n med c ne and
                                        spec fic presentations on common pain disorders.
                                        Fol owing the course part cipants attend the Annual
                                        Sc ent fic Meet ng to further engage them with inter-

23 970    5725.000    5 725 4/14/2016   The Family Medicine Foundat on of West Virg nia's Drug 1/10/2016      11/13/2016     ive   Live                              Chron c Pa n (General)   Pa n   Advanced Practice Nurse   Pullman Plaza Hotel               WV   4/14/2016   Fam ly Med cine Foundation of West V rginia Inc.   William   Ferrell   650 Main Street     Barboursvil e   WV   (304) 733-6485
                                        Diversion Training and Best Practice Prescrib ng of
                                        Controlled Substances s a 3-hour pa n workshop which
                                        seeks to improve know edge and competency n HCPs
                                         mprove publ c health outcomes cover available chronic
                                        pain treatment methods and current/emerging therap es
                                        (abuse-deterrent/tamper resistant opioids extended
                                        release etc) best pract ce prescribing pract ces ong
                                        term opioid therapy addiction/overdose r sks
                                        prescription drug abuse statistics nat onally and in West
                                        V rginia and other ssues regarding treatment of chronic

23 970    5725.000    5 725 4/14/2016   The Family Medicine Foundat on of West Virg nia's Drug 1/10/2016      11/13/2016     ive   Live                              Chron c Pa n (General)   Pa n   Fam ly Med c ne           Pullman Plaza Hotel               WV   4/14/2016   Fam ly Medicine Foundation of West V rginia Inc.   William   Ferrell   650 Main Street     Barboursvil e   WV   (304) 733-6485
                                        Diversion Training and Best Practice Prescrib ng of
                                        Controlled Substances s a 3-hour pa n workshop which
                                        seeks to improve know edge and competency n HCPs
                                         mprove publ c health outcomes cover available chronic
                                        pain treatment methods and current/emerging therap es
                                        (abuse-deterrent/tamper resistant opioids extended
                                        release etc) best pract ce prescribing pract ces ong
                                        term opioid therapy addiction/overdose r sks
                                        prescription drug abuse statistics nat onally and in West
                                        V rginia and other ssues regarding treatment of chronic
                                         ain
23 970    5725.000    5 725 4/14/2016   The Family Medicine Foundat on of West Virg nia's Drug 1/10/2016      11/13/2016     ive   Live                              Chron c Pa n (General)   Pa n   General                   Pullman Plaza Hotel               WV   4/14/2016   Fam ly Medicine Foundation of West V rginia Inc.   William   Ferrell   650 Main Street     Barboursvil e   WV   (304) 733-6485
                                        Diversion Training and Best Practice Prescrib ng of
                                        Controlled Substances s a 3-hour pa n workshop which
                                        seeks to improve know edge and competency n HCPs
                                         mprove publ c health outcomes cover available chronic
                                        pain treatment methods and current/emerging therap es
                                        (abuse-deterrent/tamper resistant opioids extended
                                        release etc) best pract ce prescribing pract ces ong
                                        term opioid therapy addiction/overdose r sks
                                        prescription drug abuse statistics nat onally and in West
                                        V rginia and other ssues regarding treatment of chronic
                                         ain
23 970    5725.000    5 725 4/14/2016   The Family Medicine Foundat on of West Virg nia's Drug 1/10/2016      11/13/2016     ive   Live                              Chron c Pa n (General)   Pa n   Internal Med c ne         Pullman Plaza Hotel               WV   4/14/2016   Fam ly Medicine Foundation of West V rginia Inc.   William   Ferrell   650 Main Street     Barboursvil e   WV   (304) 733-6485
                                        Diversion Training and Best Practice Prescrib ng of
                                        Controlled Substances s a 3-hour pa n workshop which
                                        seeks to improve know edge and competency n HCPs
                                         mprove publ c health outcomes cover available chronic
                                        pain treatment methods and current/emerging therap es
                                        (abuse-deterrent/tamper resistant opioids extended
                                        release etc) best pract ce prescribing pract ces ong
                                        term opioid therapy addiction/overdose r sks
                                        prescription drug abuse statistics nat onally and in West
                                        V rginia and other ssues regarding treatment of chronic

23 970    5725.000    5 725 4/14/2016   The Family Medicine Foundat on of West Virg nia's Drug 1/10/2016      11/13/2016     ive   Live                              Chron c Pa n (General)   Pa n   Pain Medicine             Pullman Plaza Hotel               WV   4/14/2016   Fam ly Medicine Foundation of West V rginia Inc.   William   Ferrell   650 Main Street     Barboursvil e   WV   (304) 733-6485
                                        Diversion Training and Best Practice Prescrib ng of
                                        Controlled Substances s a 3-hour pa n workshop which
                                        seeks to improve know edge and competency n HCPs
                                         mprove publ c health outcomes cover available chronic
                                        pain treatment methods and current/emerging therap es
                                        (abuse-deterrent/tamper resistant opioids extended
                                        release etc) best pract ce prescribing pract ces ong
                                        term opioid therapy addiction/overdose r sks
                                        prescription drug abuse statistics nat onally and in West
                                        V rginia and other ssues regarding treatment of chronic
                                         ain
23 984   15000.000   15 000 4/4/2016    Pain Care for Primary Care is des gned to help            7/28/2016   7/30/2016      ive   Professional Education Programs   Chron c Pa n (General)   Pa n   Advanced Practice Nurse   Walt Disney Wor d Dolphin Hotel   FL   3/23/2016   American Pain Society                              Susan     Vogel     8735 W H ggins Rd   Ch cago         IL   (847) 375-4829
                                        hea thcare providers in particular primary care
                                        prov ders mprove care for patients experienc ng pa n
                                        and pa n-re ated symptoms. The Pain Care for Primary
                                        Care course will offer up-to-date nformat on about: •
                                        The mpact and importance of pain • Assessment of the
                                        pain patient • Mechanisms of action • Varying
                                        approaches – pharmacological cognitive and behavioral
                                        • Current and future d rections n emerging therapies •
                                        Addiction • Special populat ons The course will a so
                                        focus on the most common patient complaints seen n
                                        the pr mary care setting: headache back pain
                                        neuropathy and fibromyalg a. The 2016 program wi l be
                                        augmented w th a 2-hour course on extended
                                        release/long act ng op oids a program on wh ch APS
                                        has collaborated with 10 other pro ess onal assoc ations
                                        to meet the 2012 Food and Drug Admin stration

23 984   15000.000   15 000 4/4/2016    Pain Care for Primary Care is des gned to help           7/28/2016    7/30/2016      ive   Professional Education Programs   Chron c Pa n (General)   Pa n   Fam ly Med c ne           Walt Disney Wor d Dolphin Hotel   FL   3/23/2016   American Pain Society                              Susan     Vogel     8735 W H ggins Rd   Ch cago         IL   (847) 375-4829
                                        hea thcare providers in particular primary care
                                        prov ders mprove care for patients experienc ng pa n
                                        and pa n-re ated symptoms. The Pain Care for Primary
                                        Care course will offer up-to-date nformat on about: •
                                        The mpact and importance of pain • Assessment of the
                                        pain patient • Mechanisms of action • Varying
                                        approaches – pharmacological cognitive and behavioral
                                        • Current and future d rections n emerging therapies •
                                        Addiction • Special populat ons The course will a so
                                        focus on the most common patient complaints seen n
                                        the pr mary care setting: headache back pain
                                        neuropathy and fibromyalg a. The 2016 program wi l be
                                        augmented w th a 2-hour course on extended
                                        release/long act ng op oids a program on wh ch APS
                                        has collaborated with 10 other pro ess onal assoc ations
                                        to meet the 2012 Food and Drug Admin stration




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23 984    15000.000    15 000 4/4/2016    Pain Care for Primary Care is des gned to help           7/28/2016      7/30/2016      ive                Professional Education Programs   Chron c Pa n (General)   Pa n   General                     Walt Disney Wor d Dolphin Hotel            FL   3/23/2016   American Pain Society                                  Susan      Vogel      8735 W H ggins Rd       Ch cago      IL   (847) 375-4829
                                          hea thcare providers in particular primary care
                                          prov ders mprove care for patients experienc ng pa n
                                          and pa n-re ated symptoms. The Pain Care for Primary
                                          Care course will offer up-to-date nformat on about: •
                                          The mpact and importance of pain • Assessment of the
                                          pain patient • Mechanisms of action • Varying
                                          approaches – pharmacological cognitive and behavioral
                                          • Current and future d rections n emerging therapies •
                                          Addiction • Special populat ons The course will a so
                                          focus on the most common patient complaints seen n
                                          the pr mary care setting: headache back pain
                                          neuropathy and fibromyalg a. The 2016 program wi l be
                                          augmented w th a 2-hour course on extended
                                          release/long act ng op oids a program on wh ch APS
                                          has collaborated with 10 other pro ess onal assoc ations
                                          to meet the 2012 Food and Drug Admin stration

23 984    15000.000    15 000 4/4/2016    Pain Care for Primary Care is des gned to help           7/28/2016      7/30/2016      ive                Professional Education Programs   Chron c Pa n (General)   Pa n   Internal Med c ne           Walt Disney Wor d Dolphin Hotel            FL   3/23/2016   American Pain Society                                  Susan      Vogel      8735 W H ggins Rd       Ch cago      IL   (847) 375-4829
                                          hea thcare providers in particular primary care
                                          prov ders mprove care for patients experienc ng pa n
                                          and pa n-re ated symptoms. The Pain Care for Primary
                                          Care course will offer up-to-date nformat on about: •
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                                          pain patient • Mechanisms of action • Varying
                                          approaches – pharmacological cognitive and behavioral
                                          • Current and future d rections n emerging therapies •
                                          Addiction • Special populat ons The course will a so
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                                          the pr mary care setting: headache back pain
                                          neuropathy and fibromyalg a. The 2016 program wi l be
                                          augmented w th a 2-hour course on extended
                                          release/long act ng op oids a program on wh ch APS
                                          has collaborated with 10 other pro ess onal assoc ations
                                          to meet the 2012 Food and Drug Admin stration

23 984    15000.000    15 000 4/4/2016    Pain Care for Primary Care is des gned to help           7/28/2016      7/30/2016      ive                Professional Education Programs   Chron c Pa n (General)   Pa n   Pain Medicine               Walt Disney Wor d Dolphin Hotel            FL   3/23/2016   American Pain Society                                  Susan      Vogel      8735 W H ggins Rd       Ch cago      IL   (847) 375-4829
                                          hea thcare providers in particular primary care
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                                          pain patient • Mechanisms of action • Varying
                                          approaches – pharmacological cognitive and behavioral
                                          • Current and future d rections n emerging therapies •
                                          Addiction • Special populat ons The course will a so
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                                          the pr mary care setting: headache back pain
                                          neuropathy and fibromyalg a. The 2016 program wi l be
                                          augmented w th a 2-hour course on extended
                                          release/long act ng op oids a program on wh ch APS
                                          has collaborated with 10 other pro ess onal assoc ations
                                          to meet the 2012 Food and Drug Admin stration

24 046   293915.000   293 915 4/27/2016   Patient Gateways Satellite Symposium at Pa nWeek          9/7/2016      9/7/2016       ive                Symposium                         Chron c Pa n (General)   Pa n   Pain Medicine               PainWeek 2016                              NV   4/27/2016   Med Learn ng Group LLC                                 Matt       Frese      26 West 17th Street     New York     NY   (908)875-1118
                                          2016 with Online Enduring Gateways Program
24 046   293915.000   293 915 4/27/2016   Patient Gateways Satellite Symposium at Pa nWeek           0/10/2016    10/10/2017     Web                Webcast/Online Program            Chron c Pa n (General)   Pa n   Pain Medicine                                                               4/27/2016   Med Learn ng Group LLC                                 Ma t       Frese      26 West 17th Street     New York     NY   (908)875-1118
                                          2016 with Online Enduring Gateways Program
24 202    37758.000    37 758 8/9/2016    This proposed presentation of the ACOI wou d update        0/27/2016    10/31/2016     ive                Symposium                         Chron c Pa n (General)   Pa n   Osteopathy                  JW Marr ott Desert Spr ng Resort and Spa   CA   8/9/2016    American College of Osteopathic Internists Inc.        Timothy    McN chol   11400 Rockvil e Pike    Rockvi le    MD   (301) 231-8877
                                          clinicians on new strateg es for the management of
                                          chronic pain (w th a focus on non-cancer pain).
                                          Attent on w ll be focused on opioid use and methods
                                          (pharmaco og cal and otherw se) to limit abuse/misuse
                                          of these agents. Practical gu dance regarding the
                                          treatment of pain in pat ents with evidence of opioid
                                          dependence w ll also be rev ewed. Pract cal means of
                                          dealing with s de effects (eg constipation) tracking
                                          effectiveness monitoring adherence means of
                                          screening for r sk of misuse and the appropriate time o
                                          refer to a spec al st w ll be discussed. The presentation
                                          wi l also include data on non-pharmaco og c treatments
                                          of chron c pa n and how these therapies may be
                                           ntegrated into a comprehensive treatment reg men for

24 206    10000.000    10 000 6/2/2016    The American Society for Pain Management Nursing's     9/7/2016         9/10/2016      ive                Live                              Chron c Pa n (General)   Pa n   Advanced Practice Nurse     Lou svil e Marr ott Downtown               KY   6/2/2016    American Soc ety for Pain Management Nursing           Christie   Ross       18000 W 105th Street    Olathe       KS   (913)895-4776
                                          miss on is to advance and promote optimal nursing care
                                          for peop e affected by pain by promoting best nursing
                                          practice. This is accompl shed through education
                                          standards advocacy and research. As always ASPMN
                                          attendees are afforded many educational presentations
                                          a forum for the exchange of ideas and the occas on of
                                          social networking to ncrease colleg al relationships.

24 206    10000.000    10 000 6/2/2016    The American Society for Pain Management Nursing's     9/7/2016         9/10/2016      ive                Live                              Chron c Pa n (General)   Pa n   Pain Medicine               Lou svil e Marr ott Downtown               KY   6/2/2016    American Soc ety for Pain Management Nursing           Christie   Ross       18000 W 105th Street    Olathe       KS   (913)895-4776
                                          miss on is to advance and promote optimal nursing care
                                          for peop e affected by pain by promoting best nursing
                                          practice. This is accompl shed through education
                                          standards advocacy and research. As always ASPMN
                                          attendees are afforded many educational presentations
                                          a forum for the exchange of ideas and the occas on of
                                          social networking to ncrease colleg al relationships.

24 640    10000.000    10 000 9/20/2016   This program has been designed to bring healthcare         9/22/2016    9/22/2016      ive                Symposium                         Chron c Pa n (General)   Pa n                               Yolo Restaurant                                 9/20/2016   Univers dad Central del Caribe Inc.                    Frances    Garcia     Ave. Laurel #100        Bayamon      PR   (787)995-6288
                                          professiona s knowledge of the strateg es for
                                          management of chronic pa n up to date and addresses
                                          opioid prescrib ng practices mon toring opioid therapy
                                          and managing risk when prescribing opioids.
24 640    10000.000    10 000 9/20/2016   This program has been designed to bring healthcare         9/22/2016    9/22/2016      ive                Symposium                         Chron c Pa n (General)   Pa n   General                     Yolo Restaurant                                 9/20/2016   Univers dad Central del Caribe Inc.                    Frances    Garcia     Ave. Laurel #100        Bayamon      PR   (787)995-6288
                                          professiona s knowledge of the strateg es for
                                          management of chronic pa n up to date and addresses
                                          opioid prescrib ng practices mon toring opioid therapy
                                          and managing ris     hen rescri ing o ioids
24 640    10000.000    10 000 9/20/2016   This program has been designed to bring healthcare         9/22/2016    9/22/2016      ive                Symposium                         Chron c Pa n (General)   Pa n   Neurology                   Yolo Restaurant                                 9/20/2016   Univers dad Central del Caribe Inc.                    Frances    Garcia     Ave. Laurel #100        Bayamon      PR   (787)995-6288
                                          professiona s knowledge of the strateg es for
                                          management of chronic pa n up to date and addresses
                                          opioid prescrib ng practices mon toring opioid therapy
                                          and managing ris     hen rescri ing o ioids
24 640    10000.000    10 000 9/20/2016   This program has been designed to bring healthcare         9/22/2016    9/22/2016      ive                Symposium                         Chron c Pa n (General)   Pa n   Neurology - Pain Medicine   Yolo Restaurant                                 9/20/2016   Univers dad Central del Caribe Inc.                    Frances    Garcia     Ave. Laurel #100        Bayamon      PR   (787)995-6288
                                          professiona s knowledge of the strateg es for
                                          management of chronic pa n up to date and addresses
                                          opioid prescrib ng practices mon toring opioid therapy
                                          and managing ris     hen rescri ing o ioids
24 712    45000.000    45 000 7/21/2016   Grant request s for one live session on the updated                                    nduring Material   Journal Supp ement                Chron c Pain (General)   Pa n   General                                                                     7/21/2016   Nat onal Association of Managed Care Physicians Inc.   Katie      Eads       4435 Waterfront Drive   Glen A len   VA   (804) 527-1905
                                          treatment strateg es for pat en s n the management of
                                          chronic pain presented at the 2016 Fall Forum. The
                                          aud o from the live sess on w ll be turned into an
                                          enduring webcast. The program will be transcribed and
                                          an enduring article will be created and published in the
                                          Jo rnal of Managed Care Med c ne
24 712    45000.000    45 000 7/21/2016   Grant request s for one live session on the updated         1/10/2016   11/11/2016     ive                Symposium                         Chron c Pa n (General)   Pa n   General                     Manda ay Bay Convent on Center             NV   7/21/2016   Nat onal Association of Managed Care Physicians Inc.   Katie      Eads       4435 Waterfront Drive   Glen A len   VA   (804) 527-1905
                                          treatment strateg es for pat en s n the management of
                                          chronic pain presented at the 2016 Fall Forum. The
                                          aud o from the live sess on w ll be turned into an
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24 712    45000.000    45 000 7/21/2016   Grant request s for one live session on the updated       1/10/2016     11/11/2016     ive   Symposium                Chron c Pa n (General)   Pa n   Medical D rector   Manda ay Bay Convent on Center   NV   7/21/2016   Nat onal Association of Managed Care Physicians Inc.   Katie   Eads      4435 Waterfront Drive   Glen A len   VA   (804) 527-1905
                                          treatment strateg es for pat en s n the management of
                                          chronic pain presented at the 2016 Fall Forum. The
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24 712    45000.000    45 000 7/21/2016   Grant request s for one live session on the updated       1/10/2016     11/11/2016     ive   Symposium                Chron c Pa n (General)   Pa n   Pain Medicine      Manda ay Bay Convent on Center   NV   7/21/2016   Nat onal Association of Managed Care Physicians Inc.   Katie   Eads      4435 Waterfront Drive   Glen A len   VA   (804) 527-1905
                                          treatment strateg es for pat en s n the management of
                                          chronic pain presented at the 2016 Fall Forum. The
                                          aud o from the live sess on w ll be turned into an
                                          enduring webcast. The program will be transcribed and
                                          an enduring article will be created and published in the
                                          Journal of Managed Care Med c ne.
24 712    45000.000    45 000 7/21/2016   Grant request s for one live session on the updated       1/10/2016     11/11/2016     ive   Symposium                Chron c Pa n (General)   Pa n   Pr mary Care       Manda ay Bay Convent on Center   NV   7/21/2016   Nat onal Association of Managed Care Physicians Inc.   Katie   Eads      4435 Waterfront Drive   Glen A len   VA   (804) 527-1905
                                          treatment strateg es for pat en s n the management of
                                          chronic pain presented at the 2016 Fall Forum. The
                                          aud o from the live sess on w ll be turned into an
                                          enduring webcast. The program will be transcribed and
                                          an enduring article will be created and published in the
                                          Jo rnal of Managed Care Med c ne
24 712    45000.000    45 000 7/21/2016   Grant request s for one live session on the updated       /1/2017       5/1/2018       Web   Webcast/Online Program   Chron c Pa n (General)   Pa n   General                                                  7/21/2016   Nat onal Association of Managed Care Physicians Inc.   Katie   Eads      4435 Waterfront Drive   Glen A len   VA   (804) 527-1905
                                          treatment strateg es for pat en s n the management of
                                          chronic pain presented at the 2016 Fall Forum. The
                                          aud o from the live sess on w ll be turned into an
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24 712    45000.000    45 000 7/21/2016   Grant request s for one live session on the updated       /1/2017       5/1/2018       Web   Webcast/Online Program   Chron c Pa n (General)   Pa n   Medical D rector                                         7/21/2016   Nat onal Association of Managed Care Physicians Inc.   Katie   Eads      4435 Waterfront Drive   Glen A len   VA   (804) 527-1905
                                          treatment strateg es for pat en s n the management of
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                                          aud o from the live sess on w ll be turned into an
                                          enduring webcast. The program will be transcribed and
                                          an enduring article will be created and published in the
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24 712    45000.000    45 000 7/21/2016   Grant request s for one live session on the updated       /1/2017       5/1/2018       Web   Webcast/Online Program   Chron c Pa n (General)   Pa n   Pr mary Care                                             7/21/2016   Nat onal Association of Managed Care Physicians Inc.   Katie   Eads      4435 Waterfront Drive   Glen A len   VA   (804) 527-1905
                                          treatment strateg es for pat en s n the management of
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                                          enduring webcast. The program will be transcribed and
                                          an enduring article will be created and published in the
                                          Journal of Managed Care Med c ne.
24 740   412177.000   412 177 8/1/2016    To close the gap related to the management of chronic 9/15/2016         9/15/2017      Web   Webcast/Online Program   Chron c Pa n (General)   Pa n   Fam ly Med c ne                                          8/1/2016    Medscape LLC                                           Jess    Dropkin   825 Eighth Avenue       New York     NY   (201)600-8556
                                          pain the Univers ty of New England (UNE) and joint
                                          sponsor Medscape Education propose Taking Control of
                                          Op o d Abuse: Patient Stories on the Responsible Use of
                                          Prescription Op oid Analgesics to fac litate mproved
                                          decision mak ng and interprofess onal skil s among
                                          clinicians (PCPs pa n spec al sts [neurologists
                                          anesthesio og sts] and nurses) who manage pat ents
                                          with chron c pa n to improve the likelihood that patients
                                          wi l be prov ded appropriate care and to support pat ent
                                          sk ll deve opment and empowerment to enhance their
                                           nteract ons with clinic ans and healthcare professiona s
                                          and to assist patients in achiev ng a h gher degree of
                                          se f-management
24 740   412177.000   412 177 8/1/2016    To close the gap related to the management of chronic 9/15/2016         9/15/2017      Web   Webcast/Online Program   Chron c Pa n (General)   Pa n   General                                                  8/1/2016    Medscape LLC                                           Jess    Dropkin   825 Eighth Avenue       New York     NY   (201)600-8556
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                                          and to assist patients in achiev ng a h gher degree of
                                          se f-management
24 740   412177.000   412 177 8/1/2016    To close the gap related to the management of chronic 9/15/2016         9/15/2017      Web   Webcast/Online Program   Chron c Pa n (General)   Pa n   Neurology                                                8/1/2016    Medscape LLC                                           Jess    Dropkin   825 Eighth Avenue       New York     NY   (201)600-8556
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                                           nteract ons with clinic ans and healthcare professiona s
                                          and to assist patients in achiev ng a h gher degree of

24 740   412177.000   412 177 8/1/2016    To close the gap related to the management of chronic 9/15/2016         9/15/2017      Web   Webcast/Online Program   Chron c Pa n (General)   Pa n   Pr mary Care                                             8/1/2016    Medscape LLC                                           Jess    Dropkin   825 Eighth Avenue       New York     NY   (201)600-8556
                                          pain the University of New England (UNE) and joint
                                          sponsor Medscape Education propose Taking Control of
                                          Op o d Abuse: Patient Stories on the Responsible Use of
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                                          anesthesio og sts] and nurses) who manage pat ents
                                          with chron c pa n to improve the likelihood that patients
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24 740   412177.000   412 177 8/1/2016    To close the gap related to the management of chronic       0/15/2016   10/15/2017     Web   Webcast/Online Program   Chron c Pa n (General)   Pa n   General                                                  8/1/2016    Medscape LLC                                           Jess    Dropkin   825 Eighth Avenue       New York     NY   (201)600-8556
                                          pain the University of New England (UNE) and joint
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                                          anesthesio og sts] and nurses) who manage pat ents
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                                          wi l be prov ded appropriate care and to support pat ent
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                                          and to assist patients in achiev ng a h gher degree of

24 740   412177.000   412 177 8/1/2016    To close the gap related to the management of chronic       0/15/2016   10/15/2017     Web   Webcast/Online Program   Chron c Pa n (General)   Pa n   Neurology                                                8/1/2016    Medscape LLC                                           Jess    Dropkin   825 Eighth Avenue       New York     NY   (201)600-8556
                                          pain the University of New England (UNE) and joint
                                          sponsor Medscape Education propose Taking Control of
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                                          Prescription Op oid Analgesics to fac litate mproved
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24 740   412177.000   412 177 8/1/2016    To close the gap related to the management of chronic        0/15/2016   10/15/2017     Web                Webcast/Online Program   Chron c Pa n (General)   Pa n   Pr mary Care                                                                  8/1/2016    Medscape LLC                                        Jess      Dropkin        825 Eighth Avenue                 New York     NY   (201)600-8556
                                          pain the University of New England (UNE) and joint
                                          sponsor Medscape Education propose Taking Control of
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                                          Prescription Op oid Analgesics to fac litate mproved
                                          decision mak ng and interprofess onal skil s among
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                                          wi l be prov ded appropriate care and to support pat ent
                                          sk ll deve opment and empowerment to enhance their
                                           nteract ons with clinic ans and healthcare professiona s
                                          and to assist patients in achiev ng a h gher degree of

24 744     7500.000     7 500 7/26/2016   Nonmed cal use and abuse of prescriptive                  8/25/2016      8/25/2016      ive                Live                     Chron c Pa n (General)   Pa n   General             The Conference Center at Pickw ck Landing State Pa   TN   7/26/2016   Southern Medical Assoc ation                        Randall   Gl ck          35 W. Lakeshore Drive Suite 201   Birmingham   AL   (800)423-4992
                                          pharmaceutical drugs s a serious publ c health problem.
                                          A though most people take prescript on medications
                                          responsibly an estimated 52 million peop e (20 percent
                                          of those aged 12 and older) have used prescription
                                          drugs for nonmedical reasons at east once n their
                                          lifet mes. The abuse of certa n prescription drugs—
                                          opioids central nervous system (CNS) depressants and
                                          stimulants—can lead to a var ety of adverse health
                                          effects including add ct on. Overdoses from prescription
                                          opioid pa n relievers are a driving factor in the 15-year
                                           ncrease in opioid overdose deaths. Since 1999 the
                                          amount of prescription opio ds sold in the U S. nearly
                                          quadrup ed as have the number of deaths from
                                          prescription opioids-drugs like oxycodone hydrocodone
                                          and methadone. In addition benzodiazep nes are
                                          commonly abused or misused.

24 744     7500.000     7 500 7/26/2016   Nonmed cal use and abuse of prescriptive                  8/25/2016      8/25/2016      ive                Live                     Chron c Pa n (General)   Pa n   Internal Med c ne   The Conference Center at Pickw ck Landing State Pa   TN   7/26/2016   Southern Medical Assoc ation                        Randall   Gl ck          35 W. Lakeshore Drive Suite 201   Birmingham   AL   (800)423-4992
                                          pharmaceutical drugs s a serious publ c health problem.
                                          A though most people take prescript on medications
                                          responsibly an estimated 52 million peop e (20 percent
                                          of those aged 12 and older) have used prescription
                                          drugs for nonmedical reasons at east once n their
                                          lifet mes. The abuse of certa n prescription drugs—
                                          opioids central nervous system (CNS) depressants and
                                          stimulants—can lead to a var ety of adverse health
                                          effects including add ct on. Overdoses from prescription
                                          opioid pa n relievers are a driving factor in the 15-year
                                           ncrease in opioid overdose deaths. Since 1999 the
                                          amount of prescription opio ds sold in the U S. nearly
                                          quadrup ed as have the number of deaths from
                                          prescription opioids-drugs like oxycodone hydrocodone
                                          and methadone. In addition benzodiazep nes are
                                          commonly abused or misused.

24 768    20000.000    20 000 7/28/2016   This program is intended to provide educat on on                                        nduring Material   Enduring Mater al        Chron c Pain (General)   Pa n   Pain Medicine                                                                 7/28/2016   American Academy of Pain Management                 Debra     Ne son Hogan   975-A Morn ng Star Drive          Sonora       CA   209-288-2211
                                          optimal management of chronic pain particularly using
                                          opioids appropriately and managing patients risk for
                                          harm. Faculty w ll discuss the elements of appropriate
                                          opioid prescrib ng for chronic pa n and engage the
                                          attendees in nteractive d scussions of two llustrative
                                          case studies. The fo lowing wi l be d scussed: primary
                                          care perspective on proper assessment for pain;
                                          strategies for assessing a pat ent s risk for opio d
                                          misuse abuse and add ct on; in tial considerat ons n
                                          se ecting an opio d; and alternative treatment options;
                                          safe prescribing and ongoing monitoring and
                                          survei lance us ng availab e tools such as urine drug
                                          test ng and prescription databases; various op oids
                                           ncluding abuse-deterrent formu at ons; use of
                                          naloxone op o d interact ons; opioids in patients w th
                                          complex issues such as add ct on; legal/regu atory
                                          perspective on opioid prescrib ng; how clinicians can
24 768    20000.000    20 000 7/28/2016   This program is intended to provide educat on on            9/22/2016    9/22/2016      ive                Live                     Chron c Pa n (General)   Pa n   Pain Medicine       JW Marr ott Hi l Country                             TX   7/28/2016   American Academy of Pain Management                 Debra     Ne son Hogan   975-A Morn ng Star Drive          Sonora       CA   209-288-2211
                                          optimal management of chronic pain particularly using
                                          opioids appropriately and managing patients risk for
                                          harm. Faculty w ll discuss the elements of appropriate
                                          opioid prescrib ng for chronic pa n and engage the
                                          attendees in nteractive d scussions of two llustrative
                                          case studies. The fo lowing wi l be d scussed: primary
                                          care perspective on proper assessment for pain;
                                          strategies for assessing a pat ent s risk for opio d
                                          misuse abuse and add ct on; in tial considerat ons n
                                          se ecting an opio d; and alternative treatment options;
                                          safe prescribing and ongoing monitoring and
                                          survei lance us ng availab e tools such as urine drug
                                          test ng and prescription databases; various op oids
                                           ncluding abuse-deterrent formu ations; use of
                                          naloxone op o d interact ons; opioids in patients w th
                                          complex issues such as add ct on; legal/regu atory
                                          perspective on opioid prescrib ng; how clinicians can
24 910   254075.000   254 075 9/26/2016   CME Documentary an onl ne educational setting                /2/2017     1/1/2018       Web                Web Activ ty             Chron c Pa n (General)   Pa n   Pain Medicine                                                                 9/26/2016   The Academy for Continued Healthcare Learning LLC   Lisa      Keckich        1 North Franklin Street           Ch cago      IL   (773) 714-0705
                                          featur ng prof les and perspectives from public hea th
                                          officia s lead ng expert phys c ans cl nicians and
                                          patients
24 910   254075.000   254 075 9/26/2016   CME Documentary an onl ne educational setting                /2/2017     1/1/2018       Web                Web Activ ty             Chron c Pa n (General)   Pa n   Pr mary Care                                                                  9/26/2016   The Academy for Continued Healthcare Learning LLC   Lisa      Keckich        1 North Franklin Street           Ch cago      IL   (773) 714-0705
                                          featur ng prof les and perspectives from public hea th
                                          officia s lead ng expert phys c ans cl nicians and
                                          patients
24 912     2200.000     2 200 9/13/2016   This will be a one hour live grand rounds ecture             1/16/2016   11/16/2016     ive                Grand Rounds             Chron c Pa n (General)   Pa n                       St. Joseph's Regional Med cal Center                 NJ   9/13/2016   St. Joseph s Hospi al and Med cal Center            Dawn      Redd n         703 Main Street                   Paterson     NJ   (973) 754-2549
                                          presentation to educate attendees on pa n assessment
                                          diagnosis and management
24 912     2200.000     2 200 9/13/2016   This will be a one hour live grand rounds ecture             1/16/2016   11/16/2016     ive                Grand Rounds             Chron c Pa n (General)   Pa n   General             St. Joseph's Regional Med cal Center                 NJ   9/13/2016   St. Joseph's Hospi al and Med cal Center            Dawn      Redd n         703 Main Street                   Paterson     NJ   (973) 754-2549
                                          presentation to educate attendees on pa n assessment
                                          diagnosis and management.
24 912     2200.000     2 200 9/13/2016   This will be a one hour live grand rounds ecture             1/16/2016   11/16/2016     ive                Grand Rounds             Chron c Pa n (General)   Pa n   Internal Med c ne   St. Joseph's Regional Med cal Center                 NJ   9/13/2016   St. Joseph's Hospi al and Med cal Center            Dawn      Redd n         703 Main Street                   Paterson     NJ   (973) 754-2549
                                          presentation to educate attendees on pa n assessment
                                          diagnosis and management
24 964    25000.000    25 000 9/12/2016   Focusing on patient s healthcare needs we wi l examine       0/3/2016    10/3/2016      ive                Live                     Chron c Pa n (General)   Pa n   General             Gaylord National Hotel                               MD   9/12/2016   AMCP Foundation                                     Phi lip   Schneider      100 N. P tt Street                Alexandria   VA   (703)684-2632
                                          the ro e managed care pharmacy and health plans can –
                                          and shou d – play n addressing opioid pan therapy
                                          abuse and m suse. Program topics will address:
                                          Expanding body of know edge related to pain
                                          management and op oid pharmacotherapy atest
                                          breakthroughs in add ctive med cation treatment;
                                          evidence-based guidel nes to help prevent adverse
                                          events and ensure treatment effectiveness. Op oid
                                          mon toring and techn ques to avoid medicat on
                                          add ct on; health plan init atives report ng and track ng
                                          tools for prescribers and dispensers. Patient needs and
                                           mplicat ons for specific communit es; med cally
                                          appropriate pa n treatment; coordinat on of care
                                          Ram ficat ons for managed care organizat ons and
                                          hea th plan coverage. The deas and recommendat ons
                                          wi l be shared with policy makers employer and patient
                                          groups health plans pharmaceutical manufacturers the




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24 964   25000.000   25 000 9/12/2016    Focusing on patient s healthcare needs we wi l examine 0/3/2016       10/3/2016      ive   Symposium   Chron c Pa n (General)   Pa n                           Gaylord Hotel & Convention Center                   MD   9/12/2016    AMCP Foundation                                    Phi lip   Schneider   100 N. P tt Street      Alexandria   VA   (703)684-2632
                                         the ro e managed care pharmacy and health plans can –
                                         and shou d – play n addressing opioid pan therapy
                                         abuse and m suse. Program topics will address:
                                         Expanding body of know edge related to pain
                                         management and op oid pharmacotherapy atest
                                         breakthroughs in add ctive med cation treatment;
                                         evidence-based guidel nes to help prevent adverse
                                         events and ensure treatment effectiveness. Op oid
                                         mon toring and techn ques to avoid medicat on
                                         add ct on; health plan init atives report ng and track ng
                                         tools for prescribers and dispensers. Patient needs and
                                          mplicat ons for specific communit es; med cally
                                         appropriate pa n treatment; coordinat on of care
                                         Ram ficat ons for managed care organizat ons and
                                         hea th plan coverage. The deas and recommendat ons
                                         wi l be shared with policy makers employer and patient
                                         groups health plans pharmaceutical manufacturers the
24 964   25000.000   25 000 9/12/2016    Focusing on patient s healthcare needs we wi l examine 0/3/2016       10/3/2016      ive   Symposium   Chron c Pa n (General)   Pa n                           Gaylord National Harbor Hotel & Convention Center   MD   9/12/2016    AMCP Foundation                                    Phi lip   Schneider   100 N. P tt Street      Alexandria   VA   (703)684-2632
                                         the ro e managed care pharmacy and health plans can –
                                         and shou d – play n addressing opioid pan therapy
                                         abuse and m suse. Program topics will address:
                                         Expanding body of know edge related to pain
                                         management and op oid pharmacotherapy atest
                                         breakthroughs in add ctive med cation treatment;
                                         evidence-based guidel nes to help prevent adverse
                                         events and ensure treatment effectiveness. Op oid
                                         mon toring and techn ques to avoid medicat on
                                         add ct on; health plan init atives report ng and track ng
                                         tools for prescribers and dispensers. Patient needs and
                                          mplicat ons for specific communit es; med cally
                                         appropriate pa n treatment; coordinat on of care
                                         Ram ficat ons for managed care organizat ons and
                                         hea th plan coverage. The deas and recommendat ons
                                         wi l be shared with policy makers employer and patient
                                         groups health plans pharmaceutical manufacturers the
24 964   25000.000   25 000 9/12/2016    Focusing on patient s healthcare needs we wi l examine 0/3/2016       10/3/2016      ive   Symposium   Chron c Pa n (General)   Pa n                           Gaylord National Hotel & Convent on Ceenter         MD   9/12/2016    AMCP Foundation                                    Phi lip   Schneider   100 N. P tt Street      Alexandria   VA   (703)684-2632
                                         the ro e managed care pharmacy and health plans can –
                                         and shou d – play n addressing opioid pan therapy
                                         abuse and m suse. Program topics will address:
                                         Expanding body of know edge related to pain
                                         management and op oid pharmacotherapy atest
                                         breakthroughs in add ctive med cation treatment;
                                         evidence-based guidel nes to help prevent adverse
                                         events and ensure treatment effectiveness. Op oid
                                         mon toring and techn ques to avoid medicat on
                                         add ct on; health plan init atives report ng and track ng
                                         tools for prescribers and dispensers. Patient needs and
                                          mplicat ons for specific communit es; med cally
                                         appropriate pa n treatment; coordinat on of care
                                         Ram ficat ons for managed care organizat ons and
                                         hea th plan coverage. The deas and recommendat ons
                                         wi l be shared with policy makers employer and patient
                                         groups health plans pharmaceutical manufacturers the
24 964   25000.000   25 000 9/12/2016    Focusing on patient s healthcare needs we wi l examine 0/3/2016       10/3/2016      ive   Symposium   Chron c Pa n (General)   Pa n                           Gaylord National Hotel & Convent on Center          MD   9/12/2016    AMCP Foundation                                    Phi lip   Schneider   100 N. P tt Street      Alexandria   VA   (703)684-2632
                                         the ro e managed care pharmacy and health plans can –
                                         and shou d – play n addressing opioid pan therapy
                                         abuse and m suse. Program topics will address:
                                         Expanding body of know edge related to pain
                                         management and op oid pharmacotherapy atest
                                         breakthroughs in add ctive med cation treatment;
                                         evidence-based guidel nes to help prevent adverse
                                         events and ensure treatment effectiveness. Op oid
                                         mon toring and techn ques to avoid medicat on
                                         add ct on; health plan init atives report ng and track ng
                                         tools for prescribers and dispensers. Patient needs and
                                          mplicat ons for specific communit es; med cally
                                         appropriate pa n treatment; coordinat on of care
                                         Ram ficat ons for managed care organizat ons and
                                         hea th plan coverage. The deas and recommendat ons
                                         wi l be shared with policy makers employer and patient
                                         groups health plans pharmaceutical manufacturers the
24 970   30000.000   10 000 10/13/2016   The meeting is a three-day scientific and educational    1/17/2016    11/19/2016     ive   Live        Chron c Pa n (General)   Pa n   General                 Hi ton San Diego Bayfront                           CA   10/13/2016   American Soc ety of Reg onal Anesthesia and Pa n   Julie     S mper      Four Penn Center West   P ttsburgh   PA   (619)606-8692
                                         event prov ding a wide range of educat onal                                                                                                                                                                                          Med c ne
                                         opportun ties to meet the needs of a diverse audience of
                                         approx mately 1000 practit oners. The meet ng is
                                         structured to al ow learners to tailor their educat onal
                                         experience and select content based on their individual
                                         needs. The comprehensive offer ng ensures a strong
                                         practical ocus delivering nformat on of take-home
                                         value that can be put to immed ate use n pract ce.
                                         Exciting developments and highl ghts for 2016 nclude: •
                                         Refresher course • P enary and paral el sessions • Panel
                                         discussions Q&A pro/con debates • Poster
                                         presentations and moderated sessions • Exce lence in
                                         ASRA award luncheon • Exhib t hall access • Networking
                                         opportun ties (breakfast breaks reception) • Onl ne
                                         access to educational support mater als before during

24 970   30000.000   10 000 10/13/2016   The meeting is a three-day scientific and educational     1/17/2016   11/19/2016     ive   Live        Chron c Pa n (General)   Pa n   Pain Medicine           Hi ton San Diego Bayfront                           CA   10/13/2016   American Soc ety of Reg onal Anesthesia and Pa n   Julie     S mper      Four Penn Center West   P ttsburgh   PA   (619)606-8692
                                         event prov ding a wide range of educat onal                                                                                                                                                                                          Med c ne
                                         opportun ties to meet the needs of a diverse audience of
                                         approx mately 1000 practit oners. The meet ng is
                                         structured to al ow learners to tailor their educat onal
                                         experience and select content based on their individual
                                         needs. The comprehensive offer ng ensures a strong
                                         practical ocus delivering nformat on of take-home
                                         value that can be put to immed ate use n pract ce.
                                         Exciting developments and highl ghts for 2016 nclude: •
                                         Refresher course • P enary and paral el sessions • Panel
                                         discussions Q&A pro/con debates • Poster
                                         presentations and moderated sessions • Exce lence in
                                         ASRA award luncheon • Exhib t hall access • Networking
                                         opportun ties (breakfast breaks reception) • Onl ne
                                         access to educational support mater als before during
                                         after meeting
24 972    5000.000    5 000 10/25/2016   The Midwest Pain Society Annual meeting is a scientific   0/28/2016   10/29/2016     ive   Symposium   Chron c Pa n (General)   Pa n   Anesthes ology          Northwestern Memorial Hosp tal                      IL   10/25/2016   Midwest Pa n Soc ety Inc.                          Kenneth   Lofland     8735 W. Higgins Road    Ch cago      IL   (847) 920-4644
                                         meeting for any health care professional involved n
                                         assessment treatment and/or research n the area of
                                         pain. The meeting provides the latest in ormation on
                                         today s most important pa n care top cs. There are
                                         sessions for clinicians and researchers interdiscipl nary
                                         faculty and panel d scussions and opportun ties for
                                         net or ing and col a orat on
24 972    5000.000    5 000 10/25/2016   The Midwest Pain Society Annual meeting is a scientific   0/28/2016   10/29/2016     ive   Symposium   Chron c Pa n (General)   Pa n   Clin cal Psychologist   Northwestern Memorial Hosp tal                      IL   10/25/2016   Midwest Pa n Soc ety Inc.                          Kenneth   Lofland     8735 W. Higgins Road    Ch cago      IL   (847) 920-4644
                                         meeting for any health care professional involved n
                                         assessment treatment and/or research n the area of
                                         pain. The meeting provides the latest in ormation on
                                         today s most important pa n care top cs. There are
                                         sessions for clinicians and researchers interdiscipl nary
                                         faculty and panel d scussions and opportun ties for
                                         networking and col aborat on.




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24 972    5000.000    5 000 10/25/2016   The Midwest Pain Society Annual meeting is a scientific     0/28/2016   10/29/2016     ive   Symposium             Chron c Pa n (General)   Pa n   Counse or                              Northwestern Memorial Hosp tal   IL   10/25/2016   Midwest Pa n Soc ety Inc.           Kenneth   Lofland   8735 W. Higgins Road   Ch cago   IL   (847) 920-4644
                                         meeting for any health care professional involved n
                                         assessment treatment and/or research n the area of
                                         pain. The meeting provides the latest in ormation on
                                         today s most important pa n care top cs. There are
                                         sessions for clinicians and researchers interdiscipl nary
                                         faculty and panel d scussions and opportun ties for
                                         net or ing and col a orat on
24 972    5000.000    5 000 10/25/2016   The Midwest Pain Society Annual meeting is a scientific     0/28/2016   10/29/2016     ive   Symposium             Chron c Pa n (General)   Pa n   Internal Med c ne                      Northwestern Memorial Hosp tal   IL   10/25/2016   Midwest Pa n Soc ety Inc.           Kenneth   Lofland   8735 W. Higgins Road   Ch cago   IL   (847) 920-4644
                                         meeting for any health care professional involved n
                                         assessment treatment and/or research n the area of
                                         pain. The meeting provides the latest in ormation on
                                         today s most important pa n care top cs. There are
                                         sessions for clinicians and researchers interdiscipl nary
                                         faculty and panel d scussions and opportun ties for
                                         net or ing and col a orat on
24 972    5000.000    5 000 10/25/2016   The Midwest Pain Society Annual meeting is a scientific     0/28/2016   10/29/2016     ive   Symposium             Chron c Pa n (General)   Pa n   Medical Oncology                       Northwestern Memorial Hosp tal   IL   10/25/2016   Midwest Pa n Soc ety Inc.           Kenneth   Lofland   8735 W. Higgins Road   Ch cago   IL   (847) 920-4644
                                         meeting for any health care professional involved n
                                         assessment treatment and/or research n the area of
                                         pain. The meeting provides the latest in ormation on
                                         today s most important pa n care top cs. There are
                                         sessions for clinicians and researchers interdiscipl nary
                                         faculty and panel d scussions and opportun ties for
                                         net or ing and col a orat on
24 972    5000.000    5 000 10/25/2016   The Midwest Pain Society Annual meeting is a scientific     0/28/2016   10/29/2016     ive   Symposium             Chron c Pa n (General)   Pa n   Neurology - Pain Medicine              Northwestern Memorial Hosp tal   IL   10/25/2016   Midwest Pa n Soc ety Inc.           Kenneth   Lofland   8735 W. Higgins Road   Ch cago   IL   (847) 920-4644
                                         meeting for any health care professional involved n
                                         assessment treatment and/or research n the area of
                                         pain. The meeting provides the latest in ormation on
                                         today s most important pa n care top cs. There are
                                         sessions for clinicians and researchers interdiscipl nary
                                         faculty and panel d scussions and opportun ties for
                                         net or ing and col a orat on
24 972    5000.000    5 000 10/25/2016   The Midwest Pain Society Annual meeting is a scientific     0/28/2016   10/29/2016     ive   Symposium             Chron c Pa n (General)   Pa n   Pain Medicine                          Northwestern Memorial Hosp tal   IL   10/25/2016   Midwest Pa n Soc ety Inc.           Kenneth   Lofland   8735 W. Higgins Road   Ch cago   IL   (847) 920-4644
                                         meeting for any health care professional involved n
                                         assessment treatment and/or research n the area of
                                         pain. The meeting provides the latest in ormation on
                                         today s most important pa n care top cs. There are
                                         sessions for clinicians and researchers interdiscipl nary
                                         faculty and panel d scussions and opportun ties for
                                         net or ing and col a orat on
25 106   27500.000   27 500 10/13/2016   With a commitment to making h gh- mpact long-term           /15/2017    3/19/2017      ive   Satell te Symposium   Chron c Pa n (General)   Pa n   Anesthes ology                         Loews Sapphire Falls Resort      FL   10/13/2016   American Academy of Pain Medicine   Susan     Vogel     8735 W H ggins Rd      Ch cago   IL   (847)375-4829
                                         change in the delivery of safe and value-based pa n
                                         care the 33rd AAPM Annual Meet ng aims to prov de
                                         educat onal activ ties to a nat onal aud ence of pain
                                         clinicians and pr mary care providers who treat on
                                         average 3 200 pain pat ents annua ly according to the
                                         Amer can Board of Pain Med c ne. The Annual Meeting
                                         wi l engage clin c ans and healthcare prov ders in the
                                          mprovement of qual ty sa ety eff c ency and efficacy
                                         of chron c and acute pain treatment approaches across
                                         the hea thcare continuum. Educat onal activ ties wi l
                                         empower pain care champions to transform the r
                                         communit es by improving assessment evaluation and
                                         clinical decision-making ski ls. Patient-centered
                                         strategies and outcomes related to the treatment of
                                         pain across the healthcare continuum w ll mprove as a

25 106   27500.000   27 500 10/13/2016   With a commitment to making h gh- mpact long-term           /15/2017    3/19/2017      ive   Satell te Symposium   Chron c Pa n (General)   Pa n   Fam ly Med c ne                        Loews Sapphire Falls Resort      FL   10/13/2016   American Academy of Pain Medicine   Susan     Vogel     8735 W H ggins Rd      Ch cago   IL   (847)375-4829
                                         change in the delivery of safe and value-based pa n
                                         care the 33rd AAPM Annual Meet ng aims to prov de
                                         educat onal activ ties to a nat onal aud ence of pain
                                         clinicians and pr mary care providers who treat on
                                         average 3 200 pain pat ents annually according to the
                                         Amer can Board of Pain Med c ne. The Annual Meeting
                                         wi l engage clin c ans and healthcare prov ders in the
                                          mprovement of qual ty sa ety eff c ency and efficacy
                                         of chron c and acute pain treatment approaches across
                                         the hea thcare continuum. Educat onal activ ties wi l
                                         empower pain care champions to transform the r
                                         communit es by improving assessment evaluation and
                                         clinical decision-making ski ls. Patient-centered
                                         strategies and outcomes related to the treatment of
                                         pain across the healthcare continuum w ll mprove as a

25 106   27500.000   27 500 10/13/2016   With a commitment to making h gh- mpact long-term           /15/2017    3/19/2017      ive   Satell te Symposium   Chron c Pa n (General)   Pa n   Internal Med c ne                      Loews Sapphire Falls Resort      FL   10/13/2016   American Academy of Pain Medicine   Susan     Vogel     8735 W H ggins Rd      Ch cago   IL   (847)375-4829
                                         change in the delivery of safe and value-based pa n
                                         care the 33rd AAPM Annual Meet ng aims to prov de
                                         educat onal activ ties to a nat onal aud ence of pain
                                         clinicians and pr mary care providers who treat on
                                         average 3 200 pain pat ents annually according to the
                                         Amer can Board of Pain Med c ne. The Annual Meeting
                                         wi l engage clin c ans and healthcare prov ders in the
                                          mprovement of qual ty sa ety eff c ency and efficacy
                                         of chron c and acute pain treatment approaches across
                                         the hea thcare continuum. Educat onal activ ties wi l
                                         empower pain care champions to transform the r
                                         communit es by improving assessment evaluation and
                                         clinical decision-making ski ls. Patient-centered
                                         strategies and outcomes related to the treatment of
                                         pain across the healthcare continuum w ll mprove as a

25 106   27500.000   27 500 10/13/2016   With a commitment to making h gh- mpact long-term           /15/2017    3/19/2017      ive   Satell te Symposium   Chron c Pa n (General)   Pa n   Neurology                              Loews Sapphire Falls Resort      FL   10/13/2016   American Academy of Pain Medicine   Susan     Vogel     8735 W H ggins Rd      Ch cago   IL   (847)375-4829
                                         change in the delivery of safe and value-based pa n
                                         care the 33rd AAPM Annual Meet ng aims to prov de
                                         educat onal activ ties to a nat onal aud ence of pain
                                         clinicians and pr mary care providers who treat on
                                         average 3 200 pain pat ents annua ly according to the
                                         Amer can Board of Pain Med c ne. The Annual Meeting
                                         wi l engage clin c ans and healthcare prov ders in the
                                          mprovement of qual ty sa ety eff c ency and efficacy
                                         of chron c and acute pain treatment approaches across
                                         the hea thcare continuum. Educat onal activ ties wi l
                                         empower pain care champions to transform the r
                                         communit es by improving assessment evaluation and
                                         clinical decision-making ski ls. Patient-centered
                                         strategies and outcomes related to the treatment of
                                         pain across the healthcare continuum w ll mprove as a

25 106   27500.000   27 500 10/13/2016   With a commitment to making h gh- mpact long-term           /15/2017    3/19/2017      ive   Satell te Symposium   Chron c Pa n (General)   Pa n   Physical Med c ne and Rehabil tation   Loews Sapphire Falls Resort      FL   10/13/2016   American Academy of Pain Medicine   Susan     Vogel     8735 W H ggins Rd      Ch cago   IL   (847)375-4829
                                         change in the delivery of safe and value-based pa n
                                         care the 33rd AAPM Annual Meet ng aims to prov de
                                         educat onal activ ties to a nat onal aud ence of pain
                                         clinicians and pr mary care providers who treat on
                                         average 3 200 pain pat ents annually according to the
                                         Amer can Board of Pain Med c ne. The Annual Meeting
                                         wi l engage clin c ans and healthcare prov ders in the
                                          mprovement of qual ty sa ety eff c ency and efficacy
                                         of chron c and acute pain treatment approaches across
                                         the hea thcare continuum. Educat onal activ ties wi l
                                         empower pain care champions to transform the r
                                         communit es by improving assessment evaluation and
                                         clinical decision-making ski ls. Patient-centered
                                         strategies and outcomes related to the treatment of
                                         pain across the healthcare continuum w ll mprove as a




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                                                                                                                            Case: 1:17-md-02804-DAP Doc #: 2251-93 Filed: 08/13/19 75 of 78. PageID #: 352390

25 106   27500.000   27 500 10/13/2016   With a commitment to making h gh- mpact long-term          /15/2017    3/19/2017     ive   Satell te Symposium   Chron c Pa n (General)   Pa n   Psychiatry                  Loews Sapphire Falls Resort           FL   10/13/2016   American Academy of Pain Medicine         Susan   Vogel     8735 W H ggins Rd         Ch cago     IL   (847)375-4829
                                         change in the delivery of safe and value-based pa n
                                         care the 33rd AAPM Annual Meet ng aims to prov de
                                         educat onal activ ties to a nat onal aud ence of pain
                                         clinicians and pr mary care providers who treat on
                                         average 3 200 pain pat ents annually according to the
                                         Amer can Board of Pain Med c ne. The Annual Meeting
                                         wi l engage clin c ans and healthcare prov ders in the
                                          mprovement of qual ty sa ety eff c ency and efficacy
                                         of chron c and acute pain treatment approaches across
                                         the hea thcare continuum. Educat onal activ ties wi l
                                         empower pain care champions to transform the r
                                         communit es by improving assessment evaluation and
                                         clinical decision-making ski ls. Patient-centered
                                         strategies and outcomes related to the treatment of
                                         pain across the healthcare continuum w ll mprove as a

25 236    5000.000    5 000 11/28/2016   This 5-day Symposium will promote a better                  2/4/2017   2/8/2017      ive   Symposium             Chron c Pa n (General)   Pa n                               Hyatt Regency Grand Cypress Hotel     FL   11/28/2016   Cleveland Clinic Educational Foundat on   Mark    Shelton   9500 Euclid Avenue KK31   Cleveland   OH   (216) 448-0899
                                         understanding of the pathophysio ogy of acute and
                                         chronic pain enhance knowledge regarding various
                                         chronic neuropathic pain condit ons explore the impact
                                         of healthcare reform on pa n med c ne practice and
                                         critically review novel state-of-the-art in ervent onal and
                                         non- nterventional techn ques in diagnosis and
                                         management of chronic pa n cancer pain and
                                         headaches. An nternat onally renowned faculty will
                                         prov de insightful assessment and cl nical pract ce
                                         evaluation of the top cs. A new group of educat onal
                                         sessions specifically developed for ARNPs and PAs
                                         working in pain practices will debut dur ng this year s

25 236    5000.000    5 000 11/28/2016   This 5-day Symposium will promote a better                  2/4/2017   2/8/2017      ive   Symposium             Chron c Pa n (General)   Pa n   Pain Medicine               Hyatt Regency Grand Cypress Hotel     FL   11/28/2016   Cleveland Clinic Educational Foundat on   Mark    Shelton   9500 Euclid Avenue KK31   Cleveland   OH   (216) 448-0899
                                         understanding of the pathophysio ogy of acute and
                                         chronic pain enhance knowledge regarding various
                                         chronic neuropathic pain condit ons explore the impact
                                         of healthcare reform on pa n med c ne practice and
                                         critically review novel state-of-the-art in ervent onal and
                                         non- nterventional techn ques in diagnosis and
                                         management of chronic pa n cancer pain and
                                         headaches. An nternat onally renowned faculty will
                                         prov de insightful assessment and cl nical pract ce
                                         evaluation of the top cs. A new group of educat onal
                                         sessions specifically developed for ARNPs and PAs
                                         working in pain practices will debut dur ng this year s

25 246   30000.000   30 000 11/21/2016   The Meeting wi l of er current information about the       /17/2017    5/20/2017     ive   Live                  Chron c Pa n (General)   Pa n   Anesthes ology              David L. Lawrence Convention Center   PA   11/21/2016   American Pain Society                     Susan   Vogel     8735 W H ggins Rd         Ch cago     IL   (847) 375-4829
                                         diagnosis treatment management and current
                                         research of acute pain chron c cancer and noncancer
                                         pain and recurrent pa n. Presentations are designed to
                                         enhance research or clin cal skills pertinent to pain
                                         management and w ll feature content appropr ate for
                                         professiona s at several experience levels. The meeting
                                          s the eading forum for the interd sciplinary exchange
                                         among scientists pain cl nicians and other
                                         professiona s w th prom nent faculty presenting bas c
                                         translat onal and clin cal research and treatment
                                         advancements. As the United States premier pain
                                         meeting the APS provides the pain commun ty with a
                                         unique orum for sharing advances and standards in
                                         evidence-based pain research and treatment by
                                         co leagues from a l d sciplines in pain n a setting that
                                         encourages nteractions between scientists and

25 246   30000.000   30 000 11/21/2016   The Meeting wi l of er current information about the       /17/2017    5/20/2017     ive   Live                  Chron c Pa n (General)   Pa n   General                     David L. Lawrence Convention Center   PA   11/21/2016   American Pain Society                     Susan   Vogel     8735 W H ggins Rd         Ch cago     IL   (847) 375-4829
                                         diagnosis treatment management and current
                                         research of acute pain chron c cancer and noncancer
                                         pain and recurrent pa n. Presentations are designed to
                                         enhance research or clin cal skills pertinent to pain
                                         management and w ll feature content appropr ate for
                                         professiona s at several experience levels. The meeting
                                          s the eading forum for the interd sciplinary exchange
                                         among scientists pain cl nicians and other
                                         professiona s w th prom nent faculty presenting bas c
                                         translat onal and clin cal research and treatment
                                         advancements. As the United States premier pain
                                         meeting the APS provides the pain commun ty with a
                                         unique orum for sharing advances and standards in
                                         evidence-based pain research and treatment by
                                         co leagues from a l d sciplines in pain n a setting that
                                         encourages nteractions between scientists and

25 246   30000.000   30 000 11/21/2016   The Meeting wi l of er current information about the       /17/2017    5/20/2017     ive   Live                  Chron c Pa n (General)   Pa n   Neurology - Pain Medicine   David L. Lawrence Convention Center   PA   11/21/2016   American Pain Society                     Susan   Vogel     8735 W H ggins Rd         Ch cago     IL   (847) 375-4829
                                         diagnosis treatment management and current
                                         research of acute pain chron c cancer and noncancer
                                         pain and recurrent pa n. Presentations are designed to
                                         enhance research or clin cal skills pertinent to pain
                                         management and w ll feature content appropr ate for
                                         professiona s at several experience levels. The meeting
                                          s the eading forum for the interd sciplinary exchange
                                         among scientists pain cl nicians and other
                                         professiona s w th prom nent faculty presenting bas c
                                         translat onal and clin cal research and treatment
                                         advancements. As the United States premier pain
                                         meeting the APS provides the pain commun ty with a
                                         unique orum for sharing advances and standards in
                                         evidence-based pain research and treatment by
                                         co leagues from a l d sciplines in pain n a setting that
                                         encourages nteractions between scientists and

25 246   30000.000   30 000 11/21/2016   The Meeting wi l of er current information about the       /17/2017    5/20/2017     ive   Live                  Chron c Pa n (General)   Pa n   Pain Medicine               David L. Lawrence Convention Center   PA   11/21/2016   American Pain Society                     Susan   Vogel     8735 W H ggins Rd         Ch cago     IL   (847) 375-4829
                                         diagnosis treatment management and current
                                         research of acute pain chron c cancer and noncancer
                                         pain and recurrent pa n. Presentations are designed to
                                         enhance research or clin cal skills pertinent to pain
                                         management and w ll feature content appropr ate for
                                         professiona s at several experience levels. The meeting
                                          s the eading forum for the interd sciplinary exchange
                                         among scientists pain cl nicians and other
                                         professiona s w th prom nent faculty presenting bas c
                                         translat onal and clin cal research and treatment
                                         advancements. As the United States premier pain
                                         meeting the APS provides the pain commun ty with a
                                         unique orum for sharing advances and standards in
                                         evidence-based pain research and treatment by
                                         co leagues from a l d sciplines in pain n a setting that
                                         encourages nteractions between scientists and




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25 246   30000.000   30 000 11/21/2016   The Meeting wi l of er current information about the       /17/2017   5/20/2017     ive   Live                     Chron c Pa n (General)   Pa n   Physical Med c ne and Rehabil tation   David L. Lawrence Convention Center   PA   11/21/2016   American Pain Society                              Susan   Vogel     8735 W H ggins Rd     Ch cago      IL   (847) 375-4829
                                         diagnosis treatment management and current
                                         research of acute pain chronic cancer and noncancer
                                         pain and recurrent pa n. Presentations are designed to
                                         enhance research or clin cal skills pertinent to pain
                                         management and w ll feature content appropr ate for
                                         professiona s at several experience levels. The meeting
                                          s the eading forum for the interd sciplinary exchange
                                         among scientists pain cl nicians and other
                                         professiona s w th prom nent faculty presenting bas c
                                         translat onal and clin cal research and treatment
                                         advancements. As the United States premier pain
                                         meeting the APS provides the pain commun ty with a
                                         unique orum for sharing advances and standards in
                                         evidence-based pain research and treatment by
                                         co leagues from a l d sciplines in pain n a setting that
                                         encourages nteractions between scientists and

25 246   30000.000   30 000 11/21/2016   The Meeting wi l of er current information about the       /17/2017   5/20/2017     ive   Live                     Chron c Pa n (General)   Pa n   Pr mary Care                           David L. Lawrence Convention Center   PA   11/21/2016   American Pain Society                              Susan   Vogel     8735 W H ggins Rd     Ch cago      IL   (847) 375-4829
                                         diagnosis treatment management and current
                                         research of acute pain chron c cancer and noncancer
                                         pain and recurrent pa n. Presentations are designed to
                                         enhance research or clin cal skills pertinent to pain
                                         management and w ll feature content appropr ate for
                                         professiona s at several experience levels. The meeting
                                          s the eading forum for the interd sciplinary exchange
                                         among scientists pain cl nicians and other
                                         professiona s w th prom nent faculty presenting bas c
                                         translat onal and clin cal research and treatment
                                         advancements. As the United States premier pain
                                         meeting the APS provides the pain commun ty with a
                                         unique orum for sharing advances and standards in
                                         evidence-based pain research and treatment by
                                         co leagues from a l d sciplines in pain n a setting that
                                         encourages nteractions between scientists and

25 246   30000.000   30 000 11/21/2016   The Meeting wi l of er current information about the       /17/2017   5/20/2017     ive   Live                     Chron c Pa n (General)   Pa n   Psychiatry                             David L. Lawrence Convention Center   PA   11/21/2016   American Pain Society                              Susan   Vogel     8735 W H ggins Rd     Ch cago      IL   (847) 375-4829
                                         diagnosis treatment management and current
                                         research of acute pain chron c cancer and noncancer
                                         pain and recurrent pa n. Presentations are designed to
                                         enhance research or clin cal skills pertinent to pain
                                         management and w ll feature content appropr ate for
                                         professiona s at several experience levels. The meeting
                                          s the eading forum for the interd sciplinary exchange
                                         among scientists pain cl nicians and other
                                         professiona s w th prom nent faculty presenting bas c
                                         translat onal and clin cal research and treatment
                                         advancements. As the United States premier pain
                                         meeting the APS provides the pain commun ty with a
                                         unique orum for sharing advances and standards in
                                         evidence-based pain research and treatment by
                                         co leagues from a l d sciplines in pain n a setting that
                                         encourages nteractions between scientists and

25 306   73423.000   73 423 12/15/2016   PTCE proposes a nat onal nit ative that w ll commence   /18/2017      3/18/2017     ive   Live                     Chron c Pa n (General)   Pa n   General                                West n Princeton                      NJ   12/15/2016   Pharmacy Times Office of Continuing Professional   Dave    Heckard   666 Plainsboro Road   P ainsboro   NJ   (609)378-3709
                                         with 4 live regional conferences and expand to reach                                                                                                                                                                                              Education LLC
                                         pharmacists nationally through a live/archived webinar
                                         ser es. Now enter ng its 7th year D rections n
                                         Pharmacy provides a vehicle to deliver live nteractive
                                         educat onal content to pharmacists. The live Webinars
                                         wi l deliver updated information and address educationa
                                         needs that may have been ident fied during the live
                                         meeting sess ons. We are submitt ng this grant for a
                                         session on ain management
25 306   73423.000   73 423 12/15/2016   PTCE proposes a nat onal nit ative that w ll commence   /1/2017       4/1/2017      ive   Live                     Chron c Pa n (General)   Pa n   General                                Sheraton Park Hotel                   CA   12/15/2016   Pharmacy Times Office of Continuing Professional   Dave    Heckard   666 Plainsboro Road   P ainsboro   NJ   (609)378-3709
                                         with 4 live regional conferences and expand to reach                                                                                                                                                                                              Education LLC
                                         pharmacists nationally through a live/archived webinar
                                         ser es. Now enter ng its 7th year D rections n
                                         Pharmacy provides a vehicle to deliver live nteractive
                                         educat onal content to pharmacists. The live Webinars
                                         wi l deliver updated information and address educationa
                                         needs that may have been ident fied during the live
                                         meeting sess ons. We are submitt ng this grant for a
                                         session on ain management
25 306   73423.000   73 423 12/15/2016   PTCE proposes a nat onal nit ative that w ll commence   /22/2017      4/22/2017     ive   Live                     Chron c Pa n (General)   Pa n   General                                TBD                                   IL   12/15/2016   Pharmacy Times Office of Continuing Professional   Dave    Heckard   666 Plainsboro Road   P ainsboro   NJ   (609)378-3709
                                         with 4 live regional conferences and expand to reach                                                                                                                                                                                              Education LLC
                                         pharmacists nationally through a live/archived webinar
                                         ser es. Now enter ng its 7th year D rections n
                                         Pharmacy provides a vehicle to deliver live nteractive
                                         educat onal content to pharmacists. The live Webinars
                                         wi l deliver updated information and address educationa
                                         needs that may have been ident fied during the live
                                         meeting sess ons. We are submitt ng this grant for a
                                         session on ain management
25 306   73423.000   73 423 12/15/2016   PTCE proposes a nat onal nit ative that w ll commence   /13/2017      5/13/2017     ive   Live                     Chron c Pa n (General)   Pa n   General                                Da las Marr ott C ty Center           TX   12/15/2016   Pharmacy Times Office of Continuing Professional   Dave    Heckard   666 Plainsboro Road   P ainsboro   NJ   (609)378-3709
                                         with 4 live regional conferences and expand to reach                                                                                                                                                                                              Education LLC
                                         pharmacists nationally through a live/archived webinar
                                         ser es. Now enter ng its 7th year D rections n
                                         Pharmacy provides a vehicle to deliver live nteractive
                                         educat onal content to pharmacists. The live Webinars
                                         wi l deliver updated information and address educationa
                                         needs that may have been ident fied during the live
                                         meeting sess ons. We are submitt ng this grant for a
                                         session on ain management
25 306   73423.000   73 423 12/15/2016   PTCE proposes a nat onal nit ative that w ll commence 8/10/2017       8/10/2017     Web   Webcast/Online Program   Chron c Pa n (General)   Pa n   General                                                                           12/15/2016   Pharmacy Times Office of Continuing Professional   Dave    Heckard   666 Plainsboro Road   P ainsboro   NJ   (609)378-3709
                                         with 4 live regional conferences and expand to reach                                                                                                                                                                                              Education LLC
                                         pharmacists nationally through a live/archived webinar
                                         ser es. Now enter ng its 7th year D rections n
                                         Pharmacy provides a vehicle to deliver live nteractive
                                         educat onal content to pharmacists. The live Webinars
                                         wi l deliver updated information and address educationa
                                         needs that may have been ident fied during the live
                                         meeting sess ons. We are submitt ng this grant for a
                                         session on ain management
25 306   73423.000   73 423 12/15/2016   PTCE proposes a nat onal nit ative that w ll commence 8/31/2017       8/31/2018     Web   Web Posting/Archive      Chron c Pa n (General)   Pa n   General                                                                           12/15/2016   Pharmacy Times Office of Continuing Professional   Dave    Heckard   666 Plainsboro Road   P ainsboro   NJ   (609)378-3709
                                         with 4 live regional conferences and expand to reach                                                                                                                                                                                              Education LLC
                                         pharmacists nationally through a live/archived webinar
                                         ser es. Now enter ng its 7th year D rections n
                                         Pharmacy provides a vehicle to deliver live nteractive
                                         educat onal content to pharmacists. The live Webinars
                                         wi l deliver updated information and address educationa
                                         needs that may have been ident fied during the live
                                         meeting sess ons. We are submitt ng this grant for a
                                         session on ain management




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25 322   27500.000   27 500 11/21/2016   AAPM has significant tenure prov ding quality pain          /15/2017   3/16/2017     ive                Live                Chron c Pa n (General)   Pa n   Pain Medicine               Loews Sapphire Falls Resort           FL   11/21/2016   American Academy of Pain Medicine            Susan     Vogel     8735 W H ggins Rd            Ch cago       IL   (847)375-4829
                                         educat on. Th s course is designed for clinicians
                                          nterested n obta ning an overview of the fundamentals
                                         of pain medicine as we l as practical approaches to the
                                         treatment of common pain disorders. This CME activity
                                         offers clinically focused ectures and case presentations
                                         on the assessment diagnosis and treatment of pat ents
                                         with various acute breakthrough and chron c pa n
                                         disorders. The goal of the Essent al Tools course s to
                                          mp ement a comprehensive evidence-based pain
                                         medicine curriculum n a live educational format
                                         designed to improve access to safe and e fective
                                         mult disciplinary evidence-based pa n practices across
                                         the hea thcare delivery system. AAPM w ll provide
                                         continuing medical educat on n a variety of effective
                                         adu t-learn ng formats. These include: •Live ectures •
                                         Symposia •E-learn ng modu es•Hands-on and simu ation
                                         workshops •Expert panel d scussions • Sc ent fic
                                         research poster presentations
25 354   15000.000   15 000 11/23/2016   APS s Fundamentals of Pain Management Course: An          /17/2017     5/19/2017     ive                Live                Chron c Pa n (General)   Pa n   Pain Medicine               David L. Lawrence Convention Center   PA   11/23/2016   American Pain Society                        Susan     Vogel     8735 W H ggins Rd            Ch cago       IL   (847) 375-4829
                                         Interd sciplinary Primer© provides educational content
                                         to 3rd and 4th year residents n Anesthes a Neurology
                                         Family Med c ne Emergency Medicine and
                                         Physical/Rehabil tation Medicine and Nurse Pract tioners.
                                         This program in its 16th year has been establ shed to
                                         f ll the need for a h ghly-trained researchers and
                                         practitioners to address the treatment of pa n and pa n
                                         management as a growing public hea th ssue. This
                                         program provides access to networking mentoring and
                                         pain management educational content.

25 364   35000.000   15 000 12/13/2016   The Society for Women s Health Research (SWHR®) wil        9/12/2017   9/13/2017     ive                Symposium           Chron c Pa n (General)   Pa n   Advanced Practice Nurse     TBD                                   DC   12/13/2016   Soc ety for Women s Hea th Research          Michael   Tune      1025 Connect cut Avenue NW   Washington    DC   (202)223-8224
                                         convene a symposium dedicated to understanding why
                                         sex d fferences exist in pain raising awareness on the
                                         role of sex and gender d fferences in pain condit ons
                                         explor ng pa n management and treatment alternatives
                                          n women and addressing pol cy impl cations for
                                           omen s heal h
25 364   35000.000   15 000 12/13/2016   The Society for Women s Health Research (SWHR®) wil        9/12/2017   9/13/2017     ive                Symposium           Chron c Pa n (General)   Pa n   Counse or                   TBD                                   DC   12/13/2016   Soc ety for Women s Hea th Research          Michael   Tune      1025 Connect cut Avenue NW   Washington    DC   (202)223-8224
                                         convene a symposium dedicated to understanding why
                                         sex d fferences exist in pain raising awareness on the
                                         role of sex and gender d fferences in pain condit ons
                                         explor ng pa n management and treatment alternatives
                                          n women and addressing pol cy impl cations for
                                           omen s heal h
25 364   35000.000   15 000 12/13/2016   The Society for Women s Health Research (SWHR®) wil        9/12/2017   9/13/2017     ive                Symposium           Chron c Pa n (General)   Pa n   General                     TBD                                   DC   12/13/2016   Soc ety for Women s Hea th Research          Michael   Tune      1025 Connect cut Avenue NW   Washington    DC   (202)223-8224
                                         convene a symposium dedicated to understanding why
                                         sex d fferences exist in pain raising awareness on the
                                         role of sex and gender d fferences in pain condit ons
                                         explor ng pa n management and treatment alternatives
                                          n women and addressing pol cy impl cations for
                                           omen s heal h
25 364   35000.000   15 000 12/13/2016   The Society for Women s Health Research (SWHR®) wil        9/12/2017   9/13/2017     ive                Symposium           Chron c Pa n (General)   Pa n   Medical Societies           TBD                                   DC   12/13/2016   Soc ety for Women s Hea th Research          Michael   Tune      1025 Connect cut Avenue NW   Washington    DC   (202)223-8224
                                         convene a symposium dedicated to understanding why
                                         sex d fferences exist in pain raising awareness on the
                                         role of sex and gender d fferences in pain condit ons
                                         explor ng pa n management and treatment alternatives
                                          n women and addressing pol cy impl cations for
                                         women s health.
25 364   35000.000   15 000 12/13/2016   The Society for Women s Health Research (SWHR®) wil        9/12/2017   9/13/2017     ive                Symposium           Chron c Pa n (General)   Pa n   Neurology - Pain Medicine   TBD                                   DC   12/13/2016   Soc ety for Women s Hea th Research          Michael   Tune      1025 Connect cut Avenue NW   Washington    DC   (202)223-8224
                                         convene a symposium dedicated to understanding why
                                         sex d fferences exist in pain raising awareness on the
                                         role of sex and gender d fferences in pain condit ons
                                         explor ng pa n management and treatment alternatives
                                          n women and addressing pol cy impl cations for
                                           omen s heal h
25 364   35000.000   15 000 12/13/2016   The Society for Women s Health Research (SWHR®) wil        9/12/2017   9/13/2017     ive                Symposium           Chron c Pa n (General)   Pa n   Pain Medicine               TBD                                   DC   12/13/2016   Soc ety for Women s Hea th Research          Michael   Tune      1025 Connect cut Avenue NW   Washington    DC   (202)223-8224
                                         convene a symposium dedicated to understanding why
                                         sex d fferences exist in pain raising awareness on the
                                         role of sex and gender d fferences in pain condit ons
                                         explor ng pa n management and treatment alternatives
                                          n women and addressing pol cy impl cations for
                                           omen s heal h
25 364   35000.000   15 000 12/13/2016   The Society for Women s Health Research (SWHR®) wil        9/12/2017   9/13/2017     ive                Symposium           Chron c Pa n (General)   Pa n   Pharmacist                  TBD                                   DC   12/13/2016   Soc ety for Women s Hea th Research          Michael   Tune      1025 Connect cut Avenue NW   Washington    DC   (202)223-8224
                                         convene a symposium dedicated to understanding why
                                         sex d fferences exist in pain raising awareness on the
                                         role of sex and gender d fferences in pain condit ons
                                         explor ng pa n management and treatment alternatives
                                          n women and addressing pol cy impl cations for
                                         women s health.
25 364   35000.000   15 000 12/13/2016   The Society for Women s Health Research (SWHR®) wil        9/12/2017   9/13/2017     ive                Symposium           Chron c Pa n (General)   Pa n   Physician                   TBD                                   DC   12/13/2016   Soc ety for Women s Hea th Research          Michael   Tune      1025 Connect cut Avenue NW   Washington    DC   (202)223-8224
                                         convene a symposium dedicated to understanding why
                                         sex d fferences exist in pain raising awareness on the
                                         role of sex and gender d fferences in pain condit ons
                                         explor ng pa n management and treatment alternatives
                                          n women and addressing pol cy impl cations for
                                           omen s heal h
25 364   35000.000   15 000 12/13/2016   The Society for Women s Health Research (SWHR®) wil        9/12/2017   9/13/2017     ive                Symposium           Chron c Pa n (General)   Pa n   Researchers                 TBD                                   DC   12/13/2016   Soc ety for Women s Hea th Research          Michael   Tune      1025 Connect cut Avenue NW   Washington    DC   (202)223-8224
                                         convene a symposium dedicated to understanding why
                                         sex d fferences exist in pain raising awareness on the
                                         role of sex and gender d fferences in pain condit ons
                                         explor ng pa n management and treatment alternatives
                                          n women and addressing pol cy impl cations for
                                           omen s heal h
25 396   85000.000   85 000 12/14/2016   Pharmacists are being called to be active members of                                 nduring Material   Enduring Mater al   Chron c Pain (General)   Pa n   General                                                                12/14/2016   Center or Independent Hea thcare Education   Paul      DeLisle   1007 Bay ey Ct.              Bridgewater   NJ   (617)780-9077
                                         the interprofessional healtcare teams when manag ng
                                         patients with chron c pain and thus must have the
                                         confidence and competence to commun cate with fe low
                                         hea thcare providers and patients regard ng the atest
                                         options in pa n management. With the growing concern
                                         of opio d abuse pharmac sts must be cogn zant of the
                                         scope of the prob em as we l as strateg es avai able to
                                         deter abuse. Based on the identified practice gaps and
                                         defined educational needs a satell te symposium at the
                                         2017 American Pharmacists Association Annual Meeting
                                         & Exposition (APhA2017) will be an effective educationa
                                         venue to increase the pharmacists know edge and
                                         competence in abuse-deterrent formulations (ADFs). At
                                         the conclusion of this activity learners w ll be able to
                                         better understand the issues with opio d abuse and
                                          dentify current strateg es and technologies that can be
                                         applied in the clin cal sett ng to deter abuse.




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25 396   85000.000   85 000 12/14/2016   Pharmacists are being called to be active members of       /24/2017   3/27/2017     ive   Symposium   Chron c Pa n (General)   Pa n   General   Moscone Convention Center   CA   12/14/2016   Center for Independent Hea thcare Education   Paul   DeLisle   1007 Bay ey Ct.   Bridgewater   NJ   (617)780-9077
                                         the interprofessional healtcare teams when manag ng
                                         patients with chron c pain and thus must have the
                                         confidence and competence to commun cate with fe low
                                         hea thcare providers and patients regard ng the atest
                                         options in pa n management. With the growing concern
                                         of opio d abuse pharmac sts must be cogn zant of the
                                         scope of the prob em as we l as strategies avai able to
                                         deter abuse. Based on the identified practice gaps and
                                         defined educational needs a satell te symposium at the
                                         2017 American Pharmacists Association Annual Meeting
                                         & Exposition (APhA2017) will be an effective educationa
                                         venue to increase the pharmacists know edge and
                                         competence in abuse-deterrent formulations (ADFs). At
                                         the conclusion of this activity learners w ll be able to
                                         better understand the issues with opio d abuse and
                                          dentify current strateg es and technologies that can be
                                         applied in the clin cal sett ng to deter abuse.




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